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                   [Volume II, Appx00310 – Appx00620]
                      Nos. 22-1972, -1973, -1975, -1976

                                    IN THE
               United States Court of Appeals
                          FOR THE FEDERAL CIRCUIT

                           MASIMO CORPORATION,
                                                         Appellant,
                                       v.
                                  APPLE INC.,
                                                          Appellee.

      APPEAL FROM THE PATENT TRIAL AND APPEAL BOARD
 CASE NOS. IPR2020-01713, IPR2020-01716, IPR2020-01733, IPR2020-01737

                              JOINT APPENDIX
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                                                                                            US010624564Bl


c12)   United States Patent                                                 (10) Patent No.:     US 10,624,564 Bl
       Poeze et al.                                                         (45) Date of Patent:     *Apr. 21, 2020

(54)   MULTI-STREAM DATA COLLECTION                                    (58)    Field of Classification Search
       SYSTEM FOR NONINVASIVE                                                  CPC .............. A61B 5/1455; A61B 5/14551; A61B
       MEASUREMENT OF BLOOD                                                                 5/14552; A61B 5/14532; A61B 5/14546;
       CONSTITUENTS
                                                                                                   (Continued)
(71)   Applicant: Masimo Corporation, Irvine, CA (US)
                                                                       (56)                     References Cited
(72)   Inventors: Jeroen Poeze, Rancho Santa Margarita,                               U.S. PATENT DOCUMENTS
                  CA (US); Marcelo Lamego, Cupertino,
                  CA (US); Sean Merritt, Lake Forest,                         3,910,701 A        10/1975 Henderson et al.
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                  Opeinde (NL); Ferdyan Lesmana,                                   FOREIGN PATENT DOCUMENTS
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                  Laguna Niguel, CA (US); Greg Olsen,                  CN               1270793 A          10/2000
                                                                       CN             101484065 B          11/2011
                  Lake Forest, CA (US)
                                                                                                   (Continued)
(73)   Assignee: Masimo Corporation, Irvine, CA (US)
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( *)   Notice:      Subject to any disclaimer, the term ofthis
                    patent is extended or adjusted under 35            US 8,845,543 B2, 09/2014, Diab et al. (withdrawn)
                    U.S.C. 154(b) by O days.                                                       (Continued)
                    This patent is subject to a terminal dis-
                                                                       Primary Examiner - Eric F Winakur
                    claimer.
                                                                       Assistant Examiner - Chu Chuan Liu
(21)   Appl. No.: 16/725,292                                           (74) Attorney, Agent, or Firm - Knobbe Martens Olson
                                                                       & Bear LLP
(22)   Filed:       Dec. 23, 2019
                                                                       (57)                       ABSTRACT
                Related U.S. Application Data
                                                                       The present disclosure relates to noninvasive methods,
(63)   Continuation of application No. 16/534,949, filed on            devices, and systems for measuring various blood constitu-
       Aug. 7, 2019, which is a continuation of application
                                                                       ents or analytes, such as glucose. In an embodiment, a light
                        (Continued)                                    source comprises LEDs and super-luminescent LEDs. The
                                                                       light source emits light at at least wavelengths of about 1610
(51)   Int. Cl.                                                        nm, about 1640 nm, and about 1665 nm. In an embodiment,
       A61B 511455            (2006.01)                                the detector comprises a plurality of photodetectors arranged
       A61B 5100              (2006.01)                                in a special geometry comprising one of a substantially
       A61B 51145             (2006.01)                                linear substantially equal spaced geometry, a substantially
(52)   U.S. Cl.                                                        linear substantially non-equal spaced geometry, and a sub-
       CPC ........ A61B 511455 (2013.01); A61B 5114532                stantially grid geometry.
                      (2013.01); A61B 5114546 (2013.01);
                        (Continued)                                                   30 Claims, 65 Drawing Sheets

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(60)    Provisional application No. 61/086,060, filed on Aug.          D353,196 S    12/1994   Savage et al.
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(52)    U.S. Cl.                                                       5,462,051 A   10/1995   Oka et al.
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(58)    Field of Classification Search                                 5,497,771 A    3/1996   Rosenheimer
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                         SENSOR 101                                                    MONITOR 109


                         102
     EMITTER                                  ✓ DETECTORS                 INPUT DATA
                                                          106                             110
       104




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                                  •                         INTERFACE         PROCESSOR
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                                  (                                   r---                 OUTPUT
                                                                                            DATA




                                                                                                                             Page: 22
                                             MEASUREMENT
         DRIVER                                  DATA
                                                                                     USER
                     OPTIONAL OPTIONAL                                            INTERFACE
                               NOISE
                      TISSUE   SHIELD




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                        105                              ______ J                112
                                MEMORY                   ________ J                                               d
                                                                                                      NETWORK     r.,;_
                                                                                           STORAGE   INTERFACE
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                                                         FIG. 1                            114       116
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                                     SENSOR 201a
           200A

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                                                                       EMITTER SHELL
                                                                            204
 MONITOR
  209a
     ~
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                                                                          DETECTOR
CONTROL                                                                     SHELL
BUTTONS                                                                      206
  208a




                                 /
                  DISPLAY 210a




                                       FIG. 2A

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           200C
                                                   SENSOR
               ~                                       201c

                                                         ~
                          CABLE
                           212

                             ~~



                                                                 STRAP
                                                                  214
                                               DISPLAY
                                                210c
           DISPLAY
           BUTTONS
              208c                   MONITOR
                                       209c




                                       FIG. 2C




                                         18
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     200D

       ~                                         DISPLAY
                                                   210d




                                                                           SENSOR
                                                                               201d

ETHERNET PORT
                                                                          I/
  (OPTIONAL)
     218                  CABLE
                 I          212
   USS INTERFACE
    (OPTIONAL)
           216



                                      FIG. 2D




                                        19
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         301A\



                  304a


                                                                350a



        307a




                      340



       308a

                                                       ------315a

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                                              310




                            314
                                   FIG. 3B


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      301A

            \            304a
                                                           /301a
                                                                   350a


            307




                          322
                  323

        308a




                                                           321
                                                    310
      370




                                314
                                         FIG. 3C



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                                        Appx00331
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                                                          307b




                                                      ~302b 308b


   304b


    306b




                                    FIG. 3D




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                                  Appx00332
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                                                            DETECTOR
                                                              SHELL
                                                               306b




                              FIG. 3E




                                     24
                                  Appx00333
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                                 FIG. 4A
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                                 FIG. 48                 420
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                                 FIG. 4C

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                                    FIG. 6A
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                    605             FIG. 6B
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                                    FIG. 6C

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                                    FIG. 6D
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                                    Appx00337
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                                  Appx00338
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                                                                                                             EMITTER
        701A                                                                                                 HOUSING
                                                                                                                   704a
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                                                                                                                                706a
                                                                         SUBMOUNT
                                                                            707a

                        DETECTOR
                         SIGNAL
                                  107



                                                       FIG. 7A


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                                                           Appx00339
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                  DETECTOR
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                              FIG. 78


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                                  Appx00340
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    FIG. SA


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    FIG. 8B


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    FIG. SC
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    FIG. 8D
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                                             Appx00341
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                                                                      1031                 A NOISE FLOOR FOR OPENING 3

                                                                      1032 -               x NOISE FLOOR FOR OPENING 4
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                                                       FIG. 10A



                                                          Appx00343
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                            PERFORMANCE OF CONDUCTIVE NOISE SHIELD                  ✓ 1oso                  •




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                                                              1081-            NOISE FLOOR FOR OPENING 3
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                                                              1082 ~         x NOISE FLOOR FOR OPENING 4

                                               FIG. 10B       1083 _ j




                                                  Appx00344
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                                EMITTER 1104



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  THERMISTOR
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      DRIVER
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                   SIDE EMITTING-~
                       LEDS
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                                      FIG. 11A
         CONTROL
          SIGNAL




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                                    Appx00345
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    Power (mW)

100 mW                                                    ~1.25ms




 10mW




 1mW
                                                             1660      1615
                                                   1630




0.1 mW



          ~0.8ms
           ~                          1330
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            905              1200

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                                                                      STABILIZATION
                   ~0.08ms                        ~0.08ms                 TIME
                                     Time (ms)


                                    FIG. 11 B


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                                     Appx00346
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                                           Appx00348
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                                              DETECTOR1




                                                      DETECTOR SUBM OUNT
               DETECTOR3                                      1200




                                  FIG. 12A




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                                  Appx00349
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                                    Appx00350
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                                  DETECTOR1




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                                  DETECTOR2
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                                  DETECTOR3
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                                  DETECTOR4
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                           DETECTOR SUBM OUNT          1200




                             FIG. 12C



                                      42
                                  Appx00351
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                                     DETECTOR1

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              DETECTOR2      .
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                                                     ~

                                                     ~    DETECTOR3




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                                     DETECTOR4




                                 DETECTOR SUBM OUNT 1200




                                  FIG. 12D



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                                   Appx00352
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                                                                    ANODE 1208




PHOTOD!ODE                                                                    1204B
   1202


    1204A




                                  ACTIVE AREA
       CATHODE                    1204
        (BACK)
         1206


                                         FIG. 12E




                                         44
                                  Appx00353
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                                                                   ANODE 1208




 PHOTODIODE
    1202




                                    ACTIVE AREAS
        CATHODE
         (BACK)
          1206


                                     FIG. 12F




                                       45
                                   Appx00354
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                                                                  ANODE 1208




 PHOTODIODE
    1202




       CATHODE                     ACTIVE AREAS
        (BACK)
         1206


                                    FIG. 12G




                                       46
                                   Appx00355
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                                                                  ANODE 1208




 PHOTODIODE
    1202




       CATHODE                     ACTIVE AREAS          1204G
        (BACK)
         1206


                                     FIG. 12H




                                       47
                                   Appx00356
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               FIG. 13
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                                                     48
                                               Appx00357
        Case: 22-1972   Document: 33-2      Page: 56    Filed: 05/11/2023


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                                     FIG. 14A




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                                    Appx00358
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                        FIG. 148


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                                  Appx00359
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                                  FIG. 14C




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                                   Appx00360
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                                 FIG. 14D




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                                  Appx00361
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                             FIG. 14E




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      1410c



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                                                   306f


                                          1403



                          FIG. 14F




                                     54
                                  Appx00363
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                                   FIG. 14G




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                                  Appx00364
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                      306f




                             FIG. 14H




                                     56
                                  Appx00365
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                                     FIG. 141



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                                     Appx00366
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                                                         Appx00368
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                                                                      FIG. 15J




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                           FIG. 15J (CONT.)
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                                        Appx00377
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                                      FIG. 15K
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                                           Appx00378
      Case: 22-1972    Document: 33-2                Page: 77          Filed: 05/11/2023


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                      FIG. 15K {CONT.)
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                                  Appx00379
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                         FIG. 15K (CONT.)
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          SENSOR WITH INTEGRATED FRONTEND                                                                 11
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                                                                    FIG. 15L


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      Case: 22-1972       Document: 33-2      Page: 80    Filed: 05/11/2023


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     FIG. 17

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                                  Appx00383
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                                        FIG. 18




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                                                    FIG. 19




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                                                     Appx00385
             Case: 22-1972       Document: 33-2                    Page: 84       Filed: 05/11/2023


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                                                 FIG. 20




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                                             Appx00386
          Case: 22-1972              Document: 33-2     Page: 85   Filed: 05/11/2023


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                                             Appx00387
                   Case: 22-1972   Document: 33-2              Page: 86       Filed: 05/11/2023


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                                      Hbt reference (ABL800, g/dl)




                                                FIG. 22




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                                                Appx00388
              Case: 22-1972                 Document: 33-2                  Page: 87            Filed: 05/11/2023


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        MULTI-STREAM DATA COLLECTION                                                              -continued
           SYSTEM FOR NONINVASIVE
           MEASUREMENT OF BLOOD                                        application Filing
                                                                        Ser. No. Date         Title                       Attonery Docket
                CONSTITUENTS
                                                                       12/534,823 Aug. 3, 2009 Multi-Stream Sensor for    MASCER.004A
                RELATED APPLICATIONS                                                           Non-Invasive Measurement
                                                                                               of Blood Constituents
                                                                       12/534,825 Aug. 3, 2009 Multi-Stream Emitter for   MASCER.005A
   This application is a continuation of U.S. patent applica-                                  Non-Invasive Measurement
tion Ser. No. 16/534,949, filed Aug. 7, 2019, which is a                                       of Blood Constituents
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continuation of U.S. patent application Ser. No. 16/409,515,
filed May 10, 2019, which is a continuation of U.S. patent               The foregoing applications are hereby incorporated by
application Ser. No. 16/261,326, filed Jan. 29, 2019, which           reference in their entirety.
is a continuation of U.S. patent application Ser. No. 16/212,
537, filed Dec. 6, 2018, which is a continuation of U.S. 15                                   BACKGROUND
patent application Ser. No. 14/981,290 filed Dec. 28, 2015,
which is a continuation of U.S. patent application Ser. No.              The standard of care in caregiver environments includes
                                                                      patient monitoring through spectroscopic analysis using, for
12/829,352 filed Jul. 1, 2010, which is a continuation of U.S.
                                                                      example, a pulse oximeter. Devices capable of spectroscopic
patent application Ser. No. 12/534,827 filed Aug. 3, 2009,            analysis generally include a light source(s) transmitting
which claims the benefit of priority under 35 U.S.C. § 119(e) 20 optical radiation into or reflecting off a measurement site,
of the following U.S. Provisional Patent Application Nos.             such as, body tissue carrying pulsing blood. After attenua-
61/086,060 filed Aug. 4, 2008, 61/086,108 filed Aug. 4,               tion by tissue and fluids of the measurement site, a photo-
2008, 61/086,063 filed Aug. 4, 2008, 61/086,057 filed Aug.            detection device(s) detects the attenuated light and outputs a
4, 2008, and 61/091,732 filed Aug. 25, 2008. U.S. patent              detector signal(s) responsive to the detected attenuated light.
application Ser. No. 12/829,352 is also a continuation-in- 25 A signal processing device(s) process the detector(s)
part of U.S. patent application Ser. No. 12/497,528 filed Jul.        signal(s) and outputs a measurement indicative of a blood
                                                                      constituent of interest, such as glucose, oxygen, met hemo-
2, 2009, which claims the benefit of priority under 35 U.S.C.
                                                                      globin, total hemoglobin, other physiological parameters, or
§ 119(e) of the following U.S. Provisional Patent Applica-            other data or combinations of data useful in determining a
tion Nos. 61/086,060 filed Aug. 4, 2008, 61/086,108 filed             state or trend of wellness of a patient.
Aug. 4, 2008, 61/086,063 filed Aug. 4, 2008, 61/086,057 30               In noninvasive devices and methods, a sensor is often
filed Aug. 4, 2008, 61/078,228 filed Jul. 3, 2008, 61/078,207         adapted to position a finger proximate the light source and
filed Jul. 3, 2008, and 61/091,732 filed Aug. 25, 2008. U.S.          light detector. For example, noninvasive sensors often
patent application Ser. No. 12/497,528 also claims the                include a clothespin-shaped housing that includes a con-
benefit of priority under 35 U.S.C. § 120 as a continuation- 35 toured bed conforming generally to the shape of a finger.
in-part of the following U.S. Design patent application Ser.
                                                                                                SUMMARY
No. 29/323,409 filed Aug. 25, 2008 and Ser. No. 29/323,408
filed Aug. 25, 2008. U.S. patent application Ser. No. 12/829,            This disclosure describes embodiments of noninvasive
352 is also a continuation-in-part of U.S. patent application         methods, devices, and systems for measuring a blood con-
Ser. No. 12/497,523 filed Jul. 2, 2009, which claims the 40 stituent or analyte, such as oxygen, carbon monoxide,
benefit of priority under 35 U.S.C. § 119(e) of the following         methemoglobin, total hemoglobin, glucose, proteins, glu-
U.S. Provisional Patent Application Nos. 61/086,060 filed             cose, lipids, a percentage thereof (e.g., saturation) or for
Aug. 4, 2008, 61/086,108 filed Aug. 4, 2008, 61/086,063               measuring many other physiologically relevant patient char-
filed Aug. 4, 2008, 61/086,057 filed Aug. 4, 2008, 61/078,            acteristics. These characteristics can relate, for example, to
228 filed Jul. 3, 2008, 61/078,207 filed Jul. 3, 2008, and 45 pulse rate, hydration, trending information and analysis, and
61/091,732 filed Aug. 25, 2008. U.S. patent application Ser.          the like.
No. 12/497,523 also claims the benefit of priority under 35              In an embodiment, the system includes a noninvasive
U.S.C. § 120 as a continuation-in-part of the following U.S.          sensor and a patient monitor communicating with the non-
Design patent application Ser. No. 29/323,409 filed Aug. 25,          invasive sensor. The non-invasive sensor may include dif-
2008 and Ser. No. 29/323,408 filed Aug. 25, 2008.                  50 ferent architectures to implement some or all of the dis-
   This application is related to the following U.S. Patent           closed features. In addition, an artisan will recognize that the
Applications:                                                         non-invasive sensor may include or may be coupled to other
                                                                      components, such as a network interface, and the like.
                                                                      Moreover, the patient monitor may include a display device,
 application Filing                                                55 a network interface communicating with any one or com-
  Ser. No. Date          Title                     Attonery Docket    bination of a computer network, a handheld computing
 12/497,528 Jul. 2, 2009 Noise Shielding for       MASCER.006A        device, a mobile phone, the Internet, or the like. In addition,
                         Noninvasive Device                           embodiments may include multiple optical sources that emit
 12/497,523 Jul. 2, 2009 Contoured Protrusion for  MASCER.007A        light at a plurality of wavelengths and that are arranged from
                         Improving Spectroscopic
                                                                   60 the perspective of the light detector(s) as a point source.
                         Measurement of Blood
                         Constituents                                    In an embodiment, a noninvasive device is capable of
 12/497,506 Jul. 2, 2009 Heat Sink for Noninvasive MASCER.0llA        producing a signal responsive to light attenuated by tissue at
                         Medical Sensor                               a measurement site. The device may comprise an optical
 12/534,812 Aug. 3, 2009 Multi-Stream Sensor Front MASCER.003A
                         Ends for Non-Invasive
                                                                      source and a plurality of photodetectors. The optical source
                         Measurement of Blood                      65 is configured to emit optical radiation at least at wavelengths
                         Constituents                                 between about 1600 nm and about 1700 nm. The photode-
                                                                      tectors are configured to detect the optical radiation from
                                                                  80
                                                         Appx00389
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said optical source after attenuation by the tissue of the          signals from the plurality of detectors into a digital output
measurement site and each output a respective signal stream         signal having a stream for each of the plurality of detectors;
responsive to the detected optical radiation.                       and an output configured to provide the digital output signal.
   In an embodiment, a noninvasive, physiological sensor is            In an embodiment, a conversion processor for a physi-
capable of outputting a signal responsive to a blood analyte 5 ological, noninvasive sensor comprises: a multi-stream input
present in a monitored patient. The sensor may comprise a           configured to receive signals from a plurality of detectors in
sensor housing, an optical source, and photodetectors. The          the sensor, wherein the signals are responsive to optical
optical source is positioned by the housing with respect to a       radiation from a tissue site; a modulator that converts the
tissue site of a patient when said housing is applied to the        multi-stream input into a digital bit-stream; and a signal
patient. The photodetectors are positioned by the housing 10
                                                                    processor that produces an output signal from the digital
with respect to said tissue site when the housing is applied
                                                                    bit-stream.
to the patient with a variation in path length among at least
                                                                       In an embodiment, a front-end interface for a noninvasive,
some of the photodetectors from the optical source. The
photodetectors are configured to detect a sequence of optical       physiological   sensor comprises: a set of inputs configured to
radiation from the optical source after attenuation by tissue 15 receive signals from a plurality of detectors in the sensor; a
of the tissue site. The photodetectors may be each configured       set of respective transimpedance amplifiers for each detector
to output a respective signal stream responsive to the              configured to convert the signals from the plurality of
detected sequence of optical radiation. An output signal            detectors into an output signal having a stream for each of
responsive to one or more of the signal streams is then             the plurality of detectors; and an output configured to
usable to determine the blood analyte based at least in part 20 provide the output signal.
on the variation in path length.                                       In certain embodiments, a noninvasive sensor interfaces
   In an embodiment, a method of measuring an analyte               with tissue at a measurement site and deforms the tissue in
based on multiple streams of optical radiation measured             a way that increases signal gain in certain desired wave-
from a measurement site is provided. A sequence of optical          lengths.
radiation pulses is emitted to the measurement site. At a first 25     In some embodiments, a detector for the sensor may
location, a first stream of optical radiation is detected from      comprise a set of photodiodes that are arranged in a spatial
the measurement site. At least at one additional location           configuration. This spatial configuration may allow, for
different from the first location, an additional stream of          example, signal analysis for measuring analytes like glu-
optical radiation is detected from the measurement site. An         cose. In various embodiments, the detectors can be arranged
output measurement value indicative of the analyte is then 30 across multiple locations in a spatial configuration. The
determined based on the detected streams of optical radia-          spatial configuration provides a geometry having a diversity
tion.                                                               of path lengths among the detectors. For example, the
   In various embodiments, the present disclosure relates to        detector in the sensor may comprise multiple detectors that
an interface for a noninvasive sensor that comprises a              are arranged to have a sufficient difference in mean path
front-end adapted to receive an input signals from optical 35 length to allow for noise cancellation and noise reduction.
detectors and provide corresponding output signals. In an              In an embodiment, a physiological, noninvasive detector
embodiment, the front-end is comprised of switched-capaci-          is configured to detect optical radiation from a tissue site.
tor circuits that are capable of handling multiple streams of       The detector comprises a set of photodetectors and a con-
signals from the optical detectors. In another embodiment,          version processor. The set of photodetectors each provide a
the front-end comprises transimpedance amplifiers that are 40 signal stream indicating optical radiation from the tissue
capable of handling multiple streams of input signals. In           site. The set of photodetectors are arranged in a spatial
addition, the transimpedance amplifiers may be configured           configuration that provides a variation in path lengths
based on the characteristics of the transimpedance amplifier        between at least some of the photodetectors. The conversion
itself, the characteristics of the photodiodes, and the number      processor that provides information indicating an analyte in
of photodiodes coupled to the transimpedance amplifier.          45 the tissue site based on ratios of pairs of the signal streams.
   In disclosed embodiments, the front-ends are employed in            The present disclosure, according to various embodi-
noninvasive sensors to assist in measuring and detecting            ments, relates to noninvasive methods, devices, and systems
various analytes. The disclosed noninvasive sensor may also         for measuring a blood analyte, such as glucose. In the
include, among other things, emitters and detectors posi-           present disclosure, blood analytes are measured noninva-
tioned to produce multi-stream sensor information. An arti- 50 sively based on multi-stream infrared and near-infrared
san will recognize that the noninvasive sensor may have             spectroscopy. In some embodiments, an emitter may include
different architectures and may include or be coupled to            one or more sources that are configured as a point optical
other components, such as a display device, a network               source. In addition, the emitter may be operated in a manner
interface, and the like. An artisan will also recognize that the    that allows for the measurement of an analyte like glucose.
front-ends may be employed in any type of noninvasive 55 In embodiments, the emitter may comprise a plurality of
sensor.                                                             LEDs that emit a sequence of pulses of optical radiation
   In an embodiment, a front-end interface for a noninvasive,       across a spectrum of wavelengths. In addition, in order to
physiological sensor comprises: a set of inputs configured to       achieve the desired SNR for detecting analytes like glucose,
receive signals from a plurality of detectors in the sensor; a      the emitter may be driven using a progression from low
set of transimpedance amplifiers configured to convert the 60 power to higher power. The emitter may also have its duty
signals from the plurality of detectors into an output signal       cycle modified to achieve a desired SNR.
having a stream for each of the plurality of detectors; and an         In an embodiment, a multi-stream emitter for a noninva-
output configured to provide the output signal.                     sive, physiological device configured to transmit optical
   In an embodiment, a front-end interface for a noninvasive,       radiation in a tissue site comprises: a set of optical sources
physiological sensor comprises: a set of inputs configured to 65 arranged as a point optical source; and a driver configured to
receive signals from a plurality of detectors in the sensor; a      drive the at least one light emitting diode and at least one
set of switched capacitor circuits configured to convert the        optical source to transmit near-infrared optical radiation at
                                                                81
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sufficient power to measure an analyte in tissue that responds           FIG. 5 illustrates an example graph depicting possible
to near-infrared optical radiation.                                   effects of a protrusion on light transmittance, according to an
   In an embodiment, an emitter for a noninvasive, physi-             embodiment of the disclosure;
ological device configured to transmit optical radiation in a            FIGS. 6A through 6D illustrate perspective, front eleva-
tissue site comprises: a point optical source comprising an 5 tion, side and top views of another example protrusion,
optical source configured to transmit infrared and near-              according to an embodiment of the disclosure;
infrared optical radiation to a tissue site; and a driver                FIG. 6E illustrates an example sensor incorporating the
configured to drive the point optical source at a sufficient          protrusion of FIGS. 6A through 6D, according to an embodi-
power and noise tolerance to effectively provide attenuated           ment of the disclosure;
                                                                   10
optical radiation from a tissue site that indicates an amount            FIGS. 7A through 7B illustrate example arrangements of
of glucose in the tissue site.                                        conductive glass that may be employed in the system of FIG.
   In an embodiment, a method of transmitting a stream of             1, according to embodiments of the disclosure;
pulses of optical radiation in a tissue site is provided. At least       FIGS. SA through SD illustrate an example top elevation
one pulse of infrared optical radiation having a first pulse 15 view, side views, and a bottom elevation view of the
width is transmitted at a first power. At least one pulse of          conductive glass that may be employed in the system of FIG.
near-infrared optical radiation is transmitted at a power that        1, according to embodiments of the disclosure;
is higher than the first power.                                          FIG. 9 shows example comparative results obtained by an
   In an embodiment, a method of transmitting a stream of             embodiment of a sensor;
pulses of optical radiation in a tissue site is provided. At least 20    FIGS. lOA and 10B illustrate comparative noise floors of
one pulse of infrared optical radiation having a first pulse          various embodiments of the present disclosure;
width is transmitted at a first power. At least one pulse of             FIG. llA illustrates an exemplary emitter that may be
near-infrared optical radiation is then transmitted, at a sec-        employed in the sensor, according to an embodiment of the
ond power that is higher than the first power.                        disclosure;
   For purposes of sunnnarizing the disclosure, certain 25               FIG. 11B illustrates a configuration of emitting optical
aspects, advantages and novel features of the inventions              radiation into a measurement site for measuring blood
have been described herein. It is to be understood that not           constituents, according to an embodiment of the disclosure;
necessarily all such advantages can be achieved in accor-                FIG. llC illustrates another exemplary emitter that may
dance with any particular embodiment of the inventions                be employed in the sensor according to an embodiment of
disclosed herein. Thus, the inventions disclosed herein can 30 the disclosure;
be embodied or carried out in a marmer that achieves or                  FIG. llD illustrates another exemplary emitter that may
optimizes one advantage or group of advantages as taught              be employed in the sensor according to an embodiment of
herein without necessarily achieving other advantages as can          the disclosure;
be taught or suggested herein.                                     35
                                                                         FIG. 12A illustrates an example detector portion that may
                                                                      be employed in an embodiment of a sensor, according to an
       BRIEF DESCRIPTION OF THE DRAWINGS                              embodiment of the disclosure;
                                                                         FIGS. 12B through 12D illustrate exemplary arrange-
   Throughout the drawings, reference numbers can be re-              ments of detectors that may be employed in an embodiment
used to indicate correspondence between referenced ele- 40 of the sensor, according to some embodiments of the dis-
ments. The drawings are provided to illustrate embodiments            closure;
of the inventions described herein and not to limit the scope            FIGS. 12E through 12H illustrate exemplary structures of
thereof.                                                              photodiodes that may be employed in embodiments of the
   FIG. 1 illustrates a block diagram of an example data              detectors, according to some embodiments of the disclosure;
collection system capable of noninvasively measuring one 45              FIG. 13 illustrates an example multi-stream operation of
or more blood analytes in a monitored patient, according to           the system of FIG. 1, according to an embodiment of the
an embodiment of the disclosure;                                      disclosure;
   FIGS. 2A-2D illustrate an exemplary handheld monitor                  FIG. 14A illustrates another example detector portion
and an exemplary noninvasive optical sensor of the patient            having a partially cylindrical protrusion that can be
monitoring system of FIG. 1, according to embodiments of 50 employed in an embodiment of a sensor, according to an
the disclosure;                                                       embodiment of the disclosure;
   FIGS. 3A-3C illustrate side and perspective views of an               FIG. 14B depicts a front elevation view of the partially
exemplary noninvasive sensor housing including a finger               cylindrical protrusion of FIG. 14A;
bed protrusion and heat sink, according to an embodiment of              FIGS. 14C through 14E illustrate embodiments of a
the disclosure;                                                    55 detector submount;
   FIG. 3D illustrates a side view of another example non-               FIGS. 14F through 14H illustrate embodiment of portions
invasive sensor housing including a heat sink, according to           of a detector shell;
an embodiment of the disclosure;                                         FIG. 141 illustrates a cutaway view of an embodiment of
   FIG. 3E illustrates a perspective view of an example               a sensor;
noninvasive sensor detector shell including example detec- 60            FIGS. 15A through 15F illustrate embodiments of sensors
tors, according to an embodiment of the disclosure;                   that include heat sink features;
   FIG. 3F illustrates a side view of an example noninvasive             FIGS. 15G and 15H illustrate embodiments of connector
sensor housing including a finger bed protrusion and heat             features that can be used with any of the sensors described
sink, according to an embodiment of the disclosure;                   herein;
   FIGS. 4A through 4C illustrate top elevation, side and top 65         FIG. 151 illustrates an exemplary architecture for a tran-
perspective views of an example protrusion, according to an           simpedance-based front-end that may be employed in any of
embodiment of the disclosure;                                         the sensors described herein;
                                                                 82
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                              7                                                                   8
   FIG. 15J illustrates an exemplary noise model for con-          helpful in reducing light noise. In an embodiment, such light
figuring the transimpedance-based front-ends shown in FIG.         noise includes light that would otherwise be detected at a
151;                                                               photodetector that has not been attenuated by tissue of the
   FIG. 15K shows different architectures and layouts for          measurement site of a patient sufficient to cause the light to
various embodiments of a sensor and its detectors;               5 adequately included information indicative of one or more
   FIG. 15L illustrates an exemplary architecture for a            physiological parameters of the patient. Such light noise
switched-capacitor-based front-end that may be employed in         includes light piping.
any of the sensors described herein;                                  In an embodiment, the protrusion can be formed from the
   FIGS. 16A and 16B illustrate embodiments of disposable          curved bed, or can be a separate component that is posi-
optical sensors;                                                lO tionable with respect to the bed. In an embodiment, a lens
   FIG. 17 illustrates an exploded view of certain compo-          made from any appropriate material is used as the protru-
nents of an example sensor; and
                                                                   sion. The protrusion can be convex in shape. The protrusion
   FIGS. 18 through 22 illustrate various results obtained by
                                                                   can also be sized and shaped to conform the measurement
an exemplary sensor of the disclosure.
                                                                15
                                                                   site into a flat or relatively flat surface. The protrusion can
                 DETAILED DESCRIPTION                              also be sized to conform the measurement site into a rounded
                                                                   surface, such as, for example, a concave or convex surface.
   The present disclosure generally relates to non-invasive        The protrusion can include a cylindrical or partially cylin-
medical devices. In the present disclosure, a sensor can           drical shape. The protrusion can be sized or shaped differ-
measure various blood constituents or analytes noninva- 20 ently for different types of patients, such as an adult, child,
sively using multi-stream spectroscopy. In an embodiment,          or infant. The protrusion can also be sized or shaped
the multi-stream spectroscopy can employ visible, infrared         differently for different measurement sites, including, for
and near infrared wavelengths. As disclosed herein, the            example, a finger, toe, hand, foot, ear, forehead, or the like.
sensor is capable of noninvasively measuring blood analytes        The protrusion can thus be helpful in any type of noninva-
or percentages thereof (e.g., saturation) based on various 25 sive sensor. The external surface of the protrusion can
combinations of features and components.                           include one or more openings or windows. The openings can
   In various embodiments, the present disclosure relates to       be made from glass to allow attenuated light from a mea-
an interface for a noninvasive glucose sensor that comprises       surement site, such as a finger, to pass through to one or
a front-end adapted to receive an input signals from optical       more detectors. Alternatively, some of all of the protrusion
detectors and provide corresponding output signals. The 30 can be a lens, such as a partially cylindrical lens.
front-end may comprise, among other things, switched                  The sensor can also include a shielding, such as a metal
capacitor circuits or transimpedance amplifiers. In an             enclosure as described below or embedded within the pro-
embodiment, the front-end may comprise switched capacitor          trusion to reduce noise. The shielding can be constructed
circuits that are configured to convert the output of sensor's     from a conductive material, such as copper, in the form of a
detectors into a digital signal. In another embodiment, the 35 metal cage or enclosure, such as a box. The shielding can
front-end may comprise transimpedance amplifiers. These            include a second set of one or more openings or windows.
transimpedance amplifiers may be configured to match one           The second set of openings can be made from glass and
or more photodiodes in a detector based on a noise model           allow light that has passed through the first set of windows
that accounts for characteristics, such as the impedance, of       of the external surface of the protrusion to pass through to
the transimpedance amplifier, characteristics of each photo- 40 one or more detectors that can be enclosed, for example, as
diode, such as the impedance, and the number of photo-             described below.
diodes coupled to the transimpedance amplifier.                       In various embodiments, the shielding can include any
   In the present disclosure, the front-ends are employed in       substantially transparent, conductive material placed in the
a sensor that measures various blood analytes noninvasively        optical path between an emitter and a detector. The shielding
using multi-stream spectroscopy. In an embodiment, the 45 can be constructed from a transparent material, such as
multi-stream spectroscopy can employ visible, infrared and         glass, plastic, and the like. The shielding can have an
near infrared wavelengths. As disclosed herein, the sensor is      electrically conductive material or coating that is at least
capable of noninvasively measuring blood analytes, such as         partially transparent. The electrically conductive coating can
glucose, total hemoglobin, methemoglobin, oxygen content,          be located on one or both sides of the shielding, or within the
and the like, based on various combinations of features and 50 body of the shielding. In addition, the electrically conductive
components.                                                        coating can be uniformly spread over the shielding or may
   In an embodiment, a physiological sensor includes a             be patterned. Furthermore, the coating can have a uniform or
detector housing that can be coupled to a measurement site,        varying thickness to increase or optimize its shielding effect.
such as a patient's finger. The sensor housing can include a       The shielding can be helpful in virtually any type of non-
curved bed that can generally conform to the shape of the 55 invasive sensor that employs spectroscopy.
measurement site. In addition, the curved bed can include a           In an embodiment, the sensor can also include a heat sink.
protrusion shaped to increase an amount of light radiation         In an embodiment, the heat sink can include a shape that is
from the measurement site. In an embodiment, the protru-           functional in its ability to dissipate excess heat and aestheti-
sion is used to thin out the measurement site. This allows the     cally pleasing to the wearer. For example, the heat sink can
light radiation to pass through less tissue, and accordingly is 60 be configured in a shape that maximizes surface area to
attenuated less. In an embodiment, the protrusion can be           allow for greater dissipation of heat. In an embodiment, the
used to increase the area from which attenuated light can be       heat sink includes a metalicized plastic, such as plastic
measured. In an embodiment, this is done through the use of        including carbon and aluminum to allow for improved
a lens which collects attenuated light exiting the measure-        thermal conductivity and diffusivity. In an embodiment, the
ment site and focuses onto one or more detectors. The 65 heat sink can advantageously be inexpensively molded into
protrusion can advantageously include plastic, including a         desired shapes and configurations for aesthetic and func-
hard opaque plastic, such as a black or other colored plastic,     tional purposes. For example, the shape of the heat sink can
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be a generally curved surface and include one or more fins,         may be driven using a progression from low power to higher
undulations, grooves or channels, or combs.                         power. In addition, the emitter may have its duty cycle
   The sensor can include photocommunicative components,            modified to achieve a desired SNR.
such as an emitter, a detector, and other components. The              The emitter may be constructed of materials, such as
emitter can include a plurality of sets of optical sources that, 5 aluminum nitride and may include a heat sink to assist in
in an embodiment, are arranged together as a point source.          heat dissipation. A thermistor may also be employed to
The various optical sources can emit a sequence of optical          account for heating effects on the LEDs. The emitter may
radiation pulses at different wavelengths towards a measure-        further comprise a glass window and a nitrogen environment
ment site, such as a patient's finger. Detectors can then           to improve transmission from the sources and prevent oxi-
detect optical radiation from the measurement site. The 10 dative effects.
optical sources and optical radiation detectors can operate at         The sensor can be coupled to one or more monitors that
any appropriate wavelength, including, as discussed herein,         process and/or display the sensor's output. The monitors can
infrared, near infrared, visible light, and ultraviolet. In         include various components, such as a sensor front end, a
addition, the optical sources and optical radiation detectors       signal processor, a display, etc.
can operate at any appropriate wavelength, and such modi- 15           The sensor can be integrated with a monitor, for example,
fications to the embodiments desirable to operate at any such       into a handheld unit including the sensor, a display and user
wavelength will be apparent to those skilled in the art.            controls. In other embodiments, the sensor can communicate
   In certain embodiments, multiple detectors are employed          with one or more processing devices. The communication
and arranged in a spatial geometry. This spatial geometry           can be via wire(s), cable(s), flex circuit(s), wireless tech-
provides a diversity of path lengths among at least some of 20 nologies, or other suitable analog or digital communication
the detectors and allows for multiple bulk and pulsatile            methodologies and devices to perform those methodologies.
measurements that are robust. Each of the detectors can             Many of the foregoing arrangements allow the sensor to be
provide a respective output stream based on the detected            attached to the measurement site while the device is attached
optical radiation, or a sum of output streams can be provided       elsewhere on a patient, such as the patient's arm, or placed
from multiple detectors. In some embodiments, the sensor 25 at a location near the patient, such as a bed, shelf or table.
can also include other components, such as one or more heat         The sensor or monitor can also provide outputs to a storage
sinks and one or more thermistors.                                  device or network interface.
   The spatial configuration of the detectors provides a               Reference will now be made to the Figures to discuss
geometry having a diversity of path lengths among the               embodiments of the present disclosure.
detectors. For example, a detector in the sensor may com- 30           FIG. 1 illustrates an example of a data collection system
prise multiple detectors that are arranged to have a sufficient     100. In certain embodiments, the data collection system 100
difference in mean path length to allow for noise cancella-         noninvasively measure a blood analyte, such as oxygen,
tion and noise reduction. In addition, walls may be used to         carbon monoxide, methemoglobin, total hemoglobin, glu-
separate individual photodetectors and prevent mixing of            cose, proteins, glucose, lipids, a percentage thereof (e.g.,
detected optical radiation between the different locations on 35 saturation) or for measuring many other physiologically
the measurement site. A window may also be employed to              relevant patient characteristics. The system 100 can also
facilitate the passing of optical radiation at various wave-        measure additional blood analytes and/or other physiologi-
lengths for measuring glucose in the tissue.                        cal parameters useful in determining a state or trend of
   In the present disclosure, a sensor may measure various          wellness of a patient.
blood constituents or analytes noninvasively using spectros- 40        The data collection system 100 can be capable of mea-
copy and a recipe of various features. As disclosed herein,         suring optical radiation from the measurement site. For
the sensor is capable of non-invasively measuring blood             example, in some embodiments, the data collection system
analytes, such as, glucose, total hemoglobin, methemoglo-           100 can employ photodiodes defined in terms of area. In an
bin, oxygen content, and the like. In an embodiment, the            embodiment, the area is from about 1 mm2 -5 mm 2 (or
spectroscopy used in the sensor can employ visible, infrared 45 higher) that are capable of detecting about 100 nanoamps
and near infrared wavelengths. The sensor may comprise an           (nA) or less of current resulting from measured light at full
emitter, a detector, and other components. In some embodi-          scale. In addition to having its ordinary meaning, the phrase
ments, the sensor may also comprise other components, such          "at full scale" can mean light saturation of a photodiode
as one or more heat sinks and one or more thermistors.              amplifier (not shown). Of course, as would be understood by
   In various embodiments, the sensor may also be coupled 50 a person of skill in the art from the present disclosure,
to one or more companion devices that process and/or                various other sizes and types of photodiodes can be used
display the sensor's output. The companion devices may              with the embodiments of the present disclosure.
comprise various components, such as a sensor front-end, a             The data collection system 100 can measure a range of
signal processor, a display, a network interface, a storage         approximately about 2 nA to about 100 nA full scale. The
device or memory, etc.                                           55 data collection system 100 can also include sensor front-
   A sensor can include photocommunicative components,              ends that are capable of processing and amplifying current
such as an emitter, a detector, and other components. The           from the detector( s) at signal-to-noise ratios (SNRs) of about
emitter is configured as a point optical source that comprises      100 decibels (dB) or more, such as about 120 dB in order to
a plurality of LEDs that emit a sequence of pulses of optical       measure various desired analytes. The data collection sys-
radiation across a spectrum of wavelengths. In some 60 tern 100 can operate with a lower SNR if less accuracy is
embodiments, the plurality of sets of optical sources may           desired for an analyte like glucose.
each comprise at least one top-emitting LED and at least one           The data collection system 100 can measure analyte
super luminescent LED. In some embodiments, the emitter             concentrations, including glucose, at least in part by detect-
comprises optical sources that transmit optical radiation in        ing light attenuated by a measurement site 102. The mea-
the infrared or near-infrared wavelengths suitable for detect- 65 surement site 102 can be any location on a patient's body,
ing blood analytes like glucose. In order to achieve the            such as a finger, foot, ear lobe, or the like. For convenience,
desired SNR for detecting analytes like glucose, the emitter        this disclosure is described primarily in the context of a
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finger measurement site 102. However, the features of the                 In the depicted embodiment shown in FIG. 1, the sensor
embodiments disclosed herein can be used with other mea-              101 includes an emitter 104, a tissue shaper 105, a set of
surement sites 102.                                                   detectors 106, and a front-end interface 108. The emitter 104
   In the depicted embodiment, the system 100 includes an             can serve as the source of optical radiation transmitted
optional tissue thickness adjuster or tissue shaper 105, which 5 towards measurement site 102. As will be described in
can include one or more protrusions, bumps, lenses, or other          further detail below, the emitter 104 can include one or more
suitable tissue-shaping mechanisms. In certain embodi-                sources of optical radiation, such as LEDs, laser diodes,
ments, the tissue shaper 105 is a flat or substantially flat          incandescent bulbs with appropriate frequency-selective fil-
surface that can be positioned proximate the measurement              ters, combinations of the same, or the like. In an embodi-
site 102 and that can apply sufficient pressure to cause the 10 ment, the emitter 104 includes sets of optical sources that are
tissue of the measurement site 102 to be flat or substantially        capable of emitting visible and near-infrared optical radia-
flat. In other embodiments, the tissue shaper 105 is a convex         tion.
or substantially convex surface with respect to the measure-              In some embodiments, the emitter 104 is used as a point
ment site 102. Many other configurations of the tissue shaper         optical source, and thus, the one or more optical sources of
105 are possible. Advantageously, in certain embodiments, 15 the emitter 104 can be located within a close distance to each
the tissue shaper 105 reduces thickness of the measurement            other, such as within about a 2 mm to about 4 mm. The
site 102 while preventing or reducing occlusion at the                emitters 104 can be arranged in an array, such as is described
measurement site 102. Reducing thickness of the site can              in U.S. Publication No. 2006/0211924, filed Sep. 21, 2006,
advantageously reduce the amount of attenuation of the light          titled "Multiple Wavelength Sensor Emitters," the disclosure
because there is less tissue through which the light must 20 of which is hereby incorporated by reference in its entirety.
travel. Shaping the tissue in to a convex (or alternatively           In particular, the emitters 104 can be arranged at least in part
concave) surface can also provide more surface area from              as described in paragraphs [0061] through [0068] of the
which light can be detected.                                          aforementioned publication, which paragraphs are hereby
   The embodiment of the data collection system 100 shown             incorporated specifically by reference. Other relative spatial
also includes an optional noise shield 103. In an embodi- 25 relationships can be used to arrange the emitters 104.
ment, the noise shield 103 can be advantageously adapted to               For analytes like glucose, currently available non-inva-
reduce electromagnetic noise while increasing the transmit-           sive techniques often attempt to employ light near the water
tance of light from the measurement site 102 to one or more           absorbance minima at or about 1600 nm. Typically, these
detectors 106 (described below). For example, the noise               devices and methods employ a single wavelength or single
shield 103 can advantageously include a conductive coated 30 band of wavelengths at or about 1600 nm. However, to date,
glass or metal grid electrically communicating with one or            these techniques have been unable to adequately consis-
more other shields of the sensor 101 or electrically                  tently measure analytes like glucose based on spectroscopy.
grounded. In an embodiment where the noise shield 103                     In contrast, the emitter 104 of the data collection system
includes conductive coated glass, the coating can advanta-            100 can emit, in certain embodiments, combinations of
geously include indium tin oxide. In an embodiment, the 35 optical radiation in various bands of interest. For example,
indium tin oxide includes a surface resistivity ranging from          in some embodiments, for analytes like glucose, the emitter
approximately 30 ohms per square inch to about 500 ohms               104 can emit optical radiation at three (3) or more wave-
per square inch. In an embodiment, the resistivity is approxi-        lengths between about 1600 nm to about 1700 nm. In
mately 30, 200, or 500 ohms per square inch. As would be              particular, the emitter 104 can emit optical radiation at or
understood by a person of skill in the art from the present 40 about 1610 nm, about 1640 nm, and about 1665 nm. In some
disclosure, other resistivities can also be used which are less       circumstances, the use of three wavelengths within about
than about 30 ohms or more than about 500 ohms. Other                 1600 nm to about 1700 nm enable sufficient SNRs of about
conductive materials transparent or substantially transparent         100 dB, which can result in a measurement accuracy of
to light can be used instead.                                         about 20 mg/dL or better for analytes like glucose.
   In some embodiments, the measurement site 102 is 45                    In other embodiments, the emitter 104 can use two (2)
located somewhere along a non-dominant arm or a non-                  wavelengths within about 1600 nm to about 1700 nm to
dominant hand, e.g., a right-handed person's left arm or left         advantageously enable SNRs of about 85 dB, which can
hand. In some patients, the non-dominant arm or hand can              result in a measurement accuracy of about 25-30 mg/dL or
have less musculature and higher fat content, which can               better for analytes like glucose. Furthermore, in some
result in less water content in that tissue of the patient. Tissue 50 embodiments, the emitter 104 can emit light at wavelengths
having less water content can provide less interference with          above about 1670 nm. Measurements at these wavelengths
the particular wavelengths that are absorbed in a useful              can be advantageously used to compensate or confirm the
manner by blood analytes like glucose. Accordingly, in some           contribution of protein, water, and other non-hemoglobin
embodiments, the data collection system 100 can be used on            species exhibited in measurements for analytes like glucose
a person's non-dominant hand or arm.                               55 conducted between about 1600 nm and about 1700 nm. Of
   The data collection system 100 can include a sensor 101            course, other wavelengths and combinations of wavelengths
(or multiple sensors) that is coupled to a processing device          can be used to measure analytes and/or to distinguish other
or physiological monitor 109. In an embodiment, the sensor            types of tissue, fluids, tissue properties, fluid properties,
101 and the monitor 109 are integrated together into a single         combinations of the same or the like.
unit. In another embodiment, the sensor 101 and the monitor 60            For example, the emitter 104 can emit optical radiation
109 are separate from each other and communicate one with             across other spectra for other analytes. In particular, the
another in any suitable manner, such as via a wired or                emitter 104 can employ light wavelengths to measure vari-
wireless connection. The sensor 101 and monitor 109 can be            ous blood analytes or percentages (e.g., saturation) thereof.
attachable and detachable from each other for the conve-              For example, in one embodiment, the emitter 104 can emit
nience of the user or caregiver, for ease of storage, sterility 65 optical radiation in the form of pulses at wavelengths about
issues, or the like. The sensor 101 and the monitor 109 will          905 nm, about 1050 nm, about 1200 nm, about 1300 nm,
now be further described.                                             about 1330 nm, about 1610 nm, about 1640 nm, and about
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1665 run. In another embodiment, the emitter 104 can emit         about 40 mW to about 100 mW for other wavelengths that
optical radiation ranging from about 860 run to about 950         tend to be significantly absorbed in tissue. A wide variety of
run, about 950 run to about 1100 run, about 1100 run to about     other driving powers and driving methodologies can be used
1270 run, about 1250 run to about 1350 run, about 1300 run        in various embodiments.
to about 1360 run, and about 1590 run to about 1700 run. Of 5        The driver 111 can be synchronized with other parts of the
course, the emitter 104 can transmit any of a variety of          sensor 101 and can minimize or reduce jitter in the timing of
wavelengths of visible or near-infrared optical radiation.        pulses of optical radiation emitted from the emitter 104. In
   Due to the different responses of analytes to the different    some embodiments, the driver 111 is capable of driving the
wavelengths, certain embodiments of the data collection           emitter 104 to emit optical radiation in a pattern that varies
system 100 can advantageously use the measurements at 10
                                                                  by less than about 10 parts-per-million.
these different wavelengths to improve the accuracy of
                                                                     The detectors 106 capture and measure light from the
measurements. For example, the measurements of water
                                                                  measurement site 102. For example, the detectors 106 can
from visible and infrared light can be used to compensate for
water absorbance that is exhibited in the near-infrared wave-     capture and measure light transmitted from the emitter 104
lengths.                                                       15
                                                                  that has been attenuated or reflected from the tissue in the
   As briefly described above, the emitter 104 can include        measurement site 102. The detectors 106 can output a
sets of light-emitting diodes (LEDs) as its optical source.       detector signal 107 responsive to the light captured or
The emitter 104 can use one or more top-emitting LEDs. In         measured.   The detectors 106 can be implemented using one
particular, in some embodiments, the emitter 104 can              or more photodiodes, phototransistors, or the like.
include top-emitting LEDs emitting light at about 850 run to 20      In addition, the detectors 106 can be arranged with a
1350 run.                                                         spatial configuration to provide a variation of path lengths
   The emitter 104 can also use super luminescent LEDs            among at least some of the detectors 106. That is, some of
(SLEDs) or side-emitting LEDs. In some embodiments, the           the detectors 106 can have the substantially, or from the
emitter 104 can employ SLEDs or side-emitting LEDs to             perspective of the processing algorithm, effectively, the
emit optical radiation at about 1600 run to about 1800 run. 25 same path length from the emitter 104. However, according
Emitter 104 can use SLEDs or side-emitting LEDs to                to an embodiment, at least some of the detectors 106 can
transmit near infrared optical radiation because these types      have a different path length from the emitter 104 relative to
of sources can transmit at high power or relatively high          other of the detectors 106. Variations in path lengths can be
power, e.g., about 40 mW to about 100 mW. This higher             helpful in allowing the use of a bulk signal stream from the
power capability can be useful to compensate or overcome 30 detectors 106. In some embodiments, the detectors 106 may
the greater attenuation of these wavelengths oflight in tissue
                                                                  employ a linear spacing, a logarithmic spacing, or a two or
and water. For example, the higher power emission can
                                                                  three dimensional matrix of spacing, or any other spacing
effectively compensate and/or normalize the absorption sig-
                                                                  scheme in order to provide an appropriate variation in path
nal for light in the mentioned wavelengths to be similar in
amplitude and/or effect as other wavelengths that can be 35       lengths.
detected by one or more photodetectors after absorption.             The front end interface 108 provides an interface that
However, the embodiments of the present disclosure do not         adapts the output of the detectors 106, which is responsive
necessarily require the use of high power optical sources.        to desired physiological parameters. For example, the front
For example, some embodiments may be configured to                end interface 108 can adapt a signal 107 received from one
measure analytes, such as total hemoglobin (tHb ), oxygen 40 or more of the detectors 106 into a form that can be
saturation (SpO 2 ), carboxyhemoglobin, methemoglobin,            processed by the monitor 109, for example, by a signal
etc., without the use of high power optical sources like side     processor 110 in the monitor 109. The front end interface
emitting LEDs. Instead, such embodiments may employ               108 can have its components assembled in the sensor 101,
other types of optical sources, such as top emitting LEDs.        in the monitor 109, in connecting cabling (if used), combi-
Alternatively, the emitter 104 can use other types of sources 45 nations of the same, or the like. The location of the front end
of optical radiation, such as a laser diode, to emit near-        interface 108 can be chosen based on various factors includ-
infrared light into the measurement site 102.                     ing space desired for components, desired noise reductions
   In addition, in some embodiments, in order to assist in        or limits, desired heat reductions or limits, and the like.
achieving a comparative balance of desired power output              The front end interface 108 can be coupled to the detec-
between the LEDs, some of the LEDs in the emitter 104 can 50 tors 106 and to the signal processor 110 using a bus, wire,
have a filter or covering that reduces and/or cleans the          electrical or optical cable, flex circuit, or some other form of
optical radiation from particular LEDs or groups of LEDs.         signal connection. The front end interface 108 can also be at
For example, since some wavelengths of light can penetrate        least partially integrated with various components, such as
through tissue relatively well, LEDs, such as some or all of      the detectors 106. For example, the front end interface 108
the top-emitting LEDs can use a filter or covering, such as 55 can include one or more integrated circuits that are on the
a cap or painted dye. This can be useful in allowing the          same circuit board as the detectors 106. Other configurations
emitter 104 to use LEDs with a higher output and/or to            can also be used.
equalize intensity of LEDs.                                          The front end interface 108 can be implemented using one
   The data collection system 100 also includes a driver 111      or more amplifiers, such as transimpedance amplifiers, that
that drives the emitter 104. The driver 111 can be a circuit 60 are coupled to one or more analog to digital converters
or the like that is controlled by the monitor 109. For            (ADCs) (which can be in the monitor 109), such as a
example, the driver 111 can provide pulses of current to the      sigma-delta ADC. A transimpedance-based front end inter-
emitter 104. In an embodiment, the driver 111 drives the          face 108 can employ single-ended circuitry, differential
emitter 104 in a progressive fashion, such as in an alternat-     circuitry, and/or a hybrid configuration. A transimpedance-
ing manner. The driver 111 can drive the emitter 104 with a 65 based front end interface 108 can be useful for its sampling
series of pulses of about 1 milliwatt (mW) for some wave-         rate capability and freedom in modulation/demodulation
lengths that can penetrate tissue relatively well and from        algorithms. For example, this type of front end interface 108
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can advantageously facilitate the sampling of the ADCs              collection system 100 can be provided without a user
being synchronized with the pulses emitted from the emitter         interface 112 and can simply provide an output signal to a
104.                                                                separate display or system.
   The ADC or ADCs can provide one or more outputs into                A storage device 114 and a network interface 116 repre-
multiple channels of digital information for processing by 5 sent other optional output connections that can be included
the signal processor 110 of the monitor 109. Each channel           in the monitor 109. The storage device 114 can include any
can correspond to a signal output from a detector 106.              computer-readable medium, such as a memory device, hard
   In some embodiments, a programmable gain amplifier               disk storage, EEPROM, flash drive, or the like. The various
(PGA) can be used in combination with a transimpedance-             software and/or firmware applications can be stored in the
                                                                 10 storage device 114, which can be executed by the signal
based front end interface 108. For example, the output of a
                                                                    processor 110 or another processor of the monitor 109. The
transimpedance-based front end interface 108 can be output
                                                                    network interface 116 can be a serial bus port (RS-232/RS-
to a PGA that is coupled with an ADC in the monitor 109.
                                                                    485), a Universal Serial Bus (USB) port, an Ethernet port, a
A PGA can be useful in order to provide another level of            wireless interface (e.g., WiFi such as any 802.lx interface,
amplification and control of the stream of signals from the 15 including an internal wireless card), or other suitable com-
detectors 106. Alternatively, the PGA and ADC components            munication device(s) that allows the monitor 109 to com-
can be integrated with the transimpedance-based front end           municate and share data with other devices. The monitor 109
interface 108 in the sensor 101.                                    can also include various other components not shown, such
   In another embodiment, the front end interface 108 can be        as a microprocessor, graphics processor, or controller to
implemented using switched-capacitor circuits. A switched- 20 output the user interface 112, to control data communica-
capacitor-based front end interface 108 can be useful for, in       tions, to compute data trending, or to perform other opera-
certain embodiments, its resistor-free design and analog            tions.
averaging properties. In addition, a switched-capacitor-               Although not shown in the depicted embodiment, the data
based front end interface 108 can be useful because it can          collection system 100 can include various other components
provide a digital signal to the signal processor 110 in the 25 or can be configured in different ways. For example, the
monitor 109.                                                        sensor 101 can have both the emitter 104 and detectors 106
   As shown in FIG. 1, the monitor 109 can include the              on the same side of the measurement site 102 and use
signal processor 110 and a user interface, such as a display        reflectance to measure analytes. The data collection system
112. The monitor 109 can also include optional outputs              100 can also include a sensor that measures the power of
alone or in combination with the display 112, such as a 30 light emitted from the emitter 104.
storage device 114 and a network interface 116. In an                  FIGS. 2A through 2D illustrate example monitoring
embodiment, the signal processor 110 includes processing            devices 200 in which the data collection system 100 can be
logic that determines measurements for desired analytes,            housed. Advantageously, in certain embodiments, some or
such as glucose, based on the signals received from the             all of the example monitoring devices 200 shown can have
detectors 106. The signal processor 110 can be implemented 35 a shape and size that allows a user to operate it with a single
using one or more microprocessors or subprocessors (e.g.,           hand or attach it, for example, to a patient's body or limb.
cores), digital signal processors, application specific inte-       Although several examples are shown, many other moni-
grated circuits (ASICs), field progrannnable gate arrays            toring device configurations can be used to house the data
(FPGAs ), combinations of the same, and the like.                   collection system 100. In addition, certain of the features of
   The signal processor 110 can provide various signals that 40 the monitoring devices 200 shown in FIGS. 2A through 2D
control the operation of the sensor 101. For example, the           can be combined with features of the other monitoring
signal processor 110 can provide an emitter control signal to       devices 200 shown.
the driver 111. This control signal can be useful in order to          Referring specifically to FIG. 2A, an example monitoring
synchronize, minimize, or reduce jitter in the timing of            device 200A is shown, in which a sensor 201a and a monitor
pulses emitted from the emitter 104. Accordingly, this 45 209a are integrated into a single unit. The monitoring device
control signal can be useful in order to cause optical radia-       200A shown is a handheld or portable device that can
tion pulses emitted from the emitter 104 to follow a precise        measure glucose and other analytes in a patient's finger. The
timing and consistent pattern. For example, when a transim-         sensor 201a includes an emitter shell 204a and a detector
pedance-based front end interface 108 is used, the control          shell 206a. The depicted embodiment of the monitoring
signal from the signal processor 110 can provide synchro- 50 device 200A also includes various control buttons 208a and
nization with the ADC in order to avoid aliasing, cross-talk,       a display 210a.
and the like. As also shown, an optional memory 113 can be             The sensor 201a can be constructed of white material
included in the front-end interface 108 and/or in the signal        used for reflective purposes (such as white silicone or
processor 110. This memory 113 can serve as a buffer or             plastic), which can increase the usable signal at the detector
storage location for the front-end interface 108 and/or the 55 106 by forcing light back into the sensor 201a. Pads in the
signal processor 110, among other uses.                             emitter shell 204a and the detector shell 206a can contain
   The user interface 112 can provide an output, e.g., on a         separated windows to prevent or reduce mixing of light
display, for presentation to a user of the data collection          signals, for example, from distinct quadrants on a patient's
system 100. The user interface 112 can be implemented as            finger. In addition, these pads can be made of a relatively
a touch-screen display, an LCD display, an organic LED 60 soft material, such as a gel or foam, in order to conform to
display, or the like. In addition, the user interface 112 can be    the shape, for example, of a patient's finger. The emitter
manipulated to allow for measurement on the non-dominant            shell 204a and the detector shell 206a can also include
side of patient. For example, the user interface 112 can            absorbing black or grey material portions to prevent or
include a flip screen, a screen that can be moved from one          reduce ambient light from entering into the sensor 201a.
side to another on the monitor 109, or can include an ability 65       In some embodiments, some or all portions of the emitter
to reorient its display indicia responsive to user input or         shell 204a and/or detector shell 206a can be detachable
device orientation. In alternative embodiments, the data            and/or disposable. For example, some or all portions of the
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shells 204a and 206a can be removable pieces. The remov-          can include a display 210b that can indicate a measurement
ability of the shells 204a and 206a can be useful for sanitary    for glucose, for example, in mg/dL. Other analytes and
purposes or for sizing the sensor 201a to different patients.     forms of display can also appear on the monitor 209b.
The monitor 209a can include a fitting, slot, magnet, or other       In addition, although a single sensor 201b with a single
connecting mechanism to allow the sensor 201c to be 5 monitor 209b is shown, different combinations of sensors
removably attached to the monitor 209a.                           and device pairings can be implemented. For example,
    The monitoring device 200a also includes optional con-        multiple sensors can be provided for a plurality of differing
trol buttons 208a and a display 210a that can allow the user      patient types or measurement sites or even patient fingers.
to control the operation of the device. For example, a user          FIG. 2C illustrates yet another example of monitoring
can operate the control buttons 208a to view one or more 10 device 200C that can house the data collection system 100.
measurements of various analytes, such as glucose. In             Like the monitoring device 200B, the monitoring device
addition, the user can operate the control buttons 208a to        200C includes a finger clip sensor 201c connected to a
view other forms of information, such as graphs, histograms,      monitor 209c via a cable 212. The cable 212 can have all of
measurement data, trend measurement data, parameter com-          the features described above with respect to FIG. 2B. The
bination views, wellness indications, and the like. Many 15 monitor 209c can include all of the features of the monitor
parameters, trends, alarms and parameter displays could be        200B described above. For example, the monitor 209c
output to the display 210a, such as those that are commer-        includes buttons 208c and a display 210c. The monitor 209c
cially available through a wide variety of noninvasive moni-      shown also includes straps 214c that allow the monitor 209c
toring devices from Masimo® Corporation of Irvine, Calif.         to be attached to a patient's limb or the like.
    Furthermore, the controls 208a and/or display 210a can 20        FIG. 2D illustrates yet another example of monitoring
provide functionality for the user to manipulate settings of      device 200D that can house the data collection system 100.
the monitoring device 200a, such as alarm settings, emitter       Like the monitoring devices 200B and 200C, the monitoring
settings, detector settings, and the like. The monitoring         device 200D includes a finger clip sensor 201d connected to
device 200a can employ any of a variety of user interface         a monitor 209d via a cable 212. The cable 212 can have all
designs, such as frames, menus, touch-screens, and any type 25 of the features described above with respect to FIG. 2B. In
of button.                                                        addition to having some or all of the features described
    FIG. 2B illustrates another example of a monitoring           above with respect to FIGS. 2B and 2C, the monitoring
device 200B. In the depicted embodiment, the monitoring           device 200D includes an optional universal serial bus (USB)
device 200B includes a finger clip sensor 201b connected to       port 216 and an Ethernet port 218. The USB port 216 and the
a monitor 209b via a cable 212. In the embodiment shown, 30 Ethernet port 218 can be used, for example, to transfer
the monitor 209b includes a display 210b, control buttons         information between the monitor 209d and a computer (not
208b and a power button. Moreover, the monitor 209b can           shown) via a cable. Software stored on the computer can
advantageously include electronic processing, signal pro-         provide functionality for a user to, for example, view
cessing, and data storage devices capable of receiving signal     physiological data and trends, adjust settings and download
data from said sensor 201b, processing the signal data to 35 firmware updates to the monitor 209b, and perform a variety
determine one or more output measurement values indica-           of other functions. The USB port 216 and the Ethernet port
tive of one or more physiological parameters of a monitored       218 can be included with the other monitoring devices
patient, and displaying the measurement values, trends of         200A, 200B, and 200C described above.
the measurement values, combinations of measurement val-             FIGS. 3A through 3C illustrate more detailed examples of
ues, and the like.                                             40 embodiments of a sensor 301a. The sensor 301a shown can
    The cable 212 connecting the sensor 201b and the monitor      include all of the features of the sensors 100 and 200
209b can be implemented using one or more wires, optical          described above.
fiber, flex circuits, or the like. In some embodiments, the          Referring to FIG. 3A, the sensor 301a in the depicted
cable 212 can employ twisted pairs of conductors in order to      embodiment is a clothespin-shaped clip sensor that includes
minimize or reduce cross-talk of data transmitted from the 45 an enclosure 302a for receiving a patient's finger. The
sensor 201b to the monitor 209b. Various lengths of the           enclosure 302a is formed by an upper section or emitter shell
cable 212 can be employed to allow for separation between         304a, which is pivotably connected with a lower section or
the sensor 201b and the monitor 209b. The cable 212 can be        detector shell 306a. The emitter shell 304a can be biased
fitted with a connector (male or female) on either end of the     with the detector shell 306a to close together around a pivot
cable 212 so that the sensor 201b and the monitor 209b can 50 point 303a and thereby sandwich finger tissue between the
be connected and disconnected from each other. Alterna-           emitter and detector shells 304a, 306a.
tively, the sensor 201b and the monitor 209b can be coupled          In an embodiment, the pivot point 303a advantageously
together via a wireless communication link, such as an            includes a pivot capable of adjusting the relationship
infrared link, radio frequency channel, or any other wireless     between the emitter and detector shells 304a, 306a to
communication protocol and channel.                            55 effectively level the sections when applied to a tissue site. In
    The monitor 209b can be attached to the patient. For          another embodiment, the sensor 301a includes some or all
example, the monitor 209b can include a belt clip or straps       features of the finger clip described in U.S. Publication No.
(see, e.g., FIG. 2C) that facilitate attachment to a patient's    2006/0211924, incorporated above, such as a spring that
belt, arm, leg, or the like. The monitor 209b can also include    causes finger clip forces to be distributed along the finger.
a fitting, slot, magnet, LEMO snap-click connector, or other 60 Paragraphs [0096] through [0105], which describe this fea-
connecting mechanism to allow the cable 212 and sensor            ture, are hereby specifically incorporated by reference.
201b to be attached to the monitor 209B.                             The emitter shell 304a can position and house various
    The monitor 209b can also include other components,           emitter components of the sensor 301a. It can be constructed
such as a speaker, power button, removable storage or             of reflective material (e.g., white silicone or plastic) and/or
memory (e.g., a flash card slot), an AC power port, and one 65 can be metallic or include metalicized plastic (e.g., including
or more network interfaces, such as a universal serial bus        carbon and aluminum) to possibly serve as a heat sink. The
interface or an Ethernet port. For example, the monitor 209b      emitter shell 304a can also include absorbing opaque mate-
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rial, such as, for example, black or grey colored material, at         Turning to FIG. 3B, the sensor 301a can also include a
various areas, such as on one or more flaps 307a, to reduce         shielding 315a, such as a metal cage, box, metal sheet,
ambient light entering the sensor 301a.                             perforated metal sheet, a metal layer on a non-metal mate-
   The detector shell 306a can position and house one or            rial, or the like. The shielding 315a is provided in the
more detector portions of the sensor 301a. The detector shell 5 depicted embodiment below or embedded within the pro-
306a can be constructed of reflective material, such as white       trusion 305 to reduce noise. The shielding 315a can be
silicone or plastic. As noted, such materials can increase the      constructed from a conductive material, such as copper. The
usable signal at a detector by forcing light back into the          shielding 315a can include one or more openings or win-
tissue and measurement site (see FIG. 1). The detector shell        dows (not shown). The windows can be made from glass or
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306a can also include absorbing opaque material at various          plastic to thereby allow light that has passed through the
areas, such as lower area 308a, to reduce ambient light             windows 320, 321, 322, and 323 on an external surface of
entering the sensor 301a.                                           the protrusion 305 (see FIG. 3C) to pass through to one or
   Referring to FIGS. 3B and 3C, an example of finger bed           more photodetectors that can be enclosed or provided below
310 is shown in the sensor 301b. The finger bed 310 includes 15 (see FIG. 3E).
a generally curved surface shaped generally to receive                 In some embodiments, the shielding cage for shielding
tissue, such as a human digit. The finger bed 310 includes          315a can be constructed in a single manufactured compo-
one or more ridges or channels 314. Each of the ridges 314          nent with or without the use of conductive glass. This form
has a generally convex shape that can facilitate increasing         of construction may be useful in order to reduce costs of
traction or gripping of the patient's finger to the finger bed. 20 manufacture as well as assist in quality control of the
Advantageously, the ridges 314 can improve the accuracy of          components. Furthermore, the shielding cage can also be
spectroscopic analysis in certain embodiments by reducing           used to house various other components, such as sigma delta
noise that can result from a measurement site moving or             components for various embodiments of front end interfaces
shaking loose inside of the sensor 301a. The ridges 314 can         108.
be made from reflective or opaque materials in some 25                 In an embodiment, the photodetectors can be positioned
embodiments to further increase SNR. In other implemen-             within or directly beneath the protrusion 305 (see FIG. 3E).
tations, other surface shapes can be used, such as, for             In such cases, the mean optical path length from the emitters
example, generally flat, concave, or convex finger beds 310.        to the detectors can be reduced and the accuracy of blood
   Finger bed 310 can also include an embodiment of a tissue        analyte measurement can increase. For example, in one
thickness adjuster or protrusion 305. The protrusion 305 30 embodiment, a convex bump of about 1 mm to about 3 mm
includes a measurement site contact area 370 (see FIG. 3C)
                                                                    in height and about 10 mm2 to about 60 mm2 was found to
that can contact body tissue of a measurement site. The
                                                                    help signal strength by about an order of magnitude versus
protrusion 305 can be removed from or integrated with the
                                                                    other shapes. Of course other dimensions and sizes can be
finger bed 310. Interchangeable, different shaped protru-
sions 305 can also be provided, which can correspond to 35          employed   in other embodiments. Depending on the proper-
different finger shapes, characteristics, opacity, sizes, or the    ties desired, the length, width, and height of the protrusion
like.                                                               305 can be selected. In making such determinations, con-
   Referring specifically to FIG. 3C, the contact area 370 of       sideration can be made of protrusion's 305 effect on blood
the protrusion 305 can include openings or windows 320,             flow at the measurement site and mean path length for
321, 322, and 323. When light from a measurement site 40 optical radiation passing through openings 320, 321, 322,
passes through the windows 320, 321, 322, and 323, the light        and 323. Patient comfort can also be considered in deter-
can reach one or more photodetectors (see FIG. 3E). In an           mining the size and shape of the protrusion.
embodiment, the windows 320, 321, 322, and 323 mirror                  In an embodiment, the protrusion 305 can include a pliant
specific detector placements layouts such that light can            material, including soft plastic or rubber, which can some-
impinge through the protrusion 305 onto the photodetectors. 45 what conform to the shape of a measurement site. Pliant
Any number of windows 320, 321, 322, and 323 can be                 materials can improve patient comfort and tactility by con-
employed in the protrusion 305 to allow light to pass from          forming the measurement site contact area 370 to the
the measurement site to the photodetectors.                         measurement site. Additionally, pliant materials can mini-
   The windows 320, 321, 322, and 323 can also include              mize or reduce noise, such as ambient light. Alternatively,
shielding, such as an embedded grid of wiring or a conduc- 50 the protrusion 305 can be made from a rigid material, such
tive glass coating, to reduce noise from ambient light or           as hard plastic or metal.
other electromagnetic noise. The windows 320, 321, 322,                Rigid materials can improve measurement accuracy of a
and 323 can be made from materials, such as plastic or glass.       blood analyte by conforming the measurement site to the
In some embodiments, the windows 320, 321, 322, and 323             contact area 370. The contact area 370 can be an ideal shape
can be constructed from conductive glass, such as indium tin 55 for improving accuracy or reducing noise. Selecting a mate-
oxide (ITO) coated glass. Conductive glass can be useful            rial for the protrusion 305 can include consideration of
because its shielding is transparent, and thus allows for a         materials that do not significantly alter blood flow at the
larger aperture versus a window with an embedded grid of            measurement site. The protrusion 305 and the contact area
wiring. In addition, in certain embodiments, the conductive         370 can include a combination of materials with various
glass does not need openings in its shielding (since it is 60 characteristics.
transparent), which enhances its shielding performance. For            The contact area 370 serves as a contact surface for the
example, some embodiments that employ the conductive                measurement site. For example, in some embodiments, the
glass can attain up to an about 40% to about 50% greater            contact area 370 can be shaped for contact with a patient's
signal than non-conductive glass with a shielding grid. In          finger. Accordingly, the contact area 370 can be sized and
addition, in some embodiments, conductive glass can be 65 shaped for different sizes of fingers. The contact area 370
useful for shielding noise from a greater variety of directions     can be constructed of different materials for reflective pur-
than non-conductive glass with a shielding grid.                    poses as well as for the comfort of the patient. For example,
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the contact area 370 can be constructed from materials                  polymer, such as CoolPoly® D5506, commercially avail-
having various hardness and textures, such as plastic, gel,             able from Cool Polymers®, Inc. of Warwick, R.I. Such a
foam, and the like.                                                     material can be selected for its electrically non-conductive
   The formulas and analysis that follow with respect to FIG.           and dielectric properties so as, for example, to aid in
5 provide insight into how selecting these variables can alter 5 electrical shielding. In an embodiment, the heat sink 350a
transmittance and intensity gain of optical radiation that has          provides improved heat transfer properties when the sensor
been applied to the measurement site. These examples do                 301a is active for short intervals ofless than a full day's use.
not limit the scope of this disclosure.                                 In an embodiment, the heat sink 350a can advantageously
   Referring to FIG. 5, a plot 500 is shown that illustrates            provide improved heat transfers in about three (3) to about
examples of effects of embodiments of the protrusion 305 on 10 four (4) minute intervals, for example, although a heat sink
the SNR at various wavelengths of light. As described                   350a can be selected that performs effectively in shorter or
above, the protrusion 305 can assist in conforming the tissue           longer intervals.
and effectively reduce its mean path length. In some                       Moreover, the heat sink 350a can have different shapes
instances, this effect by the protrusion 305 can have signifi-          and configurations for aesthetic as well as for functional
cant impact on increasing the SNR.                                   15 purposes. In an embodiment, the heat sink is configured to
   According to the Beer Lambert law, a transmittance of                maximize heat dissipation, for example, by maximizing
light (I) can be expressed as follows: I=I 0 *e-m*b*c, where I 0        surface area. In an embodiment, the heat sink 350a is
is the initial power of light being transmitted, m is the path          molded into a generally curved surface and includes one or
length traveled by the light, and the component "b*c"                   more fins, undulations, grooves, or channels. The example
corresponds to the bulk absorption of the light at a specific 20 heat sink 350a shown includes fins 351a (see FIG. 3A).
wavelength of light. For light at about 1600 nm to about                   An alternative shape of a sensor 301b and heat sink 350b
1700 nm, for example, the bulk absorption component is                  is shown in FIG. 3D. The sensor 301b can include some or
generally around 0.7 mm- 1 . Assuming a typical finger                  all of the features of the sensor 301a. For example, the
thickness of about 12 mm and a mean path length of 20 mm                sensor 301b includes an enclosure 302b formed by an
due to tissue scattering, then I=I *eC- 20 * 0 -7 )_
                                    0
                                                                     25 emitter shell 304b and a detector shell 306b, pivotably
   In an embodiment where the protrusion 305 is a convex                connected about a pivot 303a. The emitter shell 304b can
bump, the thickness of the finger can be reduced to 10 mm               also include absorbing opaque material on one or more flaps
(from 12 mm) for some fingers and the effective light mean              307b, and the detector shell 306a can also include absorbing
path is reduced to about 16.6 mm from 20 mm (see box 510).              opaque material at various areas, such as lower area 308b.
This results in a new transmittance, I 1 =I *eC- 16 · 6 * 0 -7 )_ A 30
                                               0
                                                                           However, the shape of the sensor 301b is different in this
curve for a typical finger (having a mean path length of 20             embodiment. In particular, the heat sink 350b includes comb
mm) across various wavelengths is shown in the plot 500 of              protrusions 351b. The comb protrusions 351b are exposed to
FIG. 5. The plot 500 illustrates potential effects of the               the air in a similar manner to the fins 351a of the heat sink
protrusion 305 on the transmittance. As illustrated, compar-            350a, thereby facilitating efficient cooling of the sensor
ing I and I 1 results in an intensity gain of eC- 16 · 6 * 0 -7 l/ 35 301b.
eC- 20 * 0 -7 l, which is about a 10 times increase for light in the       FIG. 3E illustrates a more detailed example of a detector
about 1600 nm to about 1700 nm range. Such an increase                  shell 306b of the sensor 301b. The features described with
can affect the SNR at which the sensor can operate. The                 respect to the detector shell 306b can also be used with the
foregoing gains can be due at least in part to the about 1600           detector shell 306a of the sensor 301a.
nm to about 1700 nm range having high values in bulk 40                    As shown, the detector shell 306b includes detectors 316.
absorptions (water, protein, and the like), e.g., about 0.7             The detectors 316 can have a predetermined spacing 340
mm- 1 . The plot 500 also shows improvements in the visible/            from each other, or a spatial relationship among one another
near-infrared range (about 600 nm to about 1300 nm).                    that results in a spatial configuration. This spatial configu-
   Turning again to FIGS. 3A through 3C, an example heat                ration can purposefully create a variation of path lengths
sink 350a is also shown. The heat sink 350a can be attached 45 among detectors 316 and the emitter discussed above.
to, or protrude from an outer surface of, the sensor 301a,                 In the depicted embodiment, the detector shell 316 can
thereby providing increased ability for various sensor com-             hold multiple (e.g., two, three, four, etc.) photodiode arrays
ponents to dissipate excess heat. By being on the outer                 that are arranged in a two-dimensional grid pattern. Multiple
surface of the sensor 301a in certain embodiments, the heat             photodiode arrays can also be useful to detect light piping
sink 350a can be exposed to the air and thereby facilitate 50 (e.g., light that bypasses measurement site 102). In the
more efficient cooling. In an embodiment, one or more of the            detector shell 316, walls can be provided to separate the
emitters (see FIG. 1) generate sufficient heat that inclusion           individual photodiode arrays to prevent or reduce mixing of
of the heat sink 350a can advantageously allows the sensor              light signals from distinct quadrants. In addition, the detec-
301a to remain safely cooled. The heat sink 350a can                    tor shell 316 can be covered by windows of transparent
include one or more materials that help dissipate heat, such 55 material, such as glass, plastic, or the like, to allow maxi-
as, for example, aluminum, steel, copper, carbon, combina-              mum or increased transmission of power light captured. In
tions of the same, or the like. For example, in some                    various embodiments, the transparent materials used can
embodiments, the emitter shell 304a can include a heat                  also be partially transparent or translucent or can otherwise
conducting material that is also readily and relatively inex-           pass some or all of the optical radiation passing through
pensively moldable into desired shapes and forms.                    60 them. As noted, this window can include some shielding in
   In some embodiments, the heat sink 350a includes met-                the form of an embedded grid of wiring, or a conductive
alicized plastic. The metalicized plastic can include alumi-            layer or coating.
num and carbon, for example. The material can allow for                    As further illustrated by FIG. 3E, the detectors 316 can
improved thermal conductivity and diffusivity, which can                have a spatial configuration of a grid. However, the detectors
increase commercial viability of the heat sink. In some 65 316 can be arranged in other configurations that vary the
embodiments, the material selected to construct the heat sink           path length. For example, the detectors 316 can be arranged
350a can include a thermally conductive liquid crystalline              in a linear array, a logarithmic array, a two-dimensional
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array, a zig-zag pattern, or the like. Furthermore, any number     arranging the windows 420, 421, 422, and 423 are possible.
of the detectors 316 can be employed in certain embodi-            For example, the windows 420, 421, 422, and 423 can be
ments.                                                             placed in a triangular, circular, or linear arrangement. In
   FIG. 3F illustrates another embodiment of a sensor 301/         some embodiments, the windows 420, 421, 422, and 423 can
The sensor 30lfcan include some or all of the features of the 5 be placed at different heights with respect to the finger bed
sensor 301a of FIG. 3A described above. For example, the           310 of FIG. 3. The windows 420, 421, 422, and 423 can also
sensor 30lf includes an enclosure 302/formed by an upper           mimic or approximately mimic a configuration of, or even
section or emitter shell 304{, which is pivotably connected        house, a plurality of detectors.
with a lower section or detector shell 306/ around a pivot            FIGS. 6A through 6D illustrate another embodiment of a
point 303/ The emitter shell 304fcan also include absorbing 10 protrusion 605 that can be used as the tissue shaper 105
opaque material on various areas, such as on one or more           described above or in place of the protrusions 305, 405
flaps 307/, to reduce ambient light entering the sensor 301/       described above. The depicted protrusion 605 is a partially
The detector shell 306/ can also include absorbing opaque          cylindrical lens having a partial cylinder 608 and an exten-
material at various areas, such as a lower area 308/ The           sion 610. The partial cylinder 608 can be a half cylinder in
sensor 301/ also includes a heat sink 350/, which includes 15 some embodiments; however, a smaller or greater portion
fins 351/                                                          than half of a cylinder can be used. Advantageously, in
   In addition to these features, the sensor 301/ includes a       certain embodiments, the partially cylindrical protrusion 605
flex circuit cover 360, which can be made of plastic or            focuses light onto a smaller area, such that fewer detectors
another suitable material. The flex circuit cover 360 can          can be used to detect the light attenuated by a measurement
cover and thereby protect a flex circuit (not shown) that 20 site.
extends from the emitter shell 304fto the detector shell 306/         FIG. 6A illustrates a perspective view of the partially
An example of such a flex circuit is illustrated in U.S.           cylindrical protrusion 605. FIG. 6B illustrates a front eleva-
Publication No. 2006/0211924, incorporated above (see              tion view of the partially cylindrical protrusion 605. FIG. 6C
FIG. 46 and associated description, which is hereby specifi-       illustrates a side view of the partially cylindrical protrusion
cally incorporated by reference). The flex circuit cover 360 25 605. FIG. 6D illustrates a top view of the partially cylindri-
is shown in more detail below in FIG. 17.                          cal protrusion 605.
   In addition, sensors 301a:f has extra length-extends to            Advantageously, in certain embodiments, placing the par-
second joint on finger-Easier to place, harder to move due         tially cylindrical protrusion 605 over the photodiodes in any
to cable, better for light piping.                                 of the sensors described above adds multiple benefits to any
   FIGS. 4A through 4C illustrate example arrangements of 30 of the sensors described above. In one embodiment, the
a protrusion 405, which is an embodiment of the protrusion         partially cylindrical protrusion 605 penetrates into the tissue
305 described above. In an embodiment, the protrusion 405          and reduces the path length of the light traveling in the
can include a measurement site contact area 470. The               tissue, similar to the protrusions described above.
measurement site contact area 470 can include a surface that          The partially cylindrical protrusion 605 can also collect
molds body tissue of a measurement site, such as a finger, 35 light from a large surface and focus down the light to a
into a flat or relatively flat surface.                            smaller area. As a result, in certain embodiments, signal
   The protrusion 405 can have dimensions that are suitable        strength per area of the photodiode can be increased. The
for a measurement site such as a patient's finger. As shown,       partially cylindrical protrusion 605 can therefore facilitate a
the protrusion 405 can have a length 400, a width 410, and         lower cost sensor because, in certain embodiments, less
a height 430. The length 400 can be from about 9 to about 40 photodiode area can be used to obtain the same signal
11 millimeters, e.g., about 10 millimeters. The width 410 can      strength. Less photodiode area can be realized by using
be from about 7 to about 9 millimeters, e.g., about 8              smaller photodiodes or fewer photodiodes (see, e.g., FIG.
millimeters. The height 430 can be from about 0.5 millime-         14). If fewer or smaller photodiodes are used, the partially
ters to about 3 millimeters, e.g., about 2 millimeters. In an      cylindrical protrusion 605 can also facilitate an improved
embodiment, the dimensions 400, 410, and 430 can be 45 SNR of the sensor because fewer or smaller photodiodes can
selected such that the measurement site contact area 470           have less dark current.
includes an area of about 80 square millimeters, although             The dimensions of the partially cylindrical protrusion 605
larger and smaller areas can be used for different sized tissue    can vary based on, for instance, a number of photodiodes
for an adult, an adolescent, or infant, or for other consider-     used with the sensor. Referring to FIG. 6C, the overall height
ations.                                                         50 of the partially cylindrical protrusion 605 (measurement "a")
   The measurement site contact area 470 can also include          in some implementations is about 1 to about 3 mm. A height
differently shaped surfaces that conform the measurement           in this range can allow the partially cylindrical protrusion
site into different shapes. For example, the measurement site      605 to penetrate into the pad of the finger or other tissue and
contact area 470 can be generally curved and/or convex with        reduce the distance that light travels through the tissue.
respect to the measurement site. The measurement site 55 Other heights, however, of the partially cylindrical protru-
contact area 470 can be other shapes that reduce or even           sion 605 can also accomplish this objective. For example,
minimize air between the protrusion 405 and/or the mea-            the chosen height of the partially cylindrical protrusion 605
surement site. Additionally, the surface pattern of the mea-       can be selected based on the size of the measurement site,
surement site contact area 470 can vary from smooth to             whether the patient is an adult or child, and so on. In an
bumpy, e.g., to provide varying levels of grip.                 60 embodiment, the height of the protrusion 605 is chosen to
   In FIGS. 4A and 4C, openings or windows 420, 421, 422,          provide as much tissue thickness reduction as possible while
and 423 can include a wide variety of shapes and sizes,            reducing or preventing occlusion of blood vessels in the
including for example, generally square, circular, triangular,     tissue.
or combinations thereof. The windows 420, 421, 422, and               Referring to FIG. 6D, the width of the partially cylindrical
423 can be of non-uniform shapes and sizes. As shown, the 65 protrusion 605 (measurement "b") can be about 3 to about
windows 420, 421, 422, and 423 can be evenly spaced out            5 mm. In one embodiment, the width is about 4 mm. In one
in a grid like arrangement. Other arrangements or patterns of      embodiment, a width in this range provides good penetration
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of the partially cylindrical protrusion 605 into the tissue to     bed 310/ also includes the ridges or channels 314 described
reduce the path length of the light. Other widths, however,        above with respect to FIGS. 3B and 3C.
of the partially cylindrical protrusion 605 can also accom-           The example of finger bed 310/ shown also includes the
plish this objective. For example, the width of the partially      protrusion 605b, which includes the features of the protru-
cylindrical protrusion 605 can vary based on the size of the 5 sion 605 described above. In addition, the protrusion 605b
measurement site, whether the patient is an adult or child,        also includes chamfered edges 607 on each end to provide
and so on. In addition, the length of the protrusion 605 could     a more comfortable surface for a finger to slide across (see
be about 10 mm, or about 8 mm to about 12 mm, or smaller           also FIG. 14D). In another embodiment, the protrusion 605b
than 8 mm or greater than 12 mm.                                   could instead include a single chamfered edge 607 proximal
                                                                10 to the ridges 314. In another embodiment, one or both of the
   In certain embodiments, the focal length (f) for the
                                                                   chamfered edges 607 could be rounded.
partially cylindrical protrusion 605 can be expressed as:
                                                                      The protrusion 605b also includes a measurement site
                                                                   contact area 670 that can contact body tissue of a measure-
               R
                                                                   ment site. The protrusion 605b can be removed from or
        f = ;;--=-y,                                            15 integrated with the finger bed 310/ Interchangeable, differ-
                                                                   ently shaped protrusions 605b can also be provided, which
                                                                   can correspond to different finger shapes, characteristics,
where R is the radius of curvature of the partial cylinder 608     opacity, sizes, or the like.
and n is the index of refraction of the material used. In             FIGS. 7A and 7B illustrate block diagrams of sensors 701
certain embodiments, the radius of curvature can be between 20 that include example arrangements of conductive glass or
about 1.5 mm and about 2 mm. In another embodiment, the            conductive coated glass for shielding. Advantageously, in
partially cylindrical protrusion 605 can include a material,       certain embodiments, the shielding can provide increased
such as nBK7 glass, with an index of refraction of around          SNR. The features of the sensors 701 can be implemented
1.5 at 1300 nm, which can provide focal lengths of between         with any of the sensors 101, 201, 301 described above.
about 3 mm and about 4 mm.                                      25 Although not shown, the partially cylindrical protrusion 605
   A partially cylindrical protrusion 605 having a material        of FIG. 6 can also be used with the sensors 701 in certain
with a higher index ofrefraction such as nSFll glass (e.g.,        embodiments.
n=l.75 at 1300 nm) can provide a shorter focal length and             For example, referring specifically to FIG. 7A, the sensor
possibly a smaller photodiode chip, but can also cause             701a includes an emitter housing 704a and a detector
higher reflections due to the index of refraction mismatch 30 housing 706. The emitter housing 704a includes LEDs 104.
with air. Many types of glass or plastic can be used with          The detector housing 706a includes a tissue bed 710a with
index of refraction values ranging from, for example, about        an opening or window 703a, the conductive glass 730a, and
1.4 to about 1.9. The index of refraction of the material of       one or more photodiodes for detectors 106 provided on a
the protrusion 605 can be chosen to improve or optimize the        submount 707a.
light focusing properties of the protrusion 605. A plastic 35         During operation, a finger 102 can be placed on the tissue
partially cylindrical protrusion 605 could provide the cheap-      bed 71 Oa and optical radiation can be emitted from the LEDs
est option in high volumes but can also have some undesired        104. Light can then be attenuated as it passes through or is
light absorption peaks at wavelengths higher than 1500 nm.         reflected from the tissue of the finger 102. The attenuated
Other focal lengths and materials having different indices of      light can then pass through the opening 703a in the tissue
refraction can be used for the partially cylindrical protrusion 40 bed 710a. Based on the received light, the detectors 106 can
605.                                                               provide a detector signal 107, for example, to the front end
   Placing a photodiode at a given distance below the              interface 108 (see FIG. 1).
partially cylindrical protrusion 605 can facilitate capturing         In the depicted embodiment, the conductive glass 730 is
some or all of the light traveling perpendicular to the lens       provided in the opening 703. The conductive glass 730 can
within the active area of the photodiode (see FIG. 14). 45 thus not only permit light from the finger to pass to the
Different sizes of the partially cylindrical protrusion 605 can    detectors 106, but it can also supplement the shielding of the
use different sizes of photodiodes. The extension 610 added        detectors 106 from noise. The conductive glass 730 can
onto the bottom of the partial cylinder 608 is used in certain     include a stack or set of layers. In FIG. 7A, the conductive
embodiments to increase the height of the partially cylin-         glass 730a is shown having a glass layer 731 proximate the
drical protrusion 605. In an embodiment, the added height is 50 finger 102 and a conductive layer 733 electrically coupled to
such that the photodiodes are at or are approximately at the       the shielding 790a.
focal length of the partially cylindrical protrusion 605. In an       In an embodiment, the conductive glass 730a can be
embodiment, the added height provides for greater thinning         coated with a conductive, transparent or partially transparent
of the measurement site. In an embodiment, the added height        material, such as a thin film of indium tin oxide (ITO). To
assists in deflecting light piped through the sensor. This is 55 supplement electrical shielding effects of a shielding enclo-
because light piped around the sensor passes through the           sure 790a, the conductive glass 730a can be electrically
side walls of the added height without being directed toward       coupled to the shielding enclosure 790a. The conductive
the detectors. The extension 610 can also further facilitate       glass 730a can be electrically coupled to the shielding 704a
the protrusion 605 increasing or maximizing the amount of          based on direct contact or via other connection devices, such
light that is provided to the detectors. In some embodiments, 60 as a wire or another component.
the extension 610 can be omitted.                                     The shielding enclosure 790a can be provided to encom-
   FIG. 6E illustrates another view of the sensor 301/ofFIG.       pass the detectors 106 to reduce or prevent noise. For
3F, which includes an embodiment of a partially cylindrical        example, the shielding enclosure 790a can be constructed
protrusion 605b. Like the sensor 301A shown in FIGS. 3B            from a conductive material, such as copper, in the form of a
and 3C, the sensor 301/ includes a finger bed 310/ The 65 metal cage. The shielding or enclosure a can include an
finger bed 310/ includes a generally curved surface shaped         opaque material to not only reduce electrical noise, but also
generally to receive tissue, such as a human digit. The finger     ambient optical noise.
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   In some embodiments, the shielding enclosure 790a can          are possible. For example, the electrically conductive mate-
be constructed in a single manufactured component with or         rial 733 can be a layer within a stack of layers. This stack of
without the use of conductive glass. This form of construc-       layers can include one or more layers of glass 731, 835, as
tion may be useful in order to reduce costs of manufacture        well as one or more layers of conductive material 733. The
as well as assist in quality control of the components.         5 stack can include other layers of materials to achieve desired
Furthermore, the shielding enclosure 790a can also be used        characteristics.
to house various other components, such as sigma delta               In FIG. SD, a bottom perspective view is shown to
components for various embodiments of front end interfaces        illustrate an embodiment where a conductive glass 830b can
108.                                                              include conductive material 837 that occupies or covers a
   Referring to FIG. 7B, another block diagram of an 10 portion of a glass layer 839. This embodiment can be useful,
example sensor 701b is shown. A tissue bed 710b of the            for example, to create individual, shielded windows for
sensor 701b includes a protrusion 705b, which is in the form      detectors 106, such as those shown in FIG. 3C. The con-
of a convex bump. The protrusion 705b can include all of the      ductive material 837 can be patterned to include an area 838
features of the protrusions or tissue shaping materials           to allow light to pass to detectors 106 and one or more strips
described above. For example, the protrusion 705b includes 15 841 to couple to the shielding 704 of FIG. 7.
a contact area 370 that comes in contact with the finger 102         Other configurations and patterns for the conductive
and which can include one or more openings 703b. One or           material can be used in certain embodiments, such as, for
more components of conductive glass 730b can be provided          example, a conductive coating lining periphery edges, a
in the openings 703. For example, in an embodiment, each          conductive coating outlaid in a pattern including a grid or
of the openings 703 can include a separate window of the 20 other pattern, a speckled conductive coating, coating outlaid
conductive glass 730b. In an embodiment, a single piece of        in lines in either direction or diagonally, varied thicknesses
the conductive glass 730b can used for some or all of the         from the center out or from the periphery in, or other suitable
openings 703b. The conductive glass 730b is smaller than          patterns or coatings that balance the shielding properties
the conductive glass 730a in this particular embodiment.          with transparency considerations.
   A shielding enclosure 790b is also provided, which can 25         FIG. 9 depicts an example graph 900 that illustrates
have all the features of the shielding enclosure 790a. The        comparative results obtained by an example sensor having
shielding enclosure 790b is smaller than the shielding enclo-     components similar to those disclosed above with respect to
sure 790a; however, a variety of sizes can be selected for the    FIGS. 7 and 8. The graph 900 depicts the results of the
shielding enclosures 790.                                         percentage of transmission of varying wavelengths of light
   In some embodiments, the shielding enclosure 790b can 30 for different types of windows used in the sensors described
be constructed in a single manufactured component with or         above.
without the use of conductive glass. This form of construc-          A line 915 on the graph 900 illustrates example light
tion may be useful in order to reduce costs of manufacture        transmission of a window made from plain glass. As shown,
as well as assist in quality control of the components.           the light transmission percentage of varying wavelengths of
Furthermore, the shielding enclosure 790b can also be used 35 light is approximately 90% for a window made from plain
to house various other components, such as sigma delta            glass. A line 920 on the graph 900 demonstrates an example
components for various embodiments of front end interfaces        light transmission percentage for an embodiment in which a
108.                                                              window is made from glass having an ITO coating with a
   FIGS. SA through SD illustrate a perspective view, side        surface resistivity of 500 ohms per square inch. A line 925
views, and a bottom elevation view of the conductive glass 40 on the graph 900 shows an example light transmission for an
described above with respect to the sensors 701a, 701b. As        embodiment in which a window is made from glass that
shown in the perspective view of FIG. SA and side view of         includes a coating of ITO oxide with a surface resistivity of
FIG. 8B, the conductive glass 730 includes the electrically       200 ohms per square inch. A line 930 on the graph 900
conductive material 733 described above as a coating on the       shows an example light transmission for an embodiment in
glass layer 731 described above to form a stack. In an 45 which a window is made from glass that includes a coating
embodiment where the electrically conductive material 733         ofITO oxide with a surface resistivity of30 ohms per square
includes indium tin oxide, surface resistivity of the electri-    inch.
cally conductive material 733 can range approximately from           The light transmission percentage for a window with
30 ohms per square inch to 500 ohms per square inch, or           currently available embedded wiring can have a light trans-
approximately 30, 200, or 500 ohms per square inch. As 50 mission percentage of approximately 70%. This lower per-
would be understood by a person of skill in the art from the      centage oflight transmission can be due to the opacity of the
present disclosure, other resistivities can also be used which    wiring employed in a currently available window with
are less than 30 ohms or more than 500 ohms. Other                wiring. Accordingly, certain embodiments of glass coatings
transparent, electrically conductive materials can be used as     described herein can employ, for example, ITO coatings
the material 733.                                              55 with different surface resistivity depending on the desired
   Although the conductive material 733 is shown spread           light transmission, wavelengths of light used for measure-
over the surface of the glass layer 731, the conductive           ment, desired shielding effect, and other criteria.
material 733 can be patterned or provided on selected                FIGS. l0A through 10B illustrate comparative noise
portions of the glass layer 731. Furthermore, the conductive      floors of example implementations of the sensors described
material 733 can have uniform or varying thickness depend- 60 above. Noise can include optical noise from ambient light
ing on a desired transmission of light, a desired shielding       and electro-magnetic noise, for example, from surrounding
effect, and other considerations.                                 electrical equipment. In FIG. l0A, a graph 1000 depicts
   In FIG. SC, a side view of a conductive glass 830a is          possible noise floors for different frequencies of noise for an
shown to illustrate an embodiment where the electrically          embodiment in which one of the sensors described above
conductive material 733 is provided as an internal layer 65 included separate windows for four (4) detectors 106. One
between two glass layers 731, 835. Various combinations of        or more of the windows included an embedded grid of
integrating electrically conductive material 733 with glass       wiring as a noise shield. Symbols 1030-1033 illustrate the
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noise floor performance for this embodiment. As can be             FIG. 11B illustrates a configuration of emitting optical
seen, the noise floor performance can vary for each of the      radiation into a measurement site for measuring a blood
openings and based on the frequency of the noise.               constituent or analyte like glucose. In some embodiments,
   In FIG. 10B, a graph 1050 depicts a noise floor for          emitter 104 may be driven in a progressive fashion to
frequencies of noise 1070 for an embodiment in which the 5 minimize noise and increase SNR of sensor 101. For
sensor included separate openings for four (4) detectors 106    example, emitter 104 may be driven based on a progression
and one or more windows that include an ITO coating. In         of power/current delivered to LEDs 1102 and 1104.
this embodiment, a surface resistivity of the ITO used was         In some embodiments, emitter 104 may be configured to
about 500 ohms per square inch. Symbols 1080-1083 illus-        emit pulses centered about 905 nm, about 1050 nm, about
                                                             10 1200 nm, about 1300 nm, about 1330 nm, about 1610 nm,
trate the noise floor performance for this embodiment. As
                                                                about 1640 nm, and about 1665 nm. In another embodiment,
can be seen, the noise floor performance for this embodi-
                                                                the emitter 104 may emit optical radiation ranging from
ment can vary less for each of the openings and provide
                                                                about 860 nm to about 950 nm, about 950 nm to about 1100
lower noise floors in comparison to the embodiment of FIG.      nm, about 1100 nm to about 1270 nm, about 1250 nm to
lOA.                                                            15 about 1350 nm, about 1300 nm to about 1360 nm, and about
   FIG. llA illustrates an example structure for configuring       1590 nm to about 1700 nm. Of course, emitter 104 may be
the set of optical sources of the emitters described above. As     configured to transmit any of a variety of wavelengths of
shown, an emitter 104 can include a driver 1105, a therm-          visible, or near-infrared optical radiation.
istor 1120, a set of top-emitting LEDs 1102 for emitting red          For purposes of illustration, FIG. 11B shows a sequence
and/or infrared light, a set of side-emitting LEDs 1104 for 20 of pulses of light at wavelengths of around 905 nm, around
emitting near infrared light, and a submount 1106.                 1200 nm, around 1300 nm, and around 1330 nm from top
   The thermistor 1120 can be provided to compensate for           emitting LEDs 1102. FIG. 11B also shows that emitter 104
temperature variations. For example, the thermistor 1120           may then emit pulses centered at around 1630 nm, around
can be provided to allow for wavelength centroid and power         1660 nm, and around 1615 nm from side emitting LEDs
drift of LEDs 1102 and 1104 due to heating. In addition, 25 1104. Emitter 104 may be progressively driven at higher
other thermistors can be employed, for example, to measure         power/current. This progression may allow driver circuit
a temperature of a measurement site. The temperature can be        105 to stabilize in its operations, and thus, provide a more
displayed on a display device and used by a caregiver. Such        stable current/power to LEDs 1102 and 1104.
a temperature can also be helpful in correcting for wave-             For example, as shown in FIG. 11B, the sequence of
length drift due to changes in water absorption, which can be 30 optical radiation pulses are shown having a logarithmic-like
temperature dependent, thereby providing more accurate             progression in power/current. In some embodiments, the
data useful in detecting blood analytes like glucose. In           timing of these pulses is based on a cycle of about 400 slots
addition, using a thermistor or other type of temperature          running at 48 kHz (e.g. each time slot may be approximately
sensitive device may be useful for detecting extreme tem-          0.02 ms or 20 microseconds). An artisan will recognize that
peratures at the measurement site that are too hot or too cold. 35 term "slots" includes its ordinary meaning, which includes
The presence of low perfusion may also be detected, for            a time period that may also be expressed in terms of a
example, when the finger of a patient has become too cold.         frequency. In the example shown, pulses from top emitting
Moreover, shifts in temperature at the measurement site can        LEDs 1102 may have a pulse width of about 40 time slots
alter the absorption spectrum of water and other tissue in the     (e.g., about 0.8 ms) and an off period of about 4 time slots
measurement cite. A thermistor's temperature reading can be 40 in between. In addition, pulses from side emitting LEDs
used to adjust for the variations in absorption spectrum           1104 (e.g., or a laser diode) may have a pulse width of about
changes in the measurement site.                                   60 time slots (e.g., about 1.25 ms) and a similar off period
   The driver 1105 can provide pulses of current to the            of about 4 time slots. A pause of about 70 time slots (e.g. 1.5
emitter 1104. In an embodiment, the driver 1105 drives the         ms) may also be provided in order to allow driver circuit
emitter 1104 in a progressive fashion, for example, in an 45 1105 to stabilize after operating at higher current/power.
alternating manner based on a control signal from, for                As shown in FIG. 11B, top emitting LEDs 1102 may be
example, a processor (e.g., the processor 110). For example,       initially driven with a power to approximately 1 mW at a
the driver 1105 can drive the emitter 1104 with a series of        current of about 20-100 mA. Power in these LEDs may also
pulses to about 1 milliwatt (mW) for visible light to light at     be modulated by using a filter or covering of black dye to
about 1300 nm and from about 40 mW to about 100 mW for 50 reduce power output of LEDs. In this example, top emitting
light at about 1600 nm to about 1700 nm. However, a wide           LEDs 1102 may be driven at approximately 0.02 to 0.08
number of driving powers and driving methodologies can be          mW. The sequence of the wavelengths may be based on the
used. The driver 1105 can be synchronized with other parts         current requirements of top emitting LEDs 502 for that
of the sensor and can minimize or reduce any jitter in the         particular wavelength. Of course, in other embodiments,
timing of pulses of optical radiation emitted from the emitter 55 different wavelengths and sequences of wavelengths may be
1104. In some embodiments, the driver 1105 is capable of           output from emitter 104.
driving the emitter 1104 to emit an optical radiation in a            Subsequently, side emitting LEDs 1104 may be driven at
pattern that varies by less than about 10 parts-per-million;       higher powers, such as about 40-100 mW and higher cur-
however other amounts of variation can be used.                    rents of about 600-800 mA. This higher power may be
   The submount 1106 provides a support structure in certain 60 employed in order to compensate for the higher opacity of
embodiments for aligning the top-emitting LEDs 1102 and            tissue and water in measurement site 102 to these wave-
the side-emitting LEDs 1104 so that their optical radiation is     lengths. For example, as shown, pulses at about 1630 nm,
transmitted generally towards the measurement site. In some        about 1660 nm, and about 1615 nm may be output with
embodiments, the submount 1106 is also constructed of              progressively higher power, such as at about 40 mW, about
aluminum nitride (AlN) or beryllium oxide (BEO) for heat 65 50 mW, and about 60 mW, respectively. In this embodiment,
dissipation, although other materials or combinations of           the order of wavelengths may be based on the optical
materials suitable for the submount 1106 can be used.              characteristics of that wavelength in tissue as well as the
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current needed to drive side emitting LEDs 1104. For                quadrants from a measurement site. One detector submount
example, in this embodiment, the optical pulse at about 1615        1200 can be placed under each window of the sensors
nm is driven at the highest power due to its sensitivity in         described above, or multiple windows can be placed over a
detecting analytes like glucose and the ability oflight at this     single detector submount 1200. The detector submount 1200
wavelength to penetrate tissue. Of course, different wave- 5 can also be used with the partially cylindrical protrusion 605
lengths and sequences of wavelengths may be output from             described above with respect to FIG. 6.
emitter 104.                                                           The detectors include photodiode detectors 1-4 that are
   As noted, this progression may be useful in some embodi-         arranged in a grid pattern on the submount 1200 to capture
ments because it allows the circuitry of driver circuit 1105        light at different quadrants from the measurement site. As
to stabilize its power delivery to LEDs 1102 and 1104. 10
                                                                    noted, other patterns of photodiodes, such as a linear row, or
Driver circuit 1105 may be allowed to stabilize based on the
                                                                    logarithmic row, can also be employed in certain embodi-
duty cycle of the pulses or, for example, by configuring a
                                                                    ments.
variable waiting period to allow for stabilization of driver
circuit 1105. Of course, other variations in power/current             As shown, the detectors 1-4 may have a predetermined
and wavelength may also be employed in the present dis- 15 spacing from each other, or spatial relationship among one
closure.                                                            another that result in a spatial configuration. This spatial
   Modulation in the duty cycle of the individual pulses may        configuration can be configured to purposefully create a
also be useful because duty cycle can affect the signal noise       variation of path lengths among detectors 106 and the point
ratio of the system 100. That is, as the duty cycle is increased    light source discussed above.
so may the signal to noise ratio.                                20    Detectors may hold multiple (e.g., two, three, four, etc.)
   Furthermore, as noted above, driver circuit 1105 may             photodiode arrays that are arranged in a two-dimensional
monitor temperatures of the LEDs 1102 and 1104 using the            grid pattern. Multiple photodiode arrays may also be useful
thermistor 1120 and adjust the output of LEDs 1102 and              to detect light piping (i.e., light that bypasses measurement
1104 accordingly. Such a temperature may be to help sensor          site 102). As shown, walls may separate the individual
101 correct for wavelength drift due to changes in water 25 photodiode arrays to prevent mixing of light signals from
absorption, which can be temperature dependent.                     distinct quadrants. In addition, as noted, the detectors may
   FIG. llC illustrates another exemplary emitter that may          be covered by windows of transparent material, such as
be employed in the sensor according to an embodiment of             glass, plastic, etc., to allow maximum transmission of power
the disclosure. As shown, the emitter 104 can include               light captured. As noted, this window may comprise some
components mounted on a substrate 1108 and on submount 30 shielding in the form of an embedded grid of wiring, or a
1106. In particular, top-emitting LEDs 1102 for emitting red        conductive layer or coating.
and/or infrared light may be mounted on substrate 1108.                FIGS. 12B through 12D illustrate a simplified view of
Side emitting LEDS 1104 may be mounted on submount                  exemplary arrangements and spatial configurations of pho-
1106. As noted, side-emitting LEDs 1104 may be included             todiodes for detectors 106. As shown, detectors 106 may
in emitter 104 for emitting near infrared light.                 35 comprise photodiode detectors 1-4 that are arranged in a grid
   As also shown, the sensor of FIG. llC may include a              pattern on detector submount 1200 to capture light at
thermistor 1120. As noted, the thermistor 1120 can be               different quadrants from measurement site 102.
provided to compensate for temperature variations. The                 As noted, other patterns of photodiodes may also be
thermistor 1120 can be provided to allow for wavelength             employed in embodiments of the present disclosure, includ-
centroid and power drift of LEDs 1102 and 1104 due to 40 ing, for example, stacked or other configurations recogniz-
heating. In addition, other thermistors (not shown) can be          able to an artisan from the disclosure herein. For example,
employed, for example, to measure a temperature of a                detectors 106 may be arranged in a linear array, a logarith-
measurement site. Such a temperature can be helpful in              mic array, a two-dimensional array, and the like. Further-
correcting for wavelength drift due to changes in water             more, an artisan will recognize from the disclosure herein
absorption, which can be temperature dependent, thereby 45 that any number of detectors 106 may be employed by
providing more accurate data useful in detecting blood              embodiments of the present disclosure.
analytes like glucose.                                                 For example, as shown in FIG. 12B, detectors 106 may
   In some embodiments, the emitter 104 may be imple-               comprise photodiode detectors 1-4 that are arranged in a
mented without the use of side emitting LEDs. For example,          substantially linear configuration on submount 1200. In this
certain blood constituents, such as total hemoglobin, can be 50 embodiment shown, photodiode detectors 1-4 are substan-
measured by embodiments of the disclosure without the use           tially equally spaced apart (e.g., where the distance D is
of side emitting LEDs. FIG. llD illustrates another exem-           substantially the same between detectors 1-4).
plary emitter that may be employed in the sensor according             In FIG. 12C, photodiode detectors 1-4 may be arranged in
to an embodiment of the disclosure. In particular, an emitter       a substantially linear configuration on submount 1200, but
104 that is configured for a blood constituent, such as total 55 may employ a substantially progressive, substantially loga-
hemoglobin, is shown. The emitter 104 can include compo-            rithmic, or substantially semi-logarithmic spacing (e.g.,
nents mounted on a substrate 1108. In particular, top-              where distances Dl>D2>D3). This arrangement or pattern
emitting LEDs 1102 for emitting red and/or infrared light           may be useful for use on a patient's finger and where the
may be mounted on substrate 1108.                                   thickness of the finger gradually increases.
   As also shown, the emitter of FIG. llD may include a 60             In FIG. 12D, a different substantially grid pattern on
thermistor 1120. The thermistor 1120 can be provided to             submount 1200 of photodiode detectors 1-4 is shown. As
compensate for temperature variations. The thermistor 1120          noted, other patterns of detectors may also be employed in
can be provided to allow for wavelength centroid and power          embodiments of the present invention.
drift of LEDs 1102 due to heating.                                     FIGS. 12E through 12H illustrate several embodiments of
   FIG. 12A illustrates a detector submount 1200 having 65 photodiodes that may be used in detectors 106. As shown in
photodiode detectors that are arranged in a grid pattern on         these figures, a photodiode 1202 of detector 106 may
the detector submount 1200 to capture light at different            comprise a plurality of active areas 1204. These active areas
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204 may be coupled together via a common cathode 1206 or               I is the light intensity measured by the instrument from the
anode 1208 in order to provide a larger effective detection         measurement site; and
area.                                                                  I is the initial light intensity from the emitter.
                                                                        0

   In particular, as shown in FIG. 12E, photodiode 1202 may            Absorbance (A) can be equated to the transmittance (T)
comprise two (2) active areas 1204a and 1204b. In FIG. 12F, 5 by the equation:
photodiode 1202 may comprise four (4) active areas
1204c:f In FIG. 12G, photodiode 1202 may comprise three                     A~-!og T
(3) active areas 1204g-i. In FIG. 12H, photodiode 1202 may             Therefore, substituting equations from above:
comprise nine (9) active areas 1204}-r. The use of smaller
active areas may be useful because smaller active areas can 10              A~-!og(Illol
be easier to fabricate and can be fabricated with higher
purity. However, one skilled in the art will recognize that            In view of this relationship, spectroscopy thus relies on a
various sizes of active areas may be employed in the                proportional-based calculation of -log(I/I and solving for
                                                                                                                0
                                                                                                                    )



photodiode 1202.                                                    analyte concentration (c ).
   FIG. 13 illustrates an example multi-stream process 1300. 15        Typically, in order to simplify the calculations, spectros-
The multi-stream process 1300 can be implemented by the             copy   will use detectors that are at the same location in order
data collection system 100 and/or by any of the sensors             to keep the path length (b) a fixed, known constant. In
described above. As shown, a control signal from a signal           addition, spectroscopy will employ various mechanisms to
processor 1310 controls a driver 1305. In response, an              definitively know the transmission power (I         0
                                                                                                                          such as a
                                                                                                                            ),

emitter 1304 generates a pulse sequence 1303 from its 20 photodiode located at the light source. This architecture can
emitter (e.g., its LEDs) into a measurement site or sites           be viewed as a single channel or single stream sensor,
1302. As described above, in some embodiments, the pulse            because the detectors are at a single location.
sequence 1303 is controlled to have a variation of about 10
                                                                       However, this scheme can encounter several difficulties in
parts per million or less. Of course, depending on the analyte
                                                                    measuring analytes, such as glucose. This can be due to the
desired, the tolerated variation in the pulse sequence 1303 25
                                                                    high overlap of absorption of light by water at the wave-
can be greater (or smaller).
                                                                    lengths relevant to glucose as well as other factors, such as
   In response to the pulse sequence 1300, detectors 1 to n
                                                                    high self-noise of the components.
(n being an integer) in a detector 1306 capture optical
                                                                       Embodiments of the present disclosure can employ a
radiation from the measurement site 1302 and provide
                                                                    different approach that in part allows for the measurement of
respective streams of output signals. Each signal from one of 30
                                                                    analytes like glucose. Some embodiments can employ a
detectors l-n can be considered a stream having respective
                                                                    bulk, non-pulsatile measurement in order to confirm or
time slots corresponding to the optical pulses from emitter
                                                                    validate a pulsatile measurement. In addition, both the
sets 1-n in the emitter 1304. Although n emitters and n
                                                                    non-pulsatile and pulsatile measurements can employ,
detectors are shown, the number of emitters and detectors
                                                                    among other things, the multi-stream operation described
need not be the same in certain implementations.                 35
                                                                    above in order to attain sufficient SNR. In particular, a single
   A front end interface 1308 can accept these multiple
                                                                    light source having multiple emitters can be used to transmit
streams from detectors l-n and deliver one or more signals
                                                                    light to multiple detectors having a spatial configuration.
or composite signal(s) back to the signal processor 1310. A
                                                                       A single light source having multiple emitters can allow
stream from the detectors l -n can thus include measured
light intensities corresponding to the light pulses emitted 40 for a range of wavelengths oflight to be used. For example,
from the emitter 1304.                                              visible, infrared, and near infrared wavelengths can be
   The signal processor 1310 can then perform various               employed. Varying powers of light intensity for different
calculations to measure the amount of glucose and other             wavelengths can also be employed.
analytes based on these multiple streams of signals. In order          Secondly, the use of multiple-detectors in a spatial con-
to help explain how the signal processor 1310 can measure 45 figuration allow for a bulk measurement to confirm or
analytes like glucose, a primer on the spectroscopy                 validate that the sensor is positioned correctly. This is
employed in these embodiments will now be provided.                 because the multiple locations of the spatial configuration
   Spectroscopy is premised upon the Beer-Lambert law.              can provide, for example, topology information that indi-
According to this law, the properties of a material, e.g.,          cates where the sensor has been positioned. Currently avail-
glucose present in a measurement site, can be deterministi- 50 able sensors do not provide such information. For example,
cally calculated from the absorption of light traveling             if the bulk measurement is within a predetermined range of
through the material. Specifically, there is a logarithmic          values, then this can indicate that the sensor is positioned
relation between the transmission oflight through a material        correctly in order to perform pulsatile measurements for
and the concentration of a substance and also between the           analytes like glucose. If the bulk measurement is outside of
transmission and the length of the path traveled by the light. 55 a certain range or is an unexpected value, then this can
As noted, this relation is known as the Beer-Lambert law.           indicate that the sensor should be adjusted, or that the
   The Beer-Lambert law is usually written as:                      pulsatile measurements can be processed differently to com-
       Absorbance A =m *b *c, where:                                pensate, such as using a different calibration curve or
                                                                    adjusting a calibration curve. This feature and others allow
   m is the wavelength-dependent molar absorptivity coef- 60 the embodiments to achieve noise cancellation and noise
                                             1     1
ficient (usually expressed in units of M- cm- );                    reduction, which can be several times greater in magnitude
   b is the mean path length; and                                   that what is achievable by currently available technology.
   c is the analyte concentration (e.g., the desired parameter).       In order to help illustrate aspects of the multi-stream
   In spectroscopy, instruments attempt to obtain the analyte       measurement approach, the following example derivation is
concentration (c) by relating absorbance (A) to transmit- 65 provided. Transmittance (T) can be expressed as:
tance (T). Transmittance is a proportional value defined as:
      T~III where:
              ,
                                                                            T=e-m'"b*c
          0




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  In terms of light intensity, this equation can also be            are used instead of four. Advantageously, in certain embodi-
rewritten as:                                                       ments, the resulting sensor can be more cost effective, have
                                                                    less complexity, and have an improved SNR, due to fewer
                                                                    and/or smaller photodiodes.
    Or, at a detector, the measured light (I) can be expressed 5       In other embodiments, using the partially cylindrical
as:
                                                                    protrusion 605 can allow the number of detector rows to be
                                                                    reduced to one or three rows of four detectors. The number
   As noted, in the present disclosure, multiple detectors (1       of detectors in each row can also be reduced. Alternatively,
ton) can be employed, which results in I 1 . . . In streams of 10   the  number of rows might not be reduced but the size of the
measurements. Assuming each of these detectors have their           detectors can be reduced. Many other configurations of
own path lengths, b 1 . . . bm from the light source, the           detector rows and sizes can also be provided.
measured light intensities can be expressed as:                        FIG. 14B depicts a front elevation view of the partially
                                                                    cylindrical protrusion 605 (or alternatively, the protrusion
                                                                    605b) that illustrates how light from emitters (not shown)
    The measured light intensities at any two different detec- 15 can be focused by the protrusion 605 onto detectors. The
tors can be referenced to each other. For example:                  protrusion 605 is placed above a detector submount 1400b
       I/In ~(Io •e-mbJc)/(Io •e-mbnc)                              having one or more detectors 1410b disposed thereon. The
   As can be seen, the terms, I cancel out and, based on
                                      ,
                                                                    submount 1400b can include any number of rows of detec-
                                  0

exponent algebra, the equation can be rewritten as:              20 tors 1410, although one row is shown.
                                                                       Light, represented by rays 1420, is emitted from the
       11/In =e-m(bJ-bn)c
                                                                    emitters onto the protrusion 605. These light rays 1420 can
    From this equation, the analyte concentration (c) can now       be attenuated by body tissue (not shown). When the light
be derived from bulk signals I 1 . . . In and knowing the           rays 1420 enter the protrusion 605, the protrusion 605 acts
respective mean path lengths b 1 and bn. This scheme also 25 as a lens to refract the rays into rays 1422. This refraction is
allows for the cancelling out of I and thus, noise generated
                                      0
                                          ,                         caused in certain embodiments by the partially cylindrical
by the emitter 1304 can be cancelled out or reduced. In             shape of the protrusion 605. The refraction causes the rays
addition, since the scheme employs a mean path length               1422 to be focused or substantially focused on the one or
difference, any changes in mean path length and topological         more detectors 1410b. Since the light is focused on a smaller
variations from patient to patient are easily accounted. 30 area, a sensor including the protrusion 605 can include fewer
Furthermore, this bulk-measurement scheme can be                    detectors to capture the same amount oflight compared with
extended across multiple wavelengths. This flexibility and          other sensors.
other features allow embodiments of the present disclosure             FIG. 14C illustrates another embodiment of a detector
to measure blood analytes like glucose.                             submount 1400c, which can be disposed under the protru-
    For example, as noted, the non-pulsatile, bulk measure- 35 sion 605b (or alternatively, the protrusion 605). The detector
ments can be combined with pulsatile measurements to more           submount 1400c includes a single row 1408c of detectors
accurately measure analytes like glucose. In particular, the        1410c. The detectors are electrically connected to conduc-
non-pulsatile, bulk measurement can be used to confirm or           tors 1412c, which can be gold, silver, copper, or any other
validate the amount of glucose, protein, etc. in the pulsatile      suitable conductive material.
measurements taken at the tissue at the measurement site(s) 40         The detector submount 1400c is shown positioned under
1302. The pulsatile measurements can be used to measure             the protrusion 605b in a detector subassembly 1450 illus-
the amount of glucose, hemoglobin, or the like that is present      trated in FIG. 14D. A top-down view of the detector sub-
in the blood. Accordingly, these different measurements can         assembly 1450 is also shown in FIG. 14E. In the detector
be combined to thus determine analytes like blood glucose.          subassembly 1450, a cylindrical housing 1430 is disposed
    FIG. 14A illustrates an embodiment of a detector sub- 45 on the submount 1400c. The cylindrical housing 1430
mount 1400a positioned beneath the partially cylindrical            includes a transparent cover 1432, upon which the protru-
protrusion 605 of FIG. 6 (or alternatively, the protrusion          sion 605b is disposed. Thus, as shown in FIG. 14D, a gap
605b). The detector submount 1400a includes two rows                1434 exists between the detectors 1410c and the protrusion
1408a of detectors 1410a. The partially cylindrical protru-         605b. The height of this gap 1434 can be chosen to increase
sion 605 can facilitate reducing the number and/or size of 50 or maximize the amount of light that impinges on the
detectors used in a sensor because the protrusion 605 can act       detectors 1410c.
as a lens that focuses light onto a smaller area.                      The cylindrical housing 1430 can be made of metal,
    To illustrate, in some sensors that do not include the          plastic, or another suitable material. The transparent cover
partially cylindrical protrusion 605, sixteen detectors can be      1432 can be fabricated from glass or plastic, among other
used, including four rows of four detectors each. Multiple 55 materials. The cylindrical housing 1430 can be attached to
rows of detectors can be used to measure certain analytes,          the submount 1400c at the same time or substantially the
such as glucose or total hemoglobin, among others. Multiple         same time as the detectors 1410c to reduce manufacturing
rows of detectors can also be used to detect light piping (e.g.,    costs. A shape other than a cylinder can be selected for the
light that bypasses the measurement site). However, using           housing 1430 in various embodiments.
more detectors in a sensor can add cost, complexity, and 60            In certain embodiments, the cylindrical housing 1430
noise to the sensor.                                                (and transparent cover 1432) forms an airtight or substan-
   Applying the partially cylindrical protrusion 605 to such        tially airtight or hermetic seal with the submount 1400c. As
a sensor, however, could reduce the number of detectors or          a result, the cylindrical housing 1430 can protect the detec-
rows of detectors used while still receiving the substantially      tors 1410c and conductors 1412c from fluids and vapors that
same amount of light, due to the focusing properties of the 65 can cause corrosion. Advantageously, in certain embodi-
protrusion 605 (see FIG. 14B). This is the example situation        ments, the cylindrical housing 1430 can protect the detectors
illustrated in FIG. 14-two rows 1408a of detectors 1410a            1410c and conductors 1412c more effectively than cur-
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rently-available resin epoxies, which are sometimes applied       trates the detector shell 306/ of FIG. 14G, with the protru-
to solder joints between conductors and detectors.                sion 605b disposed in the finger bed 310/
   In embodiments where the cylindrical housing 1430 is at           FIG. 141 illustrates a cutaway view of the sensor 301/ Not
least partially made of metal, the cylindrical housing 1430       all features of the sensor 301/ are shown, such as the
can provide noise shielding for the detectors 1410c. For 5 protrusion 605b. Features shown include the emitter and
example, the cylindrical housing 1430 can be soldered to a        detector shells 304{, 306/, the flaps 307/, the heat sink 350/
ground connection or ground plane on the submount 1400c,          and fins 351/, the finger bed 310/, and the noise shield 1403.
which allows the cylindrical housing 1430 to reduce noise.           In addition to these features, emitters 1404 are depicted in
In another embodiment, the transparent cover 1432 can             the emitter shell 304{, The emitters 1404 are disposed on a
                                                               10
include a conductive material or conductive layer, such as        submount 1401, which is connected to a circuit board 1419.
conductive glass or plastic. The transparent cover 1432 can       The emitters 1404 are also enclosed within a cylindrical
include any of the features of the noise shields 790 described    housing 1480. The cylindrical housing 1480 can include all
above.                                                            of the features of the cylindrical housing 1430 described
   The protrusion 605b includes the chamfered edges 607 15 above. For example, the cylindrical housing 1480 can be
described above with respect to FIG. 6E. These chamfered          made of metal, can be connected to a ground plane of the
edges 607 can allow a patient to more comfortably slide a         submount 1401 to provide noise shielding, and can include
finger over the protrusion 605b when inserting the finger         a transparent cover 1482.
into the sensor 301/                                                 The cylindrical housing 1480 can also protect the emitters
   FIG. 14F illustrates a portion of the detector shell 306/, 20 1404 from fluids and vapors that can cause corrosion.
which includes the detectors 1410c on the substrate 1400c.        Moreover, the cylindrical housing 1480 can provide a gap
The substrate 1400c is enclosed by a shielding enclosure          between the emitters 1404 and the measurement site (not
1490, which can include the features of the shielding enclo-      shown), which can allow light from the emitters 1404 to
sures 790a, 790b described above (see also FIG. 17). The          even out or average out before reaching the measurement
shielding enclosure 1490 can be made of metal. The shield- 25 site.
ing enclosure 1490 includes a window 1492a above the                 The heat sink 350/, in addition to including the fins 351/,
detectors 1410c, which allows light to be transmitted onto        includes a protuberance 352/that extends down from the fins
the detectors 1410c.                                              351/ and contacts the submount 1401. The protuberance
   A noise shield 1403 is disposed above the shielding            352/ can be connected to the submount 1401, for example,
enclosure 1490. The noise shield 1403, in the depicted 30 with thermal paste or the like. The protuberance 352/ can
embodiment, includes a window 1492a corresponding to the          sink heat from the emitters 1404 and dissipate the heat via
window 1492a. Each of the windows 1492a, 1492b can                the fins 351/
include glass, plastic, or can be an opening without glass or        FIGS. 15A and 15B illustrate embodiments of sensor
plastic. In some embodiments, the windows 1492a, 1492b            portions 1500A, 15008 that include alternative heat sink
may be selected to have different sizes or shapes from each 35 features to those described above. These features can be
other.                                                            incorporated into any of the sensors described above. For
   The noise shield 1403 can include any of the features of       example, any of the sensors above can be modified to use the
the conductive glass described above. In the depicted             heat sink features described below instead of or in addition
embodiment, the noise shield 1403 extends about three-            to the heat sink features of the sensors described above.
quarters of the length of the detector shell 306/ In other 40        The sensor portions 1500A, 1500B shown include LED
embodiments, the noise shield 1403 could be smaller or            emitters 1504; however, for ease of illustration, the detectors
larger. The noise shield 1403 could, for instance, merely         have been omitted. The sensor portions 1500A, 1500B
cover the detectors 1410c, the submount 1400c, or a portion       shown can be included, for example, in any of the emitter
thereof. The noise shield 1403 also includes a stop 1413 for      shells described above.
positioning a measurement site within the sensor 301/ 45             The LEDs 1504 of the sensor portions 1500A, 1500B are
Advantageously, in certain embodiments, the noise shield          connected to a substrate or submount 1502. The submount
1403 can reduce noise caused by light piping.                     1502 can be used in place of any of the submounts described
   A thermistor 1470 is also shown. The thermistor 1470 is        above. The submount 1502 can be a non-electrically con-
attached to the submount 1400c and protrudes above the            ducting material made of any of a variety of materials, such
noise shield 1403. As described above, the thermistor 1470 50 as ceramic, glass, or the like. A cable 1512 is attached to the
can be employed to measure a temperature of a measure-            submount 1502 and includes electrical wiring 1514, such as
ment site. Such a temperature can be helpful in correcting        twisted wires and the like, for communicating with the LEDs
for wavelength drift due to changes in water absorption,          1504. The cable 1512 can correspond to the cables 212
which can be temperature dependent, thereby providing             described above.
more accurate data useful in detecting blood analytes like 55        Although not shown, the cable 1512 can also include
glucose.                                                          electrical connections to a detector. Only a portion of the
   In the depicted embodiment, the detectors 1410c are not        cable 1512 is shown for clarity. The depicted embodiment of
enclosed in the cylindrical housing 1430. In an alternative       the cable 1512 includes an outer jacket 1510 and a conduc-
embodiment, the cylindrical housing 1430 encloses the             tive shield 1506 disposed within the outer jacket 1510. The
detectors 1410c and is disposed under the noise shield 1403. 60 conductive shield 1506 can be a ground shield or the like
In another embodiment, the cylindrical housing 1430               that is made of a metal such as braided copper or aluminum.
encloses the detectors 1410c and the noise shield 1403 is not     The conductive shield 1506 or a portion of the conductive
used. If both the cylindrical housing 1403 and the noise          shield 1506 can be electrically connected to the submount
shield 1403 are used, either or both can have noise shielding     1502 and can reduce noise in the signal generated by the
features.                                                      65 sensor 1500A, 1500B by reducing RF coupling with the
   FIG. 14G illustrates the detector shell 306/ of FIG. 14F,      wires 1514. In alternative embodiments, the cable 1512 does
with the finger bed 310/ disposed thereon. FIG. 14H illus-        not have a conductive shield. For example, the cable 1512
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could be a twisted pair cable or the like, with one wire of the    enable connections to be made more easily to the circuit
twisted pair used as a heat sink.                                  board 1519. In addition, using separate boards can be easier
   Referring specifically to FIG. 15A, in certain embodi-          to manufacture than a single circuit board 1519 with all
ments, the conductive shield 1506 can act as a heat sink for       connections soldered to the circuit board 1519.
the LEDs 1504 by absorbing thermal energy from the LEDs 5             FIG. 151 illustrates an exemplary architecture for front-
1504 and/or the submount 1502. An optional heat insulator          end interface 108 as a transimpedance-based front-end. As
1520 in communication with the submount 1502 can also              noted, front-end interfaces 108 provide an interface that
assist with directing heat toward the conductive shield 1506.      adapts the output of detectors 106 into a form that can be
The heat insulator 1520 can be made of plastic or another          handled by signal processor 110. As shown in this figure,
suitable material. Advantageously, using the conductive 10 sensor 101 and front-end interfaces 108 may be integrated
shield 1506 in the cable 1512 as a heat sink can, in certain       together as a single component, such as an integrated circuit.
embodiments, reduce cost for the sensor.                           Of course, one skilled in the art will recognize that sensor
   Referring to FIG. 15B, the conductive shield 1506 can be        101 and front end interfaces 108 may comprise multiple
attached to both the submount 1502 and to a heat sink layer        components or circuits that are coupled together.
1530 sandwiched between the submount 1502 and the 15                  Front-end interfaces 108 may be implemented using tran-
optional insulator 1520. Together, the heat sink layer 1530        simpedance amplifiers that are coupled to analog to digital
and the conductive shield 1506 in the cable 1512 can absorb        converters in a sigma delta converter. In some embodiments,
at least part of the thermal energy from the LEDs and/or the       a programmable gain amplifier (PGA) can be used in
submount 1502.                                                     combination with the transimpedance-based front-ends. For
   FIGS. 15C and 15D illustrate implementations of a sensor 20 example, the output of a transimpedance-based front-end
portion 1500C that includes the heat sink features of the          may be output to a sigma-delta ADC that comprises a PGA.
sensor portion 1500A described above with respect to FIG.          A PGA may be useful in order to provide another level of
15A. The sensor portion 1500C includes the features of the         amplification and control of the stream of signals from
sensor portion 1500A, except that the optional insulator           detectors 106. The PGA may be an integrated circuit or built
1520 is not shown. FIG. 15D is a side cutaway view of the 25 from a set of micro-relays. Alternatively, the PGA and ADC
sensor portion 1500C that shows the emitters 1504.                 components in converter 900 may be integrated with the
   The cable 1512 includes the outer jacket 1510 and the           transimpedance-based front-end in sensor 101.
conductive shield 1506. The conductive shield 1506 is                 Due to the low-noise requirements for measuring blood
soldered to the submount 1502, and the solder joint 1561 is        analytes like glucose and the challenge of using multiple
shown. In some embodiments, a larger solder joint 1561 can 30 photodiodes in detector 106, the applicants developed a
assist with removing heat more rapidly from the emitters           noise model to assist in configuring front-end 108. Conven-
1504. Various connections 1563 between the submount 1502           tionally, those skilled in the art have focused on optimizing
and a circuit board 1519 are shown. In addition, a cylindrical     the impedance of the transimpedance amplifiers to minimize
housing 1580, corresponding to the cylindrical housing 1480        nmse.
of FIG. 141, is shown protruding through the circuit board 35         However, the following noise model was discovered by
1519. The emitters 1504 are enclosed in the cylindrical            the applicants:
housing 1580.
   FIGS. 15E and 15F illustrate implementations of a sensor
                                                                          Noise~V aR+bR 2 , where:
portion 1500E that includes the heat sink features of the
sensor portion 1500B described above with respect to FIG. 40          aR is characteristic of the impedance of the transimped-
15B. The sensor portion 1500E includes the heat sink layer         ance amplifier; and
1530. The heat sink layer 1530 can be a metal plate, such as          bR2 is characteristic of the impedance of the photodiodes
a copper plate or the like. The optional insulator 1520 is not     in detector and the number of photodiodes in detector 106.
shown. FIG.15F is a side cutaway view of the sensor portion           The foregoing noise model was found to be helpful at
1500E that shows the emitters 1504.                             45 least in part due to the high SNR required to measure
   In the depicted embodiment, the conductive shield 1506          analytes like glucose. However, the foregoing noise model
of the cable 1512 is soldered to the heat sink layer 1530          was not previously recognized by artisans at least in part
instead of the submount 1502. The solder joint 1565 is             because, in conventional devices, the major contributor to
shown. In some embodiments, a larger solder joint 1565 can         noise was generally believed to originate from the emitter or
assist with removing heat more rapidly from the emitters 50 the LEDs. Therefore, artisans have generally continued to
1504. Various connections 1563 between the submount 1502           focus on reducing noise at the emitter.
and a circuit board 1519 are shown. In addition, the cylin-           However, for analytes like glucose, the discovered noise
drical housing 1580 is shown protruding through the circuit        model revealed that one of the major contributors to noise
board 1519. The emitters 1504 are enclosed in the cylindri-        was generated by the photodiodes. In addition, the amount
cal housing 1580.                                               55 of noise varied based on the number of photodiodes coupled
   FIGS. 15G and 15H illustrate embodiments of connector           to a transimpedance amplifier. Accordingly, combinations of
features that can be used with any of the sensors described        various photodiodes from different manufacturers, different
above with respect to FIGS. 1 through 15F. Referring to FIG.       impedance values with the transimpedance amplifiers, and
15G, the circuit board 1519 includes a female connector            different numbers of photodiodes were tested as possible
1575 that mates with a male connector 1577 connected to a 60 embodiments.
daughter board 1587. The daughter board 1587 includes                 In some embodiments, different combinations oftransim-
connections to the electrical wiring 1514 of the cable 1512.       pedance to photodiodes may be used. For example, detectors
The connected boards 1519, 1587 are shown in FIG. 15H.             1-4 (as shown, e.g., in FIG. 12A) may each comprise four
Also shown is a hole 1573 that can receive the cylindrical         photodiodes. In some embodiments, each detector of four
housing 1580 described above.                                   65 photodiodes may be coupled to one or more transimpedance
   Advantageously, in certain embodiments, using a daugh-          amplifiers. The configuration of these amplifiers may be set
ter board 1587 to connect to the circuit board 1519 can            according to the model shown in FIG. 151.
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   Alternatively, each of the photodiodes may be coupled to          As another example, a sensor 1528 may comprise a "1 PD
its own respective transimpedance amplifier. For example,         per stream" architecture on submount 700 in which each
transimpedance amplifiers may be implemented as inte-             detector 106 comprises four (4) photodiodes 1530. In sensor
grated circuits on the same circuit board as detectors 1-4. In    1528, each individual photodiode 1530 is coupled to a
this embodiment, the transimpedance amplifiers may be 5 respective transimpedance amplifier 1532. The output of the
grouped into an averaging (or summing) circuit, which are         amplifiers 1532 may then be aggregated into averaging
known to those skilled in the art, in order to provide an         circuit 1520 to produce a signal.
output stream from the detector. The use of a summing                As noted previously, one skilled in the art will recognize
amplifier to combine outputs from several transimpedance          that the photodiodes and detectors may be arranged in
amplifiers into a single, analog signal may be helpful in 10
                                                                  different fashions to optimize the detected light. For
improving the SNR relative to what is obtainable from a
                                                                  example, sensor 1534 illustrates an exemplary "4 PD per
single transimpedance amplifier. The configuration of the
                                                                  stream" sensor in which the detectors 106 comprise photo-
transimpedance amplifiers in this setting may also be set
according to the model shown in FIG. 151.                         diodes  1536 arranged in a linear fashion. Likewise, sensor
   As yet another alternative, as noted above with respect to 15 1538 illustrates an exemplary "1 PD per stream" sensor in
FIGS. 12E through 12H, the photodiodes in detectors 106           which the detectors comprise photodiodes 1540 arranged in
may comprise multiple active areas that are grouped               a linear fashion.
together. In some embodiments, each of these active areas            Alternatively, sensor 1542 illustrates an exemplary "4 PD
may be provided its own respective transimpedance. This           per stream" sensor in which the detectors 106 comprise
form of pairing may allow a transimpedance amplifier to be 20 photodiodes 1544 arranged in a two-dimensional pattern,
better matched to the characteristics of its corresponding        such as a zig-zag pattern. Sensor 1546 illustrates an exem-
photodiode or active area of a photodiode.                        plary "1 PD per stream" sensor in which the detectors
   As noted, FIG. 151 illustrates an exemplary noise model        comprise photodiodes 1548 also arranged in a zig-zag
that may be useful in configuring transimpedance amplifiers.      pattern.
As shown, for a given number of photodiodes and a desired 25         FIG. 15L illustrates an exemplary architecture for a
SNR, an optimal impedance value for a transimpedance              switched-capacitor-based front-end. As shown, front-end
amplifier could be determined.                                    interfaces 108 may be implemented using switched capaci-
   For example, an exemplary "4 PD per stream" sensor             tor circuits and any number of front-end interfaces 108 may
1502 is shown where detector 106 comprises four photo-            be implemented. The output of these switched capacitor
diodes 1502. The photodiodes 1502 are coupled to a single 30 circuits may then be provided to a digital interface 1000 and
transimpedance amplifier 1504 to produce an output stream         signal processor 110. Switched capacitor circuits may be
1506. In this example, the transimpedance amplifier com-          useful in system 100 for their resistor free design and analog
prises 10 MQ resistors 1508 and 1510. Thus, output stream         averaging properties. In particular, the switched capacitor
1506 is produced from the four photodiodes (PD) 1502. As          circuitry provides for analog averaging of the signal that
shown in the graph of FIG. 151, the model indicates that 35 allows for a lower smaller sampling rate (e.g., 2 KHz
resistance values of about 10 MQ may provide an acceptable        sampling for analog versus 48 KHz sampling for digital
SNR for analytes like glucose.                                    designs) than similar digital designs. In some embodiments,
   However, as a comparison, an exemplary "1 PD per               the switched capacitor architecture in front end interfaces
stream" sensor 1512 is also shown in FIG. 151. In particular,     108 may provide a similar or equivalent SNR to other front
sensor 1512 may comprise a plurality of detectors 106 that 40 end designs, such as a sigma delta architecture. In addition,
each comprises a single photodiode 1514. In addition, as          a switched capacitor design in front end interfaces 108 may
shown for this example configuration, each of photodiodes         require less computational power by signal processor 110 to
1514 may be coupled to respective transimpedance ampli-           perform the same amount of decimation to obtain the same
fiers 1516, e.g., 1 PD per stream. Transimpedance amplifiers      SNR.
are shown having 40 MQ resistors 1518. As also shown in 45           FIGS. 16A and 16B illustrate embodiments of disposable
the graph of FIG. 151, the model illustrates that resistance      optical sensors 1600. In an embodiment, any of the features
values of 40 MQ for resistors 1518 may serve as an                described above, such as protrusion, shielding, and/or heat
alternative to the 4 photodiode per stream architecture of        sink features, can be incorporated into the disposable sen-
sensor 1502 described above and yet still provide an equiva-      sors 1600 shown. For instance, the sensors 1600 can be used
lent SNR.                                                      50 as the sensors 101 in the system 100 described above with
   Moreover, the discovered noise model also indicates that       respect to FIG. 1. Moreover, any of the features described
utilizing a 1 photodiode per stream architecture like that in     above, such as protrusion, shielding, and/or heat sink fea-
sensor 1512 may provide enhanced performance because              tures, can be implemented in other disposable sensor designs
each of transimpedance amplifiers 1516 can be tuned or            that are not depicted herein.
optimized to its respective photodiodes 1518. In some 55             The sensors 1600 include an adult/pediatric sensor 1610
embodiments, an averaging component 1520 may also be              for finger placement and a disposable infant/neonate sensor
used to help cancel or reduce noise across photodiodes 1518.      1602 configured for toe, foot or hand placement. Each
   For purposes of illustration, FIG. 15K shows different         sensor 1600 has a tape end 1610 and an opposite connector
architectures (e.g., four PD per stream and one PD per            end 1620 electrically and mechanically interconnected via a
stream) for various embodiments of a sensor and how 60 flexible coupling 1630. The tape end 1610 attaches an
components of the sensor may be laid out on a circuit board       emitter and detector to a tissue site. Although not shown, the
or substrate. For example, sensor 1522 may comprise a "4          tape end 1610 can also include any of the protrusion,
PD per stream" architecture on a submount 700 in which            shielding, and/or heat sink features described above. The
each detector 106 comprises four (4) photodiodes 1524. As         emitter illuminates the tissue site and the detector generates
shown for sensor 1522, the output of each set of four 65 a sensor signal responsive to the light after tissue absorption,
photodiodes 1524 is then aggregated into a single transim-        such as absorption by pulsatile arterial blood flow within the
pedance amplifier 1526 to produce a signal.                       tissue site.
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   The sensor signal is connnunicated via the flexible cou-        Liposyn were prepared that ranged from 0-55 mg/dL. Five
pling 1630 to the connector end 1620. The connector end            samples were used as a training set and 20 samples were
1620 can mate with a cable (not shown) that communicates           then used as a test population. As shown, embodiments of
the sensor signal to a monitor (not shown), such as any of the     sensor 101 were able to obtain at least a standard deviation
cables or monitors shown above with respect to FIGS. 2A 5 of 37 mg/dL in the training set and 32 mg/dL in the test
through 2D. Alternatively, the connector end 1620 can mate         population.
directly with the monitor.                                            FIGS. 20 through 22 shows other results that can be
   FIG. 17 illustrates an exploded view of certain of the          obtained by an embodiment of system 100. In FIG. 20, 150
components of the sensor 301/ described above. A heat sink         blood samples from two diabetic adult volunteers were
1751 and a cable 1781 attach to an emitter shell 1704. The 10 collected over a 10-day period. Invasive measurements were
emitter shell attaches to a flap housing 1707. The flap            taken with a YSI glucometer to serve as a reference mea-
housing 1707 includes a receptacle 1709 to receive a cylin-        surement. Noninvasive measurements were then taken with
drical housing 1480/1580 (not shown) attached to an emitter        an embodiment of system 100 that comprised four LEDs and
submount 1702, which is attached to a circuit board 1719.          four independent detector streams. As shown, the system
   A spring 1787 attaches to a detector shell 1706 via pins 15 100 obtained a correlation of about 85% and Arms of about
1783, 1785, which hold the emitter and detector shells 1704,       31 mg/dL.
1706 together. A support structure 1791 attaches to the               In FIG. 21, 34 blood samples were taken from a diabetic
detector shell 1706, which provides support for a shielding        adult volunteer collected over a 2-day period. Invasive
enclosure 1790. A noise shield 1713 attaches to the shielding      measurements were also taken with a glucometer for com-
enclosure 1790. A detector submount 1700 is disposed 20 parison. Noninvasive measurements were then taken with an
inside the shielding enclosure 1790. A finger bed 1710             embodiment of system 100 that comprised four LEDs in
provides a surface for placement of the patient's finger.          emitter 104 and four independent detector streams from
Finger bed 1710 may comprise a gripping surface or grip-           detectors 106. As shown, the system 100 was able to attain
ping features, which may assist in placing and stabilizing a       a correlation of about 90% and Arms of about 22 mg/dL.
patient's finger in the sensor. A partially cylindrical protru- 25    The results shown in FIG. 22 relate to total hemoglobin
sion 1705 may also be disposed in the finger bed 1710. As          testing with an exemplary sensor 101 of the present disclo-
shown, finger bed 1710 attaches to the noise shield 1703.          sure. In particular, 47 blood samples were collected from
The noise shield 1703 may be configured to reduce noise,           nine adult volunteers. Invasive measurements were then
such as from ambient light and electromagnetic noise. For          taken with a CO-oximeter for comparison. Noninvasive
example, the noise shield 1703 may be constructed from 30 measurements were taken with an embodiment of system
materials having an opaque color, such as black or a dark          100 that comprised four LEDs in emitter 104 and four
blue, to prevent light piping.                                     independent detector channels from detectors 106. Measure-
   Noise shield 1703 may also comprise a thermistor 1712.          ments were averaged over 1 minute. As shown, the testing
The thermistor 1712 may be helpful in measuring the                resulted in a correlation of about 93% and Arms of about 0.8
temperature ofa patient's finger. For example, the thermistor 35 mg/dL.
1712 may be useful in detecting when the patient's finger is          Conditional language used herein, such as, among others,
reaching an unsafe temperature that is too hot or too cold. In     "can," "could," "might," "may," "e.g.," and the like, unless
addition, the temperature of the patient's finger may be           specifically stated otherwise, or otherwise understood within
useful in indicating to the sensor the presence of low             the context as used, is generally intended to convey that
perfusion as the temperature drops. In addition, the therm- 40 certain embodiments include, while other embodiments do
istor 1712 may be useful in detecting a shift in the charac-       not include, certain features, elements and/or states. Thus,
teristics of the water spectrum in the patient's finger, which     such conditional language is not generally intended to imply
can be temperature dependent.                                      that features, elements and/or states are in any way required
   Moreover, a flex circuit cover 1706 attaches to the pins        for one or more embodiments or that one or more embodi-
1783, 1785. Although not shown, a flex circuit can also be 45 ments necessarily include logic for deciding, with or without
provided that connects the circuit board 1719 with the             author input or prompting, whether these features, elements
submount 1700 (or a circuit board to which the submount            and/or states are included or are to be performed in any
1700 is connected). A flex circuit protector 1760 may be           particular embodiment.
provided to provide a barrier or shield to the flex circuit (not      While certain embodiments of the inventions disclosed
shown). In particular, the flex circuit protector 1760 may 50 herein have been described, these embodiments have been
also prevent any electrostatic discharge to or from the flex       presented by way of example only, and are not intended to
circuit. The flex circuit protector 1760 may be constructed        limit the scope of the inventions disclosed herein. Indeed,
from well known materials, such as a plastic or rubber             the novel methods and systems described herein can be
materials.                                                         embodied in a variety of other forms; furthermore, various
   FIG. 18 shows the results obtained by an exemplary 55 omissions, substitutions and changes in the form of the
sensor 101 of the present disclosure that was configured for       methods and systems described herein can be made without
measuring glucose. This sensor 101 was tested using a pure         departing from the spirit of the inventions disclosed herein.
water ex-vivo sample. In particular, ten samples were pre-         The claims and their equivalents are intended to cover such
pared that ranged from 0-55 mg/dL. Two samples were used           forms or modifications as would fall within the scope and
as a training set and eight samples were then used as a test 60 spirit of certain of the inventions disclosed herein.
population. As shown, embodiments of the sensor 101 were
able to obtain at least a standard deviation of 13 mg/dL in the       What is claimed is:
training set and 11 mg/dL in the test population.                     1. A user-worn physiological measurement device com-
   FIG. 19 shows the results obtained by an exemplary              prising:
sensor 101 of the present disclosure that was configured for 65       one or more emitters configured to emit light into tissue
measuring glucose. This sensor 101 was tested using a turbid             of a user;
ex-vivo sample. In particular, 25 samples of water/glucose/           at least four detectors arranged on a substrate;
                                                              101
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   a cover comprising a protruding convex surface, wherein              10. The user-worn physiological measurement device of
      the protruding convex surface extends over all of the at       claim 7, wherein the physiological parameter comprises at
      least four detectors arranged on the substrate, wherein        least one of: pulse rate, glucose, oxygen, oxygen saturation,
      at least a portion of the protruding convex surface is         methemoglobin, total hemoglobin, carboxyhemoglobin, or
      rigid;                                                       5 carbon monoxide.
   one or more processors configured to:                                11. The user-worn physiological measurement device of
      receive one or more signals from at least one of the at        claim 10 further comprising:
         least four detectors, the one or more signals respon-          a magnet configured to be used as a connecting mecha-
         sive to at least a physiological parameter of the user;           msm.
         and                                                      10    12. The user-worn physiological measurement device of
      process the one or more signals to determine measure-          claim 10, wherein the one or more processors are further
         ments of the physiological parameter;                       configured to modulate a duty cycle of one or more of the
   a network interface configured to communicate with a              one or more emitters, and wherein the modulation includes
      mobile phone;                                                  pulse width time slots and off time slots.
   a touch-screen display configured to provide a user inter- 15        13. The user-worn physiological measurement device of
      face, wherein:                                                 claim 10, wherein the displayed indicia are further respon-
      the user interface is configured to display indicia            sive to temperature.
         responsive to the measurements of the physiological            14. The user-worn physiological measurement device of
         parameter, and                                              claim 10, wherein the physiological parameter comprises a
      an orientation of the user interface is configurable 20 state or trend of wellness of the user.
         responsive to a user input;                                    15. The user-worn physiological measurement device of
   a wall that surrounds at least the at least four detectors,       claim 10, wherein a portion of the physiological measure-
      wherein the wall operably connects to the substrate and        ment device comprises one of at least two sizes, the two
      the cover;                                                     sizes intended to be appropriate for larger users and smaller
   a storage device configured to at least temporarily store at 25 users.
      least the measurements of the physiological parameter;            16. The user-worn physiological measurement device of
      and                                                            claim 10, wherein the protruding convex surface protrudes
   a strap configured to position the physiological measure-         a height between 1 millimeter and 3 millimeters.
      ment device on the user.                                          17. The user-worn physiological measurement device of
   2. The user-worn physiological measurement device of 30 claim 16, wherein the protruding convex surface protrudes
claim 1, wherein the protruding convex surface is configured         a height greater than 2 millimeters and less than 3 millime-
to be located between tissue of the user and the at least four       ters.
detectors when the physiological measurement device is                  18. The user-worn physiological measurement device of
worn by the user.                                                    claim 10, wherein each of the at least four detectors has a
   3. The user-worn physiological measurement device of 35 corresponding window that allows light to pass through to
claim 2, wherein at least part of the protruding convex              the detector.
surface is light permeable to allow light to reach at least one         19. The user-worn physiological measurement device of
of the at least four detectors.                                      claim 18 further comprising:
   4. The user-worn physiological measurement device of                 an at least partially opaque layer blocking one or more
claim 2, wherein the at least four detectors are arranged on 40            optical paths to at least one of the at least four detectors,
a first surface of the substrate.                                          wherein the at least partially opaque layer comprises
   5. The user-worn physiological measurement device of                    the windows that allow light to pass through to the
claim 4, wherein:                                                          corresponding detectors.
   the wall operably connects to the substrate on one side of           20. The user-worn physiological measurement device of
      the wall,                                                   45 claim 10, wherein the at least four detectors are arranged
   the wall operably connects to the cover on an opposing            such that a first detector and a second detector of the at least
      side of the wall, and                                          four detectors are arranged across from each other on
   the wall surrounds at least the at least four detectors on the    opposite sides of a central point along a first axis, and a third
      first surface.                                                 detector and a fourth detector of the at least four detectors
   6. The user-worn physiological measurement device of 50 are arranged across from each other on opposite sides of the
claim 5, further comprising a single unit wearable by the            central point along a second axis which is different from the
user, the single unit encompassing the one or more emitters,         first axis.
the at least four detectors, the wall, the cover, the one or            21. The user-worn physiological measurement device of
more processors, the network interface, and the storage              claim 20, wherein the first axis is perpendicular to the
device.                                                           55 second axis.
   7. The user-worn physiological measurement device of                 22. The user-worn physiological measurement device of
claim 6, wherein a surface of the single unit positions the          claim 20, wherein the first, second, third and fourth detectors
touch-screen display, and wherein the strap is attached to the       form a cross pattern about the central point.
single unit.                                                            23. The user-worn physiological measurement device of
   8. The user-worn physiological measurement device of 60 claim 10, wherein the wall creates one or more gaps between
claim 7, wherein the network interface is configured to              the first surface of the substrate and a surface of the cover
communicate at least the measurements of the physiological           that is interior to the physiological measurement device, and
parameter to the mobile phone.                                       wherein the at least four detectors are positioned on the first
   9. The user-worn physiological measurement device of              surface of the substrate within the one or more gaps.
claim 7, wherein the network interface is further configured 65         24. The user-worn physiological measurement device of
to wirelessly communicate with the mobile phone or with a            claim 10, wherein the at least four detectors comprise at least
computer network.                                                    eight detectors.
                                                                  102
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                                                 US 10,624,564 B 1
                            47                                                   48
  25. The user-worn physiological measurement device of
claim 10, wherein at least one of the detectors is configured
to detect light that has been attenuated by tissue of the user.
   26. The user-worn physiological measurement device of
claim 25, wherein the attenuated light is reflected by the 5
tissue.
   27. A physiological measurement system comprising:
   the user-worn physiological measurement device accord-
      ing to claim 1; and
   the mobile phone in communication with the physiologi- 10
      cal measurement device.
   28. The physiological measurement system of claim 27,
wherein the network interface of the physiological measure-
ment device is configured to wirelessly communicate, and
wherein the mobile phone wirelessly communicates with the 15
network interface.
   29. A physiological measurement system comprising:
   the user-worn physiological measurement device accord-
      ing to claim 24; and
   the mobile phone in communication with the physiologi- 20
      cal measurement device.
   30. The physiological measurement system of claim 29,
wherein the network interface of the physiological measure-
ment device is configured to wirelessly communicate, and
wherein the mobile phone wirelessly communicates with the 25
network interface.

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                                                    Appx00412
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                                                                                               US010702194Bl


c12)   United States Patent                                                 (10) Patent No.:                 US 10,702,194 Bl
       Poeze et al.                                                         (45) Date of Patent:                            *Jul. 7, 2020

(54)   MULTI-STREAM DATA COLLECTION                                    (58)    Field of Classification Search
       SYSTEM FOR NONINVASIVE                                                  CPC .............. A61B 5/1455; A61B 5/14551; A61B
       MEASUREMENT OF BLOOD                                                                 5/14552; A61B 5/14532; A61B 5/14546;
       CONSTITUENTS
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(71)   Applicant: Masimo Corporation, Irvine, CA (US)
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(73)   Assignee: Masimo Corporation, Irvine, CA (US)
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( *)   Notice:      Subject to any disclaimer, the term ofthis
                    patent is extended or adjusted under 35            US 8,845,543 B2, 09/2014, Diab et al. (withdrawn)
                    U.S.C. 154(b) by O days.                                                        (Continued)
                    This patent is subject to a terminal dis-
                                                                       Primary Examiner - Eric F Winakur
                    claimer.
                                                                       Assistant Examiner - Chu Chuan Liu
(21)   Appl. No.: 16/829,536                                           (74) Attorney, Agent, or Firm - Knobbe Martens Olson
                                                                       & Bear LLP
(22)   Filed:       Mar. 25, 2020
                                                                       (57)                        ABSTRACT
                Related U.S. Application Data
                                                                       The present disclosure relates to noninvasive methods,
(63)   Continuation of application No. 16/725,292, filed on            devices, and systems for measuring various blood constitu-
       Dec. 23, 2019, now Pat. No. 10,624,564, which is a
                                                                       ents or analytes, such as glucose. In an embodiment, a light
                        (Continued)                                    source comprises LEDs and super-luminescent LEDs. The
                                                                       light source emits light at at least wavelengths of about 1610
(51)   Int. Cl.                                                        nm, about 1640 nm, and about 1665 nm. In an embodiment,
       A61B 511455            (2006.01)                                the detector comprises a plurality of photodetectors arranged
       A61B 51145             (2006.01)                                in a special geometry comprising one of a substantially
       A61B 5100              (2006.01)                                linear substantially equal spaced geometry, a substantially
(52)   U.S. Cl.                                                        linear substantially non-equal spaced geometry, and a sub-
       CPC ........ A61B 511455 (2013.01); A61B 5114532                stantially grid geometry.
                      (2013.01); A61B 5114546 (2013.01);
                        (Continued)                                                    30 Claims, 65 Drawing Sheets

                                                                               DETECTOR1


                                                                                               DETECTOR2




                                                                                   DETECTOR SUBMOUNT
                                           DETECTOR3                                      1200

                                                                   1                                                               APPLE 1001
                                                       Appx00413
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           200A

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                                                                     EMITTER SHELL
                                                                          204
 MONITOR
  209a
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                                                                        DETECTOR
CONTROL                                                                   SHELL
BUTTONS                                                                    206
  208a




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                  DISPLAY 210a




                                       FIG. 2A

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           200C
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                                                               STRAP
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                                              DISPLAY
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          DISPLAY
          BUTTONS
              208c                  MONITOR
                                      209c




                                      FIG. 2C




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     200D

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                                                                            SENSOR
                                                                                 201d

ETHERNET PORT                                                              ~
  (OPTIONAL)
     218                    CABLE
            I                212
   USB INTERFACE
    (OPTIONAL)
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                                       FIG. 2D




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                                        Appx00432
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         301A\



                 304a


                                                                  350a



        307a




                     340



       308a

                                                         ------315a

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                           314
                                     FIG. 3B


                                       21
                                    Appx00433
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      301A

            \           304a
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            307




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                  323

       308a




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                               314
                                        FIG. 3C



                                          22
                                       Appx00434
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                                                              307b




                                                         ~302b 308b


   304b


     306b




                                       FIG. 3D




                                        23
                                     Appx00435
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                                                              DETECTOR
                                                               SHELL
                                                                306b




                                    FIG. 3E




                                       24
                                    Appx00436
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          423


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                                    FIG. 4A
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         412~



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                                    FIG. 48              420
         412~                                                       470



               422



         423                                              421




                                    FIG. 4C

                                        26
                                    Appx00438
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                                    TRANSMITTANCE

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                                     FIG. 6A
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                     605             FIG. 6B
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                                     FIG. 6C

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                                     FIG. 6D
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                                     Appx00440
     Case: 22-1972      Document: 33-2        Page: 139   Filed: 05/11/2023


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      Case: 22-1972      Document: 33-2       Page: 140     Filed: 05/11/2023


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                                                    EMITTER
        701A                                        HOUSING

          ~                            LEDS              704a
                                        104




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                                                                   CONDUCTIVE
                                                                     GLASS
         733                                                          730a
   PHOTODIODES                                                  SHIELDING 790a
       106

                                                                   DETECTOR
                                                                 HOUSING/SHELL
                                                                     706a
                                        SUBMOUNT
                                           707a

                      DETECTOR
                       SIGNAL
                         107



                                 FIG. 7A


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                                     Appx00442
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       701B                                          HOUSING
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                      DETECTOR
                       SIGNAL
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                                     FIG. 78


                                         31
                                     Appx00443
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    FIG. SA

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    FIG. SB


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    FIG. SC
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    FIG. 8D
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                                        Appx00444
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                                   PERFORMANCE OF CONDUCTIVE NOISE SHIELD             ✓ 1oso                  •
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      Case: 22-1972      Document: 33-2        Page: 146    Filed: 05/11/2023


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                                     EMITTER 1104



                                                    TOP EMITTING
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                                                        1102




  THERMISTOR
     1120

      DRIVER
       1105
                   SIDE EMITTING-~
                       LEDS
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                                                                         1106

                                        FIG. 11A
         CONTROL
          SIGNAL




                                          36
                                     Appx00448
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    Power (mW)

100 mW                                                        ~1.25ms




 10mW




 1mW
                                                                 1660      1615
                                                     1630




0.1 mW



           ~0.8ms
           ~                              1330
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                                                                           STABILIZATION
                    ~0.08ms                          ~0.08ms                   TIME
                                         Time (ms)


                                        FIG. 11 B


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                                        Appx00449
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                                         Appx00451
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                                                DETECTOR1




                                                        DETECTOR SUBM OUNT
               DETECTOR3                                       1200




                                    FIG. 12A




                                       40
                                    Appx00452
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                                    Appx00453
     Case: 22-1972      Document: 33-2       Page: 152      Filed: 05/11/2023


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                                    DETECTOR1




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                                    DETECTOR2
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                                    DETECTOR3
                                                                I
                                                                    }03

                                    DETECTOR4
                                                                I


                              DETECTOR SUBM OUNT         1200




                                FIG. 12C



                                        42
                                    Appx00454
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                                     DETECTOR1

                                         ~




              DETECTOR2      .
                             ~
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                                                     ~     DETECTOR3




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                                     DETECTOR4




                                 DETECTOR SUBM OUNT 1200




                                  FIG. 12D



                                        43
                                    Appx00455
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                                                                      ANODE 1208




PHOTOD!ODE                                                                       1204B
   1202


    1204A




                                     ACTIVE AREA
       CATHODE                       1204
        (BACK)
         1206


                                            FIG. 12E




                                            44
                                     Appx00456
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                                                                    ANODE 1208




 PHOTODIODE
    1202




                                      ACTIVE AREAS
        CATHODE
         (BACK)
          1206


                                       FIG. 12F




                                         45
                                     Appx00457
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                                                                    ANODE 1208




 PHOTODIODE
    1202




       CATHODE                       ACTIVE AREAS
        (BACK)
         1206


                                      FIG. 12G




                                         46
                                     Appx00458
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                                                                    ANODE 1208




 PHOTODIODE
    1202




       CATHODE                       ACTIVE AREAS           1204G
        (BACK)
         1206


                                       FIG. 12H




                                         47
                                     Appx00459
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                                                                      INTERFACE

               FIG. 13
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                                                                      PROCESSOR
                                                                          1310
                                                      48
                                                Appx00460
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                                        FIG. 14A




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                                       Appx00461
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                           FROM EMITTERS




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                        1410B




                           FIG. 148


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                                    Appx00462
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                                     FIG. 14C




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                                      Appx00463
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                                  FIG. 14D




                                       52
                                    Appx00464
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                             FIG. 14E




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                                    Appx00465
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                                                                        306f
      1410c



                                                            1400c
                                                     306f


                                            1403



                            FIG. 14F




                                       54
                                    Appx00466
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                                     FIG. 14G




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                                    Appx00467
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                     306f




                               FIG. 14H




                                       56
                                    Appx00468
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 307f




    306f




                                        FIG. 141



                                           57
                                        Appx00469
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                            FIG. 15J (CONT.)
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                                         Appx00480
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                                      FIG. 15K
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                      FIG. 15K {CONT.)
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                         FIG. 15K (CONT.)
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                                                 1790   ~
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     FIG. 17

                                       74
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                                       FIG. 18




                                                75
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                                                      Gu_hat (g/dl)


                                                    FIG. 19




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                                                  FIG. 20




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                                                     FIG. 21




                                                       78
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                                          Hbt reference (ABL800, g/dl)




                                                   FIG. 22




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                                                   Appx00491
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                                                     US 10,702,194 Bl
                               1                                                                       2
        MULTI-STREAM DATA COLLECTION                                                              -continued
           SYSTEM FOR NONINVASIVE
           MEASUREMENT OF BLOOD                                        application Filing
                CONSTITUENTS                                            Ser. No. Date         Title                       Attonery Docket

                                                                       12/534,823 Aug. 3, 2009 Multi-Stream Sensor for    MASCER.004A
                RELATED APPLICATIONS                                                           Non-Invasive Measurement
                                                                                               of Blood Constituents
                                                                       12/534,825 Aug. 3, 2009 Multi-Stream Emitter for
                                                                                                                      MASCER.005A
   This application is a continuation of U.S. patent applica-
                                                                                               Non-Invasive Measurement
tion Ser. No. 16/725,292, filed Dec. 23, 2019, which is a                                      of Blood Constituents
continuation of U.S. patent application Ser. No. 16/534,949, 10
filed Aug. 7, 2019, which is a continuation of U.S. patent
application Ser. No. 16/409,515, filed May 10, 2019, which               The foregoing applications are hereby incorporated by
is a continuation of U.S. patent application Ser. No. 16/261,         reference in their entirety.
326, filed Jan. 29, 2019, which is a continuation of U.S.
patent application Ser. No. 16/212,537, filed Dec. 6, 2018, 15                                BACKGROUND
which is a continuation of U.S. patent application Ser. No.
14/981,290 filed Dec. 28, 2015, which is a continuation of               The standard of care in caregiver environments includes
U.S. patent application Ser. No. 12/829,352 filed Jul. 1,             patient monitoring through spectroscopic analysis using, for
2010, which is a continuation of U.S. patent application Ser.         example, a pulse oximeter. Devices capable of spectroscopic
No. 12/534,827 filed Aug. 3, 2009, which claims the benefit 20 analysis generally include a light source(s) transmitting
of priority under 35 U.S.C. § 119(e) of the following U.S.            optical radiation into or reflecting off a measurement site,
Provisional Patent Application Nos. 61/086,060 filed Aug. 4,          such as, body tissue carrying pulsing blood. After attenua-
2008, 61/086, 108 filed Aug. 4, 2008, 61/086,063 filed Aug.           tion by tissue and fluids of the measurement site, a photo-
4, 2008, 61/086,057 filed Aug. 4, 2008, and 61/091,732 filed          detection device(s) detects the attenuated light and outputs a
Aug. 25, 2008. U.S. patent application Ser. No. 12/829,352 25 detector signal(s) responsive to the detected attenuated light.
is also a continuation-in-part of U.S. patent application Ser.        A signal processing device(s) process the detector(s)
No. 12/497,528 filed Jul. 2, 2009, which claims the benefit           signal(s) and outputs a measurement indicative of a blood
of priority under 35 U.S.C. § 119(e) of the following U.S.            constituent of interest, such as glucose, oxygen, met hemo-
Provisional Patent Application Nos. 61/086,060 filed Aug. 4,          globin, total hemoglobin, other physiological parameters, or
2008, 61/086, 108 filed Aug. 4, 2008, 61/086,063 filed Aug. 30 other data or combinations of data useful in determining a
4, 2008, 61/086,057 filed Aug. 4, 2008, 61/078,228 filed Jul.         state or trend of wellness of a patient.
3, 2008, 61/078,207 filed Jul. 3, 2008, and 61/091,732 filed             In noninvasive devices and methods, a sensor is often
Aug. 25, 2008. U.S. patent application Ser. No. 12/497,528            adapted to position a finger proximate the light source and
also claims the benefit of priority under 35 U.S.C. § 120 as          light detector. For example, noninvasive sensors often
a continuation-in-part of the following U.S. Design patent 35 include a clothespin-shaped housing that includes a con-
application Ser. No. 29/323,409 filed Aug. 25, 2008 and Ser.          toured bed conforming generally to the shape of a finger.
No. 29/323,408 filed Aug. 25, 2008. U.S. patent application
Ser. No. 12/829,352 is also a continuation-in-part of U.S.                                      SUMMARY
patent application Ser. No. 12/497,523 filed Jul. 2, 2009,
which claims the benefit of priority under 35 U.S.C. § 119(e) 40         This disclosure describes embodiments of noninvasive
of the following U.S. Provisional Patent Application Nos.             methods, devices, and systems for measuring a blood con-
61/086,060 filed Aug. 4, 2008, 61/086,108 filed Aug. 4,               stituent or analyte, such as oxygen, carbon monoxide,
2008, 61/086,063 filed Aug. 4, 2008, 61/086,057 filed Aug.            methemoglobin, total hemoglobin, glucose, proteins, glu-
4, 2008, 61/078,228 filed Jul. 3, 2008, 61/078,207 filed Jul.         cose, lipids, a percentage thereof (e.g., saturation) or for
3, 2008, and 61/091,732 filed Aug. 25, 2008. U.S. patent 45 measuring many other physiologically relevant patient char-
application Ser. No. 12/497,523 also claims the benefit of            acteristics. These characteristics can relate, for example, to
priority under 35 U.S.C. § 120 as a continuation-in-part of           pulse rate, hydration, trending information and analysis, and
the following U.S. Design patent application Ser. No.                 the like.
29/323,409 filed Aug. 25, 2008 and Ser. No. 29/323,408                   In an embodiment, the system includes a noninvasive
filed Aug. 25, 2008.                                               50 sensor and a patient monitor communicating with the non-
   This application is related to the following U.S. Patent           invasive sensor. The non-invasive sensor may include dif-
Applications:                                                         ferent architectures to implement some or all of the dis-
                                                                      closed features. In addition, an artisan will recognize that the
                                                                      non-invasive sensor may include or may be coupled to other
 application Filing                                                55 components, such as a network interface, and the like.
  Ser. No. Date          Title                     Attonery Docket    Moreover, the patient monitor may include a display device,
 12/497,528 Jul. 2, 2009 Noise Shielding for       MASCER.006A        a network interface communicating with any one or com-
                         Noninvasive Device                           bination of a computer network, a handheld computing
 12/497,523 Jul. 2, 2009 Contoured Protrusion for  MASCER.007A        device, a mobile phone, the Internet, or the like. In addition,
                         Improving Spectroscopic
                                                                   60 embodiments may include multiple optical sources that emit
                         Measurement of Blood
                         Constituents                                 light at a plurality of wavelengths and that are arranged from
 12/497,506 Jul. 2, 2009 Heat Sink for Noninvasive MASCER.0llA        the perspective of the light detector(s) as a point source.
                         Medical Sensor                                  In an embodiment, a noninvasive device is capable of
 12/534,812 Aug. 3, 2009 Multi-Stream Sensor Front MASCER.003A
                         Ends for Non-Invasive
                                                                      producing a signal responsive to light attenuated by tissue at
                         Measurement of Blood                      65 a measurement site. The device may comprise an optical
                         Constituents                                 source and a plurality of photodetectors. The optical source
                                                                      is configured to emit optical radiation at least at wavelengths
                                                                  80
                                                         Appx00492
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between about 1600 run and about 1700 run. The photode-             receive signals from a plurality of detectors in the sensor; a
tectors are configured to detect the optical radiation from         set of switched capacitor circuits configured to convert the
said optical source after attenuation by the tissue of the          signals from the plurality of detectors into a digital output
measurement site and each output a respective signal stream         signal having a stream for each of the plurality of detectors;
responsive to the detected optical radiation.                    5 and an output configured to provide the digital output signal.
   In an embodiment, a noninvasive, physiological sensor is            In an embodiment, a conversion processor for a physi-
capable of outputting a signal responsive to a blood analyte        ological, noninvasive sensor comprises: a multi-stream input
present in a monitored patient. The sensor may comprise a           configured to receive signals from a plurality of detectors in
sensor housing, an optical source, and photodetectors. The          the sensor, wherein the signals are responsive to optical
optical source is positioned by the housing with respect to a 10 radiation from a tissue site; a modulator that converts the
tissue site of a patient when said housing is applied to the        multi-stream input into a digital bit-stream; and a signal
patient. The photodetectors are positioned by the housing           processor that produces an output signal from the digital
with respect to said tissue site when the housing is applied        bit-stream.
to the patient with a variation in path length among at least          In an embodiment, a front-end interface for a noninvasive,
some of the photodetectors from the optical source. The 15 physiological sensor comprises: a set of inputs configured to
photodetectors are configured to detect a sequence of optical       receive signals from a plurality of detectors in the sensor; a
radiation from the optical source after attenuation by tissue       set of respective transimpedance amplifiers for each detector
of the tissue site. The photodetectors may be each configured       configured to convert the signals from the plurality of
to output a respective signal stream responsive to the              detectors into an output signal having a stream for each of
detected sequence of optical radiation. An output signal 20 the plurality of detectors; and an output configured to
responsive to one or more of the signal streams is then             provide the output signal.
usable to determine the blood analyte based at least in part           In certain embodiments, a noninvasive sensor interfaces
on the variation in path length.                                    with tissue at a measurement site and deforms the tissue in
   In an embodiment, a method of measuring an analyte               a way that increases signal gain in certain desired wave-
based on multiple streams of optical radiation measured 25 lengths.
from a measurement site is provided. A sequence of optical             In some embodiments, a detector for the sensor may
radiation pulses is emitted to the measurement site. At a first     comprise a set of photodiodes that are arranged in a spatial
location, a first stream of optical radiation is detected from      configuration. This spatial configuration may allow, for
the measurement site. At least at one additional location           example, signal analysis for measuring analytes like glu-
different from the first location, an additional stream of 30 case. In various embodiments, the detectors can be arranged
optical radiation is detected from the measurement site. An         across multiple locations in a spatial configuration. The
output measurement value indicative of the analyte is then          spatial configuration provides a geometry having a diversity
determined based on the detected streams of optical radia-          of path lengths among the detectors. For example, the
tion.                                                               detector in the sensor may comprise multiple detectors that
   In various embodiments, the present disclosure relates to 35 are arranged to have a sufficient difference in mean path
an interface for a noninvasive sensor that comprises a              length to allow for noise cancellation and noise reduction.
front-end adapted to receive an input signals from optical             In an embodiment, a physiological, noninvasive detector
detectors and provide corresponding output signals. In an           is configured to detect optical radiation from a tissue site.
embodiment, the front-end is comprised of switched-capaci-          The detector comprises a set of photodetectors and a con-
tor circuits that are capable of handling multiple streams of 40 version processor. The set of photodetectors each provide a
signals from the optical detectors. In another embodiment,          signal stream indicating optical radiation from the tissue
the front-end comprises transimpedance amplifiers that are          site. The set of photodetectors are arranged in a spatial
capable of handling multiple streams of input signals. In           configuration that provides a variation in path lengths
addition, the transimpedance amplifiers may be configured           between at least some of the photodetectors. The conversion
based on the characteristics of the transimpedance amplifier 45 processor that provides information indicating an analyte in
itself, the characteristics of the photodiodes, and the number      the tissue site based on ratios of pairs of the signal streams.
of photodiodes coupled to the transimpedance amplifier.                The present disclosure, according to various embodi-
   In disclosed embodiments, the front-ends are employed in         ments, relates to noninvasive methods, devices, and systems
noninvasive sensors to assist in measuring and detecting            for measuring a blood analyte, such as glucose. In the
various analytes. The disclosed noninvasive sensor may also 50 present disclosure, blood analytes are measured noninva-
include, among other things, emitters and detectors posi-           sively based on multi-stream infrared and near-infrared
tioned to produce multi-stream sensor information. An arti-         spectroscopy. In some embodiments, an emitter may include
san will recognize that the noninvasive sensor may have             one or more sources that are configured as a point optical
different architectures and may include or be coupled to            source. In addition, the emitter may be operated in a manner
other components, such as a display device, a network 55 that allows for the measurement of an analyte like glucose.
interface, and the like. An artisan will also recognize that the    In embodiments, the emitter may comprise a plurality of
front-ends may be employed in any type of noninvasive               LEDs that emit a sequence of pulses of optical radiation
sensor.                                                             across a spectrum of wavelengths. In addition, in order to
   In an embodiment, a front-end interface for a noninvasive,       achieve the desired SNR for detecting analytes like glucose,
physiological sensor comprises: a set of inputs configured to 60 the emitter may be driven using a progression from low
receive signals from a plurality of detectors in the sensor; a      power to higher power. The emitter may also have its duty
set of transimpedance amplifiers configured to convert the          cycle modified to achieve a desired SNR.
signals from the plurality of detectors into an output signal          In an embodiment, a multi-stream emitter for a noninva-
having a stream for each of the plurality of detectors; and an      sive, physiological device configured to transmit optical
output configured to provide the output signal.                  65 radiation in a tissue site comprises: a set of optical sources
   In an embodiment, a front-end interface for a noninvasive,       arranged as a point optical source; and a driver configured to
physiological sensor comprises: a set of inputs configured to       drive the at least one light emitting diode and at least one
                                                                81
                                                       Appx00493
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optical source to transmit near-infrared optical radiation at            FIG. 5 illustrates an example graph depicting possible
sufficient power to measure an analyte in tissue that responds        effects of a protrusion on light transmittance, according to an
to near-infrared optical radiation.                                   embodiment of the disclosure;
   In an embodiment, an emitter for a noninvasive, physi-                FIGS. 6A through 6D illustrate perspective, front eleva-
ological device configured to transmit optical radiation in a 5 tion, side and top views of another example protrusion,
tissue site comprises: a point optical source comprising an           according to an embodiment of the disclosure;
optical source configured to transmit infrared and near-                 FIG. 6E illustrates an example sensor incorporating the
infrared optical radiation to a tissue site; and a driver             protrusion of FIGS. 6A through 6D, according to an embodi-
configured to drive the point optical source at a sufficient          ment of the disclosure;
power and noise tolerance to effectively provide attenuated       °1
                                                                         FIGS. 7A through 7B illustrate example arrangements of
optical radiation from a tissue site that indicates an amount         conductive glass that may be employed in the system of FIG.
of glucose in the tissue site.                                        1, according to embodiments of the disclosure;
   In an embodiment, a method of transmitting a stream of                FIGS. SA through SD illustrate an example top elevation
pulses of optical radiation in a tissue site is provided. At least 15 view, side views, and a bottom elevation view of the
one pulse of infrared optical radiation having a first pulse          conductive glass that may be employed in the system of FIG.
width is transmitted at a first power. At least one pulse of          1, according to embodiments of the disclosure;
near-infrared optical radiation is transmitted at a power that           FIG. 9 shows example comparative results obtained by an
is higher than the first power.                                       embodiment of a sensor;
   In an embodiment, a method of transmitting a stream of 20             FIGS. lOA and 10B illustrate comparative noise floors of
pulses of optical radiation in a tissue site is provided. At least    various embodiments of the present disclosure;
one pulse of infrared optical radiation having a first pulse             FIG. llA illustrates an exemplary emitter that may be
width is transmitted at a first power. At least one pulse of          employed in the sensor, according to an embodiment of the
near-infrared optical radiation is then transmitted, at a sec-        disclosure;
ond power that is higher than the first power.                     25    FIG. 11B illustrates a configuration of emitting optical
   For purposes of sunnnarizing the disclosure, certain               radiation into a measurement site for measuring blood
aspects, advantages and novel features of the inventions              constituents, according to an embodiment of the disclosure;
have been described herein. It is to be understood that not              FIG. llC illustrates another exemplary emitter that may
necessarily all such advantages can be achieved in accor-             be employed in the sensor according to an embodiment of
dance with any particular embodiment of the inventions 30 the disclosure;
disclosed herein. Thus, the inventions disclosed herein can              FIG. llD illustrates another exemplary emitter that may
be embodied or carried out in a manner that achieves or               be employed in the sensor according to an embodiment of
optimizes one advantage or group of advantages as taught
                                                                      the disclosure;
herein without necessarily achieving other advantages as can
                                                                         FIG. 12A illustrates an example detector portion that may
be taught or suggested herein.                                     35
                                                                      be employed in an embodiment of a sensor, according to an
       BRIEF DESCRIPTION OF THE DRAWINGS                              embodiment of the disclosure;
                                                                         FIGS. 12B through 12D illustrate exemplary arrange-
   Throughout the drawings, reference numbers can be re-              ments of detectors that may be employed in an embodiment
used to indicate correspondence between referenced ele- 40 of the sensor, according to some embodiments of the dis-
ments. The drawings are provided to illustrate embodiments            closure;
of the inventions described herein and not to limit the scope            FIGS. 12E through 12H illustrate exemplary structures of
thereof.                                                              photodiodes that may be employed in embodiments of the
   FIG. 1 illustrates a block diagram of an example data              detectors, according to some embodiments of the disclosure;
collection system capable of noninvasively measuring one 45              FIG. 13 illustrates an example multi-stream operation of
or more blood analytes in a monitored patient, according to           the system of FIG. 1, according to an embodiment of the
an embodiment of the disclosure;                                      disclosure;
   FIGS. 2A-2D illustrate an exemplary handheld monitor                  FIG. 14A illustrates another example detector portion
and an exemplary noninvasive optical sensor of the patient            having a partially cylindrical protrusion that can be
monitoring system of FIG. 1, according to embodiments of 50 employed in an embodiment of a sensor, according to an
the disclosure;                                                       embodiment of the disclosure;
   FIGS. 3A-3C illustrate side and perspective views of an               FIG. 14B depicts a front elevation view of the partially
exemplary noninvasive sensor housing including a finger               cylindrical protrusion of FIG. 14A;
bed protrusion and heat sink, according to an embodiment of              FIGS. 14C through 14E illustrate embodiments of a
the disclosure;                                                    55 detector submount;
   FIG. 3D illustrates a side view of another example non-               FIGS. 14F through 14H illustrate embodiment of portions
invasive sensor housing including a heat sink, according to           of a detector shell;
an embodiment of the disclosure;                                         FIG. 141 illustrates a cutaway view of an embodiment of
   FIG. 3E illustrates a perspective view of an example               a sensor;
noninvasive sensor detector shell including example detec- 60            FIGS. 15A through 15F illustrate embodiments of sensors
tors, according to an embodiment of the disclosure;                   that include heat sink features;
   FIG. 3F illustrates a side view of an example noninvasive             FIGS. 15G and 15H illustrate embodiments of connector
sensor housing including a finger bed protrusion and heat             features that can be used with any of the sensors described
sink, according to an embodiment of the disclosure;                   herein;
   FIGS. 4A through 4C illustrate top elevation, side and top 65         FIG. 151 illustrates an exemplary architecture for a tran-
perspective views of an example protrusion, according to an           simpedance-based front-end that may be employed in any of
embodiment of the disclosure;                                         the sensors described herein;
                                                                 82
                                                        Appx00494
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   FIG. 15J illustrates an exemplary noise model for con-          helpful in reducing light noise. In an embodiment, such light
figuring the transimpedance-based front-ends shown in FIG.         noise includes light that would otherwise be detected at a
151;                                                               photodetector that has not been attenuated by tissue of the
   FIG. 15K shows different architectures and layouts for          measurement site of a patient sufficient to cause the light to
various embodiments of a sensor and its detectors;               5 adequately included information indicative of one or more
   FIG. 15L illustrates an exemplary architecture for a            physiological parameters of the patient. Such light noise
switched-capacitor-based front-end that may be employed in         includes light piping.
any of the sensors described herein;                                  In an embodiment, the protrusion can be formed from the
   FIGS. 16A and 16B illustrate embodiments of disposable          curved bed, or can be a separate component that is posi-
optical sensors;                                                lO tionable with respect to the bed. In an embodiment, a lens
   FIG. 17 illustrates an exploded view of certain compo-          made from any appropriate material is used as the protru-
nents of an example sensor; and
                                                                   sion. The protrusion can be convex in shape. The protrusion
   FIGS. 18 through 22 illustrate various results obtained by
                                                                   can also be sized and shaped to conform the measurement
an exemplary sensor of the disclosure.
                                                                15
                                                                   site into a flat or relatively flat surface. The protrusion can
                 DETAILED DESCRIPTION                              also be sized to conform the measurement site into a rounded
                                                                   surface, such as, for example, a concave or convex surface.
   The present disclosure generally relates to non-invasive        The protrusion can include a cylindrical or partially cylin-
medical devices. In the present disclosure, a sensor can           drical shape. The protrusion can be sized or shaped differ-
measure various blood constituents or analytes noninva- 20 ently for different types of patients, such as an adult, child,
sively using multi-stream spectroscopy. In an embodiment,          or infant. The protrusion can also be sized or shaped
the multi-stream spectroscopy can employ visible, infrared         differently for different measurement sites, including, for
and near infrared wavelengths. As disclosed herein, the            example, a finger, toe, hand, foot, ear, forehead, or the like.
sensor is capable of noninvasively measuring blood analytes        The protrusion can thus be helpful in any type of noninva-
or percentages thereof (e.g., saturation) based on various 25 sive sensor. The external surface of the protrusion can
combinations of features and components.                           include one or more openings or windows. The openings can
   In various embodiments, the present disclosure relates to       be made from glass to allow attenuated light from a mea-
an interface for a noninvasive glucose sensor that comprises       surement site, such as a finger, to pass through to one or
a front-end adapted to receive an input signals from optical       more detectors. Alternatively, some of all of the protrusion
detectors and provide corresponding output signals. The 30 can be a lens, such as a partially cylindrical lens.
front-end may comprise, among other things, switched                  The sensor can also include a shielding, such as a metal
capacitor circuits or transimpedance amplifiers. In an             enclosure as described below or embedded within the pro-
embodiment, the front-end may comprise switched capacitor          trusion to reduce noise. The shielding can be constructed
circuits that are configured to convert the output of sensor's     from a conductive material, such as copper, in the form of a
detectors into a digital signal. In another embodiment, the 35 metal cage or enclosure, such as a box. The shielding can
front-end may comprise transimpedance amplifiers. These            include a second set of one or more openings or windows.
transimpedance amplifiers may be configured to match one           The second set of openings can be made from glass and
or more photodiodes in a detector based on a noise model           allow light that has passed through the first set of windows
that accounts for characteristics, such as the impedance, of       of the external surface of the protrusion to pass through to
the transimpedance amplifier, characteristics of each photo- 40 one or more detectors that can be enclosed, for example, as
diode, such as the impedance, and the number of photo-             described below.
diodes coupled to the transimpedance amplifier.                       In various embodiments, the shielding can include any
   In the present disclosure, the front-ends are employed in       substantially transparent, conductive material placed in the
a sensor that measures various blood analytes noninvasively        optical path between an emitter and a detector. The shielding
using multi-stream spectroscopy. In an embodiment, the 45 can be constructed from a transparent material, such as
multi-stream spectroscopy can employ visible, infrared and         glass, plastic, and the like. The shielding can have an
near infrared wavelengths. As disclosed herein, the sensor is      electrically conductive material or coating that is at least
capable of noninvasively measuring blood analytes, such as         partially transparent. The electrically conductive coating can
glucose, total hemoglobin, methemoglobin, oxygen content,          be located on one or both sides of the shielding, or within the
and the like, based on various combinations of features and 50 body of the shielding. In addition, the electrically conductive
components.                                                        coating can be uniformly spread over the shielding or may
   In an embodiment, a physiological sensor includes a             be patterned. Furthermore, the coating can have a uniform or
detector housing that can be coupled to a measurement site,        varying thickness to increase or optimize its shielding effect.
such as a patient's finger. The sensor housing can include a       The shielding can be helpful in virtually any type of non-
curved bed that can generally conform to the shape of the 55 invasive sensor that employs spectroscopy.
measurement site. In addition, the curved bed can include a           In an embodiment, the sensor can also include a heat sink.
protrusion shaped to increase an amount of light radiation         In an embodiment, the heat sink can include a shape that is
from the measurement site. In an embodiment, the protru-           functional in its ability to dissipate excess heat and aestheti-
sion is used to thin out the measurement site. This allows the     cally pleasing to the wearer. For example, the heat sink can
light radiation to pass through less tissue, and accordingly is 60 be configured in a shape that maximizes surface area to
attenuated less. In an embodiment, the protrusion can be           allow for greater dissipation of heat. In an embodiment, the
used to increase the area from which attenuated light can be       heat sink includes a metalicized plastic, such as plastic
measured. In an embodiment, this is done through the use of        including carbon and aluminum to allow for improved
a lens which collects attenuated light exiting the measure-        thermal conductivity and diffusivity. In an embodiment, the
ment site and focuses onto one or more detectors. The 65 heat sink can advantageously be inexpensively molded into
protrusion can advantageously include plastic, including a         desired shapes and configurations for aesthetic and func-
hard opaque plastic, such as a black or other colored plastic,     tional purposes. For example, the shape of the heat sink can
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be a generally curved surface and include one or more fins,         may be driven using a progression from low power to higher
undulations, grooves or channels, or combs.                         power. In addition, the emitter may have its duty cycle
   The sensor can include photocommunicative components,            modified to achieve a desired SNR.
such as an emitter, a detector, and other components. The              The emitter may be constructed of materials, such as
emitter can include a plurality of sets of optical sources that, 5 aluminum nitride and may include a heat sink to assist in
in an embodiment, are arranged together as a point source.          heat dissipation. A thermistor may also be employed to
The various optical sources can emit a sequence of optical          account for heating effects on the LEDs. The emitter may
radiation pulses at different wavelengths towards a measure-        further comprise a glass window and a nitrogen environment
ment site, such as a patient's finger. Detectors can then           to improve transmission from the sources and prevent oxi-
detect optical radiation from the measurement site. The 10 dative effects.
optical sources and optical radiation detectors can operate at         The sensor can be coupled to one or more monitors that
any appropriate wavelength, including, as discussed herein,         process and/or display the sensor's output. The monitors can
infrared, near infrared, visible light, and ultraviolet. In         include various components, such as a sensor front end, a
addition, the optical sources and optical radiation detectors       signal processor, a display, etc.
can operate at any appropriate wavelength, and such modi- 15           The sensor can be integrated with a monitor, for example,
fications to the embodiments desirable to operate at any such       into a handheld unit including the sensor, a display and user
wavelength will be apparent to those skilled in the art.            controls. In other embodiments, the sensor can communicate
   In certain embodiments, multiple detectors are employed          with one or more processing devices. The communication
and arranged in a spatial geometry. This spatial geometry           can be via wire(s), cable(s), flex circuit(s), wireless tech-
provides a diversity of path lengths among at least some of 20 nologies, or other suitable analog or digital communication
the detectors and allows for multiple bulk and pulsatile            methodologies and devices to perform those methodologies.
measurements that are robust. Each of the detectors can             Many of the foregoing arrangements allow the sensor to be
provide a respective output stream based on the detected            attached to the measurement site while the device is attached
optical radiation, or a sum of output streams can be provided       elsewhere on a patient, such as the patient's arm, or placed
from multiple detectors. In some embodiments, the sensor 25 at a location near the patient, such as a bed, shelf or table.
can also include other components, such as one or more heat         The sensor or monitor can also provide outputs to a storage
sinks and one or more thermistors.                                  device or network interface.
   The spatial configuration of the detectors provides a               Reference will now be made to the Figures to discuss
geometry having a diversity of path lengths among the               embodiments of the present disclosure.
detectors. For example, a detector in the sensor may com- 30           FIG. 1 illustrates an example of a data collection system
prise multiple detectors that are arranged to have a sufficient     100. In certain embodiments, the data collection system 100
difference in mean path length to allow for noise cancella-         noninvasively measure a blood analyte, such as oxygen,
tion and noise reduction. In addition, walls may be used to         carbon monoxide, methemoglobin, total hemoglobin, glu-
separate individual photodetectors and prevent mixing of            cose, proteins, glucose, lipids, a percentage thereof (e.g.,
detected optical radiation between the different locations on 35 saturation) or for measuring many other physiologically
the measurement site. A window may also be employed to              relevant patient characteristics. The system 100 can also
facilitate the passing of optical radiation at various wave-        measure additional blood analytes and/or other physiologi-
lengths for measuring glucose in the tissue.                        cal parameters useful in determining a state or trend of
   In the present disclosure, a sensor may measure various          wellness of a patient.
blood constituents or analytes noninvasively using spectros- 40        The data collection system 100 can be capable of mea-
copy and a recipe of various features. As disclosed herein,         suring optical radiation from the measurement site. For
the sensor is capable of non-invasively measuring blood             example, in some embodiments, the data collection system
analytes, such as, glucose, total hemoglobin, methemoglo-           100 can employ photodiodes defined in terms of area. In an
bin, oxygen content, and the like. In an embodiment, the            embodiment, the area is from about 1 mm2 -5 mm 2 (or
spectroscopy used in the sensor can employ visible, infrared 45 higher) that are capable of detecting about 100 nanoamps
and near infrared wavelengths. The sensor may comprise an           (nA) or less of current resulting from measured light at full
emitter, a detector, and other components. In some embodi-          scale. In addition to having its ordinary meaning, the phrase
ments, the sensor may also comprise other components, such          "at full scale" can mean light saturation of a photodiode
as one or more heat sinks and one or more thermistors.              amplifier (not shown). Of course, as would be understood by
   In various embodiments, the sensor may also be coupled 50 a person of skill in the art from the present disclosure,
to one or more companion devices that process and/or                various other sizes and types of photodiodes can be used
display the sensor's output. The companion devices may              with the embodiments of the present disclosure.
comprise various components, such as a sensor front-end, a             The data collection system 100 can measure a range of
signal processor, a display, a network interface, a storage         approximately about 2 nA to about 100 nA full scale. The
device or memory, etc.                                           55 data collection system 100 can also include sensor front-
   A sensor can include photocommunicative components,              ends that are capable of processing and amplifying current
such as an emitter, a detector, and other components. The           from the detector( s) at signal-to-noise ratios (SNRs) of about
emitter is configured as a point optical source that comprises      100 decibels (dB) or more, such as about 120 dB in order to
a plurality of LEDs that emit a sequence of pulses of optical       measure various desired analytes. The data collection sys-
radiation across a spectrum of wavelengths. In some 60 tern 100 can operate with a lower SNR if less accuracy is
embodiments, the plurality of sets of optical sources may           desired for an analyte like glucose.
each comprise at least one top-emitting LED and at least one           The data collection system 100 can measure analyte
super luminescent LED. In some embodiments, the emitter             concentrations, including glucose, at least in part by detect-
comprises optical sources that transmit optical radiation in        ing light attenuated by a measurement site 102. The mea-
the infrared or near-infrared wavelengths suitable for detect- 65 surement site 102 can be any location on a patient's body,
ing blood analytes like glucose. In order to achieve the            such as a finger, foot, ear lobe, or the like. For convenience,
desired SNR for detecting analytes like glucose, the emitter        this disclosure is described primarily in the context of a
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finger measurement site 102. However, the features of the                 In the depicted embodiment shown in FIG. 1, the sensor
embodiments disclosed herein can be used with other mea-              101 includes an emitter 104, a tissue shaper 105, a set of
surement sites 102.                                                   detectors 106, and a front-end interface 108. The emitter 104
   In the depicted embodiment, the system 100 includes an             can serve as the source of optical radiation transmitted
optional tissue thickness adjuster or tissue shaper 105, which 5 towards measurement site 102. As will be described in
can include one or more protrusions, bumps, lenses, or other          further detail below, the emitter 104 can include one or more
suitable tissue-shaping mechanisms. In certain embodi-                sources of optical radiation, such as LEDs, laser diodes,
ments, the tissue shaper 105 is a flat or substantially flat          incandescent bulbs with appropriate frequency-selective fil-
surface that can be positioned proximate the measurement              ters, combinations of the same, or the like. In an embodi-
site 102 and that can apply sufficient pressure to cause the 10 ment, the emitter 104 includes sets of optical sources that are
tissue of the measurement site 102 to be flat or substantially        capable of emitting visible and near-infrared optical radia-
flat. In other embodiments, the tissue shaper 105 is a convex         tion.
or substantially convex surface with respect to the measure-              In some embodiments, the emitter 104 is used as a point
ment site 102. Many other configurations of the tissue shaper         optical source, and thus, the one or more optical sources of
105 are possible. Advantageously, in certain embodiments, 15 the emitter 104 can be located within a close distance to each
the tissue shaper 105 reduces thickness of the measurement            other, such as within about a 2 mm to about 4 mm. The
site 102 while preventing or reducing occlusion at the                emitters 104 can be arranged in an array, such as is described
measurement site 102. Reducing thickness of the site can              in U.S. Publication No. 2006/0211924, filed Sep. 21, 2006,
advantageously reduce the amount of attenuation of the light          titled "Multiple Wavelength Sensor Emitters," the disclosure
because there is less tissue through which the light must 20 of which is hereby incorporated by reference in its entirety.
travel. Shaping the tissue in to a convex (or alternatively           In particular, the emitters 104 can be arranged at least in part
concave) surface can also provide more surface area from              as described in paragraphs [0061] through [0068] of the
which light can be detected.                                          aforementioned publication, which paragraphs are hereby
   The embodiment of the data collection system 100 shown             incorporated specifically by reference. Other relative spatial
also includes an optional noise shield 103. In an embodi- 25 relationships can be used to arrange the emitters 104.
ment, the noise shield 103 can be advantageously adapted to               For analytes like glucose, currently available non-inva-
reduce electromagnetic noise while increasing the transmit-           sive techniques often attempt to employ light near the water
tance of light from the measurement site 102 to one or more           absorbance minima at or about 1600 nm. Typically, these
detectors 106 (described below). For example, the noise               devices and methods employ a single wavelength or single
shield 103 can advantageously include a conductive coated 30 band of wavelengths at or about 1600 nm. However, to date,
glass or metal grid electrically communicating with one or            these techniques have been unable to adequately consis-
more other shields of the sensor 101 or electrically                  tently measure analytes like glucose based on spectroscopy.
grounded. In an embodiment where the noise shield 103                     In contrast, the emitter 104 of the data collection system
includes conductive coated glass, the coating can advanta-            100 can emit, in certain embodiments, combinations of
geously include indium tin oxide. In an embodiment, the 35 optical radiation in various bands of interest. For example,
indium tin oxide includes a surface resistivity ranging from          in some embodiments, for analytes like glucose, the emitter
approximately 30 ohms per square inch to about 500 ohms               104 can emit optical radiation at three (3) or more wave-
per square inch. In an embodiment, the resistivity is approxi-        lengths between about 1600 nm to about 1700 nm. In
mately 30, 200, or 500 ohms per square inch. As would be              particular, the emitter 104 can emit optical radiation at or
understood by a person of skill in the art from the present 40 about 1610 nm, about 1640 nm, and about 1665 nm. In some
disclosure, other resistivities can also be used which are less       circumstances, the use of three wavelengths within about
than about 30 ohms or more than about 500 ohms. Other                 1600 nm to about 1700 nm enable sufficient SNRs of about
conductive materials transparent or substantially transparent         100 dB, which can result in a measurement accuracy of
to light can be used instead.                                         about 20 mg/dL or better for analytes like glucose.
   In some embodiments, the measurement site 102 is 45                    In other embodiments, the emitter 104 can use two (2)
located somewhere along a non-dominant arm or a non-                  wavelengths within about 1600 nm to about 1700 nm to
dominant hand, e.g., a right-handed person's left arm or left         advantageously enable SNRs of about 85 dB, which can
hand. In some patients, the non-dominant arm or hand can              result in a measurement accuracy of about 25-30 mg/dL or
have less musculature and higher fat content, which can               better for analytes like glucose. Furthermore, in some
result in less water content in that tissue of the patient. Tissue 50 embodiments, the emitter 104 can emit light at wavelengths
having less water content can provide less interference with          above about 1670 nm. Measurements at these wavelengths
the particular wavelengths that are absorbed in a useful              can be advantageously used to compensate or confirm the
manner by blood analytes like glucose. Accordingly, in some           contribution of protein, water, and other non-hemoglobin
embodiments, the data collection system 100 can be used on            species exhibited in measurements for analytes like glucose
a person's non-dominant hand or arm.                               55 conducted between about 1600 nm and about 1700 nm. Of
   The data collection system 100 can include a sensor 101            course, other wavelengths and combinations of wavelengths
(or multiple sensors) that is coupled to a processing device          can be used to measure analytes and/or to distinguish other
or physiological monitor 109. In an embodiment, the sensor            types of tissue, fluids, tissue properties, fluid properties,
101 and the monitor 109 are integrated together into a single         combinations of the same or the like.
unit. In another embodiment, the sensor 101 and the monitor 60            For example, the emitter 104 can emit optical radiation
109 are separate from each other and communicate one with             across other spectra for other analytes. In particular, the
another in any suitable manner, such as via a wired or                emitter 104 can employ light wavelengths to measure vari-
wireless connection. The sensor 101 and monitor 109 can be            ous blood analytes or percentages (e.g., saturation) thereof.
attachable and detachable from each other for the conve-              For example, in one embodiment, the emitter 104 can emit
nience of the user or caregiver, for ease of storage, sterility 65 optical radiation in the form of pulses at wavelengths about
issues, or the like. The sensor 101 and the monitor 109 will          905 nm, about 1050 nm, about 1200 nm, about 1300 nm,
now be further described.                                             about 1330 nm, about 1610 nm, about 1640 nm, and about
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1665 run. In another embodiment, the emitter 104 can emit         about 40 mW to about 100 mW for other wavelengths that
optical radiation ranging from about 860 run to about 950         tend to be significantly absorbed in tissue. A wide variety of
run, about 950 run to about 1100 run, about 1100 run to about     other driving powers and driving methodologies can be used
1270 run, about 1250 run to about 1350 run, about 1300 run        in various embodiments.
to about 1360 run, and about 1590 run to about 1700 run. Of 5        The driver 111 can be synchronized with other parts of the
course, the emitter 104 can transmit any of a variety of          sensor 101 and can minimize or reduce jitter in the timing of
wavelengths of visible or near-infrared optical radiation.        pulses of optical radiation emitted from the emitter 104. In
   Due to the different responses of analytes to the different    some embodiments, the driver 111 is capable of driving the
wavelengths, certain embodiments of the data collection           emitter 104 to emit optical radiation in a pattern that varies
system 100 can advantageously use the measurements at 10
                                                                  by less than about 10 parts-per-million.
these different wavelengths to improve the accuracy of
                                                                     The detectors 106 capture and measure light from the
measurements. For example, the measurements of water
                                                                  measurement site 102. For example, the detectors 106 can
from visible and infrared light can be used to compensate for
water absorbance that is exhibited in the near-infrared wave-     capture and measure light transmitted from the emitter 104
lengths.                                                       15
                                                                  that has been attenuated or reflected from the tissue in the
   As briefly described above, the emitter 104 can include        measurement site 102. The detectors 106 can output a
sets of light-emitting diodes (LEDs) as its optical source.       detector signal 107 responsive to the light captured or
The emitter 104 can use one or more top-emitting LEDs. In         measured.   The detectors 106 can be implemented using one
particular, in some embodiments, the emitter 104 can              or more photodiodes, phototransistors, or the like.
include top-emitting LEDs emitting light at about 850 run to 20      In addition, the detectors 106 can be arranged with a
1350 run.                                                         spatial configuration to provide a variation of path lengths
   The emitter 104 can also use super luminescent LEDs            among at least some of the detectors 106. That is, some of
(SLEDs) or side-emitting LEDs. In some embodiments, the           the detectors 106 can have the substantially, or from the
emitter 104 can employ SLEDs or side-emitting LEDs to             perspective of the processing algorithm, effectively, the
emit optical radiation at about 1600 run to about 1800 run. 25 same path length from the emitter 104. However, according
Emitter 104 can use SLEDs or side-emitting LEDs to                to an embodiment, at least some of the detectors 106 can
transmit near infrared optical radiation because these types      have a different path length from the emitter 104 relative to
of sources can transmit at high power or relatively high          other of the detectors 106. Variations in path lengths can be
power, e.g., about 40 mW to about 100 mW. This higher             helpful in allowing the use of a bulk signal stream from the
power capability can be useful to compensate or overcome 30 detectors 106. In some embodiments, the detectors 106 may
the greater attenuation of these wavelengths oflight in tissue
                                                                  employ a linear spacing, a logarithmic spacing, or a two or
and water. For example, the higher power emission can
                                                                  three dimensional matrix of spacing, or any other spacing
effectively compensate and/or normalize the absorption sig-
                                                                  scheme in order to provide an appropriate variation in path
nal for light in the mentioned wavelengths to be similar in
amplitude and/or effect as other wavelengths that can be 35       lengths.
detected by one or more photodetectors after absorption.             The front end interface 108 provides an interface that
However, the embodiments of the present disclosure do not         adapts the output of the detectors 106, which is responsive
necessarily require the use of high power optical sources.        to desired physiological parameters. For example, the front
For example, some embodiments may be configured to                end interface 108 can adapt a signal 107 received from one
measure analytes, such as total hemoglobin (tHb ), oxygen 40 or more of the detectors 106 into a form that can be
saturation (SpO 2 ), carboxyhemoglobin, methemoglobin,            processed by the monitor 109, for example, by a signal
etc., without the use of high power optical sources like side     processor 110 in the monitor 109. The front end interface
emitting LEDs. Instead, such embodiments may employ               108 can have its components assembled in the sensor 101,
other types of optical sources, such as top emitting LEDs.        in the monitor 109, in connecting cabling (if used), combi-
Alternatively, the emitter 104 can use other types of sources 45 nations of the same, or the like. The location of the front end
of optical radiation, such as a laser diode, to emit near-        interface 108 can be chosen based on various factors includ-
infrared light into the measurement site 102.                     ing space desired for components, desired noise reductions
   In addition, in some embodiments, in order to assist in        or limits, desired heat reductions or limits, and the like.
achieving a comparative balance of desired power output              The front end interface 108 can be coupled to the detec-
between the LEDs, some of the LEDs in the emitter 104 can 50 tors 106 and to the signal processor 110 using a bus, wire,
have a filter or covering that reduces and/or cleans the          electrical or optical cable, flex circuit, or some other form of
optical radiation from particular LEDs or groups of LEDs.         signal connection. The front end interface 108 can also be at
For example, since some wavelengths of light can penetrate        least partially integrated with various components, such as
through tissue relatively well, LEDs, such as some or all of      the detectors 106. For example, the front end interface 108
the top-emitting LEDs can use a filter or covering, such as 55 can include one or more integrated circuits that are on the
a cap or painted dye. This can be useful in allowing the          same circuit board as the detectors 106. Other configurations
emitter 104 to use LEDs with a higher output and/or to            can also be used.
equalize intensity of LEDs.                                          The front end interface 108 can be implemented using one
   The data collection system 100 also includes a driver 111      or more amplifiers, such as transimpedance amplifiers, that
that drives the emitter 104. The driver 111 can be a circuit 60 are coupled to one or more analog to digital converters
or the like that is controlled by the monitor 109. For            (ADCs) (which can be in the monitor 109), such as a
example, the driver 111 can provide pulses of current to the      sigma-delta ADC. A transimpedance-based front end inter-
emitter 104. In an embodiment, the driver 111 drives the          face 108 can employ single-ended circuitry, differential
emitter 104 in a progressive fashion, such as in an alternat-     circuitry, and/or a hybrid configuration. A transimpedance-
ing manner. The driver 111 can drive the emitter 104 with a 65 based front end interface 108 can be useful for its sampling
series of pulses of about 1 milliwatt (mW) for some wave-         rate capability and freedom in modulation/demodulation
lengths that can penetrate tissue relatively well and from        algorithms. For example, this type of front end interface 108
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can advantageously facilitate the sampling of the ADCs              collection system 100 can be provided without a user
being synchronized with the pulses emitted from the emitter         interface 112 and can simply provide an output signal to a
104.                                                                separate display or system.
   The ADC or ADCs can provide one or more outputs into                A storage device 114 and a network interface 116 repre-
multiple channels of digital information for processing by 5 sent other optional output connections that can be included
the signal processor 110 of the monitor 109. Each channel           in the monitor 109. The storage device 114 can include any
can correspond to a signal output from a detector 106.              computer-readable medium, such as a memory device, hard
   In some embodiments, a programmable gain amplifier               disk storage, EEPROM, flash drive, or the like. The various
(PGA) can be used in combination with a transimpedance-             software and/or firmware applications can be stored in the
                                                                 10 storage device 114, which can be executed by the signal
based front end interface 108. For example, the output of a
                                                                    processor 110 or another processor of the monitor 109. The
transimpedance-based front end interface 108 can be output
                                                                    network interface 116 can be a serial bus port (RS-232/RS-
to a PGA that is coupled with an ADC in the monitor 109.
                                                                    485), a Universal Serial Bus (USB) port, an Ethernet port, a
A PGA can be useful in order to provide another level of            wireless interface (e.g., WiFi such as any 802.lx interface,
amplification and control of the stream of signals from the 15 including an internal wireless card), or other suitable com-
detectors 106. Alternatively, the PGA and ADC components            munication device(s) that allows the monitor 109 to com-
can be integrated with the transimpedance-based front end           municate and share data with other devices. The monitor 109
interface 108 in the sensor 101.                                    can also include various other components not shown, such
   In another embodiment, the front end interface 108 can be        as a microprocessor, graphics processor, or controller to
implemented using switched-capacitor circuits. A switched- 20 output the user interface 112, to control data communica-
capacitor-based front end interface 108 can be useful for, in       tions, to compute data trending, or to perform other opera-
certain embodiments, its resistor-free design and analog            tions.
averaging properties. In addition, a switched-capacitor-               Although not shown in the depicted embodiment, the data
based front end interface 108 can be useful because it can          collection system 100 can include various other components
provide a digital signal to the signal processor 110 in the 25 or can be configured in different ways. For example, the
monitor 109.                                                        sensor 101 can have both the emitter 104 and detectors 106
   As shown in FIG. 1, the monitor 109 can include the              on the same side of the measurement site 102 and use
signal processor 110 and a user interface, such as a display        reflectance to measure analytes. The data collection system
112. The monitor 109 can also include optional outputs              100 can also include a sensor that measures the power of
alone or in combination with the display 112, such as a 30 light emitted from the emitter 104.
storage device 114 and a network interface 116. In an                  FIGS. 2A through 2D illustrate example monitoring
embodiment, the signal processor 110 includes processing            devices 200 in which the data collection system 100 can be
logic that determines measurements for desired analytes,            housed. Advantageously, in certain embodiments, some or
such as glucose, based on the signals received from the             all of the example monitoring devices 200 shown can have
detectors 106. The signal processor 110 can be implemented 35 a shape and size that allows a user to operate it with a single
using one or more microprocessors or subprocessors (e.g.,           hand or attach it, for example, to a patient's body or limb.
cores), digital signal processors, application specific inte-       Although several examples are shown, many other moni-
grated circuits (ASICs), field progrannnable gate arrays            toring device configurations can be used to house the data
(FPGAs ), combinations of the same, and the like.                   collection system 100. In addition, certain of the features of
   The signal processor 110 can provide various signals that 40 the monitoring devices 200 shown in FIGS. 2A through 2D
control the operation of the sensor 101. For example, the           can be combined with features of the other monitoring
signal processor 110 can provide an emitter control signal to       devices 200 shown.
the driver 111. This control signal can be useful in order to          Referring specifically to FIG. 2A, an example monitoring
synchronize, minimize, or reduce jitter in the timing of            device 200A is shown, in which a sensor 201a and a monitor
pulses emitted from the emitter 104. Accordingly, this 45 209a are integrated into a single unit. The monitoring device
control signal can be useful in order to cause optical radia-       200A shown is a handheld or portable device that can
tion pulses emitted from the emitter 104 to follow a precise        measure glucose and other analytes in a patient's finger. The
timing and consistent pattern. For example, when a transim-         sensor 201a includes an emitter shell 204a and a detector
pedance-based front end interface 108 is used, the control          shell 206a. The depicted embodiment of the monitoring
signal from the signal processor 110 can provide synchro- 50 device 200A also includes various control buttons 208a and
nization with the ADC in order to avoid aliasing, cross-talk,       a display 210a.
and the like. As also shown, an optional memory 113 can be             The sensor 201a can be constructed of white material
included in the front-end interface 108 and/or in the signal        used for reflective purposes (such as white silicone or
processor 110. This memory 113 can serve as a buffer or             plastic), which can increase the usable signal at the detector
storage location for the front-end interface 108 and/or the 55 106 by forcing light back into the sensor 201a. Pads in the
signal processor 110, among other uses.                             emitter shell 204a and the detector shell 206a can contain
   The user interface 112 can provide an output, e.g., on a         separated windows to prevent or reduce mixing of light
display, for presentation to a user of the data collection          signals, for example, from distinct quadrants on a patient's
system 100. The user interface 112 can be implemented as            finger. In addition, these pads can be made of a relatively
a touch-screen display, an LCD display, an organic LED 60 soft material, such as a gel or foam, in order to conform to
display, or the like. In addition, the user interface 112 can be    the shape, for example, of a patient's finger. The emitter
manipulated to allow for measurement on the non-dominant            shell 204a and the detector shell 206a can also include
side of patient. For example, the user interface 112 can            absorbing black or grey material portions to prevent or
include a flip screen, a screen that can be moved from one          reduce ambient light from entering into the sensor 201a.
side to another on the monitor 109, or can include an ability 65       In some embodiments, some or all portions of the emitter
to reorient its display indicia responsive to user input or         shell 204a and/or detector shell 206a can be detachable
device orientation. In alternative embodiments, the data            and/or disposable. For example, some or all portions of the
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shells 204a and 206a can be removable pieces. The remov-          can include a display 210b that can indicate a measurement
ability of the shells 204a and 206a can be useful for sanitary    for glucose, for example, in mg/dL. Other analytes and
purposes or for sizing the sensor 201a to different patients.     forms of display can also appear on the monitor 209b.
The monitor 209a can include a fitting, slot, magnet, or other       In addition, although a single sensor 201b with a single
connecting mechanism to allow the sensor 201c to be 5 monitor 209b is shown, different combinations of sensors
removably attached to the monitor 209a.                           and device pairings can be implemented. For example,
    The monitoring device 200a also includes optional con-        multiple sensors can be provided for a plurality of differing
trol buttons 208a and a display 210a that can allow the user      patient types or measurement sites or even patient fingers.
to control the operation of the device. For example, a user          FIG. 2C illustrates yet another example of monitoring
can operate the control buttons 208a to view one or more 10 device 200C that can house the data collection system 100.
measurements of various analytes, such as glucose. In             Like the monitoring device 200B, the monitoring device
addition, the user can operate the control buttons 208a to        200C includes a finger clip sensor 201c connected to a
view other forms of information, such as graphs, histograms,      monitor 209c via a cable 212. The cable 212 can have all of
measurement data, trend measurement data, parameter com-          the features described above with respect to FIG. 2B. The
bination views, wellness indications, and the like. Many 15 monitor 209c can include all of the features of the monitor
parameters, trends, alarms and parameter displays could be        200B described above. For example, the monitor 209c
output to the display 210a, such as those that are commer-        includes buttons 208c and a display 210c. The monitor 209c
cially available through a wide variety of noninvasive moni-      shown also includes straps 214c that allow the monitor 209c
toring devices from Masimo® Corporation of Irvine, Calif.         to be attached to a patient's limb or the like.
    Furthermore, the controls 208a and/or display 210a can 20        FIG. 2D illustrates yet another example of monitoring
provide functionality for the user to manipulate settings of      device 200D that can house the data collection system 100.
the monitoring device 200a, such as alarm settings, emitter       Like the monitoring devices 200B and 200C, the monitoring
settings, detector settings, and the like. The monitoring         device 200D includes a finger clip sensor 201d connected to
device 200a can employ any of a variety of user interface         a monitor 209d via a cable 212. The cable 212 can have all
designs, such as frames, menus, touch-screens, and any type 25 of the features described above with respect to FIG. 2B. In
of button.                                                        addition to having some or all of the features described
    FIG. 2B illustrates another example of a monitoring           above with respect to FIGS. 2B and 2C, the monitoring
device 200B. In the depicted embodiment, the monitoring           device 200D includes an optional universal serial bus (USB)
device 200B includes a finger clip sensor 201b connected to       port 216 and an Ethernet port 218. The USB port 216 and the
a monitor 209b via a cable 212. In the embodiment shown, 30 Ethernet port 218 can be used, for example, to transfer
the monitor 209b includes a display 210b, control buttons         information between the monitor 209d and a computer (not
208b and a power button. Moreover, the monitor 209b can           shown) via a cable. Software stored on the computer can
advantageously include electronic processing, signal pro-         provide functionality for a user to, for example, view
cessing, and data storage devices capable of receiving signal     physiological data and trends, adjust settings and download
data from said sensor 201b, processing the signal data to 35 firmware updates to the monitor 209b, and perform a variety
determine one or more output measurement values indica-           of other functions. The USB port 216 and the Ethernet port
tive of one or more physiological parameters of a monitored       218 can be included with the other monitoring devices
patient, and displaying the measurement values, trends of         200A, 200B, and 200C described above.
the measurement values, combinations of measurement val-             FIGS. 3A through 3C illustrate more detailed examples of
ues, and the like.                                             40 embodiments of a sensor 301a. The sensor 301a shown can
    The cable 212 connecting the sensor 201b and the monitor      include all of the features of the sensors 100 and 200
209b can be implemented using one or more wires, optical          described above.
fiber, flex circuits, or the like. In some embodiments, the          Referring to FIG. 3A, the sensor 301a in the depicted
cable 212 can employ twisted pairs of conductors in order to      embodiment is a clothespin-shaped clip sensor that includes
minimize or reduce cross-talk of data transmitted from the 45 an enclosure 302a for receiving a patient's finger. The
sensor 201b to the monitor 209b. Various lengths of the           enclosure 302a is formed by an upper section or emitter shell
cable 212 can be employed to allow for separation between         304a, which is pivotably connected with a lower section or
the sensor 201b and the monitor 209b. The cable 212 can be        detector shell 306a. The emitter shell 304a can be biased
fitted with a connector (male or female) on either end of the     with the detector shell 306a to close together around a pivot
cable 212 so that the sensor 201b and the monitor 209b can 50 point 303a and thereby sandwich finger tissue between the
be connected and disconnected from each other. Alterna-           emitter and detector shells 304a, 306a.
tively, the sensor 201b and the monitor 209b can be coupled          In an embodiment, the pivot point 303a advantageously
together via a wireless communication link, such as an            includes a pivot capable of adjusting the relationship
infrared link, radio frequency channel, or any other wireless     between the emitter and detector shells 304a, 306a to
communication protocol and channel.                            55 effectively level the sections when applied to a tissue site. In
    The monitor 209b can be attached to the patient. For          another embodiment, the sensor 301a includes some or all
example, the monitor 209b can include a belt clip or straps       features of the finger clip described in U.S. Publication No.
(see, e.g., FIG. 2C) that facilitate attachment to a patient's    2006/0211924, incorporated above, such as a spring that
belt, arm, leg, or the like. The monitor 209b can also include    causes finger clip forces to be distributed along the finger.
a fitting, slot, magnet, LEMO snap-click connector, or other 60 Paragraphs [0096] through [0105], which describe this fea-
connecting mechanism to allow the cable 212 and sensor            ture, are hereby specifically incorporated by reference.
201b to be attached to the monitor 209B.                             The emitter shell 304a can position and house various
    The monitor 209b can also include other components,           emitter components of the sensor 301a. It can be constructed
such as a speaker, power button, removable storage or             of reflective material (e.g., white silicone or plastic) and/or
memory (e.g., a flash card slot), an AC power port, and one 65 can be metallic or include metalicized plastic (e.g., including
or more network interfaces, such as a universal serial bus        carbon and aluminum) to possibly serve as a heat sink. The
interface or an Ethernet port. For example, the monitor 209b      emitter shell 304a can also include absorbing opaque mate-
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rial, such as, for example, black or grey colored material, at         Turning to FIG. 3B, the sensor 301a can also include a
various areas, such as on one or more flaps 307a, to reduce         shielding 315a, such as a metal cage, box, metal sheet,
ambient light entering the sensor 301a.                             perforated metal sheet, a metal layer on a non-metal mate-
   The detector shell 306a can position and house one or            rial, or the like. The shielding 315a is provided in the
more detector portions of the sensor 301a. The detector shell 5 depicted embodiment below or embedded within the pro-
306a can be constructed of reflective material, such as white       trusion 305 to reduce noise. The shielding 315a can be
silicone or plastic. As noted, such materials can increase the      constructed from a conductive material, such as copper. The
usable signal at a detector by forcing light back into the          shielding 315a can include one or more openings or win-
tissue and measurement site (see FIG. 1). The detector shell        dows (not shown). The windows can be made from glass or
                                                                 10
306a can also include absorbing opaque material at various          plastic to thereby allow light that has passed through the
areas, such as lower area 308a, to reduce ambient light             windows 320, 321, 322, and 323 on an external surface of
entering the sensor 301a.                                           the protrusion 305 (see FIG. 3C) to pass through to one or
   Referring to FIGS. 3B and 3C, an example of finger bed           more photodetectors that can be enclosed or provided below
310 is shown in the sensor 301b. The finger bed 310 includes 15 (see FIG. 3E).
a generally curved surface shaped generally to receive                 In some embodiments, the shielding cage for shielding
tissue, such as a human digit. The finger bed 310 includes          315a can be constructed in a single manufactured compo-
one or more ridges or channels 314. Each of the ridges 314          nent with or without the use of conductive glass. This form
has a generally convex shape that can facilitate increasing         of construction may be useful in order to reduce costs of
traction or gripping of the patient's finger to the finger bed. 20 manufacture as well as assist in quality control of the
Advantageously, the ridges 314 can improve the accuracy of          components. Furthermore, the shielding cage can also be
spectroscopic analysis in certain embodiments by reducing           used to house various other components, such as sigma delta
noise that can result from a measurement site moving or             components for various embodiments of front end interfaces
shaking loose inside of the sensor 301a. The ridges 314 can         108.
be made from reflective or opaque materials in some 25                 In an embodiment, the photodetectors can be positioned
embodiments to further increase SNR. In other implemen-             within or directly beneath the protrusion 305 (see FIG. 3E).
tations, other surface shapes can be used, such as, for             In such cases, the mean optical path length from the emitters
example, generally flat, concave, or convex finger beds 310.        to the detectors can be reduced and the accuracy of blood
   Finger bed 310 can also include an embodiment of a tissue        analyte measurement can increase. For example, in one
thickness adjuster or protrusion 305. The protrusion 305 30 embodiment, a convex bump of about 1 mm to about 3 mm
includes a measurement site contact area 370 (see FIG. 3C)
                                                                    in height and about 10 mm2 to about 60 mm2 was found to
that can contact body tissue of a measurement site. The
                                                                    help signal strength by about an order of magnitude versus
protrusion 305 can be removed from or integrated with the
                                                                    other shapes. Of course other dimensions and sizes can be
finger bed 310. Interchangeable, different shaped protru-
sions 305 can also be provided, which can correspond to 35          employed   in other embodiments. Depending on the proper-
different finger shapes, characteristics, opacity, sizes, or the    ties desired, the length, width, and height of the protrusion
like.                                                               305 can be selected. In making such determinations, con-
   Referring specifically to FIG. 3C, the contact area 370 of       sideration can be made of protrusion's 305 effect on blood
the protrusion 305 can include openings or windows 320,             flow at the measurement site and mean path length for
321, 322, and 323. When light from a measurement site 40 optical radiation passing through openings 320, 321, 322,
passes through the windows 320, 321, 322, and 323, the light        and 323. Patient comfort can also be considered in deter-
can reach one or more photodetectors (see FIG. 3E). In an           mining the size and shape of the protrusion.
embodiment, the windows 320, 321, 322, and 323 mirror                  In an embodiment, the protrusion 305 can include a pliant
specific detector placements layouts such that light can            material, including soft plastic or rubber, which can some-
impinge through the protrusion 305 onto the photodetectors. 45 what conform to the shape of a measurement site. Pliant
Any number of windows 320, 321, 322, and 323 can be                 materials can improve patient comfort and tactility by con-
employed in the protrusion 305 to allow light to pass from          forming the measurement site contact area 370 to the
the measurement site to the photodetectors.                         measurement site. Additionally, pliant materials can mini-
   The windows 320, 321, 322, and 323 can also include              mize or reduce noise, such as ambient light. Alternatively,
shielding, such as an embedded grid of wiring or a conduc- 50 the protrusion 305 can be made from a rigid material, such
tive glass coating, to reduce noise from ambient light or           as hard plastic or metal.
other electromagnetic noise. The windows 320, 321, 322,                Rigid materials can improve measurement accuracy of a
and 323 can be made from materials, such as plastic or glass.       blood analyte by conforming the measurement site to the
In some embodiments, the windows 320, 321, 322, and 323             contact area 370. The contact area 370 can be an ideal shape
can be constructed from conductive glass, such as indium tin 55 for improving accuracy or reducing noise. Selecting a mate-
oxide (ITO) coated glass. Conductive glass can be useful            rial for the protrusion 305 can include consideration of
because its shielding is transparent, and thus allows for a         materials that do not significantly alter blood flow at the
larger aperture versus a window with an embedded grid of            measurement site. The protrusion 305 and the contact area
wiring. In addition, in certain embodiments, the conductive         370 can include a combination of materials with various
glass does not need openings in its shielding (since it is 60 characteristics.
transparent), which enhances its shielding performance. For            The contact area 370 serves as a contact surface for the
example, some embodiments that employ the conductive                measurement site. For example, in some embodiments, the
glass can attain up to an about 40% to about 50% greater            contact area 370 can be shaped for contact with a patient's
signal than non-conductive glass with a shielding grid. In          finger. Accordingly, the contact area 370 can be sized and
addition, in some embodiments, conductive glass can be 65 shaped for different sizes of fingers. The contact area 370
useful for shielding noise from a greater variety of directions     can be constructed of different materials for reflective pur-
than non-conductive glass with a shielding grid.                    poses as well as for the comfort of the patient. For example,
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the contact area 370 can be constructed from materials                 polymer, such as Coo!Poly® D5506, commercially avail-
having various hardness and textures, such as plastic, gel,            able from Cool Polymers®, Inc. of Warwick, R.I. Such a
foam, and the like.                                                    material can be selected for its electrically non-conductive
   The formulas and analysis that follow with respect to FIG.          and dielectric properties so as, for example, to aid in
5 provide insight into how selecting these variables can alter 5 electrical shielding. In an embodiment, the heat sink 350a
transmittance and intensity gain of optical radiation that has         provides improved heat transfer properties when the sensor
been applied to the measurement site. These examples do                301a is active for short intervals ofless than a full day's use.
not limit the scope of this disclosure.                                In an embodiment, the heat sink 350a can advantageously
   Referring to FIG. 5, a plot 500 is shown that illustrates           provide improved heat transfers in about three (3) to about
examples of effects of embodiments of the protrusion 305 on 10 four (4) minute intervals, for example, although a heat sink
the SNR at various wavelengths of light. As described                  350a can be selected that performs effectively in shorter or
above, the protrusion 305 can assist in conforming the tissue          longer intervals.
and effectively reduce its mean path length. In some                      Moreover, the heat sink 350a can have different shapes
instances, this effect by the protrusion 305 can have signifi-         and configurations for aesthetic as well as for functional
cant impact on increasing the SNR.                                  15 purposes. In an embodiment, the heat sink is configured to
   According to the Beer Lambert law, a transmittance of               maximize heat dissipation, for example, by maximizing
light (I) can be expressed as follows: !=!0 *e-m*b*c, where !0         surface area. In an embodiment, the heat sink 350a is
is the initial power of light being transmitted, m is the path         molded into a generally curved surface and includes one or
length traveled by the light, and the component "b*c"                  more fins, undulations, grooves, or channels. The example
corresponds to the bulk absorption of the light at a specific 20 heat sink 350a shown includes fins 351a (see FIG. 3A).
wavelength of light. For light at about 1600 nm to about                  An alternative shape of a sensor 301b and heat sink 350b
1700 nm, for example, the bulk absorption component is                 is shown in FIG. 3D. The sensor 301b can include some or
generally around 0.7 mm- 1 . Assuming a typical finger                 all of the features of the sensor 301a. For example, the
thickness of about 12 mm and a mean path length of 20 mm               sensor 301b includes an enclosure 302b formed by an
due to tissue scattering, then ]=] *eC- 20 * 0 -7 ).
                                   0
                                                                    25 emitter shell 304b and a detector shell 306b, pivotably
   In an embodiment where the protrusion 305 is a convex               connected about a pivot 303a. The emitter shell 304b can
bump, the thickness of the finger can be reduced to 10 mm              also include absorbing opaque material on one or more flaps
(from 12 mm) for some fingers and the effective light mean             307b, and the detector shell 306a can also include absorbing
path is reduced to about 16.6 mm from 20 mm (see box 510).             opaque material at various areas, such as lower area 308b.
This results in a new transmittance, 11 =! *eC- 16 · 6 * 0 -7 )_ A 30
                                               0
                                                                          However, the shape of the sensor 301b is different in this
curve for a typical finger (having a mean path length of 20            embodiment. In particular, the heat sink 350b includes comb
mm) across various wavelengths is shown in the plot 500 of             protrusions 351b. The comb protrusions 351b are exposed to
FIG. 5. The plot 500 illustrates potential effects of the              the air in a similar manner to the fins 351a of the heat sink
protrusion 305 on the transmittance. As illustrated, compar-           350a, thereby facilitating efficient cooling of the sensor
ing I and 11 results in an intensity gain of eC- 16 -6 * 0 -7 l/eC- 35 301b.
20*0.7), which is about a 10 times increase for light in the              FIG. 3E illustrates a more detailed example of a detector
about 1600 nm to about 1700 nm range. Such an increase                 shell 306b of the sensor 301b. The features described with
can affect the SNR at which the sensor can operate. The                respect to the detector shell 306b can also be used with the
foregoing gains can be due at least in part to the about 1600          detector shell 306a of the sensor 301a.
nm to about 1700 nm range having high values in bulk 40                   As shown, the detector shell 306b includes detectors 316.
absorptions (water, protein, and the like), e.g., about 0.7            The detectors 316 can have a predetermined spacing 340
mm- 1 . The plot 500 also shows improvements in the visible/           from each other, or a spatial relationship among one another
near-infrared range (about 600 nm to about 1300 nm).                   that results in a spatial configuration. This spatial configu-
   Turning again to FIGS. 3A through 3C, an example heat               ration can purposefully create a variation of path lengths
sink 350a is also shown. The heat sink 350a can be attached 45 among detectors 316 and the emitter discussed above.
to, or protrude from an outer surface of, the sensor 301a,                In the depicted embodiment, the detector shell 316 can
thereby providing increased ability for various sensor com-            hold multiple (e.g., two, three, four, etc.) photodiode arrays
ponents to dissipate excess heat. By being on the outer                that are arranged in a two-dimensional grid pattern. Multiple
surface of the sensor 301a in certain embodiments, the heat            photodiode arrays can also be useful to detect light piping
sink 350a can be exposed to the air and thereby facilitate 50 (e.g., light that bypasses measurement site 102). In the
more efficient cooling. In an embodiment, one or more of the           detector shell 316, walls can be provided to separate the
emitters (see FIG. 1) generate sufficient heat that inclusion          individual photodiode arrays to prevent or reduce mixing of
of the heat sink 350a can advantageously allows the sensor             light signals from distinct quadrants. In addition, the detec-
301a to remain safely cooled. The heat sink 350a can                   tor shell 316 can be covered by windows of transparent
include one or more materials that help dissipate heat, such 55 material, such as glass, plastic, or the like, to allow maxi-
as, for example, aluminum, steel, copper, carbon, combina-             mum or increased transmission of power light captured. In
tions of the same, or the like. For example, in some                   various embodiments, the transparent materials used can
embodiments, the emitter shell 304a can include a heat                 also be partially transparent or translucent or can otherwise
conducting material that is also readily and relatively inex-          pass some or all of the optical radiation passing through
pensively moldable into desired shapes and forms.                   60 them. As noted, this window can include some shielding in
   In some embodiments, the heat sink 350a includes met-               the form of an embedded grid of wiring, or a conductive
alicized plastic. The metalicized plastic can include alumi-           layer or coating.
num and carbon, for example. The material can allow for                   As further illustrated by FIG. 3E, the detectors 316 can
improved thermal conductivity and diffusivity, which can               have a spatial configuration of a grid. However, the detectors
increase commercial viability of the heat sink. In some 65 316 can be arranged in other configurations that vary the
embodiments, the material selected to construct the heat sink          path length. For example, the detectors 316 can be arranged
350a can include a thermally conductive liquid crystalline             in a linear array, a logarithmic array, a two-dimensional
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array, a zig-zag pattern, or the like. Furthermore, any number     arranging the windows 420, 421, 422, and 423 are possible.
of the detectors 316 can be employed in certain embodi-            For example, the windows 420, 421, 422, and 423 can be
ments.                                                             placed in a triangular, circular, or linear arrangement. In
   FIG. 3F illustrates another embodiment of a sensor 301/         some embodiments, the windows 420, 421, 422, and 423 can
The sensor 30lfcan include some or all of the features of the 5 be placed at different heights with respect to the finger bed
sensor 301a of FIG. 3A described above. For example, the           310 of FIG. 3. The windows 420, 421, 422, and 423 can also
sensor 30lf includes an enclosure 302/formed by an upper           mimic or approximately mimic a configuration of, or even
section or emitter shell 304{, which is pivotably connected        house, a plurality of detectors.
with a lower section or detector shell 306/ around a pivot            FIGS. 6A through 6D illustrate another embodiment of a
point 303/ The emitter shell 304fcan also include absorbing 10 protrusion 605 that can be used as the tissue shaper 105
opaque material on various areas, such as on one or more           described above or in place of the protrusions 305, 405
flaps 307/, to reduce ambient light entering the sensor 301/       described above. The depicted protrusion 605 is a partially
The detector shell 306/ can also include absorbing opaque          cylindrical lens having a partial cylinder 608 and an exten-
material at various areas, such as a lower area 308/ The           sion 610. The partial cylinder 608 can be a half cylinder in
sensor 301/ also includes a heat sink 350/, which includes 15 some embodiments; however, a smaller or greater portion
fins 351/                                                          than half of a cylinder can be used. Advantageously, in
   In addition to these features, the sensor 301/ includes a       certain embodiments, the partially cylindrical protrusion 605
flex circuit cover 360, which can be made of plastic or            focuses light onto a smaller area, such that fewer detectors
another suitable material. The flex circuit cover 360 can          can be used to detect the light attenuated by a measurement
cover and thereby protect a flex circuit (not shown) that 20 site.
extends from the emitter shell 304fto the detector shell 306/         FIG. 6A illustrates a perspective view of the partially
An example of such a flex circuit is illustrated in U.S.           cylindrical protrusion 605. FIG. 6B illustrates a front eleva-
Publication No. 2006/0211924, incorporated above (see              tion view of the partially cylindrical protrusion 605. FIG. 6C
FIG. 46 and associated description, which is hereby specifi-       illustrates a side view of the partially cylindrical protrusion
cally incorporated by reference). The flex circuit cover 360 25 605. FIG. 6D illustrates a top view of the partially cylindri-
is shown in more detail below in FIG. 17.                          cal protrusion 605.
   In addition, sensors 301a:f has extra length-extends to            Advantageously, in certain embodiments, placing the par-
second joint on finger-Easier to place, harder to move due         tially cylindrical protrusion 605 over the photodiodes in any
to cable, better for light piping.                                 of the sensors described above adds multiple benefits to any
   FIGS. 4A through 4C illustrate example arrangements of 30 of the sensors described above. In one embodiment, the
a protrusion 405, which is an embodiment of the protrusion         partially cylindrical protrusion 605 penetrates into the tissue
305 described above. In an embodiment, the protrusion 405          and reduces the path length of the light traveling in the
can include a measurement site contact area 470. The               tissue, similar to the protrusions described above.
measurement site contact area 470 can include a surface that          The partially cylindrical protrusion 605 can also collect
molds body tissue of a measurement site, such as a finger, 35 light from a large surface and focus down the light to a
into a flat or relatively flat surface.                            smaller area. As a result, in certain embodiments, signal
   The protrusion 405 can have dimensions that are suitable        strength per area of the photodiode can be increased. The
for a measurement site such as a patient's finger. As shown,       partially cylindrical protrusion 605 can therefore facilitate a
the protrusion 405 can have a length 400, a width 410, and         lower cost sensor because, in certain embodiments, less
a height 430. The length 400 can be from about 9 to about 40 photodiode area can be used to obtain the same signal
11 millimeters, e.g., about 10 millimeters. The width 410 can      strength. Less photodiode area can be realized by using
be from about 7 to about 9 millimeters, e.g., about 8              smaller photodiodes or fewer photodiodes (see, e.g., FIG.
millimeters. The height 430 can be from about 0.5 millime-         14). If fewer or smaller photodiodes are used, the partially
ters to about 3 millimeters, e.g., about 2 millimeters. In an      cylindrical protrusion 605 can also facilitate an improved
embodiment, the dimensions 400, 410, and 430 can be 45 SNR of the sensor because fewer or smaller photodiodes can
selected such that the measurement site contact area 470           have less dark current.
includes an area of about 80 square millimeters, although             The dimensions of the partially cylindrical protrusion 605
larger and smaller areas can be used for different sized tissue    can vary based on, for instance, a number of photodiodes
for an adult, an adolescent, or infant, or for other consider-     used with the sensor. Referring to FIG. 6C, the overall height
ations.                                                         50 of the partially cylindrical protrusion 605 (measurement "a")
   The measurement site contact area 470 can also include          in some implementations is about 1 to about 3 mm. A height
differently shaped surfaces that conform the measurement           in this range can allow the partially cylindrical protrusion
site into different shapes. For example, the measurement site      605 to penetrate into the pad of the finger or other tissue and
contact area 470 can be generally curved and/or convex with        reduce the distance that light travels through the tissue.
respect to the measurement site. The measurement site 55 Other heights, however, of the partially cylindrical protru-
contact area 470 can be other shapes that reduce or even           sion 605 can also accomplish this objective. For example,
minimize air between the protrusion 405 and/or the mea-            the chosen height of the partially cylindrical protrusion 605
surement site. Additionally, the surface pattern of the mea-       can be selected based on the size of the measurement site,
surement site contact area 470 can vary from smooth to             whether the patient is an adult or child, and so on. In an
bumpy, e.g., to provide varying levels of grip.                 60 embodiment, the height of the protrusion 605 is chosen to
   In FIGS. 4A and 4C, openings or windows 420, 421, 422,          provide as much tissue thickness reduction as possible while
and 423 can include a wide variety of shapes and sizes,            reducing or preventing occlusion of blood vessels in the
including for example, generally square, circular, triangular,     tissue.
or combinations thereof. The windows 420, 421, 422, and               Referring to FIG. 6D, the width of the partially cylindrical
423 can be of non-uniform shapes and sizes. As shown, the 65 protrusion 605 (measurement "b") can be about 3 to about
windows 420, 421, 422, and 423 can be evenly spaced out            5 mm. In one embodiment, the width is about 4 mm. In one
in a grid like arrangement. Other arrangements or patterns of      embodiment, a width in this range provides good penetration
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of the partially cylindrical protrusion 605 into the tissue to     bed 310/ also includes the ridges or channels 314 described
reduce the path length of the light. Other widths, however,        above with respect to FIGS. 3B and 3C.
of the partially cylindrical protrusion 605 can also accom-           The example of finger bed 310/ shown also includes the
plish this objective. For example, the width of the partially      protrusion 605b, which includes the features of the protru-
cylindrical protrusion 605 can vary based on the size of the 5 sion 605 described above. In addition, the protrusion 605b
measurement site, whether the patient is an adult or child,        also includes chamfered edges 607 on each end to provide
and so on. In addition, the length of the protrusion 605 could     a more comfortable surface for a finger to slide across (see
be about 10 mm, or about 8 mm to about 12 mm, or smaller           also FIG. 14D). In another embodiment, the protrusion 605b
than 8 mm or greater than 12 mm.                                   could instead include a single chamfered edge 607 proximal
                                                                10 to the ridges 314. In another embodiment, one or both of the
   In certain embodiments, the focal length (f) for the
                                                                   chamfered edges 607 could be rounded.
partially cylindrical protrusion 605 can be expressed as:
                                                                      The protrusion 605b also includes a measurement site
                                                                   contact area 670 that can contact body tissue of a measure-
                                                                   ment site. The protrusion 605b can be removed from or
                                                                15 integrated with the finger bed 310/ Interchangeable, differ-
                                                                   ently shaped protrusions 605b can also be provided, which
                                                                   can correspond to different finger shapes, characteristics,
where R is the radius of curvature of the partial cylinder 608     opacity, sizes, or the like.
and n is the index of refraction of the material used. In             FIGS. 7A and 7B illustrate block diagrams of sensors 701
certain embodiments, the radius of curvature can be between 20 that include example arrangements of conductive glass or
about 1.5 mm and about 2 mm. In another embodiment, the            conductive coated glass for shielding. Advantageously, in
partially cylindrical protrusion 605 can include a material,       certain embodiments, the shielding can provide increased
such as nBK7 glass, with an index of refraction of around          SNR. The features of the sensors 701 can be implemented
1.5 at 1300 nm, which can provide focal lengths of between         with any of the sensors 101, 201, 301 described above.
about 3 mm and about 4 mm.                                      25 Although not shown, the partially cylindrical protrusion 605
   A partially cylindrical protrusion 605 having a material        of FIG. 6 can also be used with the sensors 701 in certain
with a higher index ofrefraction such as nSFll glass (e.g.,        embodiments.
n=l.75 at 1300 nm) can provide a shorter focal length and             For example, referring specifically to FIG. 7A, the sensor
possibly a smaller photodiode chip, but can also cause             701a includes an emitter housing 704a and a detector
higher reflections due to the index of refraction mismatch 30 housing 706. The emitter housing 704a includes LEDs 104.
with air. Many types of glass or plastic can be used with          The detector housing 706a includes a tissue bed 710a with
index of refraction values ranging from, for example, about        an opening or window 703a, the conductive glass 730a, and
1.4 to about 1.9. The index of refraction of the material of       one or more photodiodes for detectors 106 provided on a
the protrusion 605 can be chosen to improve or optimize the        submount 707a.
light focusing properties of the protrusion 605. A plastic 35         During operation, a finger 102 can be placed on the tissue
partially cylindrical protrusion 605 could provide the cheap-      bed 71 Oa and optical radiation can be emitted from the LEDs
est option in high volumes but can also have some undesired        104. Light can then be attenuated as it passes through or is
light absorption peaks at wavelengths higher than 1500 nm.         reflected from the tissue of the finger 102. The attenuated
Other focal lengths and materials having different indices of      light can then pass through the opening 703a in the tissue
refraction can be used for the partially cylindrical protrusion 40 bed 710a. Based on the received light, the detectors 106 can
605.                                                               provide a detector signal 107, for example, to the front end
   Placing a photodiode at a given distance below the              interface 108 (see FIG. 1).
partially cylindrical protrusion 605 can facilitate capturing         In the depicted embodiment, the conductive glass 730 is
some or all of the light traveling perpendicular to the lens       provided in the opening 703. The conductive glass 730 can
within the active area of the photodiode (see FIG. 14). 45 thus not only permit light from the finger to pass to the
Different sizes of the partially cylindrical protrusion 605 can    detectors 106, but it can also supplement the shielding of the
use different sizes of photodiodes. The extension 610 added        detectors 106 from noise. The conductive glass 730 can
onto the bottom of the partial cylinder 608 is used in certain     include a stack or set of layers. In FIG. 7A, the conductive
embodiments to increase the height of the partially cylin-         glass 730a is shown having a glass layer 731 proximate the
drical protrusion 605. In an embodiment, the added height is 50 finger 102 and a conductive layer 733 electrically coupled to
such that the photodiodes are at or are approximately at the       the shielding 790a.
focal length of the partially cylindrical protrusion 605. In an       In an embodiment, the conductive glass 730a can be
embodiment, the added height provides for greater thinning         coated with a conductive, transparent or partially transparent
of the measurement site. In an embodiment, the added height        material, such as a thin film of indium tin oxide (ITO). To
assists in deflecting light piped through the sensor. This is 55 supplement electrical shielding effects of a shielding enclo-
because light piped around the sensor passes through the           sure 790a, the conductive glass 730a can be electrically
side walls of the added height without being directed toward       coupled to the shielding enclosure 790a. The conductive
the detectors. The extension 610 can also further facilitate       glass 730a can be electrically coupled to the shielding 704a
the protrusion 605 increasing or maximizing the amount of          based on direct contact or via other connection devices, such
light that is provided to the detectors. In some embodiments, 60 as a wire or another component.
the extension 610 can be omitted.                                     The shielding enclosure 790a can be provided to encom-
   FIG. 6E illustrates another view of the sensor 301/ofFIG.       pass the detectors 106 to reduce or prevent noise. For
3F, which includes an embodiment of a partially cylindrical        example, the shielding enclosure 790a can be constructed
protrusion 605b. Like the sensor 301A shown in FIGS. 3B            from a conductive material, such as copper, in the form of a
and 3C, the sensor 301/ includes a finger bed 310/ The 65 metal cage. The shielding or enclosure a can include an
finger bed 310/ includes a generally curved surface shaped         opaque material to not only reduce electrical noise, but also
generally to receive tissue, such as a human digit. The finger     ambient optical noise.
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   In some embodiments, the shielding enclosure 790a can          are possible. For example, the electrically conductive mate-
be constructed in a single manufactured component with or         rial 733 can be a layer within a stack of layers. This stack of
without the use of conductive glass. This form of construc-       layers can include one or more layers of glass 731, 835, as
tion may be useful in order to reduce costs of manufacture        well as one or more layers of conductive material 733. The
as well as assist in quality control of the components.         5 stack can include other layers of materials to achieve desired
Furthermore, the shielding enclosure 790a can also be used        characteristics.
to house various other components, such as sigma delta               In FIG. SD, a bottom perspective view is shown to
components for various embodiments of front end interfaces        illustrate an embodiment where a conductive glass 830b can
108.                                                              include conductive material 837 that occupies or covers a
   Referring to FIG. 7B, another block diagram of an 10 portion of a glass layer 839. This embodiment can be useful,
example sensor 701b is shown. A tissue bed 710b of the            for example, to create individual, shielded windows for
sensor 701b includes a protrusion 705b, which is in the form      detectors 106, such as those shown in FIG. 3C. The con-
of a convex bump. The protrusion 705b can include all of the      ductive material 837 can be patterned to include an area 838
features of the protrusions or tissue shaping materials           to allow light to pass to detectors 106 and one or more strips
described above. For example, the protrusion 705b includes 15 841 to couple to the shielding 704 of FIG. 7.
a contact area 370 that comes in contact with the finger 102         Other configurations and patterns for the conductive
and which can include one or more openings 703b. One or           material can be used in certain embodiments, such as, for
more components of conductive glass 730b can be provided          example, a conductive coating lining periphery edges, a
in the openings 703. For example, in an embodiment, each          conductive coating outlaid in a pattern including a grid or
of the openings 703 can include a separate window of the 20 other pattern, a speckled conductive coating, coating outlaid
conductive glass 730b. In an embodiment, a single piece of        in lines in either direction or diagonally, varied thicknesses
the conductive glass 730b can used for some or all of the         from the center out or from the periphery in, or other suitable
openings 703b. The conductive glass 730b is smaller than          patterns or coatings that balance the shielding properties
the conductive glass 730a in this particular embodiment.          with transparency considerations.
   A shielding enclosure 790b is also provided, which can 25         FIG. 9 depicts an example graph 900 that illustrates
have all the features of the shielding enclosure 790a. The        comparative results obtained by an example sensor having
shielding enclosure 790b is smaller than the shielding enclo-     components similar to those disclosed above with respect to
sure 790a; however, a variety of sizes can be selected for the    FIGS. 7 and 8. The graph 900 depicts the results of the
shielding enclosures 790.                                         percentage of transmission of varying wavelengths of light
   In some embodiments, the shielding enclosure 790b can 30 for different types of windows used in the sensors described
be constructed in a single manufactured component with or         above.
without the use of conductive glass. This form of construc-          A line 915 on the graph 900 illustrates example light
tion may be useful in order to reduce costs of manufacture        transmission of a window made from plain glass. As shown,
as well as assist in quality control of the components.           the light transmission percentage of varying wavelengths of
Furthermore, the shielding enclosure 790b can also be used 35 light is approximately 90% for a window made from plain
to house various other components, such as sigma delta            glass. A line 920 on the graph 900 demonstrates an example
components for various embodiments of front end interfaces        light transmission percentage for an embodiment in which a
108.                                                              window is made from glass having an ITO coating with a
   FIGS. SA through SD illustrate a perspective view, side        surface resistivity of 500 ohms per square inch. A line 925
views, and a bottom elevation view of the conductive glass 40 on the graph 900 shows an example light transmission for an
described above with respect to the sensors 701a, 701b. As        embodiment in which a window is made from glass that
shown in the perspective view of FIG. SA and side view of         includes a coating of ITO oxide with a surface resistivity of
FIG. 8B, the conductive glass 730 includes the electrically       200 ohms per square inch. A line 930 on the graph 900
conductive material 733 described above as a coating on the       shows an example light transmission for an embodiment in
glass layer 731 described above to form a stack. In an 45 which a window is made from glass that includes a coating
embodiment where the electrically conductive material 733         ofITO oxide with a surface resistivity of30 ohms per square
includes indium tin oxide, surface resistivity of the electri-    inch.
cally conductive material 733 can range approximately from           The light transmission percentage for a window with
30 ohms per square inch to 500 ohms per square inch, or           currently available embedded wiring can have a light trans-
approximately 30, 200, or 500 ohms per square inch. As 50 mission percentage of approximately 70%. This lower per-
would be understood by a person of skill in the art from the      centage oflight transmission can be due to the opacity of the
present disclosure, other resistivities can also be used which    wiring employed in a currently available window with
are less than 30 ohms or more than 500 ohms. Other                wiring. Accordingly, certain embodiments of glass coatings
transparent, electrically conductive materials can be used as     described herein can employ, for example, ITO coatings
the material 733.                                              55 with different surface resistivity depending on the desired
   Although the conductive material 733 is shown spread           light transmission, wavelengths of light used for measure-
over the surface of the glass layer 731, the conductive           ment, desired shielding effect, and other criteria.
material 733 can be patterned or provided on selected                FIGS. l0A through 10B illustrate comparative noise
portions of the glass layer 731. Furthermore, the conductive      floors of example implementations of the sensors described
material 733 can have uniform or varying thickness depend- 60 above. Noise can include optical noise from ambient light
ing on a desired transmission of light, a desired shielding       and electro-magnetic noise, for example, from surrounding
effect, and other considerations.                                 electrical equipment. In FIG. l0A, a graph 1000 depicts
   In FIG. SC, a side view of a conductive glass 830a is          possible noise floors for different frequencies of noise for an
shown to illustrate an embodiment where the electrically          embodiment in which one of the sensors described above
conductive material 733 is provided as an internal layer 65 included separate windows for four (4) detectors 106. One
between two glass layers 731, 835. Various combinations of        or more of the windows included an embedded grid of
integrating electrically conductive material 733 with glass       wiring as a noise shield. Symbols 1030-1033 illustrate the
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noise floor performance for this embodiment. As can be             FIG. 11B illustrates a configuration of emitting optical
seen, the noise floor performance can vary for each of the      radiation into a measurement site for measuring a blood
openings and based on the frequency of the noise.               constituent or analyte like glucose. In some embodiments,
   In FIG. 10B, a graph 1050 depicts a noise floor for          emitter 104 may be driven in a progressive fashion to
frequencies of noise 1070 for an embodiment in which the 5 minimize noise and increase SNR of sensor 101. For
sensor included separate openings for four (4) detectors 106    example, emitter 104 may be driven based on a progression
and one or more windows that include an ITO coating. In         of power/current delivered to LEDs 1102 and 1104.
this embodiment, a surface resistivity of the ITO used was         In some embodiments, emitter 104 may be configured to
about 500 ohms per square inch. Symbols 1080-1083 illus-        emit pulses centered about 905 nm, about 1050 nm, about
                                                             10 1200 nm, about 1300 nm, about 1330 nm, about 1610 nm,
trate the noise floor performance for this embodiment. As
                                                                about 1640 nm, and about 1665 nm. In another embodiment,
can be seen, the noise floor performance for this embodi-
                                                                the emitter 104 may emit optical radiation ranging from
ment can vary less for each of the openings and provide
                                                                about 860 nm to about 950 nm, about 950 nm to about 1100
lower noise floors in comparison to the embodiment of FIG.      nm, about 1100 nm to about 1270 nm, about 1250 nm to
lOA.                                                            15 about 1350 nm, about 1300 nm to about 1360 nm, and about
   FIG. llA illustrates an example structure for configuring       1590 nm to about 1700 nm. Of course, emitter 104 may be
the set of optical sources of the emitters described above. As     configured to transmit any of a variety of wavelengths of
shown, an emitter 104 can include a driver 1105, a therm-          visible, or near-infrared optical radiation.
istor 1120, a set of top-emitting LEDs 1102 for emitting red          For purposes of illustration, FIG. 11B shows a sequence
and/or infrared light, a set of side-emitting LEDs 1104 for 20 of pulses of light at wavelengths of around 905 nm, around
emitting near infrared light, and a submount 1106.                 1200 nm, around 1300 nm, and around 1330 nm from top
   The thermistor 1120 can be provided to compensate for           emitting LEDs 1102. FIG. 11B also shows that emitter 104
temperature variations. For example, the thermistor 1120           may then emit pulses centered at around 1630 nm, around
can be provided to allow for wavelength centroid and power         1660 nm, and around 1615 nm from side emitting LEDs
drift of LEDs 1102 and 1104 due to heating. In addition, 25 1104. Emitter 104 may be progressively driven at higher
other thermistors can be employed, for example, to measure         power/current. This progression may allow driver circuit
a temperature of a measurement site. The temperature can be        105 to stabilize in its operations, and thus, provide a more
displayed on a display device and used by a caregiver. Such        stable current/power to LEDs 1102 and 1104.
a temperature can also be helpful in correcting for wave-             For example, as shown in FIG. 11B, the sequence of
length drift due to changes in water absorption, which can be 30 optical radiation pulses are shown having a logarithmic-like
temperature dependent, thereby providing more accurate             progression in power/current. In some embodiments, the
data useful in detecting blood analytes like glucose. In           timing of these pulses is based on a cycle of about 400 slots
addition, using a thermistor or other type of temperature          running at 48 kHz (e.g. each time slot may be approximately
sensitive device may be useful for detecting extreme tem-          0.02 ms or 20 microseconds). An artisan will recognize that
peratures at the measurement site that are too hot or too cold. 35 term "slots" includes its ordinary meaning, which includes
The presence of low perfusion may also be detected, for            a time period that may also be expressed in terms of a
example, when the finger of a patient has become too cold.         frequency. In the example shown, pulses from top emitting
Moreover, shifts in temperature at the measurement site can        LEDs 1102 may have a pulse width of about 40 time slots
alter the absorption spectrum of water and other tissue in the     (e.g., about 0.8 ms) and an off period of about 4 time slots
measurement cite. A thermistor's temperature reading can be 40 in between. In addition, pulses from side emitting LEDs
used to adjust for the variations in absorption spectrum           1104 (e.g., or a laser diode) may have a pulse width of about
changes in the measurement site.                                   60 time slots (e.g., about 1.25 ms) and a similar off period
   The driver 1105 can provide pulses of current to the            of about 4 time slots. A pause of about 70 time slots (e.g. 1.5
emitter 1104. In an embodiment, the driver 1105 drives the         ms) may also be provided in order to allow driver circuit
emitter 1104 in a progressive fashion, for example, in an 45 1105 to stabilize after operating at higher current/power.
alternating manner based on a control signal from, for                As shown in FIG. 11B, top emitting LEDs 1102 may be
example, a processor (e.g., the processor 110). For example,       initially driven with a power to approximately 1 mW at a
the driver 1105 can drive the emitter 1104 with a series of        current of about 20-100 mA. Power in these LEDs may also
pulses to about 1 milliwatt (mW) for visible light to light at     be modulated by using a filter or covering of black dye to
about 1300 nm and from about 40 mW to about 100 mW for 50 reduce power output of LEDs. In this example, top emitting
light at about 1600 nm to about 1700 nm. However, a wide           LEDs 1102 may be driven at approximately 0.02 to 0.08
number of driving powers and driving methodologies can be          mW. The sequence of the wavelengths may be based on the
used. The driver 1105 can be synchronized with other parts         current requirements of top emitting LEDs 502 for that
of the sensor and can minimize or reduce any jitter in the         particular wavelength. Of course, in other embodiments,
timing of pulses of optical radiation emitted from the emitter 55 different wavelengths and sequences of wavelengths may be
1104. In some embodiments, the driver 1105 is capable of           output from emitter 104.
driving the emitter 1104 to emit an optical radiation in a            Subsequently, side emitting LEDs 1104 may be driven at
pattern that varies by less than about 10 parts-per-million;       higher powers, such as about 40-100 mW and higher cur-
however other amounts of variation can be used.                    rents of about 600-800 mA. This higher power may be
   The submount 1106 provides a support structure in certain 60 employed in order to compensate for the higher opacity of
embodiments for aligning the top-emitting LEDs 1102 and            tissue and water in measurement site 102 to these wave-
the side-emitting LEDs 1104 so that their optical radiation is     lengths. For example, as shown, pulses at about 1630 nm,
transmitted generally towards the measurement site. In some        about 1660 nm, and about 1615 nm may be output with
embodiments, the submount 1106 is also constructed of              progressively higher power, such as at about 40 mW, about
aluminum nitride (AlN) or beryllium oxide (BEO) for heat 65 50 mW, and about 60 mW, respectively. In this embodiment,
dissipation, although other materials or combinations of           the order of wavelengths may be based on the optical
materials suitable for the submount 1106 can be used.              characteristics of that wavelength in tissue as well as the
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current needed to drive side emitting LEDs 1104. For                quadrants from a measurement site. One detector submount
example, in this embodiment, the optical pulse at about 1615        1200 can be placed under each window of the sensors
nm is driven at the highest power due to its sensitivity in         described above, or multiple windows can be placed over a
detecting analytes like glucose and the ability oflight at this     single detector submount 1200. The detector submount 1200
wavelength to penetrate tissue. Of course, different wave- 5 can also be used with the partially cylindrical protrusion 605
lengths and sequences of wavelengths may be output from             described above with respect to FIG. 6.
emitter 104.                                                           The detectors include photodiode detectors 1-4 that are
   As noted, this progression may be useful in some embodi-         arranged in a grid pattern on the submount 1200 to capture
ments because it allows the circuitry of driver circuit 1105        light at different quadrants from the measurement site. As
to stabilize its power delivery to LEDs 1102 and 1104. 10
                                                                    noted, other patterns of photodiodes, such as a linear row, or
Driver circuit 1105 may be allowed to stabilize based on the
                                                                    logarithmic row, can also be employed in certain embodi-
duty cycle of the pulses or, for example, by configuring a
                                                                    ments.
variable waiting period to allow for stabilization of driver
circuit 1105. Of course, other variations in power/current             As shown, the detectors 1-4 may have a predetermined
and wavelength may also be employed in the present dis- 15 spacing from each other, or spatial relationship among one
closure.                                                            another that result in a spatial configuration. This spatial
   Modulation in the duty cycle of the individual pulses may        configuration can be configured to purposefully create a
also be useful because duty cycle can affect the signal noise       variation of path lengths among detectors 106 and the point
ratio of the system 100. That is, as the duty cycle is increased    light source discussed above.
so may the signal to noise ratio.                                20    Detectors may hold multiple (e.g., two, three, four, etc.)
   Furthermore, as noted above, driver circuit 1105 may             photodiode arrays that are arranged in a two-dimensional
monitor temperatures of the LEDs 1102 and 1104 using the            grid pattern. Multiple photodiode arrays may also be useful
thermistor 1120 and adjust the output of LEDs 1102 and              to detect light piping (i.e., light that bypasses measurement
1104 accordingly. Such a temperature may be to help sensor          site 102). As shown, walls may separate the individual
101 correct for wavelength drift due to changes in water 25 photodiode arrays to prevent mixing of light signals from
absorption, which can be temperature dependent.                     distinct quadrants. In addition, as noted, the detectors may
   FIG. llC illustrates another exemplary emitter that may          be covered by windows of transparent material, such as
be employed in the sensor according to an embodiment of             glass, plastic, etc., to allow maximum transmission of power
the disclosure. As shown, the emitter 104 can include               light captured. As noted, this window may comprise some
components mounted on a substrate 1108 and on submount 30 shielding in the form of an embedded grid of wiring, or a
1106. In particular, top-emitting LEDs 1102 for emitting red        conductive layer or coating.
and/or infrared light may be mounted on substrate 1108.                FIGS. 12B through 12D illustrate a simplified view of
Side emitting LEDS 1104 may be mounted on submount                  exemplary arrangements and spatial configurations of pho-
1106. As noted, side-emitting LEDs 1104 may be included             todiodes for detectors 106. As shown, detectors 106 may
in emitter 104 for emitting near infrared light.                 35 comprise photodiode detectors 1-4 that are arranged in a grid
   As also shown, the sensor of FIG. llC may include a              pattern on detector submount 1200 to capture light at
thermistor 1120. As noted, the thermistor 1120 can be               different quadrants from measurement site 102.
provided to compensate for temperature variations. The                 As noted, other patterns of photodiodes may also be
thermistor 1120 can be provided to allow for wavelength             employed in embodiments of the present disclosure, includ-
centroid and power drift of LEDs 1102 and 1104 due to 40 ing, for example, stacked or other configurations recogniz-
heating. In addition, other thermistors (not shown) can be          able to an artisan from the disclosure herein. For example,
employed, for example, to measure a temperature of a                detectors 106 may be arranged in a linear array, a logarith-
measurement site. Such a temperature can be helpful in              mic array, a two-dimensional array, and the like. Further-
correcting for wavelength drift due to changes in water             more, an artisan will recognize from the disclosure herein
absorption, which can be temperature dependent, thereby 45 that any number of detectors 106 may be employed by
providing more accurate data useful in detecting blood              embodiments of the present disclosure.
analytes like glucose.                                                 For example, as shown in FIG. 12B, detectors 106 may
   In some embodiments, the emitter 104 may be imple-               comprise photodiode detectors 1-4 that are arranged in a
mented without the use of side emitting LEDs. For example,          substantially linear configuration on submount 1200. In this
certain blood constituents, such as total hemoglobin, can be 50 embodiment shown, photodiode detectors 1-4 are substan-
measured by embodiments of the disclosure without the use           tially equally spaced apart (e.g., where the distance D is
of side emitting LEDs. FIG. llD illustrates another exem-           substantially the same between detectors 1-4).
plary emitter that may be employed in the sensor according             In FIG. 12C, photodiode detectors 1-4 may be arranged in
to an embodiment of the disclosure. In particular, an emitter       a substantially linear configuration on submount 1200, but
104 that is configured for a blood constituent, such as total 55 may employ a substantially progressive, substantially loga-
hemoglobin, is shown. The emitter 104 can include compo-            rithmic, or substantially semi-logarithmic spacing (e.g.,
nents mounted on a substrate 1108. In particular, top-              where distances Dl>D2>D3). This arrangement or pattern
emitting LEDs 1102 for emitting red and/or infrared light           may be useful for use on a patient's finger and where the
may be mounted on substrate 1108.                                   thickness of the finger gradually increases.
   As also shown, the emitter of FIG. llD may include a 60             In FIG. 12D, a different substantially grid pattern on
thermistor 1120. The thermistor 1120 can be provided to             submount 1200 of photodiode detectors 1-4 is shown. As
compensate for temperature variations. The thermistor 1120          noted, other patterns of detectors may also be employed in
can be provided to allow for wavelength centroid and power          embodiments of the present invention.
drift of LEDs 1102 due to heating.                                     FIGS. 12E through 12H illustrate several embodiments of
   FIG. 12A illustrates a detector submount 1200 having 65 photodiodes that may be used in detectors 106. As shown in
photodiode detectors that are arranged in a grid pattern on         these figures, a photodiode 1202 of detector 106 may
the detector submount 1200 to capture light at different            comprise a plurality of active areas 1204. These active areas
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204 may be coupled together via a common cathode 1206 or               In spectroscopy, instruments attempt to obtain the analyte
anode 1208 in order to provide a larger effective detection         concentration (c) by relating absorbance (A) to transmit-
area.                                                               tance (T). Transmittance is a proportional value defined as:
   In particular, as shown in FIG. 12E, photodiode 1202 may
                                                             5         T~Zll where:
                                                                                  ,
 comprise two (2) active areas 1204a and 1204b. In FIG. 12F,                  0




 photodiode 1202 may comprise four (4) active areas 1204c-        1 is the light intensity measured by the instrument from the
f In FIG. 12G, photodiode 1202 may comprise three (3)           measurement site; and
 active areas 1204g-i. In FIG. 12H, photodiode 1202 may           1 is the initial light intensity from the emitter.
                                                                       0

 comprise nine (9) active areas 1204}-r. The use of smaller 10    Absorbance (A) can be equated to the transmittance (T)
 active areas may be useful because smaller active areas can    by the equation:
 be easier to fabricate and can be fabricated with higher
 purity. However, one skilled in the art will recognize that           A~-!og T
various sizes of active areas may be employed in the              Therefore, substituting equations from above:
 photodiode 1202.                                            15

   FIG. 13 illustrates an example multi-stream process 1300.               A~-!og(llloJ
The multi-stream process 1300 can be implemented by the
data collection system 100 and/or by any of the sensors                In view of this relationship, spectroscopy thus relies on a
described above. As shown, a control signal from a signal           proportional-based   calculation of -log(l/1 and solving for
                                                                                                                0
                                                                                                                    )



processor 1310 controls a driver 1305. In response, an 20 analyte concentration (c ).
emitter 1304 generates a pulse sequence 1303 from its                  Typically, in order to simplify the calculations, spectros-
emitter (e.g., its LEDs) into a measurement site or sites           copy will use detectors that are at the same location in order
1302. As described above, in some embodiments, the pulse            to keep the path length (b) a fixed, known constant. In
sequence 1303 is controlled to have a variation of about 10         addition, spectroscopy will employ various mechanisms to
parts per million or less. Of course, depending on the analyte 25 definitively know the transmission power (1           0
                                                                                                                         such as a
                                                                                                                            ),


desired, the tolerated variation in the pulse sequence 1303         photodiode located at the light source. This architecture can
can be greater (or smaller).                                        be viewed as a single channel or single stream sensor,
                                                                    because the detectors are at a single location.
   In response to the pulse sequence 1300, detectors 1 to n
                                                                       However, this scheme can encounter several difficulties in
(n being an integer) in a detector 1306 capture optical
                                                                 30 measuring analytes, such as glucose. This can be due to the
radiation from the measurement site 1302 and provide
                                                                    high overlap of absorption of light by water at the wave-
respective streams of output signals. Each signal from one of
                                                                    lengths relevant to glucose as well as other factors, such as
detectors 1-n can be considered a stream having respective
                                                                    high self-noise of the components.
time slots corresponding to the optical pulses from emitter
                                                                       Embodiments of the present disclosure can employ a
sets 1-n in the emitter 1304. Although n emitters and n
                                                                 35 different approach that in part allows for the measurement of
detectors are shown, the number of emitters and detectors
                                                                    analytes like glucose. Some embodiments can employ a
need not be the same in certain implementations.
                                                                    bulk, non-pulsatile measurement in order to confirm or
   A front end interface 1308 can accept these multiple             validate a pulsatile measurement. In addition, both the
streams from detectors 1-n and deliver one or more signals          non-pulsatile and pulsatile measurements can employ,
or composite signal(s) back to the signal processor 1310. A 40 among other things, the multi-stream operation described
stream from the detectors 1-n can thus include measured             above in order to attain sufficient SNR. In particular, a single
light intensities corresponding to the light pulses emitted         light source having multiple emitters can be used to transmit
from the emitter 1304.                                              light to multiple detectors having a spatial configuration.
   The signal processor 1310 can then perform various                  A single light source having multiple emitters can allow
calculations to measure the amount of glucose and other 45 for a range of wavelengths oflight to be used. For example,
analytes based on these multiple streams of signals. In order       visible, infrared, and near infrared wavelengths can be
to help explain how the signal processor 1310 can measure           employed. Varying powers of light intensity for different
analytes like glucose, a primer on the spectroscopy                 wavelengths can also be employed.
employed in these embodiments will now be provided.                    Secondly, the use of multiple-detectors in a spatial con-
   Spectroscopy is premised upon the Beer-Lambert law. 50 figuration allow for a bulk measurement to confirm or
According to this law, the properties of a material, e.g.,          validate that the sensor is positioned correctly. This is
glucose present in a measurement site, can be deterministi-         because the multiple locations of the spatial configuration
cally calculated from the absorption of light traveling             can provide, for example, topology information that indi-
through the material. Specifically, there is a logarithmic          cates where the sensor has been positioned. Currently avail-
                                                                 55 able sensors do not provide such information. For example,
relation between the transmission oflight through a material
and the concentration of a substance and also between the           if the bulk measurement is within a predetermined range of
transmission and the length of the path traveled by the light.      values,  then this can indicate that the sensor is positioned
As noted, this relation is known as the Beer-Lambert law.           correctly in order to perform pulsatile measurements for
                                                                    analytes like glucose. If the bulk measurement is outside of
   The Beer-Lambert law is usually written as:                   60 a certain range or is an unexpected value, then this can
                                                                    indicate that the sensor should be adjusted, or that the
       Absorbance A =m *b *c, where:
                                                                    pulsatile measurements can be processed differently to com-
   m is the wavelength-dependent molar absorptivity coef-           pensate, such as using a different calibration curve or
ficient (usually expressed in units of M- 1 cm- 1 );                adjusting a calibration curve. This feature and others allow
                                                                 65 the embodiments to achieve noise cancellation and noise
   b is the mean path length; and                                   reduction, which can be several times greater in magnitude
   c is the analyte concentration (e.g., the desired parameter).    that what is achievable by currently available technology.
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  In order to help illustrate aspects of the multi-stream              Applying the partially cylindrical protrusion 605 to such
measurement approach, the following example derivation is           a sensor, however, could reduce the number of detectors or
provided. Transmittance (T) can be expressed as:                    rows of detectors used while still receiving the substantially
       T=e-m'"b*c
                                                                    same amount of light, due to the focusing properties of the
                                                                  5 protrusion 605 (see FIG. 14B). This is the example situation
    In terms of light intensity, this equation can also be          illustrated in FIG. 14-two rows 1408a of detectors 1410a
rewritten as:                                                       are used instead of four. Advantageously, in certain embodi-
                                                                    ments, the resulting sensor can be more cost effective, have
                                                                    less complexity, and have an improved SNR, due to fewer
    Or, at a detector, the measured light (I) can be expressed 10 and/or smaller photodiodes.
as:                                                                    In other embodiments, using the partially cylindrical
                                                                    protrusion 605 can allow the number of detector rows to be
                                                                    reduced to one or three rows of four detectors. The number
   As noted, in the present disclosure, multiple detectors (1       of detectors in each row can also be reduced. Alternatively,
to n) can be employed, which results in 11 . . . In streams of 15 the number of rows might not be reduced but the size of the
measurements. Assuming each of these detectors have their           detectors can be reduced. Many other configurations of
own path lengths, b 1 . . . bm from the light source, the           detector rows and sizes can also be provided.
measured light intensities can be expressed as:                        FIG. 14B depicts a front elevation view of the partially
                                                                    cylindrical protrusion 605 (or alternatively, the protrusion
                                                                 20 605b) that illustrates how light from emitters (not shown)
    The measured light intensities at any two different detec-      can be focused by the protrusion 605 onto detectors. The
tors can be referenced to each other. For example:                  protrusion 605 is placed above a detector submount 1400b
                                                                    having one or more detectors 1410b disposed thereon. The
                                                                    submount 1400b can include any number of rows of detec-
   As can be seen, the terms, ! cancel out and, based on 25 tors 1410, although one row is shown.
                                  0
                                      ,


exponent algebra, the equation can be rewritten as:                    Light, represented by rays 1420, is emitted from the
       l 1/ln =e-m(bJ-bn)c
                                                                    emitters onto the protrusion 605. These light rays 1420 can
                                                                    be attenuated by body tissue (not shown). When the light
    From this equation, the analyte concentration (c) can now       rays 1420 enter the protrusion 605, the protrusion 605 acts
be derived from bulk signals 11 . . . In and knowing the 30 as a lens to refract the rays into rays 1422. This refraction is
respective mean path lengths b 1 and bn. This scheme also           caused in certain embodiments by the partially cylindrical
allows for the cancelling out of ! and thus, noise generated
                                      0
                                          ,                         shape of the protrusion 605. The refraction causes the rays
by the emitter 1304 can be cancelled out or reduced. In             1422 to be focused or substantially focused on the one or
addition, since the scheme employs a mean path length               more detectors 1410b. Since the light is focused on a smaller
difference, any changes in mean path length and topological 35 area, a sensor including the protrusion 605 can include fewer
variations from patient to patient are easily accounted.            detectors to capture the same amount oflight compared with
Furthermore, this bulk-measurement scheme can be                    other sensors.
extended across multiple wavelengths. This flexibility and             FIG. 14C illustrates another embodiment of a detector
other features allow embodiments of the present disclosure          submount 1400c, which can be disposed under the protru-
to measure blood analytes like glucose.                          40 sion 605b (or alternatively, the protrusion 605). The detector
    For example, as noted, the non-pulsatile, bulk measure-         submount 1400c includes a single row 1408c of detectors
ments can be combined with pulsatile measurements to more           1410c. The detectors are electrically connected to conduc-
accurately measure analytes like glucose. In particular, the        tors 1412c, which can be gold, silver, copper, or any other
non-pulsatile, bulk measurement can be used to confirm or           suitable conductive material.
validate the amount of glucose, protein, etc. in the pulsatile 45      The detector submount 1400c is shown positioned under
measurements taken at the tissue at the measurement site(s)         the protrusion 605b in a detector subassembly 1450 illus-
1302. The pulsatile measurements can be used to measure             trated in FIG. 14D. A top-down view of the detector sub-
the amount of glucose, hemoglobin, or the like that is present      assembly 1450 is also shown in FIG. 14E. In the detector
in the blood. Accordingly, these different measurements can         subassembly 1450, a cylindrical housing 1430 is disposed
be combined to thus determine analytes like blood glucose. 50 on the submount 1400c. The cylindrical housing 1430
    FIG. 14A illustrates an embodiment of a detector sub-           includes a transparent cover 1432, upon which the protru-
mount 1400a positioned beneath the partially cylindrical            sion 605b is disposed. Thus, as shown in FIG. 14D, a gap
protrusion 605 of FIG. 6 (or alternatively, the protrusion          1434 exists between the detectors 1410c and the protrusion
605b). The detector submount 1400a includes two rows                605b. The height of this gap 1434 can be chosen to increase
1408a of detectors 1410a. The partially cylindrical protru- 55 or maximize the amount of light that impinges on the
sion 605 can facilitate reducing the number and/or size of          detectors 1410c.
detectors used in a sensor because the protrusion 605 can act          The cylindrical housing 1430 can be made of metal,
as a lens that focuses light onto a smaller area.                   plastic, or another suitable material. The transparent cover
    To illustrate, in some sensors that do not include the          1432 can be fabricated from glass or plastic, among other
partially cylindrical protrusion 605, sixteen detectors can be 60 materials. The cylindrical housing 1430 can be attached to
used, including four rows of four detectors each. Multiple          the submount 1400c at the same time or substantially the
rows of detectors can be used to measure certain analytes,          same time as the detectors 1410c to reduce manufacturing
such as glucose or total hemoglobin, among others. Multiple         costs. A shape other than a cylinder can be selected for the
rows of detectors can also be used to detect light piping (e.g.,    housing 1430 in various embodiments.
light that bypasses the measurement site). However, using 65           In certain embodiments, the cylindrical housing 1430
more detectors in a sensor can add cost, complexity, and            (and transparent cover 1432) forms an airtight or substan-
noise to the sensor.                                                tially airtight or hermetic seal with the submount 1400c. As
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a result, the cylindrical housing 1430 can protect the detec-     used. If both the cylindrical housing 1403 and the noise
tors 1410c and conductors 1412c from fluids and vapors that       shield 1403 are used, either or both can have noise shielding
can cause corrosion. Advantageously, in certain embodi-           features.
ments, the cylindrical housing 1430 can protect the detectors        FIG. 14G illustrates the detector shell 306/ of FIG. 14F,
1410c and conductors 1412c more effectively than cur- 5 with the finger bed 310/ disposed thereon. FIG. 14H illus-
rently-available resin epoxies, which are sometimes applied       trates the detector shell 306/ of FIG. 14G, with the protru-
to solder joints between conductors and detectors.                sion 605b disposed in the finger bed 310/
   In embodiments where the cylindrical housing 1430 is at           FIG. 141 illustrates a cutaway view of the sensor 301/ Not
least partially made of metal, the cylindrical housing 1430       all features of the sensor 301/ are shown, such as the
                                                               10 protrusion 605b. Features shown include the emitter and
can provide noise shielding for the detectors 1410c. For
                                                                  detector shells 304{, 306/, the flaps 307/, the heat sink 350/
example, the cylindrical housing 1430 can be soldered to a
                                                                  and fins 351/, the finger bed 310/, and the noise shield 1403.
ground connection or ground plane on the submount 1400c,
                                                                     In addition to these features, emitters 1404 are depicted in
which allows the cylindrical housing 1430 to reduce noise.        the emitter shell 304{, The emitters 1404 are disposed on a
In another embodiment, the transparent cover 1432 can 15 submount 1401, which is connected to a circuit board 1419.
include a conductive material or conductive layer, such as        The emitters 1404 are also enclosed within a cylindrical
conductive glass or plastic. The transparent cover 1432 can       housing 1480. The cylindrical housing 1480 can include all
include any of the features of the noise shields 790 described    of the features of the cylindrical housing 1430 described
above.                                                            above. For example, the cylindrical housing 1480 can be
   The protrusion 605b includes the chamfered edges 607 20 made of metal, can be connected to a ground plane of the
described above with respect to FIG. 6E. These chamfered          submount 1401 to provide noise shielding, and can include
edges 607 can allow a patient to more comfortably slide a         a transparent cover 1482.
finger over the protrusion 605b when inserting the finger            The cylindrical housing 1480 can also protect the emitters
into the sensor 301/                                              1404 from fluids and vapors that can cause corrosion.
   FIG. 14F illustrates a portion of the detector shell 306/, 25 Moreover, the cylindrical housing 1480 can provide a gap
which includes the detectors 1410c on the substrate 1400c.        between the emitters 1404 and the measurement site (not
The substrate 1400c is enclosed by a shielding enclosure          shown), which can allow light from the emitters 1404 to
1490, which can include the features of the shielding enclo-      even out or average out before reaching the measurement
sures 790a, 790b described above (see also FIG. 17). The          site.
shielding enclosure 1490 can be made of metal. The shield- 30        The heat sink 350/, in addition to including the fins 351/,
ing enclosure 1490 includes a window 1492a above the              includes a protuberance 352/that extends down from the fins
detectors 1410c, which allows light to be transmitted onto        351/ and contacts the submount 1401. The protuberance
the detectors 1410c.                                              352/ can be connected to the submount 1401, for example,
   A noise shield 1403 is disposed above the shielding            with thermal paste or the like. The protuberance 352/ can
enclosure 1490. The noise shield 1403, in the depicted 35 sink heat from the emitters 1404 and dissipate the heat via
embodiment, includes a window 1492a corresponding to the          the fins 351/
window 1492a. Each of the windows 1492a, 1492b can                   FIGS. 15A and 15B illustrate embodiments of sensor
include glass, plastic, or can be an opening without glass or     portions 1500A, 15008 that include alternative heat sink
plastic. In some embodiments, the windows 1492a, 1492b            features to those described above. These features can be
may be selected to have different sizes or shapes from each 40 incorporated into any of the sensors described above. For
other.                                                            example, any of the sensors above can be modified to use the
   The noise shield 1403 can include any of the features of       heat sink features described below instead of or in addition
the conductive glass described above. In the depicted             to the heat sink features of the sensors described above.
embodiment, the noise shield 1403 extends about three-               The sensor portions 1500A, 1500B shown include LED
quarters of the length of the detector shell 306/ In other 45 emitters 1504; however, for ease of illustration, the detectors
embodiments, the noise shield 1403 could be smaller or            have been omitted. The sensor portions 1500A, 1500B
larger. The noise shield 1403 could, for instance, merely         shown can be included, for example, in any of the emitter
cover the detectors 1410c, the submount 1400c, or a portion       shells described above.
thereof. The noise shield 1403 also includes a stop 1413 for         The LEDs 1504 of the sensor portions 1500A, 1500B are
positioning a measurement site within the sensor 301/ 50 connected to a substrate or submount 1502. The submount
Advantageously, in certain embodiments, the noise shield          1502 can be used in place of any of the submounts described
1403 can reduce noise caused by light piping.                     above. The submount 1502 can be a non-electrically con-
   A thermistor 1470 is also shown. The thermistor 1470 is        ducting material made of any of a variety of materials, such
attached to the submount 1400c and protrudes above the            as ceramic, glass, or the like. A cable 1512 is attached to the
noise shield 1403. As described above, the thermistor 1470 55 submount 1502 and includes electrical wiring 1514, such as
can be employed to measure a temperature of a measure-            twisted wires and the like, for communicating with the LEDs
ment site. Such a temperature can be helpful in correcting        1504. The cable 1512 can correspond to the cables 212
for wavelength drift due to changes in water absorption,          described above.
which can be temperature dependent, thereby providing                Although not shown, the cable 1512 can also include
more accurate data useful in detecting blood analytes like 60 electrical connections to a detector. Only a portion of the
glucose.                                                          cable 1512 is shown for clarity. The depicted embodiment of
   In the depicted embodiment, the detectors 1410c are not        the cable 1512 includes an outer jacket 1510 and a conduc-
enclosed in the cylindrical housing 1430. In an alternative       tive shield 1506 disposed within the outer jacket 1510. The
embodiment, the cylindrical housing 1430 encloses the             conductive shield 1506 can be a ground shield or the like
detectors 1410c and is disposed under the noise shield 1403. 65 that is made of a metal such as braided copper or aluminum.
In another embodiment, the cylindrical housing 1430               The conductive shield 1506 or a portion of the conductive
encloses the detectors 1410c and the noise shield 1403 is not     shield 1506 can be electrically connected to the submount
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1502 and can reduce noise in the signal generated by the           Also shown is a hole 1573 that can receive the cylindrical
sensor 1500A, 1500B by reducing RF coupling with the               housing 1580 described above.
wires 1514. In alternative embodiments, the cable 1512 does           Advantageously, in certain embodiments, using a daugh-
not have a conductive shield. For example, the cable 1512          ter board 1587 to connect to the circuit board 1519 can
could be a twisted pair cable or the like, with one wire of the 5 enable connections to be made more easily to the circuit
twisted pair used as a heat sink.                                  board 1519. In addition, using separate boards can be easier
   Referring specifically to FIG. 15A, in certain embodi-          to manufacture than a single circuit board 1519 with all
ments, the conductive shield 1506 can act as a heat sink for       connections soldered to the circuit board 1519.
the LEDs 1504 by absorbing thermal energy from the LEDs               FIG. 151 illustrates an exemplary architecture for front-
1504 and/or the submount 1502. An optional heat insulator 10 end interface 108 as a transimpedance-based front-end. As
1520 in communication with the submount 1502 can also              noted, front-end interfaces 108 provide an interface that
assist with directing heat toward the conductive shield 1506.      adapts the output of detectors 106 into a form that can be
The heat insulator 1520 can be made of plastic or another          handled by signal processor 110. As shown in this figure,
suitable material. Advantageously, using the conductive            sensor 101 and front-end interfaces 108 may be integrated
shield 1506 in the cable 1512 as a heat sink can, in certain 15 together as a single component, such as an integrated circuit.
embodiments, reduce cost for the sensor.                           Of course, one skilled in the art will recognize that sensor
   Referring to FIG. 15B, the conductive shield 1506 can be        101 and front end interfaces 108 may comprise multiple
attached to both the submount 1502 and to a heat sink layer        components or circuits that are coupled together.
1530 sandwiched between the submount 1502 and the                     Front-end interfaces 108 may be implemented using tran-
optional insulator 1520. Together, the heat sink layer 1530 20 simpedance amplifiers that are coupled to analog to digital
and the conductive shield 1506 in the cable 1512 can absorb        converters in a sigma delta converter. In some embodiments,
at least part of the thermal energy from the LEDs and/or the       a programmable gain amplifier (PGA) can be used in
submount 1502.                                                     combination with the transimpedance-based front-ends. For
   FIGS. 15C and 15D illustrate implementations of a sensor        example, the output of a transimpedance-based front-end
portion 1500C that includes the heat sink features of the 25 may be output to a sigma-delta ADC that comprises a PGA.
sensor portion 1500A described above with respect to FIG.          A PGA may be useful in order to provide another level of
15A. The sensor portion 1500C includes the features of the         amplification and control of the stream of signals from
sensor portion 1500A, except that the optional insulator           detectors 106. The PGA may be an integrated circuit or built
1520 is not shown. FIG. 15D is a side cutaway view of the          from a set of micro-relays. Alternatively, the PGA and ADC
sensor portion 1500C that shows the emitters 1504.              30 components in converter 900 may be integrated with the
   The cable 1512 includes the outer jacket 1510 and the           transimpedance-based front-end in sensor 101.
conductive shield 1506. The conductive shield 1506 is                 Due to the low-noise requirements for measuring blood
soldered to the submount 1502, and the solder joint 1561 is        analytes like glucose and the challenge of using multiple
shown. In some embodiments, a larger solder joint 1561 can         photodiodes in detector 106, the applicants developed a
assist with removing heat more rapidly from the emitters 35 noise model to assist in configuring front-end 108. Conven-
1504. Various connections 1563 between the submount 1502           tionally, those skilled in the art have focused on optimizing
and a circuit board 1519 are shown. In addition, a cylindrical     the impedance of the transimpedance amplifiers to minimize
housing 1580, corresponding to the cylindrical housing 1480        nmse.
of FIG. 141, is shown protruding through the circuit board            However, the following noise model was discovered by
1519. The emitters 1504 are enclosed in the cylindrical 40 the applicants:
housing 1580.
                                                                          Noise~VaR+bR 2 , where:
   FIGS. 15E and 15F illustrate implementations of a sensor
portion 1500E that includes the heat sink features of the             aR is characteristic of the impedance of the transimped-
sensor portion 1500B described above with respect to FIG.          ance amplifier; and
15B. The sensor portion 1500E includes the heat sink layer 45         bR2 is characteristic of the impedance of the photodiodes
1530. The heat sink layer 1530 can be a metal plate, such as       in detector and the number of photodiodes in detector 106.
a copper plate or the like. The optional insulator 1520 is not        The foregoing noise model was found to be helpful at
shown. FIG.15F is a side cutaway view of the sensor portion        least in part due to the high SNR required to measure
1500E that shows the emitters 1504.                                analytes like glucose. However, the foregoing noise model
   In the depicted embodiment, the conductive shield 1506 50 was not previously recognized by artisans at least in part
of the cable 1512 is soldered to the heat sink layer 1530          because, in conventional devices, the major contributor to
instead of the submount 1502. The solder joint 1565 is             noise was generally believed to originate from the emitter or
shown. In some embodiments, a larger solder joint 1565 can         the LEDs. Therefore, artisans have generally continued to
assist with removing heat more rapidly from the emitters           focus on reducing noise at the emitter.
1504. Various connections 1563 between the submount 1502 55           However, for analytes like glucose, the discovered noise
and a circuit board 1519 are shown. In addition, the cylin-        model revealed that one of the major contributors to noise
drical housing 1580 is shown protruding through the circuit        was generated by the photodiodes. In addition, the amount
board 1519. The emitters 1504 are enclosed in the cylindri-        of noise varied based on the number of photodiodes coupled
cal housing 1580.                                                  to a transimpedance amplifier. Accordingly, combinations of
   FIGS. 15G and 15H illustrate embodiments of connector 60 various photodiodes from different manufacturers, different
features that can be used with any of the sensors described        impedance values with the transimpedance amplifiers, and
above with respect to FIGS. 1 through 15F. Referring to FIG.       different numbers of photodiodes were tested as possible
15G, the circuit board 1519 includes a female connector            embodiments.
1575 that mates with a male connector 1577 connected to a             In some embodiments, different combinations oftransim-
daughter board 1587. The daughter board 1587 includes 65 pedance to photodiodes may be used. For example, detectors
connections to the electrical wiring 1514 of the cable 1512.       1-4 (as shown, e.g., in FIG. 12A) may each comprise four
The connected boards 1519, 1587 are shown in FIG. 15H.             photodiodes. In some embodiments, each detector of four
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photodiodes may be coupled to one or more transimpedance          shown for sensor 1522, the output of each set of four
amplifiers. The configuration of these amplifiers may be set      photodiodes 1524 is then aggregated into a single transim-
according to the model shown in FIG. 151.                         pedance amplifier 1526 to produce a signal.
   Alternatively, each of the photodiodes may be coupled to          As another example, a sensor 1528 may comprise a "1 PD
its own respective transimpedance amplifier. For example, 5 per stream" architecture on submount 700 in which each
transimpedance amplifiers may be implemented as inte-             detector 106 comprises four (4) photodiodes 1530. In sensor
grated circuits on the same circuit board as detectors 1-4. In    1528, each individual photodiode 1530 is coupled to a
this embodiment, the transimpedance amplifiers may be             respective transimpedance amplifier 1532. The output of the
grouped into an averaging (or summing) circuit, which are         amplifiers 1532 may then be aggregated into averaging
known to those skilled in the art, in order to provide an 10
                                                                  circuit 1520 to produce a signal.
output stream from the detector. The use of a summing
                                                                     As noted previously, one skilled in the art will recognize
amplifier to combine outputs from several transimpedance
                                                                  that the photodiodes and detectors may be arranged in
amplifiers into a single, analog signal may be helpful in
improving the SNR relative to what is obtainable from a           different fashions to optimize the detected light. For
single transimpedance amplifier. The configuration of the 15 example, sensor 1534 illustrates an exemplary "4 PD per
transimpedance amplifiers in this setting may also be set         stream" sensor in which the detectors 106 comprise photo-
according to the model shown in FIG. 151.                         diodes 1536 arranged in a linear fashion. Likewise, sensor
   As yet another alternative, as noted above with respect to     1538 illustrates an exemplary "1 PD per stream" sensor in
FIGS. 12E through 12H, the photodiodes in detectors 106           which the detectors comprise photodiodes 1540 arranged in
may comprise multiple active areas that are grouped 20 a linear fashion.
together. In some embodiments, each of these active areas            Alternatively, sensor 1542 illustrates an exemplary "4 PD
may be provided its own respective transimpedance. This           per stream" sensor in which the detectors 106 comprise
form of pairing may allow a transimpedance amplifier to be        photodiodes 1544 arranged in a two-dimensional pattern,
better matched to the characteristics of its corresponding        such as a zig-zag pattern. Sensor 1546 illustrates an exem-
photodiode or active area of a photodiode.                     25 plary "1 PD per stream" sensor in which the detectors
   As noted, FIG. 151 illustrates an exemplary noise model        comprise photodiodes 1548 also arranged in a zig-zag
that may be useful in configuring transimpedance amplifiers.      pattern.
As shown, for a given number of photodiodes and a desired            FIG. 15L illustrates an exemplary architecture for a
SNR, an optimal impedance value for a transimpedance              switched-capacitor-based front-end. As shown, front-end
amplifier could be determined.                                 30 interfaces 108 may be implemented using switched capaci-
   For example, an exemplary "4 PD per stream" sensor             tor circuits and any number of front-end interfaces 108 may
1502 is shown where detector 106 comprises four photo-            be implemented. The output of these switched capacitor
diodes 1502. The photodiodes 1502 are coupled to a single         circuits may then be provided to a digital interface 1000 and
transimpedance amplifier 1504 to produce an output stream         signal processor 110. Switched capacitor circuits may be
1506. In this example, the transimpedance amplifier com- 35 useful in system 100 for their resistor free design and analog
prises 10 MQ resistors 1508 and 1510. Thus, output stream         averaging properties. In particular, the switched capacitor
1506 is produced from the four photodiodes (PD) 1502. As          circuitry provides for analog averaging of the signal that
shown in the graph of FIG. 151, the model indicates that          allows for a lower smaller sampling rate (e.g., 2 KHz
resistance values of about 10 MQ may provide an acceptable        sampling for analog versus 48 KHz sampling for digital
SNR for analytes like glucose.                                 40 designs) than similar digital designs. In some embodiments,
   However, as a comparison, an exemplary "1 PD per               the switched capacitor architecture in front end interfaces
stream" sensor 1512 is also shown in FIG. 151. In particular,     108 may provide a similar or equivalent SNR to other front
sensor 1512 may comprise a plurality of detectors 106 that        end designs, such as a sigma delta architecture. In addition,
each comprises a single photodiode 1514. In addition, as          a switched capacitor design in front end interfaces 108 may
shown for this example configuration, each of photodiodes 45 require less computational power by signal processor 110 to
1514 may be coupled to respective transimpedance ampli-           perform the same amount of decimation to obtain the same
fiers 1516, e.g., 1 PD per stream. Transimpedance amplifiers      SNR.
are shown having 40 MQ resistors 1518. As also shown in              FIGS. 16A and 16B illustrate embodiments of disposable
the graph of FIG. 151, the model illustrates that resistance      optical sensors 1600. In an embodiment, any of the features
values of 40 MQ for resistors 1518 may serve as an 50 described above, such as protrusion, shielding, and/or heat
alternative to the 4 photodiode per stream architecture of        sink features, can be incorporated into the disposable sen-
sensor 1502 described above and yet still provide an equiva-      sors 1600 shown. For instance, the sensors 1600 can be used
lent SNR.                                                         as the sensors 101 in the system 100 described above with
   Moreover, the discovered noise model also indicates that       respect to FIG. 1. Moreover, any of the features described
utilizing a 1 photodiode per stream architecture like that in 55 above, such as protrusion, shielding, and/or heat sink fea-
sensor 1512 may provide enhanced performance because              tures, can be implemented in other disposable sensor designs
each of transimpedance amplifiers 1516 can be tuned or            that are not depicted herein.
optimized to its respective photodiodes 1518. In some                The sensors 1600 include an adult/pediatric sensor 1610
embodiments, an averaging component 1520 may also be              for finger placement and a disposable infant/neonate sensor
used to help cancel or reduce noise across photodiodes 1518. 60 1602 configured for toe, foot or hand placement. Each
   For purposes of illustration, FIG. 15K shows different         sensor 1600 has a tape end 1610 and an opposite connector
architectures (e.g., four PD per stream and one PD per            end 1620 electrically and mechanically interconnected via a
stream) for various embodiments of a sensor and how               flexible coupling 1630. The tape end 1610 attaches an
components of the sensor may be laid out on a circuit board       emitter and detector to a tissue site. Although not shown, the
or substrate. For example, sensor 1522 may comprise a "4 65 tape end 1610 can also include any of the protrusion,
PD per stream" architecture on a submount 700 in which            shielding, and/or heat sink features described above. The
each detector 106 comprises four (4) photodiodes 1524. As         emitter illuminates the tissue site and the detector generates
                                                              100
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                                                   US 10,702,194 Bl
                             43                                                                 44
a sensor signal responsive to the light after tissue absorption,       FIG. 19 shows the results obtained by an exemplary
such as absorption by pulsatile arterial blood flow within the      sensor 101 of the present disclosure that was configured for
tissue site.                                                        measuring glucose. This sensor 101 was tested using a turbid
   The sensor signal is communicated via the flexible cou-          ex-vivo sample. In particular, 25 samples of water/glucose/
pling 1630 to the connector end 1620. The connector end 5 Liposyn were prepared that ranged from 0-55 mg/dL. Five
1620 can mate with a cable (not shown) that communicates            samples were used as a training set and 20 samples were
the sensor signal to a monitor (not shown), such as any of the      then used as a test population. As shown, embodiments of
cables or monitors shown above with respect to FIGS. 2A             sensor 101 were able to obtain at least a standard deviation
through 2D. Alternatively, the connector end 1620 can mate          of 37 mg/dL in the training set and 32 mg/dL in the test
                                                                 10
directly with the monitor.                                          population.
   FIG. 17 illustrates an exploded view of certain of the              FIGS. 20 through 22 shows other results that can be
components of the sensor 301/ described above. A heat sink          obtained by an embodiment of system 100. In FIG. 20, 150
1751 and a cable 1781 attach to an emitter shell 1704. The          blood samples from two diabetic adult volunteers were
emitter shell attaches to a flap housing 1707. The flap 15 collected over a 10-day period. Invasive measurements were
housing 1707 includes a receptacle 1709 to receive a cylin-         taken with a YSI glucometer to serve as a reference mea-
drical housing 1480/1580 (not shown) attached to an emitter         surement. Noninvasive measurements were then taken with
submount 1702, which is attached to a circuit board 1719.           an embodiment of system 100 that comprised four LEDs and
   A spring 1787 attaches to a detector shell 1706 via pins         four independent detector streams. As shown, the system
1783, 1785, which hold the emitter and detector shells 1704, 20 100 obtained a correlation of about 85% and Arms of about
1706 together. A support structure 1791 attaches to the             31 mg/dL.
detector shell 1706, which provides support for a shielding            In FIG. 21, 34 blood samples were taken from a diabetic
enclosure 1790. A noise shield 1713 attaches to the shielding       adult volunteer collected over a 2-day period. Invasive
enclosure 1790. A detector submount 1700 is disposed                measurements were also taken with a glucometer for com-
inside the shielding enclosure 1790. A finger bed 1710 25 parison. Noninvasive measurements were then taken with an
provides a surface for placement of the patient's finger.           embodiment of system 100 that comprised four LEDs in
Finger bed 1710 may comprise a gripping surface or grip-            emitter 104 and four independent detector streams from
ping features, which may assist in placing and stabilizing a        detectors 106. As shown, the system 100 was able to attain
patient's finger in the sensor. A partially cylindrical protru-     a correlation of about 90% and Arms of about 22 mg/dL.
sion 1705 may also be disposed in the finger bed 1710. As 30           The results shown in FIG. 22 relate to total hemoglobin
shown, finger bed 1710 attaches to the noise shield 1703.
                                                                    testing with an exemplary sensor 101 of the present disclo-
The noise shield 1703 may be configured to reduce noise,
                                                                    sure. In particular, 47 blood samples were collected from
such as from ambient light and electromagnetic noise. For
                                                                    nine adult volunteers. Invasive measurements were then
example, the noise shield 1703 may be constructed from
materials having an opaque color, such as black or a dark 35 taken with a CO-oximeter for comparison. Noninvasive
blue, to prevent light piping.                                      measurements were taken with an embodiment of system
   Noise shield 1703 may also comprise a thermistor 1712.           100 that comprised four LEDs in emitter 104 and four
The thermistor 1712 may be helpful in measuring the                 independent detector channels from detectors 106. Measure-
temperature of a patient's finger. For example, the thermistor      ments were averaged over 1 minute. As shown, the testing
1712 may be useful in detecting when the patient's finger is 40 resulted in a correlation of about 93% and Arms of about 0.8
reaching an unsafe temperature that is too hot or too cold. In      mg/dL.
addition, the temperature of the patient's finger may be               Conditional language used herein, such as, among others,
useful in indicating to the sensor the presence of low              "can," "could," "might," "may," "e.g.," and the like, unless
perfusion as the temperature drops. In addition, the therm-         specifically stated otherwise, or otherwise understood within
istor 1712 may be useful in detecting a shift in the charac- 45 the context as used, is generally intended to convey that
teristics of the water spectrum in the patient's finger, which      certain embodiments include, while other embodiments do
can be temperature dependent.                                       not include, certain features, elements and/or states. Thus,
   Moreover, a flex circuit cover 1706 attaches to the pins         such conditional language is not generally intended to imply
1783, 1785. Although not shown, a flex circuit can also be          that features, elements and/or states are in any way required
provided that connects the circuit board 1719 with the 50 for one or more embodiments or that one or more embodi-
submount 1700 (or a circuit board to which the submount             ments necessarily include logic for deciding, with or without
1700 is connected). A flex circuit protector 1760 may be
                                                                    author input or prompting, whether these features, elements
provided to provide a barrier or shield to the flex circuit (not
                                                                    and/or states are included or are to be performed in any
shown). In particular, the flex circuit protector 1760 may
                                                                    particular embodiment.
also prevent any electrostatic discharge to or from the flex 55
circuit. The flex circuit protector 1760 may be constructed            While certain embodiments of the inventions disclosed
from well known materials, such as a plastic or rubber              herein  have been described, these embodiments have been
materials.                                                          presented by way of example only, and are not intended to
   FIG. 18 shows the results obtained by an exemplary               limit the scope of the inventions disclosed herein. Indeed,
sensor 101 of the present disclosure that was configured for 60 the novel methods and systems described herein can be
measuring glucose. This sensor 101 was tested using a pure          embodied in a variety of other forms; furthermore, various
water ex-vivo sample. In particular, ten samples were pre-          omissions, substitutions and changes in the form of the
pared that ranged from 0-55 mg/dL. Two samples were used            methods and systems described herein can be made without
as a training set and eight samples were then used as a test        departing from the spirit of the inventions disclosed herein.
population. As shown, embodiments of the sensor 101 were 65 The claims and their equivalents are intended to cover such
able to obtain at least a standard deviation of 13 mg/dL in the     forms or modifications as would fall within the scope and
training set and 11 mg/dL in the test population.                   spirit of certain of the inventions disclosed herein.
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                              45                                                                   46
   What is claimed is:                                                  a first amplifier configured to receive the first signal
   1. A physiological measurement system comprising:                       stream from the first set of photodiodes at an input of
   a physiological sensor device comprising:                               the first amplifier and at least amplify the first signal
      one or more emitters configured to emit light into tissue            stream, and
         of a user;                                                     a second amplifier configured to receive the second signal
      a first set of photodiodes, wherein:                                 stream from the second set of photodiodes at an input
         the first set of photodiodes comprises at least four              of the second amplifier and at least amplify the second
            photodiodes,                                                   signal stream.
         the photodiodes of the first set of photodiodes are            7. The physiological measurement system of claim 6,
                                                                  10
            connected to one another in parallel to provide a        wherein the protruding convex surface is configured to be
            first signal stream, and                                 located between tissue of the user and the photodiodes of the
         each of the photodiodes of the first set of photo-          first and second sets of photodiodes when the physiological
            diodes has a corresponding window that allows            measurement device is worn by the user, and wherein at least
            light to pass through to the photodiode;              15
                                                                     part of the protruding convex surface is light permeable to
      a second set of photodiodes, wherein:                          allow light to reach at least one of the photodiodes of the first
         the second set of photodiodes comprises at least four       or second sets of photodiodes.
            photodiodes,                                                8. The physiological measurement system of claim 7,
         the photodiodes of the second set of photodiodes are        wherein the physiological sensor device further comprises:
            connected to one another in parallel to provide a 20        an at least partially opaque layer blocking one or more
            second signal stream, and                                      optical paths to at least one of the photodiodes of the
         each of the photodiodes of the second set of photo-               first set of photodiodes or the second set of photo-
            diodes has a corresponding window that allows                  diodes, wherein the at least partially opaque layer
            light to pass through to the photodiode;                       comprises the windows that allow light to pass through
      a wall that surrounds at least the first and second sets of 25       to the corresponding photodiodes.
         photodiodes; and                                               9. The physiological measurement system of claim 8,
      a cover comprising a protruding convex surface,                wherein the physiological sensor device further comprises:
         wherein the protruding convex surface is above all of          a substrate having a first surface, wherein the photodiodes
         the photodiodes of the first and second sets of                   of the first set of photodiodes and the photodiodes of
         photodiodes, wherein at least a portion of the pro- 30            the second set of photodiodes are arranged on the first
         truding convex surface is rigid, and wherein the
                                                                           surface.
         cover is above the wall; and
                                                                        10. The physiological measurement system of claim 9,
   a handheld computing device in wireless communication
                                                                     wherein:
      with the physiological sensor device, wherein the hand-
      held computing device comprises:                            35
                                                                        the wall surrounds at least the first set of photodiodes and
      one or more processors configured to wirelessly receive              the second set of photodiodes on the first surface,
         one or more signals from the physiological sensor              the wall operably connects to the substrate on one side of
         device, the one or more signals responsive to at least            the wall, and
         a physiological parameter of the user;                         the wall operably connects to the cover on an opposing
      a touch-screen display configured to provide a user 40               side of the wall.
         interface, wherein:                                            11. The physiological measurement system of claim 10,
         the user interface is configured to display indicia         wherein a surface of the handheld computing device posi-
            responsive to measurements of the physiological          tions the touch-screen display.
            parameter, and                                              12. The physiological measurement system of claim 11,
         an orientation of the user interface is configurable 45 wherein the physiological parameter comprises at least one
            responsive to a user input; and                          of: pulse rate, glucose, oxygen, oxygen saturation, methe-
      a storage device configured to at least temporarily store      moglobin, total hemoglobin, carboxyhemoglobin, or carbon
         at least the measurements of the physiological              monoxide.
         parameter.                                                     13. The physiological measurement system of claim 12,
   2. The physiological measurement system of claim 1, 50 wherein the protruding convex surface protrudes a height
wherein the physiological sensor device further comprises:           between 1 millimeter and 3 millimeters.
   preprocessing electronics configured to preprocess at least          14. The physiological measurement system of claim 12,
      one of the first signal stream or the second signal            wherein at least one of the photodiodes is configured to
      stream.                                                        receive light that has been attenuated by tissue of the user.
   3. The physiological measurement system of claim 2, 55               15. The physiological measurement system of claim 14,
wherein the preprocessing comprises adapting the at least            wherein a portion of the physiological sensor device com-
one of the first signal stream or the second signal stream.          prises one of at least two sizes, the two sizes intended to be
   4. The physiological measurement system of claim 3,               appropriate for larger users and smaller users.
wherein the preprocessing further comprises amplifying the              16. The physiological measurement system of claim 14,
at least one of the first signal stream or the second signal 60 wherein at least the photodiodes of the first set of photo-
stream.                                                              diodes are arranged such that a first photodiode and a second
   5. The physiological measurement system of claim 4,               photodiode of the first set of photodiodes are arranged across
wherein the preprocessing further comprises converting the           from each other on opposite sides of a central point along a
at least one of the first signal stream or the second signal         first axis, and a third photodiode and a fourth photodiode of
stream from analog to digital.                                    65 the first set of photodiodes are arranged across from each
   6. The physiological measurement system of claim 2,               other on opposite sides of the central point along a second
wherein the preprocessing electronics comprise at least:             axis which is different from the first axis.
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                             47                                                                   48
  17. The physiological measurement system of claim 14,             diodes of the first or second sets of photodiodes, and wherein
wherein the protruding convex surface protrudes a height            the physiological sensor device further comprises:
greater than 2 millimeters and less than 3 millimeters.                an at least partially opaque layer blocking one or more
   18. The physiological measurement system of claim 17,                  optical paths to at least one of the photodiodes of the
wherein the attenuated light is reflected by the tissue.                  first set of photodiodes and at least one of the photo-
   19. The physiological measurement system of claim 1,                   diodes of the second set of photodiodes, wherein the at
wherein the handheld computing device comprises a mobile                  least partially opaque layer comprises the windows that
phone.                                                                    allow light to pass through to the corresponding pho-
   20. A physiological measurement system comprising:                     todiodes.
                                                                 10
   a physiological sensor device comprising:                           26. The physiological measurement system of claim 25,
      one or more emitters configured to emit light into tissue     wherein the physiological sensor device further comprises:
         of a user;                                                    a wall that surrounds at least the first and second sets of
      a first set of photodiodes, the first set of photodiodes            photodiodes; and
         comprising at least four photodiodes, the photo- 15           a substrate having a first surface, wherein the photodiodes
         diodes of the first set of photodiodes connected to              of the first set of photodiodes and the photodiodes of
         one another in parallel to provide a first signal                the second set of photodiodes are arranged on the first
         stream; wherein each of the photodiodes of the first             surface, wherein the wall surrounds at least the first set
         set of photodiodes has a corresponding window that               of photodiodes and the second set of photodiodes on
         allows light to pass through to the photodiode;         20       the first surface; and
      a second set of photodiodes, the second set of photo-            a cover comprising the protruding convex surface,
         diodes comprising at least four photodiodes, the                 wherein:
         photodiodes of the second set of photodiodes con-                the wall operably connects to the substrate on one side
         nected to one another in parallel to provide a second               of the wall, and
         signal stream, wherein each of the photodiodes of the 25         the wall operably connects to the cover on an opposing
         second set of photodiodes has a corresponding win-                  side of the wall.
         dow that allows light to pass through to the photo-           27. The physiological measurement system of claim 26,
         diode; and                                                 wherein a surface of the handheld computing device posi-
      a protruding convex surface, wherein the protruding           tions the touch-screen display.
         convex surface is positioned such that the protruding 30      28. The physiological measurement system of claim 27,
         convex surface is located between tissue of the user       wherein the physiological parameter comprises at least one
         and the photodiodes of the first and second sets of        of: pulse rate, glucose, oxygen, oxygen saturation, methe-
         photodiodes when the physiological sensor device is        moglobin, total hemoglobin, carboxyhemoglobin, carbon
         worn by the user; and                                      monoxide, or a state or trend of wellness of the user.
   a handheld computing device in wireless communication 35            29. The physiological measurement system of claim 28,
      with the physiological sensor device.                         wherein the protruding convex surface protrudes a height
   21. The physiological measurement system of claim 20,            greater than 2 millimeters and less than 3 millimeters.
wherein the handheld computing device comprises a mobile               30. A physiological measurement system comprising:
phone.                                                                 a physiological sensor device comprising:
   22. The physiological measurement system of claim 20 40                one or more emitters configured to emit light into tissue
further comprising:                                                          of a user;
   preprocessing electronics comprising at least:                         a substrate having a first surface;
      a first amplifier configured to receive the first signal            a first set of photodiodes arranged on the first surface,
         stream at an input of the first amplifier and at least              wherein:
         amplify the first signal stream, and                    45          the first set of photodiodes comprises at least four
      a second amplifier configured to receive the second                       photodiodes,
         signal stream at an input of the second amplifier and               the photodiodes of the first set of photodiodes are
         at least amplify the second signal stream.                             connected to one another in parallel to provide a
   23. The physiological measurement system of claim 22,                        first signal stream, and
wherein the preprocessing electronics are further configured 50              each of the photodiodes of the first set of photo-
to convert at least one of the first signal stream or the second                diodes has a corresponding window that allows
signal stream from analog to digital.                                           light to pass through to the photodiode;
   24. The physiological measurement system of claim 23,                  a second set of photodiodes arranged on the first
wherein the handheld computing device comprises:                             surface, wherein:
   one or more processors configured to wirelessly receive 55                the second set of photodiodes comprises at least four
      one or more signals from the physiological sensor                         photodiodes,
      device, the one or more signals responsive to at least a               the photodiodes of the second set of photodiodes are
      physiological parameter of the user;                                      connected to one another in parallel to provide a
   a touch-screen display configured to provide a user inter-                   second signal stream, and
      face, wherein the user interface is configured to display 60           each of the photodiodes of the second set of photo-
      indicia responsive to measurements of the physiologi-                     diodes has a corresponding window that allows
      cal parameter; and                                                        light to pass through to the photodiode;
   a storage device configured to at least temporarily store at           a cover comprising a protruding convex surface,
      least the measurements of the physiological parameter.                 wherein:
   25. The physiological measurement system of claim 24, 65                  the protruding convex surface is above all of the
wherein at least part of the protruding convex surface is light                 photodiodes of the first and second sets of photo-
permeable to allow light to reach at least one of the photo-                    diodes,
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                        49                                                                  50
  at least a portion of the protruding convex surface is               a second amplifier configured to receive the second
      rigid,                                                              signal stream from the second set of photodiodes
  the cover is above the wall, and                                        at an input of the second amplifier and at least
  the protruding convex surface is configured to be                       amplify the second signal stream; and
      located between tissue of the user and the photo- 5        a handheld computing device in wireless communication
                                                                    with the physiological sensor device, wherein the hand-
      diodes of the first and second sets of photodiodes
                                                                    held computing device comprises:
      when the physiological measurement device is                  one or more processors configured to wirelessly receive
      worn by the user;                                                one or more signals from the physiological sensor
a wall that surrounds at least the first and second sets of            device, the one or more signals responsive to at least
                                                            10
  photodiodes on the first surface, wherein:                           a physiological parameter of the user, wherein the
  the wall operably connects to the substrate on one                   physiological parameter comprises at least one of:
      side of the wall, and                                            pulse rate, glucose, oxygen, oxygen saturation,
  the wall operably connects to the cover on an oppos-                 methemoglobin, total hemoglobin, carboxyhemoglo-
      ing side of the wall; and                                        bin, or carbon monoxide;
                                                            15
preprocessing electronics configured to preprocess at               a touch-screen display configured to provide a user
  least one of the first signal stream or the second                   interface, wherein the user interface is configured to
   signal stream, wherein the preprocessing electronics                display indicia responsive to measurements of the
  comprise at least:                                                   physiological parameter; and
  a first amplifier configured to receive the first signal 20       a storage device configured to at least temporarily store
      stream from the first set of photodiodes at an input             at least the measurements of the physiological
      of the first amplifier and at least amplify the first            parameter.
      signal stream, and                                                             * * * * *




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                                                                                               US010702195Bl


c12)   United States Patent                                                 (10) Patent No.:                 US 10,702,195 Bl
       Poeze et al.                                                         (45) Date of Patent:                            *Jul. 7, 2020

(54)   MULTI-STREAM DATA COLLECTION                                    (58)    Field of Classification Search
       SYSTEM FOR NONINVASIVE                                                  CPC .............. A61B 5/1455; A61B 5/14551; A61B
       MEASUREMENT OF BLOOD                                                                 5/14552; A61B 5/14532; A61B 5/14546;
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                                                                                                   (Continued)
(71)   Applicant: Masimo Corporation, Irvine, CA (US)
                                                                       (56)                     References Cited
(72)   Inventors: Jeroen Poeze, Rancho Santa Margarita,                                 U.S. PATENT DOCUMENTS
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                  CA (US); Johannes Bruinsma,
                  Opeinde (NL); Ferdyan Lesmana,                                    FOREIGN PATENT DOCUMENTS
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                  Laguna Niguel, CA (US); Greg Olsen,                  CN                 1270793 A          10/2000
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                  Lake Forest, CA (US)
                                                                                                    (Continued)
(73)   Assignee: Masimo Corporation, Irvine, CA (US)
                                                                                           OTHER PUBLICATIONS
( *)   Notice:      Subject to any disclaimer, the term ofthis
                    patent is extended or adjusted under 35            US 8,845,543 B2, 09/2014, Diab et al. (withdrawn)
                    U.S.C. 154(b) by O days.                                                        (Continued)
                    This patent is subject to a terminal dis-
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                    claimer.
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(21)   Appl. No.: 16/834,467                                           (74) Attorney, Agent, or Firm - Knobbe Martens Olson
                                                                       & Bear LLP
(22)   Filed:       Mar. 30, 2020
                                                                       (57)                        ABSTRACT
                Related U.S. Application Data
                                                                       The present disclosure relates to noninvasive methods,
(63)   Continuation of application No. 16/725,292, filed on            devices, and systems for measuring various blood constitu-
       Dec. 23, 2019, now Pat. No. 10,624,564, which is a
                                                                       ents or analytes, such as glucose. In an embodiment, a light
                        (Continued)                                    source comprises LEDs and super-luminescent LEDs. The
                                                                       light source emits light at at least wavelengths of about 1610
(51)   Int. Cl.                                                        nm, about 1640 nm, and about 1665 nm. In an embodiment,
       A61B 511455            (2006.01)                                the detector comprises a plurality of photodetectors arranged
       A61B 51145             (2006.01)                                in a special geometry comprising one of a substantially
       A61B 5100              (2006.01)                                linear substantially equal spaced geometry, a substantially
(52)   U.S. Cl.                                                        linear substantially non-equal spaced geometry, and a sub-
       CPC ........ A61B 511455 (2013.01); A61B 5114532                stantially grid geometry.
                      (2013.01); A61B 5114546 (2013.01);
                        (Continued)                                                    17 Claims, 65 Drawing Sheets

                                                                               DETECTOR1


                                                                                               DETECTOR2




                                                                                   DETECTOR SUBMOUNT
                                           DETECTOR3                                      1200


                                                                   1                                                               APPLE 1001
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                                     SENSOR 201a
           200A

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                                                                     EMITTER SHELL
                                                                          204
 MONITOR
  209a
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                                                                        DETECTOR
CONTROL                                                                   SHELL
BUTTONS                                                                    206
  208a




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                  DISPLAY 210a




                                       FIG. 2A


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           200C
                                                  SENSOR
               ~                                      201c

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                         CABLE
                          212

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                                                               STRAP
                                                                214
                                              DISPLAY
                                               210c
          DISPLAY
          BUTTONS
              208c                  MONITOR
                                      209c




                                      FIG. 2C




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     200D

       ~                                          DISPLAY
                                                    210d
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                                                                            SENSOR
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ETHERNET PORT                                                              ~
  (OPTIONAL)
     218                    CABLE
            I                212
   USB INTERFACE
    (OPTIONAL)
         216



                                       FIG. 2D




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         301A\



                 304a


                                                                  350a



        307a




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       308a

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                           314
                                     FIG. 3B



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       308a




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      370




                               314
                                        FIG. 3C



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                                                              307b




                                                         ~302b 308b


   304b


     306b




                                       FIG. 3D




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                                                              DETECTOR
                                                               SHELL
                                                                306b




                                    FIG. 3E




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                                    FIG. 4A
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                                    FIG. 48              420
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                                    FIG. 4C

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                                    TRANSMITTANCE


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                                     FIG. 6A
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                     605             FIG. 6B
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                                     FIG. 6D
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                                                    EMITTER
        701A                                        HOUSING

          ~                            LEDS              704a
                                        104




                                                            FINGER 102

                                                                 TISSUE BED
                                                                    710a


                                                                   CONDUCTIVE
                                                                     GLASS
         733                                                          730a
   PHOTODIODES                                                  SHIELDING 790a
       106

                                                                   DETECTOR
                                                                 HOUSING/SHELL
                                                                     706a
                                        SUBMOUNT
                                           707a

                      DETECTOR
                       SIGNAL
                         107



                                 FIG. 7A



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                                     Appx00547
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                                                     EMITTER
       701B                                          HOUSING
         \                            EMITTERS
                                         104
                                                       704a




                                                          FINGER 102


     OPENING(S)
        703b
   CONTACT AREA
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                                                               CONDUCTIVE
    PHOTODIODES                                                GLASS 730b
        106
                                                          SHIELDING 790b

                                                                 DETECTOR
                                                               HOUSING/SHELL
                                                                   706b
                                         SUBMOUNT
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                      DETECTOR
                       SIGNAL
                         107



                                     FIG. 78



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    FIG. SA

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    FIG. SB


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    FIG. SC
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    FIG. 8D

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      Case: 22-1972      Document: 33-2        Page: 251    Filed: 05/11/2023


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                                                    TOP EMITTING
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      DRIVER
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                   SIDE EMITTING-~
                       LEDS
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                                                                         1106

                                        FIG. 11A
         CONTROL
          SIGNAL




                                          37
                                     Appx00553
         Case: 22-1972      Document: 33-2        Page: 252      Filed: 05/11/2023


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    Power (mW)

100 mW                                                        ~1.25ms




 10mW




 1mW
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                                                     1630




0.1 mW



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                                                                           STABILIZATION
                    ~0.08ms                          ~0.08ms                   TIME
                                         Time (ms)


                                        FIG. 11 B


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                                        Appx00554
          Case: 22-1972      Document: 33-2      Page: 253      Filed: 05/11/2023


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     Case: 22-1972      Document: 33-2      Page: 255     Filed: 05/11/2023


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                                                DETECTOR1




                                                        DETECTOR SUBM OUNT
               DETECTOR3                                       1200




                                    FIG. 12A




                                       41
                                    Appx00557
     Case: 22-1972      Document: 33-2      Page: 256          Filed: 05/11/2023


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     Case: 22-1972      Document: 33-2       Page: 257      Filed: 05/11/2023


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                                    DETECTOR1




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                                    DETECTOR3
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                                    DETECTOR4
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                              DETECTOR SUBM OUNT         1200




                                FIG. 12C



                                        43
                                    Appx00559
     Case: 22-1972      Document: 33-2         Page: 258   Filed: 05/11/2023


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                                     DETECTOR1

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              DETECTOR2      .
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                                     DETECTOR4




                                 DETECTOR SUBM OUNT 1200




                                  FIG. 12D



                                        44
                                    Appx00560
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                                                                      ANODE 1208




PHOTOD!ODE                                                                       1204B
   1202


    1204A




                                     ACTIVE AREA
       CATHODE                       1204
        (BACK)
         1206


                                            FIG. 12E




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                                     Appx00561
      Case: 22-1972      Document: 33-2       Page: 260   Filed: 05/11/2023


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                                                                    ANODE 1208




 PHOTODIODE
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                                      ACTIVE AREAS
        CATHODE
         (BACK)
          1206


                                       FIG. 12F




                                         46
                                     Appx00562
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 PHOTODIODE
    1202




       CATHODE                       ACTIVE AREAS
        (BACK)
         1206


                                      FIG. 12G




                                         47
                                     Appx00563
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                                                                    ANODE 1208




 PHOTODIODE
    1202




       CATHODE                       ACTIVE AREAS           1204G
        (BACK)
         1206


                                       FIG. 12H




                                         48
                                     Appx00564
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               FIG. 13
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                                                Appx00565
        Case: 22-1972      Document: 33-2      Page: 264   Filed: 05/11/2023


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                                        FIG. 14A




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                                       Appx00566
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                           FIG. 148


                                       51
                                    Appx00567
     Case: 22-1972      Document: 33-2                      Page: 266          Filed: 05/11/2023


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                                     FIG. 14C




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                                      Appx00568
     Case: 22-1972         Document: 33-2    Page: 267     Filed: 05/11/2023


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                                  FIG. 14D




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                                    Appx00569
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                             FIG. 14E




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                            FIG. 14F




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                                    Appx00571
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                                     FIG. 14G




                                       56
                                    Appx00572
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                               FIG. 14H




                                       57
                                    Appx00573
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                                        FIG. 141




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                                        Appx00574
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                  Case: 22-1972                        Document: 33-2                        Page: 282                Filed: 05/11/2023


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                                                                      FIG. 15J




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                                                                          Appx00584
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                            FIG. 15J (CONT.)

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                                         Appx00585
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                                      FIG. 15K

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                                           Appx00586
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                      FIG. 15K {CONT.)
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                                     Appx00587
      Case: 22-1972         Document: 33-2                                       Page: 286              Filed: 05/11/2023


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                         FIG. 15K (CONT.)
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     Case: 22-1972         Document: 33-2           Page: 288   Filed: 05/11/2023


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     FIG. 17

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                                       FIG. 18




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                                        Appx00592
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                                                    FIG. 19




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                                                     Appx00593
             Case: 22-1972       Document: 33-2                  Page: 292         Filed: 05/11/2023


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                                                  FIG. 20




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                                              Appx00594
          Case: 22-1972               Document: 33-2        Page: 293   Filed: 05/11/2023


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                                                 Appx00595
                   Case: 22-1972      Document: 33-2             Page: 294     Filed: 05/11/2023


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                                          Hbt reference (ABL800, g/dl)




                                                   FIG. 22




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                                                   Appx00596
             Case: 22-1972                 Document: 33-2                  Page: 295             Filed: 05/11/2023


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        MULTI-STREAM DATA COLLECTION                                                              -continued
           SYSTEM FOR NONINVASIVE
           MEASUREMENT OF BLOOD                                        application Filing
                CONSTITUENTS                                            Ser. No. Date         Title                       Attonery Docket

                                                                       12/534,823 Aug. 3, 2009 Multi-Stream Sensor for    MASCER.004A
                RELATED APPLICATIONS                                                           Non-Invasive Measurement
                                                                                               of Blood Constituents
                                                                       12/534,825 Aug. 3, 2009 Multi-Stream Emitter for
                                                                                                                      MASCER.005A
   This application is a continuation of U.S. patent applica-
                                                                                               Non-Invasive Measurement
tion Ser. No. 16/725,292, filed Dec. 23, 2019, which is a                                      of Blood Constituents
continuation of U.S. patent application Ser. No. 16/534,949, 10
filed Aug. 7, 2019, which is a continuation of U.S. patent
application Ser. No. 16/409,515, filed May 10, 2019, which               The foregoing applications are hereby incorporated by
is a continuation of U.S. patent application Ser. No. 16/261,         reference in their entirety.
326, filed Jan. 29, 2019, which is a continuation of U.S.
patent application Ser. No. 16/212,537, filed Dec. 6, 2018, 15                                BACKGROUND
which is a continuation of U.S. patent application Ser. No.
14/981,290 filed Dec. 28, 2015, which is a continuation of               The standard of care in caregiver environments includes
U.S. patent application Ser. No. 12/829,352 filed Jul. 1,             patient monitoring through spectroscopic analysis using, for
2010, which is a continuation of U.S. patent application Ser.         example, a pulse oximeter. Devices capable of spectroscopic
No. 12/534,827 filed Aug. 3, 2009, which claims the benefit 20 analysis generally include a light source(s) transmitting
of priority under 35 U.S.C. § 119(e) of the following U.S.            optical radiation into or reflecting off a measurement site,
Provisional Patent Application Nos. 61/086,060 filed Aug. 4,          such as, body tissue carrying pulsing blood. After attenua-
2008, 61/086, 108 filed Aug. 4, 2008, 61/086,063 filed Aug.           tion by tissue and fluids of the measurement site, a photo-
4, 2008, 61/086,057 filed Aug. 4, 2008, and 61/091,732 filed          detection device(s) detects the attenuated light and outputs a
Aug. 25, 2008. U.S. patent application Ser. No. 12/829,352 25 detector signal(s) responsive to the detected attenuated light.
is also a continuation-in-part of U.S. patent application Ser.        A signal processing device(s) process the detector(s)
No. 12/497,528 filed Jul. 2, 2009, which claims the benefit           signal(s) and outputs a measurement indicative of a blood
of priority under 35 U.S.C. § 119(e) of the following U.S.            constituent of interest, such as glucose, oxygen, met hemo-
Provisional Patent Application Nos. 61/086,060 filed Aug. 4,          globin, total hemoglobin, other physiological parameters, or
2008, 61/086, 108 filed Aug. 4, 2008, 61/086,063 filed Aug. 30 other data or combinations of data useful in determining a
4, 2008, 61/086,057 filed Aug. 4, 2008, 61/078,228 filed Jul.         state or trend of wellness of a patient.
3, 2008, 61/078,207 filed Jul. 3, 2008, and 61/091,732 filed             In noninvasive devices and methods, a sensor is often
Aug. 25, 2008. U.S. patent application Ser. No. 12/497,528            adapted to position a finger proximate the light source and
also claims the benefit of priority under 35 U.S.C. § 120 as          light detector. For example, noninvasive sensors often
a continuation-in-part of the following U.S. Design patent 35 include a clothespin-shaped housing that includes a con-
application Ser. No. 29/323,409 filed Aug. 25, 2008 and Ser.          toured bed conforming generally to the shape of a finger.
No. 29/323,408 filed Aug. 25, 2008. U.S. patent application
Ser. No. 12/829,352 is also a continuation-in-part of U.S.                                      SUMMARY
patent application Ser. No. 12/497,523 filed Jul. 2, 2009,
which claims the benefit of priority under 35 U.S.C. § 119(e) 40         This disclosure describes embodiments of noninvasive
of the following U.S. Provisional Patent Application Nos.             methods, devices, and systems for measuring a blood con-
61/086,060 filed Aug. 4, 2008, 61/086,108 filed Aug. 4,               stituent or analyte, such as oxygen, carbon monoxide,
2008, 61/086,063 filed Aug. 4, 2008, 61/086,057 filed Aug.            methemoglobin, total hemoglobin, glucose, proteins, glu-
4, 2008, 61/078,228 filed Jul. 3, 2008, 61/078,207 filed Jul.         cose, lipids, a percentage thereof (e.g., saturation) or for
3, 2008, and 61/091,732 filed Aug. 25, 2008. U.S. patent 45 measuring many other physiologically relevant patient char-
application Ser. No. 12/497,523 also claims the benefit of            acteristics. These characteristics can relate, for example, to
priority under 35 U.S.C. § 120 as a continuation-in-part of           pulse rate, hydration, trending information and analysis, and
the following U.S. Design patent application Ser. No.                 the like.
29/323,409 filed Aug. 25, 2008 and Ser. No. 29/323,408                   In an embodiment, the system includes a noninvasive
filed Aug. 25, 2008.                                               50 sensor and a patient monitor communicating with the non-
   This application is related to the following U.S. Patent           invasive sensor. The non-invasive sensor may include dif-
Applications:                                                         ferent architectures to implement some or all of the dis-
                                                                      closed features. In addition, an artisan will recognize that the
                                                                      non-invasive sensor may include or may be coupled to other
 application Filing                                                55 components, such as a network interface, and the like.
  Ser. No. Date          Title                     Attonery Docket    Moreover, the patient monitor may include a display device,
 12/497,528 Jul. 2, 2009 Noise Shielding for       MASCER.006A        a network interface communicating with any one or com-
                         Noninvasive Device                           bination of a computer network, a handheld computing
 12/497,523 Jul. 2, 2009 Contoured Protrusion for  MASCER.007A        device, a mobile phone, the Internet, or the like. In addition,
                         Improving Spectroscopic
                                                                   60 embodiments may include multiple optical sources that emit
                         Measurement of Blood
                         Constituents                                 light at a plurality of wavelengths and that are arranged from
 12/497,506 Jul. 2, 2009 Heat Sink for Noninvasive MASCER.0llA        the perspective of the light detector(s) as a point source.
                         Medical Sensor                                  In an embodiment, a noninvasive device is capable of
 12/534,812 Aug. 3, 2009 Multi-Stream Sensor Front MASCER.003A
                         Ends for Non-Invasive
                                                                      producing a signal responsive to light attenuated by tissue at
                         Measurement of Blood                      65 a measurement site. The device may comprise an optical
                         Constituents                                 source and a plurality of photodetectors. The optical source
                                                                      is configured to emit optical radiation at least at wavelengths

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between about 1600 run and about 1700 run. The photode-             receive signals from a plurality of detectors in the sensor; a
tectors are configured to detect the optical radiation from         set of switched capacitor circuits configured to convert the
said optical source after attenuation by the tissue of the          signals from the plurality of detectors into a digital output
measurement site and each output a respective signal stream         signal having a stream for each of the plurality of detectors;
responsive to the detected optical radiation.                    5 and an output configured to provide the digital output signal.
   In an embodiment, a noninvasive, physiological sensor is            In an embodiment, a conversion processor for a physi-
capable of outputting a signal responsive to a blood analyte        ological, noninvasive sensor comprises: a multi-stream input
present in a monitored patient. The sensor may comprise a           configured to receive signals from a plurality of detectors in
sensor housing, an optical source, and photodetectors. The          the sensor, wherein the signals are responsive to optical
optical source is positioned by the housing with respect to a 10 radiation from a tissue site; a modulator that converts the
tissue site of a patient when said housing is applied to the        multi-stream input into a digital bit-stream; and a signal
patient. The photodetectors are positioned by the housing           processor that produces an output signal from the digital
with respect to said tissue site when the housing is applied        bit-stream.
to the patient with a variation in path length among at least          In an embodiment, a front-end interface for a noninvasive,
some of the photodetectors from the optical source. The 15 physiological sensor comprises: a set of inputs configured to
photodetectors are configured to detect a sequence of optical       receive signals from a plurality of detectors in the sensor; a
radiation from the optical source after attenuation by tissue       set of respective transimpedance amplifiers for each detector
of the tissue site. The photodetectors may be each configured       configured to convert the signals from the plurality of
to output a respective signal stream responsive to the              detectors into an output signal having a stream for each of
detected sequence of optical radiation. An output signal 20 the plurality of detectors; and an output configured to
responsive to one or more of the signal streams is then             provide the output signal.
usable to determine the blood analyte based at least in part           In certain embodiments, a noninvasive sensor interfaces
on the variation in path length.                                    with tissue at a measurement site and deforms the tissue in
   In an embodiment, a method of measuring an analyte               a way that increases signal gain in certain desired wave-
based on multiple streams of optical radiation measured 25 lengths.
from a measurement site is provided. A sequence of optical             In some embodiments, a detector for the sensor may
radiation pulses is emitted to the measurement site. At a first     comprise a set of photodiodes that are arranged in a spatial
location, a first stream of optical radiation is detected from      configuration. This spatial configuration may allow, for
the measurement site. At least at one additional location           example, signal analysis for measuring analytes like glu-
different from the first location, an additional stream of 30 case. In various embodiments, the detectors can be arranged
optical radiation is detected from the measurement site. An         across multiple locations in a spatial configuration. The
output measurement value indicative of the analyte is then          spatial configuration provides a geometry having a diversity
determined based on the detected streams of optical radia-          of path lengths among the detectors. For example, the
tion.                                                               detector in the sensor may comprise multiple detectors that
   In various embodiments, the present disclosure relates to 35 are arranged to have a sufficient difference in mean path
an interface for a noninvasive sensor that comprises a              length to allow for noise cancellation and noise reduction.
front-end adapted to receive an input signals from optical             In an embodiment, a physiological, noninvasive detector
detectors and provide corresponding output signals. In an           is configured to detect optical radiation from a tissue site.
embodiment, the front-end is comprised of switched-capaci-          The detector comprises a set of photodetectors and a con-
tor circuits that are capable of handling multiple streams of 40 version processor. The set of photodetectors each provide a
signals from the optical detectors. In another embodiment,          signal stream indicating optical radiation from the tissue
the front-end comprises transimpedance amplifiers that are          site. The set of photodetectors are arranged in a spatial
capable of handling multiple streams of input signals. In           configuration that provides a variation in path lengths
addition, the transimpedance amplifiers may be configured           between at least some of the photodetectors. The conversion
based on the characteristics of the transimpedance amplifier 45 processor that provides information indicating an analyte in
itself, the characteristics of the photodiodes, and the number      the tissue site based on ratios of pairs of the signal streams.
of photodiodes coupled to the transimpedance amplifier.                The present disclosure, according to various embodi-
   In disclosed embodiments, the front-ends are employed in         ments, relates to noninvasive methods, devices, and systems
noninvasive sensors to assist in measuring and detecting            for measuring a blood analyte, such as glucose. In the
various analytes. The disclosed noninvasive sensor may also 50 present disclosure, blood analytes are measured noninva-
include, among other things, emitters and detectors posi-           sively based on multi-stream infrared and near-infrared
tioned to produce multi-stream sensor information. An arti-         spectroscopy. In some embodiments, an emitter may include
san will recognize that the noninvasive sensor may have             one or more sources that are configured as a point optical
different architectures and may include or be coupled to            source. In addition, the emitter may be operated in a manner
other components, such as a display device, a network 55 that allows for the measurement of an analyte like glucose.
interface, and the like. An artisan will also recognize that the    In embodiments, the emitter may comprise a plurality of
front-ends may be employed in any type of noninvasive               LEDs that emit a sequence of pulses of optical radiation
sensor.                                                             across a spectrum of wavelengths. In addition, in order to
   In an embodiment, a front-end interface for a noninvasive,       achieve the desired SNR for detecting analytes like glucose,
physiological sensor comprises: a set of inputs configured to 60 the emitter may be driven using a progression from low
receive signals from a plurality of detectors in the sensor; a      power to higher power. The emitter may also have its duty
set of transimpedance amplifiers configured to convert the          cycle modified to achieve a desired SNR.
signals from the plurality of detectors into an output signal          In an embodiment, a multi-stream emitter for a noninva-
having a stream for each of the plurality of detectors; and an      sive, physiological device configured to transmit optical
output configured to provide the output signal.                  65 radiation in a tissue site comprises: a set of optical sources
   In an embodiment, a front-end interface for a noninvasive,       arranged as a point optical source; and a driver configured to
physiological sensor comprises: a set of inputs configured to       drive the at least one light emitting diode and at least one

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optical source to transmit near-infrared optical radiation at            FIG. 5 illustrates an example graph depicting possible
sufficient power to measure an analyte in tissue that responds        effects of a protrusion on light transmittance, according to an
to near-infrared optical radiation.                                   embodiment of the disclosure;
   In an embodiment, an emitter for a noninvasive, physi-                FIGS. 6A through 6D illustrate perspective, front eleva-
ological device configured to transmit optical radiation in a 5 tion, side and top views of another example protrusion,
tissue site comprises: a point optical source comprising an           according to an embodiment of the disclosure;
optical source configured to transmit infrared and near-                 FIG. 6E illustrates an example sensor incorporating the
infrared optical radiation to a tissue site; and a driver             protrusion of FIGS. 6A through 6D, according to an embodi-
configured to drive the point optical source at a sufficient          ment of the disclosure;
power and noise tolerance to effectively provide attenuated       °1
                                                                         FIGS. 7A through 7B illustrate example arrangements of
optical radiation from a tissue site that indicates an amount         conductive glass that may be employed in the system of FIG.
of glucose in the tissue site.                                        1, according to embodiments of the disclosure;
   In an embodiment, a method of transmitting a stream of                FIGS. SA through SD illustrate an example top elevation
pulses of optical radiation in a tissue site is provided. At least 15 view, side views, and a bottom elevation view of the
one pulse of infrared optical radiation having a first pulse          conductive glass that may be employed in the system of FIG.
width is transmitted at a first power. At least one pulse of          1, according to embodiments of the disclosure;
near-infrared optical radiation is transmitted at a power that           FIG. 9 shows example comparative results obtained by an
is higher than the first power.                                       embodiment of a sensor;
   In an embodiment, a method of transmitting a stream of 20             FIGS. lOA and 10B illustrate comparative noise floors of
pulses of optical radiation in a tissue site is provided. At least    various embodiments of the present disclosure;
one pulse of infrared optical radiation having a first pulse             FIG. llA illustrates an exemplary emitter that may be
width is transmitted at a first power. At least one pulse of          employed in the sensor, according to an embodiment of the
near-infrared optical radiation is then transmitted, at a sec-        disclosure;
ond power that is higher than the first power.                     25    FIG. 11B illustrates a configuration of emitting optical
   For purposes of sunnnarizing the disclosure, certain               radiation into a measurement site for measuring blood
aspects, advantages and novel features of the inventions              constituents, according to an embodiment of the disclosure;
have been described herein. It is to be understood that not              FIG. llC illustrates another exemplary emitter that may
necessarily all such advantages can be achieved in accor-             be employed in the sensor according to an embodiment of
dance with any particular embodiment of the inventions 30 the disclosure;
disclosed herein. Thus, the inventions disclosed herein can              FIG. llD illustrates another exemplary emitter that may
be embodied or carried out in a manner that achieves or               be employed in the sensor according to an embodiment of
optimizes one advantage or group of advantages as taught
                                                                      the disclosure;
herein without necessarily achieving other advantages as can
                                                                         FIG. 12A illustrates an example detector portion that may
be taught or suggested herein.                                     35
                                                                      be employed in an embodiment of a sensor, according to an
       BRIEF DESCRIPTION OF THE DRAWINGS                              embodiment of the disclosure;
                                                                         FIGS. 12B through 12D illustrate exemplary arrange-
   Throughout the drawings, reference numbers can be re-              ments of detectors that may be employed in an embodiment
used to indicate correspondence between referenced ele- 40 of the sensor, according to some embodiments of the dis-
ments. The drawings are provided to illustrate embodiments            closure;
of the inventions described herein and not to limit the scope            FIGS. 12E through 12H illustrate exemplary structures of
thereof.                                                              photodiodes that may be employed in embodiments of the
   FIG. 1 illustrates a block diagram of an example data              detectors, according to some embodiments of the disclosure;
collection system capable of noninvasively measuring one 45              FIG. 13 illustrates an example multi-stream operation of
or more blood analytes in a monitored patient, according to           the system of FIG. 1, according to an embodiment of the
an embodiment of the disclosure;                                      disclosure;
   FIGS. 2A-2D illustrate an exemplary handheld monitor                  FIG. 14A illustrates another example detector portion
and an exemplary noninvasive optical sensor of the patient            having a partially cylindrical protrusion that can be
monitoring system of FIG. 1, according to embodiments of 50 employed in an embodiment of a sensor, according to an
the disclosure;                                                       embodiment of the disclosure;
   FIGS. 3A-3C illustrate side and perspective views of an               FIG. 14B depicts a front elevation view of the partially
exemplary noninvasive sensor housing including a finger               cylindrical protrusion of FIG. 14A;
bed protrusion and heat sink, according to an embodiment of              FIGS. 14C through 14E illustrate embodiments of a
the disclosure;                                                    55 detector submount;
   FIG. 3D illustrates a side view of another example non-               FIGS. 14F through 14H illustrate embodiment of portions
invasive sensor housing including a heat sink, according to           of a detector shell;
an embodiment of the disclosure;                                         FIG. 141 illustrates a cutaway view of an embodiment of
   FIG. 3E illustrates a perspective view of an example               a sensor;
noninvasive sensor detector shell including example detec- 60            FIGS. 15A through 15F illustrate embodiments of sensors
tors, according to an embodiment of the disclosure;                   that include heat sink features;
   FIG. 3F illustrates a side view of an example noninvasive             FIGS. 15G and 15H illustrate embodiments of connector
sensor housing including a finger bed protrusion and heat             features that can be used with any of the sensors described
sink, according to an embodiment of the disclosure;                   herein;
   FIGS. 4A through 4C illustrate top elevation, side and top 65         FIG. 151 illustrates an exemplary architecture for a tran-
perspective views of an example protrusion, according to an           simpedance-based front-end that may be employed in any of
embodiment of the disclosure;                                         the sensors described herein;

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   FIG. 15J illustrates an exemplary noise model for con-          helpful in reducing light noise. In an embodiment, such light
figuring the transimpedance-based front-ends shown in FIG.         noise includes light that would otherwise be detected at a
151;                                                               photodetector that has not been attenuated by tissue of the
   FIG. 15K shows different architectures and layouts for          measurement site of a patient sufficient to cause the light to
various embodiments of a sensor and its detectors;               5 adequately included information indicative of one or more
   FIG. 15L illustrates an exemplary architecture for a            physiological parameters of the patient. Such light noise
switched-capacitor-based front-end that may be employed in         includes light piping.
any of the sensors described herein;                                  In an embodiment, the protrusion can be formed from the
   FIGS. 16A and 16B illustrate embodiments of disposable          curved bed, or can be a separate component that is posi-
optical sensors;                                                lO tionable with respect to the bed. In an embodiment, a lens
   FIG. 17 illustrates an exploded view of certain compo-          made from any appropriate material is used as the protru-
nents of an example sensor; and
                                                                   sion. The protrusion can be convex in shape. The protrusion
   FIGS. 18 through 22 illustrate various results obtained by
                                                                   can also be sized and shaped to conform the measurement
an exemplary sensor of the disclosure.
                                                                15
                                                                   site into a flat or relatively flat surface. The protrusion can
                 DETAILED DESCRIPTION                              also be sized to conform the measurement site into a rounded
                                                                   surface, such as, for example, a concave or convex surface.
   The present disclosure generally relates to non-invasive        The protrusion can include a cylindrical or partially cylin-
medical devices. In the present disclosure, a sensor can           drical shape. The protrusion can be sized or shaped differ-
measure various blood constituents or analytes noninva- 20 ently for different types of patients, such as an adult, child,
sively using multi-stream spectroscopy. In an embodiment,          or infant. The protrusion can also be sized or shaped
the multi-stream spectroscopy can employ visible, infrared         differently for different measurement sites, including, for
and near infrared wavelengths. As disclosed herein, the            example, a finger, toe, hand, foot, ear, forehead, or the like.
sensor is capable of noninvasively measuring blood analytes        The protrusion can thus be helpful in any type of noninva-
or percentages thereof (e.g., saturation) based on various 25 sive sensor. The external surface of the protrusion can
combinations of features and components.                           include one or more openings or windows. The openings can
   In various embodiments, the present disclosure relates to       be made from glass to allow attenuated light from a mea-
an interface for a noninvasive glucose sensor that comprises       surement site, such as a finger, to pass through to one or
a front-end adapted to receive an input signals from optical       more detectors. Alternatively, some of all of the protrusion
detectors and provide corresponding output signals. The 30 can be a lens, such as a partially cylindrical lens.
front-end may comprise, among other things, switched                  The sensor can also include a shielding, such as a metal
capacitor circuits or transimpedance amplifiers. In an             enclosure as described below or embedded within the pro-
embodiment, the front-end may comprise switched capacitor          trusion to reduce noise. The shielding can be constructed
circuits that are configured to convert the output of sensor's     from a conductive material, such as copper, in the form of a
detectors into a digital signal. In another embodiment, the 35 metal cage or enclosure, such as a box. The shielding can
front-end may comprise transimpedance amplifiers. These            include a second set of one or more openings or windows.
transimpedance amplifiers may be configured to match one           The second set of openings can be made from glass and
or more photodiodes in a detector based on a noise model           allow light that has passed through the first set of windows
that accounts for characteristics, such as the impedance, of       of the external surface of the protrusion to pass through to
the transimpedance amplifier, characteristics of each photo- 40 one or more detectors that can be enclosed, for example, as
diode, such as the impedance, and the number of photo-             described below.
diodes coupled to the transimpedance amplifier.                       In various embodiments, the shielding can include any
   In the present disclosure, the front-ends are employed in       substantially transparent, conductive material placed in the
a sensor that measures various blood analytes noninvasively        optical path between an emitter and a detector. The shielding
using multi-stream spectroscopy. In an embodiment, the 45 can be constructed from a transparent material, such as
multi-stream spectroscopy can employ visible, infrared and         glass, plastic, and the like. The shielding can have an
near infrared wavelengths. As disclosed herein, the sensor is      electrically conductive material or coating that is at least
capable of noninvasively measuring blood analytes, such as         partially transparent. The electrically conductive coating can
glucose, total hemoglobin, methemoglobin, oxygen content,          be located on one or both sides of the shielding, or within the
and the like, based on various combinations of features and 50 body of the shielding. In addition, the electrically conductive
components.                                                        coating can be uniformly spread over the shielding or may
   In an embodiment, a physiological sensor includes a             be patterned. Furthermore, the coating can have a uniform or
detector housing that can be coupled to a measurement site,        varying thickness to increase or optimize its shielding effect.
such as a patient's finger. The sensor housing can include a       The shielding can be helpful in virtually any type of non-
curved bed that can generally conform to the shape of the 55 invasive sensor that employs spectroscopy.
measurement site. In addition, the curved bed can include a           In an embodiment, the sensor can also include a heat sink.
protrusion shaped to increase an amount of light radiation         In an embodiment, the heat sink can include a shape that is
from the measurement site. In an embodiment, the protru-           functional in its ability to dissipate excess heat and aestheti-
sion is used to thin out the measurement site. This allows the     cally pleasing to the wearer. For example, the heat sink can
light radiation to pass through less tissue, and accordingly is 60 be configured in a shape that maximizes surface area to
attenuated less. In an embodiment, the protrusion can be           allow for greater dissipation of heat. In an embodiment, the
used to increase the area from which attenuated light can be       heat sink includes a metalicized plastic, such as plastic
measured. In an embodiment, this is done through the use of        including carbon and aluminum to allow for improved
a lens which collects attenuated light exiting the measure-        thermal conductivity and diffusivity. In an embodiment, the
ment site and focuses onto one or more detectors. The 65 heat sink can advantageously be inexpensively molded into
protrusion can advantageously include plastic, including a         desired shapes and configurations for aesthetic and func-
hard opaque plastic, such as a black or other colored plastic,     tional purposes. For example, the shape of the heat sink can

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be a generally curved surface and include one or more fins,         may be driven using a progression from low power to higher
undulations, grooves or channels, or combs.                         power. In addition, the emitter may have its duty cycle
   The sensor can include photocommunicative components,            modified to achieve a desired SNR.
such as an emitter, a detector, and other components. The              The emitter may be constructed of materials, such as
emitter can include a plurality of sets of optical sources that, 5 aluminum nitride and may include a heat sink to assist in
in an embodiment, are arranged together as a point source.          heat dissipation. A thermistor may also be employed to
The various optical sources can emit a sequence of optical          account for heating effects on the LEDs. The emitter may
radiation pulses at different wavelengths towards a measure-        further comprise a glass window and a nitrogen environment
ment site, such as a patient's finger. Detectors can then           to improve transmission from the sources and prevent oxi-
detect optical radiation from the measurement site. The 10 dative effects.
optical sources and optical radiation detectors can operate at         The sensor can be coupled to one or more monitors that
any appropriate wavelength, including, as discussed herein,         process and/or display the sensor's output. The monitors can
infrared, near infrared, visible light, and ultraviolet. In         include various components, such as a sensor front end, a
addition, the optical sources and optical radiation detectors       signal processor, a display, etc.
can operate at any appropriate wavelength, and such modi- 15           The sensor can be integrated with a monitor, for example,
fications to the embodiments desirable to operate at any such       into a handheld unit including the sensor, a display and user
wavelength will be apparent to those skilled in the art.            controls. In other embodiments, the sensor can communicate
   In certain embodiments, multiple detectors are employed          with one or more processing devices. The communication
and arranged in a spatial geometry. This spatial geometry           can be via wire(s), cable(s), flex circuit(s), wireless tech-
provides a diversity of path lengths among at least some of 20 nologies, or other suitable analog or digital communication
the detectors and allows for multiple bulk and pulsatile            methodologies and devices to perform those methodologies.
measurements that are robust. Each of the detectors can             Many of the foregoing arrangements allow the sensor to be
provide a respective output stream based on the detected            attached to the measurement site while the device is attached
optical radiation, or a sum of output streams can be provided       elsewhere on a patient, such as the patient's arm, or placed
from multiple detectors. In some embodiments, the sensor 25 at a location near the patient, such as a bed, shelf or table.
can also include other components, such as one or more heat         The sensor or monitor can also provide outputs to a storage
sinks and one or more thermistors.                                  device or network interface.
   The spatial configuration of the detectors provides a               Reference will now be made to the Figures to discuss
geometry having a diversity of path lengths among the               embodiments of the present disclosure.
detectors. For example, a detector in the sensor may com- 30           FIG. 1 illustrates an example of a data collection system
prise multiple detectors that are arranged to have a sufficient     100. In certain embodiments, the data collection system 100
difference in mean path length to allow for noise cancella-         noninvasively measure a blood analyte, such as oxygen,
tion and noise reduction. In addition, walls may be used to         carbon monoxide, methemoglobin, total hemoglobin, glu-
separate individual photodetectors and prevent mixing of            cose, proteins, glucose, lipids, a percentage thereof (e.g.,
detected optical radiation between the different locations on 35 saturation) or for measuring many other physiologically
the measurement site. A window may also be employed to              relevant patient characteristics. The system 100 can also
facilitate the passing of optical radiation at various wave-        measure additional blood analytes and/or other physiologi-
lengths for measuring glucose in the tissue.                        cal parameters useful in determining a state or trend of
   In the present disclosure, a sensor may measure various          wellness of a patient.
blood constituents or analytes noninvasively using spectros- 40        The data collection system 100 can be capable of mea-
copy and a recipe of various features. As disclosed herein,         suring optical radiation from the measurement site. For
the sensor is capable of non-invasively measuring blood             example, in some embodiments, the data collection system
analytes, such as, glucose, total hemoglobin, methemoglo-           100 can employ photodiodes defined in terms of area. In an
bin, oxygen content, and the like. In an embodiment, the            embodiment, the area is from about 1 mm2 -5 mm 2 (or
spectroscopy used in the sensor can employ visible, infrared 45 higher) that are capable of detecting about 100 nanoamps
and near infrared wavelengths. The sensor may comprise an           (nA) or less of current resulting from measured light at full
emitter, a detector, and other components. In some embodi-          scale. In addition to having its ordinary meaning, the phrase
ments, the sensor may also comprise other components, such          "at full scale" can mean light saturation of a photodiode
as one or more heat sinks and one or more thermistors.              amplifier (not shown). Of course, as would be understood by
   In various embodiments, the sensor may also be coupled 50 a person of skill in the art from the present disclosure,
to one or more companion devices that process and/or                various other sizes and types of photodiodes can be used
display the sensor's output. The companion devices may              with the embodiments of the present disclosure.
comprise various components, such as a sensor front-end, a             The data collection system 100 can measure a range of
signal processor, a display, a network interface, a storage         approximately about 2 nA to about 100 nA full scale. The
device or memory, etc.                                           55 data collection system 100 can also include sensor front-
   A sensor can include photocommunicative components,              ends that are capable of processing and amplifying current
such as an emitter, a detector, and other components. The           from the detector( s) at signal-to-noise ratios (SNRs) of about
emitter is configured as a point optical source that comprises      100 decibels (dB) or more, such as about 120 dB in order to
a plurality of LEDs that emit a sequence of pulses of optical       measure various desired analytes. The data collection sys-
radiation across a spectrum of wavelengths. In some 60 tern 100 can operate with a lower SNR if less accuracy is
embodiments, the plurality of sets of optical sources may           desired for an analyte like glucose.
each comprise at least one top-emitting LED and at least one           The data collection system 100 can measure analyte
super luminescent LED. In some embodiments, the emitter             concentrations, including glucose, at least in part by detect-
comprises optical sources that transmit optical radiation in        ing light attenuated by a measurement site 102. The mea-
the infrared or near-infrared wavelengths suitable for detect- 65 surement site 102 can be any location on a patient's body,
ing blood analytes like glucose. In order to achieve the            such as a finger, foot, ear lobe, or the like. For convenience,
desired SNR for detecting analytes like glucose, the emitter        this disclosure is described primarily in the context of a

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finger measurement site 102. However, the features of the                 In the depicted embodiment shown in FIG. 1, the sensor
embodiments disclosed herein can be used with other mea-              101 includes an emitter 104, a tissue shaper 105, a set of
surement sites 102.                                                   detectors 106, and a front-end interface 108. The emitter 104
   In the depicted embodiment, the system 100 includes an             can serve as the source of optical radiation transmitted
optional tissue thickness adjuster or tissue shaper 105, which 5 towards measurement site 102. As will be described in
can include one or more protrusions, bumps, lenses, or other          further detail below, the emitter 104 can include one or more
suitable tissue-shaping mechanisms. In certain embodi-                sources of optical radiation, such as LEDs, laser diodes,
ments, the tissue shaper 105 is a flat or substantially flat          incandescent bulbs with appropriate frequency-selective fil-
surface that can be positioned proximate the measurement              ters, combinations of the same, or the like. In an embodi-
site 102 and that can apply sufficient pressure to cause the 10 ment, the emitter 104 includes sets of optical sources that are
tissue of the measurement site 102 to be flat or substantially        capable of emitting visible and near-infrared optical radia-
flat. In other embodiments, the tissue shaper 105 is a convex         tion.
or substantially convex surface with respect to the measure-              In some embodiments, the emitter 104 is used as a point
ment site 102. Many other configurations of the tissue shaper         optical source, and thus, the one or more optical sources of
105 are possible. Advantageously, in certain embodiments, 15 the emitter 104 can be located within a close distance to each
the tissue shaper 105 reduces thickness of the measurement            other, such as within about a 2 mm to about 4 mm. The
site 102 while preventing or reducing occlusion at the                emitters 104 can be arranged in an array, such as is described
measurement site 102. Reducing thickness of the site can              in U.S. Publication No. 2006/0211924, filed Sep. 21, 2006,
advantageously reduce the amount of attenuation of the light          titled "Multiple Wavelength Sensor Emitters," the disclosure
because there is less tissue through which the light must 20 of which is hereby incorporated by reference in its entirety.
travel. Shaping the tissue in to a convex (or alternatively           In particular, the emitters 104 can be arranged at least in part
concave) surface can also provide more surface area from              as described in paragraphs [0061] through [0068] of the
which light can be detected.                                          aforementioned publication, which paragraphs are hereby
   The embodiment of the data collection system 100 shown             incorporated specifically by reference. Other relative spatial
also includes an optional noise shield 103. In an embodi- 25 relationships can be used to arrange the emitters 104.
ment, the noise shield 103 can be advantageously adapted to               For analytes like glucose, currently available non-inva-
reduce electromagnetic noise while increasing the transmit-           sive techniques often attempt to employ light near the water
tance of light from the measurement site 102 to one or more           absorbance minima at or about 1600 nm. Typically, these
detectors 106 (described below). For example, the noise               devices and methods employ a single wavelength or single
shield 103 can advantageously include a conductive coated 30 band of wavelengths at or about 1600 nm. However, to date,
glass or metal grid electrically communicating with one or            these techniques have been unable to adequately consis-
more other shields of the sensor 101 or electrically                  tently measure analytes like glucose based on spectroscopy.
grounded. In an embodiment where the noise shield 103                     In contrast, the emitter 104 of the data collection system
includes conductive coated glass, the coating can advanta-            100 can emit, in certain embodiments, combinations of
geously include indium tin oxide. In an embodiment, the 35 optical radiation in various bands of interest. For example,
indium tin oxide includes a surface resistivity ranging from          in some embodiments, for analytes like glucose, the emitter
approximately 30 ohms per square inch to about 500 ohms               104 can emit optical radiation at three (3) or more wave-
per square inch. In an embodiment, the resistivity is approxi-        lengths between about 1600 nm to about 1700 nm. In
mately 30, 200, or 500 ohms per square inch. As would be              particular, the emitter 104 can emit optical radiation at or
understood by a person of skill in the art from the present 40 about 1610 nm, about 1640 nm, and about 1665 nm. In some
disclosure, other resistivities can also be used which are less       circumstances, the use of three wavelengths within about
than about 30 ohms or more than about 500 ohms. Other                 1600 nm to about 1700 nm enable sufficient SNRs of about
conductive materials transparent or substantially transparent         100 dB, which can result in a measurement accuracy of
to light can be used instead.                                         about 20 mg/dL or better for analytes like glucose.
   In some embodiments, the measurement site 102 is 45                    In other embodiments, the emitter 104 can use two (2)
located somewhere along a non-dominant arm or a non-                  wavelengths within about 1600 nm to about 1700 nm to
dominant hand, e.g., a right-handed person's left arm or left         advantageously enable SNRs of about 85 dB, which can
hand. In some patients, the non-dominant arm or hand can              result in a measurement accuracy of about 25-30 mg/dL or
have less musculature and higher fat content, which can               better for analytes like glucose. Furthermore, in some
result in less water content in that tissue of the patient. Tissue 50 embodiments, the emitter 104 can emit light at wavelengths
having less water content can provide less interference with          above about 1670 nm. Measurements at these wavelengths
the particular wavelengths that are absorbed in a useful              can be advantageously used to compensate or confirm the
manner by blood analytes like glucose. Accordingly, in some           contribution of protein, water, and other non-hemoglobin
embodiments, the data collection system 100 can be used on            species exhibited in measurements for analytes like glucose
a person's non-dominant hand or arm.                               55 conducted between about 1600 nm and about 1700 nm. Of
   The data collection system 100 can include a sensor 101            course, other wavelengths and combinations of wavelengths
(or multiple sensors) that is coupled to a processing device          can be used to measure analytes and/or to distinguish other
or physiological monitor 109. In an embodiment, the sensor            types of tissue, fluids, tissue properties, fluid properties,
101 and the monitor 109 are integrated together into a single         combinations of the same or the like.
unit. In another embodiment, the sensor 101 and the monitor 60            For example, the emitter 104 can emit optical radiation
109 are separate from each other and communicate one with             across other spectra for other analytes. In particular, the
another in any suitable manner, such as via a wired or                emitter 104 can employ light wavelengths to measure vari-
wireless connection. The sensor 101 and monitor 109 can be            ous blood analytes or percentages (e.g., saturation) thereof.
attachable and detachable from each other for the conve-              For example, in one embodiment, the emitter 104 can emit
nience of the user or caregiver, for ease of storage, sterility 65 optical radiation in the form of pulses at wavelengths about
issues, or the like. The sensor 101 and the monitor 109 will          905 nm, about 1050 nm, about 1200 nm, about 1300 nm,
now be further described.                                             about 1330 nm, about 1610 nm, about 1640 nm, and about

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1665 run. In another embodiment, the emitter 104 can emit         about 40 mW to about 100 mW for other wavelengths that
optical radiation ranging from about 860 run to about 950         tend to be significantly absorbed in tissue. A wide variety of
run, about 950 run to about 1100 run, about 1100 run to about     other driving powers and driving methodologies can be used
1270 run, about 1250 run to about 1350 run, about 1300 run        in various embodiments.
to about 1360 run, and about 1590 run to about 1700 run. Of 5        The driver 111 can be synchronized with other parts of the
course, the emitter 104 can transmit any of a variety of          sensor 101 and can minimize or reduce jitter in the timing of
wavelengths of visible or near-infrared optical radiation.        pulses of optical radiation emitted from the emitter 104. In
   Due to the different responses of analytes to the different    some embodiments, the driver 111 is capable of driving the
wavelengths, certain embodiments of the data collection           emitter 104 to emit optical radiation in a pattern that varies
system 100 can advantageously use the measurements at 10
                                                                  by less than about 10 parts-per-million.
these different wavelengths to improve the accuracy of
                                                                     The detectors 106 capture and measure light from the
measurements. For example, the measurements of water
                                                                  measurement site 102. For example, the detectors 106 can
from visible and infrared light can be used to compensate for
water absorbance that is exhibited in the near-infrared wave-     capture and measure light transmitted from the emitter 104
lengths.                                                       15
                                                                  that has been attenuated or reflected from the tissue in the
   As briefly described above, the emitter 104 can include        measurement site 102. The detectors 106 can output a
sets of light-emitting diodes (LEDs) as its optical source.       detector signal 107 responsive to the light captured or
The emitter 104 can use one or more top-emitting LEDs. In         measured.   The detectors 106 can be implemented using one
particular, in some embodiments, the emitter 104 can              or more photodiodes, phototransistors, or the like.
include top-emitting LEDs emitting light at about 850 run to 20      In addition, the detectors 106 can be arranged with a
1350 run.                                                         spatial configuration to provide a variation of path lengths
   The emitter 104 can also use super luminescent LEDs            among at least some of the detectors 106. That is, some of
(SLEDs) or side-emitting LEDs. In some embodiments, the           the detectors 106 can have the substantially, or from the
emitter 104 can employ SLEDs or side-emitting LEDs to             perspective of the processing algorithm, effectively, the
emit optical radiation at about 1600 run to about 1800 run. 25 same path length from the emitter 104. However, according
Emitter 104 can use SLEDs or side-emitting LEDs to                to an embodiment, at least some of the detectors 106 can
transmit near infrared optical radiation because these types      have a different path length from the emitter 104 relative to
of sources can transmit at high power or relatively high          other of the detectors 106. Variations in path lengths can be
power, e.g., about 40 mW to about 100 mW. This higher             helpful in allowing the use of a bulk signal stream from the
power capability can be useful to compensate or overcome 30 detectors 106. In some embodiments, the detectors 106 may
the greater attenuation of these wavelengths oflight in tissue
                                                                  employ a linear spacing, a logarithmic spacing, or a two or
and water. For example, the higher power emission can
                                                                  three dimensional matrix of spacing, or any other spacing
effectively compensate and/or normalize the absorption sig-
                                                                  scheme in order to provide an appropriate variation in path
nal for light in the mentioned wavelengths to be similar in
amplitude and/or effect as other wavelengths that can be 35       lengths.
detected by one or more photodetectors after absorption.             The front end interface 108 provides an interface that
However, the embodiments of the present disclosure do not         adapts the output of the detectors 106, which is responsive
necessarily require the use of high power optical sources.        to desired physiological parameters. For example, the front
For example, some embodiments may be configured to                end interface 108 can adapt a signal 107 received from one
measure analytes, such as total hemoglobin (tHb ), oxygen 40 or more of the detectors 106 into a form that can be
saturation (SpO 2 ), carboxyhemoglobin, methemoglobin,            processed by the monitor 109, for example, by a signal
etc., without the use of high power optical sources like side     processor 110 in the monitor 109. The front end interface
emitting LEDs. Instead, such embodiments may employ               108 can have its components assembled in the sensor 101,
other types of optical sources, such as top emitting LEDs.        in the monitor 109, in connecting cabling (if used), combi-
Alternatively, the emitter 104 can use other types of sources 45 nations of the same, or the like. The location of the front end
of optical radiation, such as a laser diode, to emit near-        interface 108 can be chosen based on various factors includ-
infrared light into the measurement site 102.                     ing space desired for components, desired noise reductions
   In addition, in some embodiments, in order to assist in        or limits, desired heat reductions or limits, and the like.
achieving a comparative balance of desired power output              The front end interface 108 can be coupled to the detec-
between the LEDs, some of the LEDs in the emitter 104 can 50 tors 106 and to the signal processor 110 using a bus, wire,
have a filter or covering that reduces and/or cleans the          electrical or optical cable, flex circuit, or some other form of
optical radiation from particular LEDs or groups of LEDs.         signal connection. The front end interface 108 can also be at
For example, since some wavelengths of light can penetrate        least partially integrated with various components, such as
through tissue relatively well, LEDs, such as some or all of      the detectors 106. For example, the front end interface 108
the top-emitting LEDs can use a filter or covering, such as 55 can include one or more integrated circuits that are on the
a cap or painted dye. This can be useful in allowing the          same circuit board as the detectors 106. Other configurations
emitter 104 to use LEDs with a higher output and/or to            can also be used.
equalize intensity of LEDs.                                          The front end interface 108 can be implemented using one
   The data collection system 100 also includes a driver 111      or more amplifiers, such as transimpedance amplifiers, that
that drives the emitter 104. The driver 111 can be a circuit 60 are coupled to one or more analog to digital converters
or the like that is controlled by the monitor 109. For            (ADCs) (which can be in the monitor 109), such as a
example, the driver 111 can provide pulses of current to the      sigma-delta ADC. A transimpedance-based front end inter-
emitter 104. In an embodiment, the driver 111 drives the          face 108 can employ single-ended circuitry, differential
emitter 104 in a progressive fashion, such as in an alternat-     circuitry, and/or a hybrid configuration. A transimpedance-
ing manner. The driver 111 can drive the emitter 104 with a 65 based front end interface 108 can be useful for its sampling
series of pulses of about 1 milliwatt (mW) for some wave-         rate capability and freedom in modulation/demodulation
lengths that can penetrate tissue relatively well and from        algorithms. For example, this type of front end interface 108

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can advantageously facilitate the sampling of the ADCs              collection system 100 can be provided without a user
being synchronized with the pulses emitted from the emitter         interface 112 and can simply provide an output signal to a
104.                                                                separate display or system.
   The ADC or ADCs can provide one or more outputs into                A storage device 114 and a network interface 116 repre-
multiple channels of digital information for processing by 5 sent other optional output connections that can be included
the signal processor 110 of the monitor 109. Each channel           in the monitor 109. The storage device 114 can include any
can correspond to a signal output from a detector 106.              computer-readable medium, such as a memory device, hard
   In some embodiments, a programmable gain amplifier               disk storage, EEPROM, flash drive, or the like. The various
(PGA) can be used in combination with a transimpedance-             software and/or firmware applications can be stored in the
                                                                 10 storage device 114, which can be executed by the signal
based front end interface 108. For example, the output of a
                                                                    processor 110 or another processor of the monitor 109. The
transimpedance-based front end interface 108 can be output
                                                                    network interface 116 can be a serial bus port (RS-232/RS-
to a PGA that is coupled with an ADC in the monitor 109.
                                                                    485), a Universal Serial Bus (USB) port, an Ethernet port, a
A PGA can be useful in order to provide another level of            wireless interface (e.g., WiFi such as any 802.lx interface,
amplification and control of the stream of signals from the 15 including an internal wireless card), or other suitable com-
detectors 106. Alternatively, the PGA and ADC components            munication device(s) that allows the monitor 109 to com-
can be integrated with the transimpedance-based front end           municate and share data with other devices. The monitor 109
interface 108 in the sensor 101.                                    can also include various other components not shown, such
   In another embodiment, the front end interface 108 can be        as a microprocessor, graphics processor, or controller to
implemented using switched-capacitor circuits. A switched- 20 output the user interface 112, to control data communica-
capacitor-based front end interface 108 can be useful for, in       tions, to compute data trending, or to perform other opera-
certain embodiments, its resistor-free design and analog            tions.
averaging properties. In addition, a switched-capacitor-               Although not shown in the depicted embodiment, the data
based front end interface 108 can be useful because it can          collection system 100 can include various other components
provide a digital signal to the signal processor 110 in the 25 or can be configured in different ways. For example, the
monitor 109.                                                        sensor 101 can have both the emitter 104 and detectors 106
   As shown in FIG. 1, the monitor 109 can include the              on the same side of the measurement site 102 and use
signal processor 110 and a user interface, such as a display        reflectance to measure analytes. The data collection system
112. The monitor 109 can also include optional outputs              100 can also include a sensor that measures the power of
alone or in combination with the display 112, such as a 30 light emitted from the emitter 104.
storage device 114 and a network interface 116. In an                  FIGS. 2A through 2D illustrate example monitoring
embodiment, the signal processor 110 includes processing            devices 200 in which the data collection system 100 can be
logic that determines measurements for desired analytes,            housed. Advantageously, in certain embodiments, some or
such as glucose, based on the signals received from the             all of the example monitoring devices 200 shown can have
detectors 106. The signal processor 110 can be implemented 35 a shape and size that allows a user to operate it with a single
using one or more microprocessors or subprocessors (e.g.,           hand or attach it, for example, to a patient's body or limb.
cores), digital signal processors, application specific inte-       Although several examples are shown, many other moni-
grated circuits (ASICs), field progrannnable gate arrays            toring device configurations can be used to house the data
(FPGAs ), combinations of the same, and the like.                   collection system 100. In addition, certain of the features of
   The signal processor 110 can provide various signals that 40 the monitoring devices 200 shown in FIGS. 2A through 2D
control the operation of the sensor 101. For example, the           can be combined with features of the other monitoring
signal processor 110 can provide an emitter control signal to       devices 200 shown.
the driver 111. This control signal can be useful in order to          Referring specifically to FIG. 2A, an example monitoring
synchronize, minimize, or reduce jitter in the timing of            device 200A is shown, in which a sensor 201a and a monitor
pulses emitted from the emitter 104. Accordingly, this 45 209a are integrated into a single unit. The monitoring device
control signal can be useful in order to cause optical radia-       200A shown is a handheld or portable device that can
tion pulses emitted from the emitter 104 to follow a precise        measure glucose and other analytes in a patient's finger. The
timing and consistent pattern. For example, when a transim-         sensor 201a includes an emitter shell 204a and a detector
pedance-based front end interface 108 is used, the control          shell 206a. The depicted embodiment of the monitoring
signal from the signal processor 110 can provide synchro- 50 device 200A also includes various control buttons 208a and
nization with the ADC in order to avoid aliasing, cross-talk,       a display 210a.
and the like. As also shown, an optional memory 113 can be             The sensor 201a can be constructed of white material
included in the front-end interface 108 and/or in the signal        used for reflective purposes (such as white silicone or
processor 110. This memory 113 can serve as a buffer or             plastic), which can increase the usable signal at the detector
storage location for the front-end interface 108 and/or the 55 106 by forcing light back into the sensor 201a. Pads in the
signal processor 110, among other uses.                             emitter shell 204a and the detector shell 206a can contain
   The user interface 112 can provide an output, e.g., on a         separated windows to prevent or reduce mixing of light
display, for presentation to a user of the data collection          signals, for example, from distinct quadrants on a patient's
system 100. The user interface 112 can be implemented as            finger. In addition, these pads can be made of a relatively
a touch-screen display, an LCD display, an organic LED 60 soft material, such as a gel or foam, in order to conform to
display, or the like. In addition, the user interface 112 can be    the shape, for example, of a patient's finger. The emitter
manipulated to allow for measurement on the non-dominant            shell 204a and the detector shell 206a can also include
side of patient. For example, the user interface 112 can            absorbing black or grey material portions to prevent or
include a flip screen, a screen that can be moved from one          reduce ambient light from entering into the sensor 201a.
side to another on the monitor 109, or can include an ability 65       In some embodiments, some or all portions of the emitter
to reorient its display indicia responsive to user input or         shell 204a and/or detector shell 206a can be detachable
device orientation. In alternative embodiments, the data            and/or disposable. For example, some or all portions of the

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shells 204a and 206a can be removable pieces. The remov-          can include a display 210b that can indicate a measurement
ability of the shells 204a and 206a can be useful for sanitary    for glucose, for example, in mg/dL. Other analytes and
purposes or for sizing the sensor 201a to different patients.     forms of display can also appear on the monitor 209b.
The monitor 209a can include a fitting, slot, magnet, or other       In addition, although a single sensor 201b with a single
connecting mechanism to allow the sensor 201c to be 5 monitor 209b is shown, different combinations of sensors
removably attached to the monitor 209a.                           and device pairings can be implemented. For example,
    The monitoring device 200a also includes optional con-        multiple sensors can be provided for a plurality of differing
trol buttons 208a and a display 210a that can allow the user      patient types or measurement sites or even patient fingers.
to control the operation of the device. For example, a user          FIG. 2C illustrates yet another example of monitoring
can operate the control buttons 208a to view one or more 10 device 200C that can house the data collection system 100.
measurements of various analytes, such as glucose. In             Like the monitoring device 200B, the monitoring device
addition, the user can operate the control buttons 208a to        200C includes a finger clip sensor 201c connected to a
view other forms of information, such as graphs, histograms,      monitor 209c via a cable 212. The cable 212 can have all of
measurement data, trend measurement data, parameter com-          the features described above with respect to FIG. 2B. The
bination views, wellness indications, and the like. Many 15 monitor 209c can include all of the features of the monitor
parameters, trends, alarms and parameter displays could be        200B described above. For example, the monitor 209c
output to the display 210a, such as those that are commer-        includes buttons 208c and a display 210c. The monitor 209c
cially available through a wide variety of noninvasive moni-      shown also includes straps 214c that allow the monitor 209c
toring devices from Masimo® Corporation of Irvine, Calif.         to be attached to a patient's limb or the like.
    Furthermore, the controls 208a and/or display 210a can 20        FIG. 2D illustrates yet another example of monitoring
provide functionality for the user to manipulate settings of      device 200D that can house the data collection system 100.
the monitoring device 200a, such as alarm settings, emitter       Like the monitoring devices 200B and 200C, the monitoring
settings, detector settings, and the like. The monitoring         device 200D includes a finger clip sensor 201d connected to
device 200a can employ any of a variety of user interface         a monitor 209d via a cable 212. The cable 212 can have all
designs, such as frames, menus, touch-screens, and any type 25 of the features described above with respect to FIG. 2B. In
of button.                                                        addition to having some or all of the features described
    FIG. 2B illustrates another example of a monitoring           above with respect to FIGS. 2B and 2C, the monitoring
device 200B. In the depicted embodiment, the monitoring           device 200D includes an optional universal serial bus (USB)
device 200B includes a finger clip sensor 201b connected to       port 216 and an Ethernet port 218. The USB port 216 and the
a monitor 209b via a cable 212. In the embodiment shown, 30 Ethernet port 218 can be used, for example, to transfer
the monitor 209b includes a display 210b, control buttons         information between the monitor 209d and a computer (not
208b and a power button. Moreover, the monitor 209b can           shown) via a cable. Software stored on the computer can
advantageously include electronic processing, signal pro-         provide functionality for a user to, for example, view
cessing, and data storage devices capable of receiving signal     physiological data and trends, adjust settings and download
data from said sensor 201b, processing the signal data to 35 firmware updates to the monitor 209b, and perform a variety
determine one or more output measurement values indica-           of other functions. The USB port 216 and the Ethernet port
tive of one or more physiological parameters of a monitored       218 can be included with the other monitoring devices
patient, and displaying the measurement values, trends of         200A, 200B, and 200C described above.
the measurement values, combinations of measurement val-             FIGS. 3A through 3C illustrate more detailed examples of
ues, and the like.                                             40 embodiments of a sensor 301a. The sensor 301a shown can
    The cable 212 connecting the sensor 201b and the monitor      include all of the features of the sensors 100 and 200
209b can be implemented using one or more wires, optical          described above.
fiber, flex circuits, or the like. In some embodiments, the          Referring to FIG. 3A, the sensor 301a in the depicted
cable 212 can employ twisted pairs of conductors in order to      embodiment is a clothespin-shaped clip sensor that includes
minimize or reduce cross-talk of data transmitted from the 45 an enclosure 302a for receiving a patient's finger. The
sensor 201b to the monitor 209b. Various lengths of the           enclosure 302a is formed by an upper section or emitter shell
cable 212 can be employed to allow for separation between         304a, which is pivotably connected with a lower section or
the sensor 201b and the monitor 209b. The cable 212 can be        detector shell 306a. The emitter shell 304a can be biased
fitted with a connector (male or female) on either end of the     with the detector shell 306a to close together around a pivot
cable 212 so that the sensor 201b and the monitor 209b can 50 point 303a and thereby sandwich finger tissue between the
be connected and disconnected from each other. Alterna-           emitter and detector shells 304a, 306a.
tively, the sensor 201b and the monitor 209b can be coupled          In an embodiment, the pivot point 303a advantageously
together via a wireless communication link, such as an            includes a pivot capable of adjusting the relationship
infrared link, radio frequency channel, or any other wireless     between the emitter and detector shells 304a, 306a to
communication protocol and channel.                            55 effectively level the sections when applied to a tissue site. In
    The monitor 209b can be attached to the patient. For          another embodiment, the sensor 301a includes some or all
example, the monitor 209b can include a belt clip or straps       features of the finger clip described in U.S. Publication No.
(see, e.g., FIG. 2C) that facilitate attachment to a patient's    2006/0211924, incorporated above, such as a spring that
belt, arm, leg, or the like. The monitor 209b can also include    causes finger clip forces to be distributed along the finger.
a fitting, slot, magnet, LEMO snap-click connector, or other 60 Paragraphs [0096] through [0105], which describe this fea-
connecting mechanism to allow the cable 212 and sensor            ture, are hereby specifically incorporated by reference.
201b to be attached to the monitor 209B.                             The emitter shell 304a can position and house various
    The monitor 209b can also include other components,           emitter components of the sensor 301a. It can be constructed
such as a speaker, power button, removable storage or             of reflective material (e.g., white silicone or plastic) and/or
memory (e.g., a flash card slot), an AC power port, and one 65 can be metallic or include metalicized plastic (e.g., including
or more network interfaces, such as a universal serial bus        carbon and aluminum) to possibly serve as a heat sink. The
interface or an Ethernet port. For example, the monitor 209b      emitter shell 304a can also include absorbing opaque mate-

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rial, such as, for example, black or grey colored material, at         Turning to FIG. 3B, the sensor 301a can also include a
various areas, such as on one or more flaps 307a, to reduce         shielding 315a, such as a metal cage, box, metal sheet,
ambient light entering the sensor 301a.                             perforated metal sheet, a metal layer on a non-metal mate-
   The detector shell 306a can position and house one or            rial, or the like. The shielding 315a is provided in the
more detector portions of the sensor 301a. The detector shell 5 depicted embodiment below or embedded within the pro-
306a can be constructed of reflective material, such as white       trusion 305 to reduce noise. The shielding 315a can be
silicone or plastic. As noted, such materials can increase the      constructed from a conductive material, such as copper. The
usable signal at a detector by forcing light back into the          shielding 315a can include one or more openings or win-
tissue and measurement site (see FIG. 1). The detector shell        dows (not shown). The windows can be made from glass or
                                                                 10
306a can also include absorbing opaque material at various          plastic to thereby allow light that has passed through the
areas, such as lower area 308a, to reduce ambient light             windows 320, 321, 322, and 323 on an external surface of
entering the sensor 301a.                                           the protrusion 305 (see FIG. 3C) to pass through to one or
   Referring to FIGS. 3B and 3C, an example of finger bed           more photodetectors that can be enclosed or provided below
310 is shown in the sensor 301b. The finger bed 310 includes 15 (see FIG. 3E).
a generally curved surface shaped generally to receive                 In some embodiments, the shielding cage for shielding
tissue, such as a human digit. The finger bed 310 includes          315a can be constructed in a single manufactured compo-
one or more ridges or channels 314. Each of the ridges 314          nent with or without the use of conductive glass. This form
has a generally convex shape that can facilitate increasing         of construction may be useful in order to reduce costs of
traction or gripping of the patient's finger to the finger bed. 20 manufacture as well as assist in quality control of the
Advantageously, the ridges 314 can improve the accuracy of          components. Furthermore, the shielding cage can also be
spectroscopic analysis in certain embodiments by reducing           used to house various other components, such as sigma delta
noise that can result from a measurement site moving or             components for various embodiments of front end interfaces
shaking loose inside of the sensor 301a. The ridges 314 can         108.
be made from reflective or opaque materials in some 25                 In an embodiment, the photodetectors can be positioned
embodiments to further increase SNR. In other implemen-             within or directly beneath the protrusion 305 (see FIG. 3E).
tations, other surface shapes can be used, such as, for             In such cases, the mean optical path length from the emitters
example, generally flat, concave, or convex finger beds 310.        to the detectors can be reduced and the accuracy of blood
   Finger bed 310 can also include an embodiment of a tissue        analyte measurement can increase. For example, in one
thickness adjuster or protrusion 305. The protrusion 305 30 embodiment, a convex bump of about 1 mm to about 3 mm
includes a measurement site contact area 370 (see FIG. 3C)
                                                                    in height and about 10 mm2 to about 60 mm2 was found to
that can contact body tissue of a measurement site. The
                                                                    help signal strength by about an order of magnitude versus
protrusion 305 can be removed from or integrated with the
                                                                    other shapes. Of course other dimensions and sizes can be
finger bed 310. Interchangeable, different shaped protru-
sions 305 can also be provided, which can correspond to 35          employed   in other embodiments. Depending on the proper-
different finger shapes, characteristics, opacity, sizes, or the    ties desired, the length, width, and height of the protrusion
like.                                                               305 can be selected. In making such determinations, con-
   Referring specifically to FIG. 3C, the contact area 370 of       sideration can be made of protrusion's 305 effect on blood
the protrusion 305 can include openings or windows 320,             flow at the measurement site and mean path length for
321, 322, and 323. When light from a measurement site 40 optical radiation passing through openings 320, 321, 322,
passes through the windows 320, 321, 322, and 323, the light        and 323. Patient comfort can also be considered in deter-
can reach one or more photodetectors (see FIG. 3E). In an           mining the size and shape of the protrusion.
embodiment, the windows 320, 321, 322, and 323 mirror                  In an embodiment, the protrusion 305 can include a pliant
specific detector placements layouts such that light can            material, including soft plastic or rubber, which can some-
impinge through the protrusion 305 onto the photodetectors. 45 what conform to the shape of a measurement site. Pliant
Any number of windows 320, 321, 322, and 323 can be                 materials can improve patient comfort and tactility by con-
employed in the protrusion 305 to allow light to pass from          forming the measurement site contact area 370 to the
the measurement site to the photodetectors.                         measurement site. Additionally, pliant materials can mini-
   The windows 320, 321, 322, and 323 can also include              mize or reduce noise, such as ambient light. Alternatively,
shielding, such as an embedded grid of wiring or a conduc- 50 the protrusion 305 can be made from a rigid material, such
tive glass coating, to reduce noise from ambient light or           as hard plastic or metal.
other electromagnetic noise. The windows 320, 321, 322,                Rigid materials can improve measurement accuracy of a
and 323 can be made from materials, such as plastic or glass.       blood analyte by conforming the measurement site to the
In some embodiments, the windows 320, 321, 322, and 323             contact area 370. The contact area 370 can be an ideal shape
can be constructed from conductive glass, such as indium tin 55 for improving accuracy or reducing noise. Selecting a mate-
oxide (ITO) coated glass. Conductive glass can be useful            rial for the protrusion 305 can include consideration of
because its shielding is transparent, and thus allows for a         materials that do not significantly alter blood flow at the
larger aperture versus a window with an embedded grid of            measurement site. The protrusion 305 and the contact area
wiring. In addition, in certain embodiments, the conductive         370 can include a combination of materials with various
glass does not need openings in its shielding (since it is 60 characteristics.
transparent), which enhances its shielding performance. For            The contact area 370 serves as a contact surface for the
example, some embodiments that employ the conductive                measurement site. For example, in some embodiments, the
glass can attain up to an about 40% to about 50% greater            contact area 370 can be shaped for contact with a patient's
signal than non-conductive glass with a shielding grid. In          finger. Accordingly, the contact area 370 can be sized and
addition, in some embodiments, conductive glass can be 65 shaped for different sizes of fingers. The contact area 370
useful for shielding noise from a greater variety of directions     can be constructed of different materials for reflective pur-
than non-conductive glass with a shielding grid.                    poses as well as for the comfort of the patient. For example,

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the contact area 370 can be constructed from materials                                polymer, such as CoolPoly® D5506, commercially avail-
having various hardness and textures, such as plastic, gel,                           able from Cool Polymers®, Inc. of Warwick, R.I. Such a
foam, and the like.                                                                   material can be selected for its electrically non-conductive
   The formulas and analysis that follow with respect to FIG.                         and dielectric properties so as, for example, to aid in
5 provide insight into how selecting these variables can alter 5 electrical shielding. In an embodiment, the heat sink 350a
transmittance and intensity gain of optical radiation that has                        provides improved heat transfer properties when the sensor
been applied to the measurement site. These examples do                               301a is active for short intervals ofless than a full day's use.
not limit the scope of this disclosure.                                               In an embodiment, the heat sink 350a can advantageously
   Referring to FIG. 5, a plot 500 is shown that illustrates                          provide improved heat transfers in about three (3) to about
examples of effects of embodiments of the protrusion 305 on 10 four (4) minute intervals, for example, although a heat sink
the SNR at various wavelengths of light. As described                                 350a can be selected that performs effectively in shorter or
above, the protrusion 305 can assist in conforming the tissue                         longer intervals.
and effectively reduce its mean path length. In some                                     Moreover, the heat sink 350a can have different shapes
instances, this effect by the protrusion 305 can have signifi-                        and configurations for aesthetic as well as for functional
cant impact on increasing the SNR.                                                 15 purposes. In an embodiment, the heat sink is configured to
   According to the Beer Lambert law, a transmittance of                              maximize heat dissipation, for example, by maximizing
light (I) can be expressed as follows: I=I 0 *e-m*b*c, where I 0                      surface area. In an embodiment, the heat sink 350a is
is the initial power of light being transmitted, m is the path                        molded into a generally curved surface and includes one or
length traveled by the light, and the component "b*c"                                 more fins, undulations, grooves, or channels. The example
corresponds to the bulk absorption of the light at a specific 20 heat sink 350a shown includes fins 351a (see FIG. 3A).
wavelength of light. For light at about 1600 nm to about                                 An alternative shape of a sensor 301b and heat sink 350b
1700 nm, for example, the bulk absorption component is                                is shown in FIG. 3D. The sensor 301b can include some or
generally around 0.7 mm- 1 . Assuming a typical finger                                all of the features of the sensor 301a. For example, the
thickness of about 12 mm and a mean path length of 20 mm                              sensor 301b includes an enclosure 302b formed by an
due to tissue scattering, then I=I *eC- 20 * 0 -7 )_
                                       0
                                                                                   25 emitter shell 304b and a detector shell 306b, pivotably
   In an embodiment where the protrusion 305 is a convex                              connected about a pivot 303a. The emitter shell 304b can
bump, the thickness of the finger can be reduced to 10 mm                             also include absorbing opaque material on one or more flaps
(from 12 mm) for some fingers and the effective light mean                            307b, and the detector shell 306a can also include absorbing
path is reduced to about 16.6 mm from 20 mm (see box 510).                            opaque material at various areas, such as lower area 308b.
This results in a new transmittance, I 1 =I *eC- 16 · 6 * 0 -7 ). A 30
                                                     0
                                                                                         However, the shape of the sensor 301b is different in this
curve for a typical finger (having a mean path length of 20                           embodiment. In particular, the heat sink 350b includes comb
mm) across various wavelengths is shown in the plot 500 of                            protrusions 351b. The comb protrusions 351b are exposed to
FIG. 5. The plot 500 illustrates potential effects of the                             the air in a similar manner to the fins 351a of the heat sink
protrusion 305 on the transmittance. As illustrated, compar-                          350a, thereby facilitating efficient cooling of the sensor
ing I and I 1 results in an intensity gain of eC- 16 · 6 * 0 -7 l/eC- 20 * 0 -7 l, 35 301b.
which is about a 10 times increase for light in the about 1600                           FIG. 3E illustrates a more detailed example of a detector
nm to about 1700 nm range. Such an increase can affect the                            shell 306b of the sensor 301b. The features described with
SNR at which the sensor can operate. The foregoing gains                              respect to the detector shell 306b can also be used with the
can be due at least in part to the about 1600 nm to about 1700                        detector shell 306a of the sensor 301a.
nm range having high values in bulk absorptions (water, 40                               As shown, the detector shell 306b includes detectors 316.
protein, and the like), e.g., about 0.7 mm- 1 . The plot 500                          The detectors 316 can have a predetermined spacing 340
also shows improvements in the visible/near-infrared range                            from each other, or a spatial relationship among one another
(about 600 nm to about 1300 nm).                                                      that results in a spatial configuration. This spatial configu-
   Turning again to FIGS. 3A through 3C, an example heat                              ration can purposefully create a variation of path lengths
sink 350a is also shown. The heat sink 350a can be attached 45 among detectors 316 and the emitter discussed above.
to, or protrude from an outer surface of, the sensor 301a,                               In the depicted embodiment, the detector shell 316 can
thereby providing increased ability for various sensor com-                           hold multiple (e.g., two, three, four, etc.) photodiode arrays
ponents to dissipate excess heat. By being on the outer                               that are arranged in a two-dimensional grid pattern. Multiple
surface of the sensor 301a in certain embodiments, the heat                           photodiode arrays can also be useful to detect light piping
sink 350a can be exposed to the air and thereby facilitate 50 (e.g., light that bypasses measurement site 102). In the
more efficient cooling. In an embodiment, one or more of the                          detector shell 316, walls can be provided to separate the
emitters (see FIG. 1) generate sufficient heat that inclusion                         individual photodiode arrays to prevent or reduce mixing of
of the heat sink 350a can advantageously allows the sensor                            light signals from distinct quadrants. In addition, the detec-
301a to remain safely cooled. The heat sink 350a can                                  tor shell 316 can be covered by windows of transparent
include one or more materials that help dissipate heat, such 55 material, such as glass, plastic, or the like, to allow maxi-
as, for example, aluminum, steel, copper, carbon, combina-                            mum or increased transmission of power light captured. In
tions of the same, or the like. For example, in some                                  various embodiments, the transparent materials used can
embodiments, the emitter shell 304a can include a heat                                also be partially transparent or translucent or can otherwise
conducting material that is also readily and relatively inex-                         pass some or all of the optical radiation passing through
pensively moldable into desired shapes and forms.                                  60 them. As noted, this window can include some shielding in
   In some embodiments, the heat sink 350a includes met-                              the form of an embedded grid of wiring, or a conductive
alicized plastic. The metalicized plastic can include alumi-                          layer or coating.
num and carbon, for example. The material can allow for                                  As further illustrated by FIG. 3E, the detectors 316 can
improved thermal conductivity and diffusivity, which can                              have a spatial configuration of a grid. However, the detectors
increase commercial viability of the heat sink. In some 65 316 can be arranged in other configurations that vary the
embodiments, the material selected to construct the heat sink                         path length. For example, the detectors 316 can be arranged
350a can include a thermally conductive liquid crystalline                            in a linear array, a logarithmic array, a two-dimensional

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array, a zig-zag pattern, or the like. Furthermore, any number     arranging the windows 420, 421, 422, and 423 are possible.
of the detectors 316 can be employed in certain embodi-            For example, the windows 420, 421, 422, and 423 can be
ments.                                                             placed in a triangular, circular, or linear arrangement. In
   FIG. 3F illustrates another embodiment of a sensor 301/         some embodiments, the windows 420, 421, 422, and 423 can
The sensor 30lfcan include some or all of the features of the 5 be placed at different heights with respect to the finger bed
sensor 301a of FIG. 3A described above. For example, the           310 of FIG. 3. The windows 420, 421, 422, and 423 can also
sensor 30lf includes an enclosure 302/formed by an upper           mimic or approximately mimic a configuration of, or even
section or emitter shell 304{, which is pivotably connected        house, a plurality of detectors.
with a lower section or detector shell 306/ around a pivot            FIGS. 6A through 6D illustrate another embodiment of a
point 303/ The emitter shell 304fcan also include absorbing 10 protrusion 605 that can be used as the tissue shaper 105
opaque material on various areas, such as on one or more           described above or in place of the protrusions 305, 405
flaps 307/, to reduce ambient light entering the sensor 301/       described above. The depicted protrusion 605 is a partially
The detector shell 306/ can also include absorbing opaque          cylindrical lens having a partial cylinder 608 and an exten-
material at various areas, such as a lower area 308/ The           sion 610. The partial cylinder 608 can be a half cylinder in
sensor 301/ also includes a heat sink 350/, which includes 15 some embodiments; however, a smaller or greater portion
fins 351/                                                          than half of a cylinder can be used. Advantageously, in
   In addition to these features, the sensor 301/ includes a       certain embodiments, the partially cylindrical protrusion 605
flex circuit cover 360, which can be made of plastic or            focuses light onto a smaller area, such that fewer detectors
another suitable material. The flex circuit cover 360 can          can be used to detect the light attenuated by a measurement
cover and thereby protect a flex circuit (not shown) that 20 site.
extends from the emitter shell 304fto the detector shell 306/         FIG. 6A illustrates a perspective view of the partially
An example of such a flex circuit is illustrated in U.S.           cylindrical protrusion 605. FIG. 6B illustrates a front eleva-
Publication No. 2006/0211924, incorporated above (see              tion view of the partially cylindrical protrusion 605. FIG. 6C
FIG. 46 and associated description, which is hereby specifi-       illustrates a side view of the partially cylindrical protrusion
cally incorporated by reference). The flex circuit cover 360 25 605. FIG. 6D illustrates a top view of the partially cylindri-
is shown in more detail below in FIG. 17.                          cal protrusion 605.
   In addition, sensors 301a:f has extra length-extends to            Advantageously, in certain embodiments, placing the par-
second joint on finger-Easier to place, harder to move due         tially cylindrical protrusion 605 over the photodiodes in any
to cable, better for light piping.                                 of the sensors described above adds multiple benefits to any
   FIGS. 4A through 4C illustrate example arrangements of 30 of the sensors described above. In one embodiment, the
a protrusion 405, which is an embodiment of the protrusion         partially cylindrical protrusion 605 penetrates into the tissue
305 described above. In an embodiment, the protrusion 405          and reduces the path length of the light traveling in the
can include a measurement site contact area 470. The               tissue, similar to the protrusions described above.
measurement site contact area 470 can include a surface that          The partially cylindrical protrusion 605 can also collect
molds body tissue of a measurement site, such as a finger, 35 light from a large surface and focus down the light to a
into a flat or relatively flat surface.                            smaller area. As a result, in certain embodiments, signal
   The protrusion 405 can have dimensions that are suitable        strength per area of the photodiode can be increased. The
for a measurement site such as a patient's finger. As shown,       partially cylindrical protrusion 605 can therefore facilitate a
the protrusion 405 can have a length 400, a width 410, and         lower cost sensor because, in certain embodiments, less
a height 430. The length 400 can be from about 9 to about 40 photodiode area can be used to obtain the same signal
11 millimeters, e.g., about 10 millimeters. The width 410 can      strength. Less photodiode area can be realized by using
be from about 7 to about 9 millimeters, e.g., about 8              smaller photodiodes or fewer photodiodes (see, e.g., FIG.
millimeters. The height 430 can be from about 0.5 millime-         14). If fewer or smaller photodiodes are used, the partially
ters to about 3 millimeters, e.g., about 2 millimeters. In an      cylindrical protrusion 605 can also facilitate an improved
embodiment, the dimensions 400, 410, and 430 can be 45 SNR of the sensor because fewer or smaller photodiodes can
selected such that the measurement site contact area 470           have less dark current.
includes an area of about 80 square millimeters, although             The dimensions of the partially cylindrical protrusion 605
larger and smaller areas can be used for different sized tissue    can vary based on, for instance, a number of photodiodes
for an adult, an adolescent, or infant, or for other consider-     used with the sensor. Referring to FIG. 6C, the overall height
ations.                                                         50 of the partially cylindrical protrusion 605 (measurement "a")
   The measurement site contact area 470 can also include          in some implementations is about 1 to about 3 mm. A height
differently shaped surfaces that conform the measurement           in this range can allow the partially cylindrical protrusion
site into different shapes. For example, the measurement site      605 to penetrate into the pad of the finger or other tissue and
contact area 470 can be generally curved and/or convex with        reduce the distance that light travels through the tissue.
respect to the measurement site. The measurement site 55 Other heights, however, of the partially cylindrical protru-
contact area 470 can be other shapes that reduce or even           sion 605 can also accomplish this objective. For example,
minimize air between the protrusion 405 and/or the mea-            the chosen height of the partially cylindrical protrusion 605
surement site. Additionally, the surface pattern of the mea-       can be selected based on the size of the measurement site,
surement site contact area 470 can vary from smooth to             whether the patient is an adult or child, and so on. In an
bumpy, e.g., to provide varying levels of grip.                 60 embodiment, the height of the protrusion 605 is chosen to
   In FIGS. 4A and 4C, openings or windows 420, 421, 422,          provide as much tissue thickness reduction as possible while
and 423 can include a wide variety of shapes and sizes,            reducing or preventing occlusion of blood vessels in the
including for example, generally square, circular, triangular,     tissue.
or combinations thereof. The windows 420, 421, 422, and               Referring to FIG. 6D, the width of the partially cylindrical
423 can be of non-uniform shapes and sizes. As shown, the 65 protrusion 605 (measurement "b") can be about 3 to about
windows 420, 421, 422, and 423 can be evenly spaced out            5 mm. In one embodiment, the width is about 4 mm. In one
in a grid like arrangement. Other arrangements or patterns of      embodiment, a width in this range provides good penetration

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of the partially cylindrical protrusion 605 into the tissue to     bed 310/ also includes the ridges or channels 314 described
reduce the path length of the light. Other widths, however,        above with respect to FIGS. 3B and 3C.
of the partially cylindrical protrusion 605 can also accom-           The example of finger bed 310/ shown also includes the
plish this objective. For example, the width of the partially      protrusion 605b, which includes the features of the protru-
cylindrical protrusion 605 can vary based on the size of the 5 sion 605 described above. In addition, the protrusion 605b
measurement site, whether the patient is an adult or child,        also includes chamfered edges 607 on each end to provide
and so on. In addition, the length of the protrusion 605 could     a more comfortable surface for a finger to slide across (see
be about 10 mm, or about 8 mm to about 12 mm, or smaller           also FIG. 14D). In another embodiment, the protrusion 605b
than 8 mm or greater than 12 mm.                                   could instead include a single chamfered edge 607 proximal
                                                                10 to the ridges 314. In another embodiment, one or both of the
   In certain embodiments, the focal length (f) for the
                                                                   chamfered edges 607 could be rounded.
partially cylindrical protrusion 605 can be expressed as:
                                                                      The protrusion 605b also includes a measurement site
                                                                   contact area 670 that can contact body tissue of a measure-
                                                                   ment site. The protrusion 605b can be removed from or
                                                                15 integrated with the finger bed 310/ Interchangeable, differ-
                                                                   ently shaped protrusions 605b can also be provided, which
                                                                   can correspond to different finger shapes, characteristics,
where R is the radius of curvature of the partial cylinder 608     opacity, sizes, or the like.
and n is the index of refraction of the material used. In             FIGS. 7A and 7B illustrate block diagrams of sensors 701
certain embodiments, the radius of curvature can be between 20 that include example arrangements of conductive glass or
about 1.5 mm and about 2 mm. In another embodiment, the            conductive coated glass for shielding. Advantageously, in
partially cylindrical protrusion 605 can include a material,       certain embodiments, the shielding can provide increased
such as nBK7 glass, with an index of refraction of around          SNR. The features of the sensors 701 can be implemented
1.5 at 1300 nm, which can provide focal lengths of between         with any of the sensors 101, 201, 301 described above.
about 3 mm and about 4 mm.                                      25 Although not shown, the partially cylindrical protrusion 605
   A partially cylindrical protrusion 605 having a material        of FIG. 6 can also be used with the sensors 701 in certain
with a higher index ofrefraction such as nSFll glass (e.g.,        embodiments.
n=l.75 at 1300 nm) can provide a shorter focal length and             For example, referring specifically to FIG. 7A, the sensor
possibly a smaller photodiode chip, but can also cause             701a includes an emitter housing 704a and a detector
higher reflections due to the index of refraction mismatch 30 housing 706. The emitter housing 704a includes LEDs 104.
with air. Many types of glass or plastic can be used with          The detector housing 706a includes a tissue bed 710a with
index of refraction values ranging from, for example, about        an opening or window 703a, the conductive glass 730a, and
1.4 to about 1.9. The index of refraction of the material of       one or more photodiodes for detectors 106 provided on a
the protrusion 605 can be chosen to improve or optimize the        submount 707a.
light focusing properties of the protrusion 605. A plastic 35         During operation, a finger 102 can be placed on the tissue
partially cylindrical protrusion 605 could provide the cheap-      bed 71 Oa and optical radiation can be emitted from the LEDs
est option in high volumes but can also have some undesired        104. Light can then be attenuated as it passes through or is
light absorption peaks at wavelengths higher than 1500 nm.         reflected from the tissue of the finger 102. The attenuated
Other focal lengths and materials having different indices of      light can then pass through the opening 703a in the tissue
refraction can be used for the partially cylindrical protrusion 40 bed 710a. Based on the received light, the detectors 106 can
605.                                                               provide a detector signal 107, for example, to the front end
   Placing a photodiode at a given distance below the              interface 108 (see FIG. 1).
partially cylindrical protrusion 605 can facilitate capturing         In the depicted embodiment, the conductive glass 730 is
some or all of the light traveling perpendicular to the lens       provided in the opening 703. The conductive glass 730 can
within the active area of the photodiode (see FIG. 14). 45 thus not only permit light from the finger to pass to the
Different sizes of the partially cylindrical protrusion 605 can    detectors 106, but it can also supplement the shielding of the
use different sizes of photodiodes. The extension 610 added        detectors 106 from noise. The conductive glass 730 can
onto the bottom of the partial cylinder 608 is used in certain     include a stack or set of layers. In FIG. 7A, the conductive
embodiments to increase the height of the partially cylin-         glass 730a is shown having a glass layer 731 proximate the
drical protrusion 605. In an embodiment, the added height is 50 finger 102 and a conductive layer 733 electrically coupled to
such that the photodiodes are at or are approximately at the       the shielding 790a.
focal length of the partially cylindrical protrusion 605. In an       In an embodiment, the conductive glass 730a can be
embodiment, the added height provides for greater thinning         coated with a conductive, transparent or partially transparent
of the measurement site. In an embodiment, the added height        material, such as a thin film of indium tin oxide (ITO). To
assists in deflecting light piped through the sensor. This is 55 supplement electrical shielding effects of a shielding enclo-
because light piped around the sensor passes through the           sure 790a, the conductive glass 730a can be electrically
side walls of the added height without being directed toward       coupled to the shielding enclosure 790a. The conductive
the detectors. The extension 610 can also further facilitate       glass 730a can be electrically coupled to the shielding 704a
the protrusion 605 increasing or maximizing the amount of          based on direct contact or via other connection devices, such
light that is provided to the detectors. In some embodiments, 60 as a wire or another component.
the extension 610 can be omitted.                                     The shielding enclosure 790a can be provided to encom-
   FIG. 6E illustrates another view of the sensor 301/ofFIG.       pass the detectors 106 to reduce or prevent noise. For
3F, which includes an embodiment of a partially cylindrical        example, the shielding enclosure 790a can be constructed
protrusion 605b. Like the sensor 301A shown in FIGS. 3B            from a conductive material, such as copper, in the form of a
and 3C, the sensor 301/ includes a finger bed 310/ The 65 metal cage. The shielding or enclosure a can include an
finger bed 310/ includes a generally curved surface shaped         opaque material to not only reduce electrical noise, but also
generally to receive tissue, such as a human digit. The finger     ambient optical noise.

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   In some embodiments, the shielding enclosure 790a can          are possible. For example, the electrically conductive mate-
be constructed in a single manufactured component with or         rial 733 can be a layer within a stack of layers. This stack of
without the use of conductive glass. This form of construc-       layers can include one or more layers of glass 731, 835, as
tion may be useful in order to reduce costs of manufacture        well as one or more layers of conductive material 733. The
as well as assist in quality control of the components.         5 stack can include other layers of materials to achieve desired
Furthermore, the shielding enclosure 790a can also be used        characteristics.
to house various other components, such as sigma delta               In FIG. SD, a bottom perspective view is shown to
components for various embodiments of front end interfaces        illustrate an embodiment where a conductive glass 830b can
108.                                                              include conductive material 837 that occupies or covers a
   Referring to FIG. 7B, another block diagram of an 10 portion of a glass layer 839. This embodiment can be useful,
example sensor 701b is shown. A tissue bed 710b of the            for example, to create individual, shielded windows for
sensor 701b includes a protrusion 705b, which is in the form      detectors 106, such as those shown in FIG. 3C. The con-
of a convex bump. The protrusion 705b can include all of the      ductive material 837 can be patterned to include an area 838
features of the protrusions or tissue shaping materials           to allow light to pass to detectors 106 and one or more strips
described above. For example, the protrusion 705b includes 15 841 to couple to the shielding 704 of FIG. 7.
a contact area 370 that comes in contact with the finger 102         Other configurations and patterns for the conductive
and which can include one or more openings 703b. One or           material can be used in certain embodiments, such as, for
more components of conductive glass 730b can be provided          example, a conductive coating lining periphery edges, a
in the openings 703. For example, in an embodiment, each          conductive coating outlaid in a pattern including a grid or
of the openings 703 can include a separate window of the 20 other pattern, a speckled conductive coating, coating outlaid
conductive glass 730b. In an embodiment, a single piece of        in lines in either direction or diagonally, varied thicknesses
the conductive glass 730b can used for some or all of the         from the center out or from the periphery in, or other suitable
openings 703b. The conductive glass 730b is smaller than          patterns or coatings that balance the shielding properties
the conductive glass 730a in this particular embodiment.          with transparency considerations.
   A shielding enclosure 790b is also provided, which can 25         FIG. 9 depicts an example graph 900 that illustrates
have all the features of the shielding enclosure 790a. The        comparative results obtained by an example sensor having
shielding enclosure 790b is smaller than the shielding enclo-     components similar to those disclosed above with respect to
sure 790a; however, a variety of sizes can be selected for the    FIGS. 7 and 8. The graph 900 depicts the results of the
shielding enclosures 790.                                         percentage of transmission of varying wavelengths of light
   In some embodiments, the shielding enclosure 790b can 30 for different types of windows used in the sensors described
be constructed in a single manufactured component with or         above.
without the use of conductive glass. This form of construc-          A line 915 on the graph 900 illustrates example light
tion may be useful in order to reduce costs of manufacture        transmission of a window made from plain glass. As shown,
as well as assist in quality control of the components.           the light transmission percentage of varying wavelengths of
Furthermore, the shielding enclosure 790b can also be used 35 light is approximately 90% for a window made from plain
to house various other components, such as sigma delta            glass. A line 920 on the graph 900 demonstrates an example
components for various embodiments of front end interfaces        light transmission percentage for an embodiment in which a
108.                                                              window is made from glass having an ITO coating with a
   FIGS. SA through SD illustrate a perspective view, side        surface resistivity of 500 ohms per square inch. A line 925
views, and a bottom elevation view of the conductive glass 40 on the graph 900 shows an example light transmission for an
described above with respect to the sensors 701a, 701b. As        embodiment in which a window is made from glass that
shown in the perspective view of FIG. SA and side view of         includes a coating of ITO oxide with a surface resistivity of
FIG. 8B, the conductive glass 730 includes the electrically       200 ohms per square inch. A line 930 on the graph 900
conductive material 733 described above as a coating on the       shows an example light transmission for an embodiment in
glass layer 731 described above to form a stack. In an 45 which a window is made from glass that includes a coating
embodiment where the electrically conductive material 733         ofITO oxide with a surface resistivity of30 ohms per square
includes indium tin oxide, surface resistivity of the electri-    inch.
cally conductive material 733 can range approximately from           The light transmission percentage for a window with
30 ohms per square inch to 500 ohms per square inch, or           currently available embedded wiring can have a light trans-
approximately 30, 200, or 500 ohms per square inch. As 50 mission percentage of approximately 70%. This lower per-
would be understood by a person of skill in the art from the      centage oflight transmission can be due to the opacity of the
present disclosure, other resistivities can also be used which    wiring employed in a currently available window with
are less than 30 ohms or more than 500 ohms. Other                wiring. Accordingly, certain embodiments of glass coatings
transparent, electrically conductive materials can be used as     described herein can employ, for example, ITO coatings
the material 733.                                              55 with different surface resistivity depending on the desired
   Although the conductive material 733 is shown spread           light transmission, wavelengths of light used for measure-
over the surface of the glass layer 731, the conductive           ment, desired shielding effect, and other criteria.
material 733 can be patterned or provided on selected                FIGS. l0A through 10B illustrate comparative noise
portions of the glass layer 731. Furthermore, the conductive      floors of example implementations of the sensors described
material 733 can have uniform or varying thickness depend- 60 above. Noise can include optical noise from ambient light
ing on a desired transmission of light, a desired shielding       and electro-magnetic noise, for example, from surrounding
effect, and other considerations.                                 electrical equipment. In FIG. l0A, a graph 1000 depicts
   In FIG. SC, a side view of a conductive glass 830a is          possible noise floors for different frequencies of noise for an
shown to illustrate an embodiment where the electrically          embodiment in which one of the sensors described above
conductive material 733 is provided as an internal layer 65 included separate windows for four (4) detectors 106. One
between two glass layers 731, 835. Various combinations of        or more of the windows included an embedded grid of
integrating electrically conductive material 733 with glass       wiring as a noise shield. Symbols 1030-1033 illustrate the

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noise floor performance for this embodiment. As can be             FIG. 11B illustrates a configuration of emitting optical
seen, the noise floor performance can vary for each of the      radiation into a measurement site for measuring a blood
openings and based on the frequency of the noise.               constituent or analyte like glucose. In some embodiments,
   In FIG. 10B, a graph 1050 depicts a noise floor for          emitter 104 may be driven in a progressive fashion to
frequencies of noise 1070 for an embodiment in which the 5 minimize noise and increase SNR of sensor 101. For
sensor included separate openings for four (4) detectors 106    example, emitter 104 may be driven based on a progression
and one or more windows that include an ITO coating. In         of power/current delivered to LEDs 1102 and 1104.
this embodiment, a surface resistivity of the ITO used was         In some embodiments, emitter 104 may be configured to
about 500 ohms per square inch. Symbols 1080-1083 illus-        emit pulses centered about 905 nm, about 1050 nm, about
                                                             10 1200 nm, about 1300 nm, about 1330 nm, about 1610 nm,
trate the noise floor performance for this embodiment. As
                                                                about 1640 nm, and about 1665 nm. In another embodiment,
can be seen, the noise floor performance for this embodi-
                                                                the emitter 104 may emit optical radiation ranging from
ment can vary less for each of the openings and provide
                                                                about 860 nm to about 950 nm, about 950 nm to about 1100
lower noise floors in comparison to the embodiment of FIG.      nm, about 1100 nm to about 1270 nm, about 1250 nm to
lOA.                                                            15 about 1350 nm, about 1300 nm to about 1360 nm, and about
   FIG. llA illustrates an example structure for configuring       1590 nm to about 1700 nm. Of course, emitter 104 may be
the set of optical sources of the emitters described above. As     configured to transmit any of a variety of wavelengths of
shown, an emitter 104 can include a driver 1105, a therm-          visible, or near-infrared optical radiation.
istor 1120, a set of top-emitting LEDs 1102 for emitting red          For purposes of illustration, FIG. 11B shows a sequence
and/or infrared light, a set of side-emitting LEDs 1104 for 20 of pulses of light at wavelengths of around 905 nm, around
emitting near infrared light, and a submount 1106.                 1200 nm, around 1300 nm, and around 1330 nm from top
   The thermistor 1120 can be provided to compensate for           emitting LEDs 1102. FIG. 11B also shows that emitter 104
temperature variations. For example, the thermistor 1120           may then emit pulses centered at around 1630 nm, around
can be provided to allow for wavelength centroid and power         1660 nm, and around 1615 nm from side emitting LEDs
drift of LEDs 1102 and 1104 due to heating. In addition, 25 1104. Emitter 104 may be progressively driven at higher
other thermistors can be employed, for example, to measure         power/current. This progression may allow driver circuit
a temperature of a measurement site. The temperature can be        105 to stabilize in its operations, and thus, provide a more
displayed on a display device and used by a caregiver. Such        stable current/power to LEDs 1102 and 1104.
a temperature can also be helpful in correcting for wave-             For example, as shown in FIG. 11B, the sequence of
length drift due to changes in water absorption, which can be 30 optical radiation pulses are shown having a logarithmic-like
temperature dependent, thereby providing more accurate             progression in power/current. In some embodiments, the
data useful in detecting blood analytes like glucose. In           timing of these pulses is based on a cycle of about 400 slots
addition, using a thermistor or other type of temperature          running at 48 kHz (e.g. each time slot may be approximately
sensitive device may be useful for detecting extreme tem-          0.02 ms or 20 microseconds). An artisan will recognize that
peratures at the measurement site that are too hot or too cold. 35 term "slots" includes its ordinary meaning, which includes
The presence of low perfusion may also be detected, for            a time period that may also be expressed in terms of a
example, when the finger of a patient has become too cold.         frequency. In the example shown, pulses from top emitting
Moreover, shifts in temperature at the measurement site can        LEDs 1102 may have a pulse width of about 40 time slots
alter the absorption spectrum of water and other tissue in the     (e.g., about 0.8 ms) and an off period of about 4 time slots
measurement cite. A thermistor's temperature reading can be 40 in between. In addition, pulses from side emitting LEDs
used to adjust for the variations in absorption spectrum           1104 (e.g., or a laser diode) may have a pulse width of about
changes in the measurement site.                                   60 time slots (e.g., about 1.25 ms) and a similar off period
   The driver 1105 can provide pulses of current to the            of about 4 time slots. A pause of about 70 time slots (e.g. 1.5
emitter 1104. In an embodiment, the driver 1105 drives the         ms) may also be provided in order to allow driver circuit
emitter 1104 in a progressive fashion, for example, in an 45 1105 to stabilize after operating at higher current/power.
alternating manner based on a control signal from, for                As shown in FIG. 11B, top emitting LEDs 1102 may be
example, a processor (e.g., the processor 110). For example,       initially driven with a power to approximately 1 mW at a
the driver 1105 can drive the emitter 1104 with a series of        current of about 20-100 mA. Power in these LEDs may also
pulses to about 1 milliwatt (mW) for visible light to light at     be modulated by using a filter or covering of black dye to
about 1300 nm and from about 40 mW to about 100 mW for 50 reduce power output of LEDs. In this example, top emitting
light at about 1600 nm to about 1700 nm. However, a wide           LEDs 1102 may be driven at approximately 0.02 to 0.08
number of driving powers and driving methodologies can be          mW. The sequence of the wavelengths may be based on the
used. The driver 1105 can be synchronized with other parts         current requirements of top emitting LEDs 502 for that
of the sensor and can minimize or reduce any jitter in the         particular wavelength. Of course, in other embodiments,
timing of pulses of optical radiation emitted from the emitter 55 different wavelengths and sequences of wavelengths may be
1104. In some embodiments, the driver 1105 is capable of           output from emitter 104.
driving the emitter 1104 to emit an optical radiation in a            Subsequently, side emitting LEDs 1104 may be driven at
pattern that varies by less than about 10 parts-per-million;       higher powers, such as about 40-100 mW and higher cur-
however other amounts of variation can be used.                    rents of about 600-800 mA. This higher power may be
   The submount 1106 provides a support structure in certain 60 employed in order to compensate for the higher opacity of
embodiments for aligning the top-emitting LEDs 1102 and            tissue and water in measurement site 102 to these wave-
the side-emitting LEDs 1104 so that their optical radiation is     lengths. For example, as shown, pulses at about 1630 nm,
transmitted generally towards the measurement site. In some        about 1660 nm, and about 1615 nm may be output with
embodiments, the submount 1106 is also constructed of              progressively higher power, such as at about 40 mW, about
aluminum nitride (AlN) or beryllium oxide (BEO) for heat 65 50 mW, and about 60 mW, respectively. In this embodiment,
dissipation, although other materials or combinations of           the order of wavelengths may be based on the optical
materials suitable for the submount 1106 can be used.              characteristics of that wavelength in tissue as well as the

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current needed to drive side emitting LEDs 1104. For                quadrants from a measurement site. One detector submount
example, in this embodiment, the optical pulse at about 1615        1200 can be placed under each window of the sensors
nm is driven at the highest power due to its sensitivity in         described above, or multiple windows can be placed over a
detecting analytes like glucose and the ability oflight at this     single detector submount 1200. The detector submount 1200
wavelength to penetrate tissue. Of course, different wave- 5 can also be used with the partially cylindrical protrusion 605
lengths and sequences of wavelengths may be output from             described above with respect to FIG. 6.
emitter 104.                                                           The detectors include photodiode detectors 1-4 that are
   As noted, this progression may be useful in some embodi-         arranged in a grid pattern on the submount 1200 to capture
ments because it allows the circuitry of driver circuit 1105        light at different quadrants from the measurement site. As
to stabilize its power delivery to LEDs 1102 and 1104. 10
                                                                    noted, other patterns of photodiodes, such as a linear row, or
Driver circuit 1105 may be allowed to stabilize based on the
                                                                    logarithmic row, can also be employed in certain embodi-
duty cycle of the pulses or, for example, by configuring a
                                                                    ments.
variable waiting period to allow for stabilization of driver
circuit 1105. Of course, other variations in power/current             As shown, the detectors 1-4 may have a predetermined
and wavelength may also be employed in the present dis- 15 spacing from each other, or spatial relationship among one
closure.                                                            another that result in a spatial configuration. This spatial
   Modulation in the duty cycle of the individual pulses may        configuration can be configured to purposefully create a
also be useful because duty cycle can affect the signal noise       variation of path lengths among detectors 106 and the point
ratio of the system 100. That is, as the duty cycle is increased    light source discussed above.
so may the signal to noise ratio.                                20    Detectors may hold multiple (e.g., two, three, four, etc.)
   Furthermore, as noted above, driver circuit 1105 may             photodiode arrays that are arranged in a two-dimensional
monitor temperatures of the LEDs 1102 and 1104 using the            grid pattern. Multiple photodiode arrays may also be useful
thermistor 1120 and adjust the output of LEDs 1102 and              to detect light piping (i.e., light that bypasses measurement
1104 accordingly. Such a temperature may be to help sensor          site 102). As shown, walls may separate the individual
101 correct for wavelength drift due to changes in water 25 photodiode arrays to prevent mixing of light signals from
absorption, which can be temperature dependent.                     distinct quadrants. In addition, as noted, the detectors may
   FIG. llC illustrates another exemplary emitter that may          be covered by windows of transparent material, such as
be employed in the sensor according to an embodiment of             glass, plastic, etc., to allow maximum transmission of power
the disclosure. As shown, the emitter 104 can include               light captured. As noted, this window may comprise some
components mounted on a substrate 1108 and on submount 30 shielding in the form of an embedded grid of wiring, or a
1106. In particular, top-emitting LEDs 1102 for emitting red        conductive layer or coating.
and/or infrared light may be mounted on substrate 1108.                FIGS. 12B through 12D illustrate a simplified view of
Side emitting LEDS 1104 may be mounted on submount                  exemplary arrangements and spatial configurations of pho-
1106. As noted, side-emitting LEDs 1104 may be included             todiodes for detectors 106. As shown, detectors 106 may
in emitter 104 for emitting near infrared light.                 35 comprise photodiode detectors 1-4 that are arranged in a grid
   As also shown, the sensor of FIG. llC may include a              pattern on detector submount 1200 to capture light at
thermistor 1120. As noted, the thermistor 1120 can be               different quadrants from measurement site 102.
provided to compensate for temperature variations. The                 As noted, other patterns of photodiodes may also be
thermistor 1120 can be provided to allow for wavelength             employed in embodiments of the present disclosure, includ-
centroid and power drift of LEDs 1102 and 1104 due to 40 ing, for example, stacked or other configurations recogniz-
heating. In addition, other thermistors (not shown) can be          able to an artisan from the disclosure herein. For example,
employed, for example, to measure a temperature of a                detectors 106 may be arranged in a linear array, a logarith-
measurement site. Such a temperature can be helpful in              mic array, a two-dimensional array, and the like. Further-
correcting for wavelength drift due to changes in water             more, an artisan will recognize from the disclosure herein
absorption, which can be temperature dependent, thereby 45 that any number of detectors 106 may be employed by
providing more accurate data useful in detecting blood              embodiments of the present disclosure.
analytes like glucose.                                                 For example, as shown in FIG. 12B, detectors 106 may
   In some embodiments, the emitter 104 may be imple-               comprise photodiode detectors 1-4 that are arranged in a
mented without the use of side emitting LEDs. For example,          substantially linear configuration on submount 1200. In this
certain blood constituents, such as total hemoglobin, can be 50 embodiment shown, photodiode detectors 1-4 are substan-
measured by embodiments of the disclosure without the use           tially equally spaced apart (e.g., where the distance D is
of side emitting LEDs. FIG. llD illustrates another exem-           substantially the same between detectors 1-4).
plary emitter that may be employed in the sensor according             In FIG. 12C, photodiode detectors 1-4 may be arranged in
to an embodiment of the disclosure. In particular, an emitter       a substantially linear configuration on submount 1200, but
104 that is configured for a blood constituent, such as total 55 may employ a substantially progressive, substantially loga-
hemoglobin, is shown. The emitter 104 can include compo-            rithmic, or substantially semi-logarithmic spacing (e.g.,
nents mounted on a substrate 1108. In particular, top-              where distances Dl>D2>D3). This arrangement or pattern
emitting LEDs 1102 for emitting red and/or infrared light           may be useful for use on a patient's finger and where the
may be mounted on substrate 1108.                                   thickness of the finger gradually increases.
   As also shown, the emitter of FIG. llD may include a 60             In FIG. 12D, a different substantially grid pattern on
thermistor 1120. The thermistor 1120 can be provided to             submount 1200 of photodiode detectors 1-4 is shown. As
compensate for temperature variations. The thermistor 1120          noted, other patterns of detectors may also be employed in
can be provided to allow for wavelength centroid and power          embodiments of the present invention.
drift of LEDs 1102 due to heating.                                     FIGS. 12E through 12H illustrate several embodiments of
   FIG. 12A illustrates a detector submount 1200 having 65 photodiodes that may be used in detectors 106. As shown in
photodiode detectors that are arranged in a grid pattern on         these figures, a photodiode 1202 of detector 106 may
the detector submount 1200 to capture light at different            comprise a plurality of active areas 1204. These active areas

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 204 may be coupled together via a common cathode 1206 or               I is the light intensity measured by the instrument from the
 anode 1208 in order to provide a larger effective detection         measurement site; and
 area.                                                                  I 0 is the initial light intensity from the emitter.
    In particular, as shown in FIG. 12E, photodiode 1202 may            Absorbance (A) can be equated to the transmittance (T)
 comprise two (2) active areas 1204a and 1204b. In FIG. 12F, 5 by the equation:
 photodiode 1202 may comprise four (4) active areas 1204c-
f In FIG. 12G, photodiode 1202 may comprise three (3)                        A~-!og T
 active areas 1204g-i. In FIG. 12H, photodiode 1202 may
 comprise nine (9) active areas 1204}-r. The use of smaller             Therefore,    substituting equations from above:
 active areas may be useful because smaller active areas can 10
 be easier to fabricate and can be fabricated with higher                    A~-!og(IIIJ
 purity. However, one skilled in the art will recognize that            In view of this relationship, spectroscopy thus relies on a
various sizes of active areas may be employed in the                 proportional-based calculation of -log(I/I and solving for
                                                                                                                        )
                                                                                                                    0
 photodiode 1202.                                                    analyte concentration (c ).
    FIG. 13 illustrates an example multi-stream process 1300. 15        Typically, in order to simplify the calculations, spectros-
 The multi-stream process 1300 can be implemented by the             copy will use detectors that are at the same location in order
 data collection system 100 and/or by any of the sensors
                                                                     to keep the path length (b) a fixed, known constant. In
 described above. As shown, a control signal from a signal
                                                                     addition, spectroscopy will employ various mechanisms to
 processor 1310 controls a driver 1305. In response, an
                                                                     definitively know the transmission power (I              such as a
                                                                                                                                ),
 emitter 1304 generates a pulse sequence 1303 from its 20                                                                   0


 emitter (e.g., its LEDs) into a measurement site or sites           photodiode     located  at the  light source. This architecture can
 1302. As described above, in some embodiments, the pulse            be   viewed    as   a single   channel   or single  stream  sensor,
 sequence 1303 is controlled to have a variation of about 10         because the detectors are at a single location.
 parts per million or less. Of course, depending on the analyte         However, this scheme can encounter several difficulties in
 desired, the tolerated variation in the pulse sequence 1303 25 measuring analytes, such as glucose. This can be due to the
 can be greater (or smaller).                                        high overlap of absorption of light by water at the wave-
    In response to the pulse sequence 1300, detectors 1 to n         lengths relevant to glucose as well as other factors, such as
 (n being an integer) in a detector 1306 capture optical             high   self-noise of the components.
 radiation from the measurement site 1302 and provide                   Embodiments of the present disclosure can employ a
respective streams of output signals. Each signal from one of 30 different approach that in part allows for the measurement of
 detectors 1-n can be considered a stream having respective          analytes like glucose. Some embodiments can employ a
 time slots corresponding to the optical pulses from emitter         bulk,    non-pulsatile measurement in order to confirm or
 sets 1-n in the emitter 1304. Although n emitters and n             validate a pulsatile measurement. In addition, both the
 detectors are shown, the number of emitters and detectors           non-pulsatile and pulsatile measurements can employ,
need not be the same in certain implementations.                  35 among other things, the multi-stream operation described
    A front end interface 1308 can accept these multiple             above in order to attain sufficient SNR. In particular, a single
 streams from detectors 1-n and deliver one or more signals          light source having multiple emitters can be used to transmit
 or composite signal(s) back to the signal processor 1310. A         light to multiple detectors having a spatial configuration.
 stream from the detectors 1-n can thus include measured                A single light source having multiple emitters can allow
 light intensities corresponding to the light pulses emitted 40 for a range of wavelengths oflight to be used. For example,
 from the emitter 1304.                                              visible, infrared, and near infrared wavelengths can be
    The signal processor 1310 can then perform various               employed. Varying powers of light intensity for different
 calculations to measure the amount of glucose and other             wavelengths can also be employed.
 analytes based on these multiple streams of signals. In order          Secondly, the use of multiple-detectors in a spatial con-
to help explain how the signal processor 1310 can measure 45 figuration allow for a bulk measurement to confirm or
 analytes like glucose, a primer on the spectroscopy                 validate that the sensor is positioned correctly. This is
 employed in these embodiments will now be provided.                 because the multiple locations of the spatial configuration
    Spectroscopy is premised upon the Beer-Lambert law.              can provide, for example, topology information that indi-
 According to this law, the properties of a material, e.g.,          cates where the sensor has been positioned. Currently avail-
 glucose present in a measurement site, can be deterministi- 50 able sensors do not provide such information. For example,
 cally calculated from the absorption of light traveling             if the bulk measurement is within a predetermined range of
through the material. Specifically, there is a logarithmic           values, then this can indicate that the sensor is positioned
relation between the transmission oflight through a material         correctly in order to perform pulsatile measurements for
 and the concentration of a substance and also between the           analytes like glucose. If the bulk measurement is outside of
transmission and the length of the path traveled by the light. 55 a certain range or is an unexpected value, then this can
 As noted, this relation is known as the Beer-Lambert law.           indicate that the sensor should be adjusted, or that the
    The Beer-Lambert law is usually written as:                      pulsatile measurements can be processed differently to com-
                                                                     pensate, such as using a different calibration curve or
        Absorbance A =m *b *c, where:
                                                                     adjusting a calibration curve. This feature and others allow
    m is the wavelength-dependent molar absorptivity coef- 60 the embodiments to achieve noise cancellation and noise
 ficient (usually expressed in units of M- 1 cm- 1 );                reduction, which can be several times greater in magnitude
    b is the mean path length; and                                   that what is achievable by currently available technology.
    c is the analyte concentration (e.g., the desired parameter).       In order to help illustrate aspects of the multi-stream
    In spectroscopy, instruments attempt to obtain the analyte       measurement approach, the following example derivation is
 concentration (c) by relating absorbance (A) to transmit- 65 provided. Transmittance (T) can be expressed as:
tance (T). Transmittance is a proportional value defined as:
      T~III where:
               ,
                                                                             T=e-m'"b*c
           0




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  In terms of light intensity, this equation can also be            are used instead of four. Advantageously, in certain embodi-
rewritten as:                                                       ments, the resulting sensor can be more cost effective, have
                                                                    less complexity, and have an improved SNR, due to fewer
                                                                    and/or smaller photodiodes.
    Or, at a detector, the measured light (I) can be expressed 5       In other embodiments, using the partially cylindrical
as:
                                                                    protrusion 605 can allow the number of detector rows to be
                                                                    reduced to one or three rows of four detectors. The number
   As noted, in the present disclosure, multiple detectors (1       of detectors in each row can also be reduced. Alternatively,
ton) can be employed, which results in I 1 . . . In streams of 10   the  number of rows might not be reduced but the size of the
measurements. Assuming each of these detectors have their           detectors can be reduced. Many other configurations of
own path lengths, b 1 . . . bm from the light source, the           detector rows and sizes can also be provided.
measured light intensities can be expressed as:                        FIG. 14B depicts a front elevation view of the partially
                                                                    cylindrical protrusion 605 (or alternatively, the protrusion
                                                                    605b) that illustrates how light from emitters (not shown)
    The measured light intensities at any two different detec- 15 can be focused by the protrusion 605 onto detectors. The
tors can be referenced to each other. For example:                  protrusion 605 is placed above a detector submount 1400b
       I/In ~(Io •e-mbJc)/(Io •e-mbnc)                              having one or more detectors 1410b disposed thereon. The
   As can be seen, the terms, I cancel out and, based on
                                      ,
                                                                    submount 1400b can include any number of rows of detec-
                                  0

exponent algebra, the equation can be rewritten as:              20 tors 1410, although one row is shown.
                                                                       Light, represented by rays 1420, is emitted from the
                                                                    emitters onto the protrusion 605. These light rays 1420 can
    From this equation, the analyte concentration (c) can now       be attenuated by body tissue (not shown). When the light
be derived from bulk signals I 1 . . . In and knowing the           rays 1420 enter the protrusion 605, the protrusion 605 acts
respective mean path lengths b 1 and bn. This scheme also 25 as a lens to refract the rays into rays 1422. This refraction is
allows for the cancelling out of I and thus, noise generated
                                      0
                                          ,                         caused in certain embodiments by the partially cylindrical
by the emitter 1304 can be cancelled out or reduced. In             shape of the protrusion 605. The refraction causes the rays
addition, since the scheme employs a mean path length               1422 to be focused or substantially focused on the one or
difference, any changes in mean path length and topological         more detectors 1410b. Since the light is focused on a smaller
variations from patient to patient are easily accounted. 30 area, a sensor including the protrusion 605 can include fewer
Furthermore, this bulk-measurement scheme can be                    detectors to capture the same amount oflight compared with
extended across multiple wavelengths. This flexibility and          other sensors.
other features allow embodiments of the present disclosure             FIG. 14C illustrates another embodiment of a detector
to measure blood analytes like glucose.                             submount 1400c, which can be disposed under the protru-
    For example, as noted, the non-pulsatile, bulk measure- 35 sion 605b (or alternatively, the protrusion 605). The detector
ments can be combined with pulsatile measurements to more           submount 1400c includes a single row 1408c of detectors
accurately measure analytes like glucose. In particular, the        1410c. The detectors are electrically connected to conduc-
non-pulsatile, bulk measurement can be used to confirm or           tors 1412c, which can be gold, silver, copper, or any other
validate the amount of glucose, protein, etc. in the pulsatile      suitable conductive material.
measurements taken at the tissue at the measurement site(s) 40         The detector submount 1400c is shown positioned under
1302. The pulsatile measurements can be used to measure             the protrusion 605b in a detector subassembly 1450 illus-
the amount of glucose, hemoglobin, or the like that is present      trated in FIG. 14D. A top-down view of the detector sub-
in the blood. Accordingly, these different measurements can         assembly 1450 is also shown in FIG. 14E. In the detector
be combined to thus determine analytes like blood glucose.          subassembly 1450, a cylindrical housing 1430 is disposed
    FIG. 14A illustrates an embodiment of a detector sub- 45 on the submount 1400c. The cylindrical housing 1430
mount 1400a positioned beneath the partially cylindrical            includes a transparent cover 1432, upon which the protru-
protrusion 605 of FIG. 6 (or alternatively, the protrusion          sion 605b is disposed. Thus, as shown in FIG. 14D, a gap
605b). The detector submount 1400a includes two rows                1434 exists between the detectors 1410c and the protrusion
1408a of detectors 1410a. The partially cylindrical protru-         605b. The height of this gap 1434 can be chosen to increase
sion 605 can facilitate reducing the number and/or size of 50 or maximize the amount of light that impinges on the
detectors used in a sensor because the protrusion 605 can act       detectors 1410c.
as a lens that focuses light onto a smaller area.                      The cylindrical housing 1430 can be made of metal,
    To illustrate, in some sensors that do not include the          plastic, or another suitable material. The transparent cover
partially cylindrical protrusion 605, sixteen detectors can be      1432 can be fabricated from glass or plastic, among other
used, including four rows of four detectors each. Multiple 55 materials. The cylindrical housing 1430 can be attached to
rows of detectors can be used to measure certain analytes,          the submount 1400c at the same time or substantially the
such as glucose or total hemoglobin, among others. Multiple         same time as the detectors 1410c to reduce manufacturing
rows of detectors can also be used to detect light piping (e.g.,    costs. A shape other than a cylinder can be selected for the
light that bypasses the measurement site). However, using           housing 1430 in various embodiments.
more detectors in a sensor can add cost, complexity, and 60            In certain embodiments, the cylindrical housing 1430
noise to the sensor.                                                (and transparent cover 1432) forms an airtight or substan-
   Applying the partially cylindrical protrusion 605 to such        tially airtight or hermetic seal with the submount 1400c. As
a sensor, however, could reduce the number of detectors or          a result, the cylindrical housing 1430 can protect the detec-
rows of detectors used while still receiving the substantially      tors 1410c and conductors 1412c from fluids and vapors that
same amount of light, due to the focusing properties of the 65 can cause corrosion. Advantageously, in certain embodi-
protrusion 605 (see FIG. 14B). This is the example situation        ments, the cylindrical housing 1430 can protect the detectors
illustrated in FIG. 14-two rows 1408a of detectors 1410a            1410c and conductors 1412c more effectively than cur-

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rently-available resin epoxies, which are sometimes applied       trates the detector shell 306/ of FIG. 14G, with the protru-
to solder joints between conductors and detectors.                sion 605b disposed in the finger bed 310/
   In embodiments where the cylindrical housing 1430 is at           FIG. 141 illustrates a cutaway view of the sensor 301/ Not
least partially made of metal, the cylindrical housing 1430       all features of the sensor 301/ are shown, such as the
can provide noise shielding for the detectors 1410c. For 5 protrusion 605b. Features shown include the emitter and
example, the cylindrical housing 1430 can be soldered to a        detector shells 304{, 306/, the flaps 307/, the heat sink 350/
ground connection or ground plane on the submount 1400c,          and fins 351/, the finger bed 310/, and the noise shield 1403.
which allows the cylindrical housing 1430 to reduce noise.           In addition to these features, emitters 1404 are depicted in
In another embodiment, the transparent cover 1432 can             the emitter shell 304{, The emitters 1404 are disposed on a
                                                               10
include a conductive material or conductive layer, such as        submount 1401, which is connected to a circuit board 1419.
conductive glass or plastic. The transparent cover 1432 can       The emitters 1404 are also enclosed within a cylindrical
include any of the features of the noise shields 790 described    housing 1480. The cylindrical housing 1480 can include all
above.                                                            of the features of the cylindrical housing 1430 described
   The protrusion 605b includes the chamfered edges 607 15 above. For example, the cylindrical housing 1480 can be
described above with respect to FIG. 6E. These chamfered          made of metal, can be connected to a ground plane of the
edges 607 can allow a patient to more comfortably slide a         submount 1401 to provide noise shielding, and can include
finger over the protrusion 605b when inserting the finger         a transparent cover 1482.
into the sensor 301/                                                 The cylindrical housing 1480 can also protect the emitters
   FIG. 14F illustrates a portion of the detector shell 306/, 20 1404 from fluids and vapors that can cause corrosion.
which includes the detectors 1410c on the substrate 1400c.        Moreover, the cylindrical housing 1480 can provide a gap
The substrate 1400c is enclosed by a shielding enclosure          between the emitters 1404 and the measurement site (not
1490, which can include the features of the shielding enclo-      shown), which can allow light from the emitters 1404 to
sures 790a, 790b described above (see also FIG. 17). The          even out or average out before reaching the measurement
shielding enclosure 1490 can be made of metal. The shield- 25 site.
ing enclosure 1490 includes a window 1492a above the                 The heat sink 350/, in addition to including the fins 351/,
detectors 1410c, which allows light to be transmitted onto        includes a protuberance 352/that extends down from the fins
the detectors 1410c.                                              351/ and contacts the submount 1401. The protuberance
   A noise shield 1403 is disposed above the shielding            352/ can be connected to the submount 1401, for example,
enclosure 1490. The noise shield 1403, in the depicted 30 with thermal paste or the like. The protuberance 352/ can
embodiment, includes a window 1492a corresponding to the          sink heat from the emitters 1404 and dissipate the heat via
window 1492a. Each of the windows 1492a, 1492b can                the fins 351/
include glass, plastic, or can be an opening without glass or        FIGS. 15A and 15B illustrate embodiments of sensor
plastic. In some embodiments, the windows 1492a, 1492b            portions 1500A, 15008 that include alternative heat sink
may be selected to have different sizes or shapes from each 35 features to those described above. These features can be
other.                                                            incorporated into any of the sensors described above. For
   The noise shield 1403 can include any of the features of       example, any of the sensors above can be modified to use the
the conductive glass described above. In the depicted             heat sink features described below instead of or in addition
embodiment, the noise shield 1403 extends about three-            to the heat sink features of the sensors described above.
quarters of the length of the detector shell 306/ In other 40        The sensor portions 1500A, 1500B shown include LED
embodiments, the noise shield 1403 could be smaller or            emitters 1504; however, for ease of illustration, the detectors
larger. The noise shield 1403 could, for instance, merely         have been omitted. The sensor portions 1500A, 1500B
cover the detectors 1410c, the submount 1400c, or a portion       shown can be included, for example, in any of the emitter
thereof. The noise shield 1403 also includes a stop 1413 for      shells described above.
positioning a measurement site within the sensor 301/ 45             The LEDs 1504 of the sensor portions 1500A, 1500B are
Advantageously, in certain embodiments, the noise shield          connected to a substrate or submount 1502. The submount
1403 can reduce noise caused by light piping.                     1502 can be used in place of any of the submounts described
   A thermistor 1470 is also shown. The thermistor 1470 is        above. The submount 1502 can be a non-electrically con-
attached to the submount 1400c and protrudes above the            ducting material made of any of a variety of materials, such
noise shield 1403. As described above, the thermistor 1470 50 as ceramic, glass, or the like. A cable 1512 is attached to the
can be employed to measure a temperature of a measure-            submount 1502 and includes electrical wiring 1514, such as
ment site. Such a temperature can be helpful in correcting        twisted wires and the like, for communicating with the LEDs
for wavelength drift due to changes in water absorption,          1504. The cable 1512 can correspond to the cables 212
which can be temperature dependent, thereby providing             described above.
more accurate data useful in detecting blood analytes like 55        Although not shown, the cable 1512 can also include
glucose.                                                          electrical connections to a detector. Only a portion of the
   In the depicted embodiment, the detectors 1410c are not        cable 1512 is shown for clarity. The depicted embodiment of
enclosed in the cylindrical housing 1430. In an alternative       the cable 1512 includes an outer jacket 1510 and a conduc-
embodiment, the cylindrical housing 1430 encloses the             tive shield 1506 disposed within the outer jacket 1510. The
detectors 1410c and is disposed under the noise shield 1403. 60 conductive shield 1506 can be a ground shield or the like
In another embodiment, the cylindrical housing 1430               that is made of a metal such as braided copper or aluminum.
encloses the detectors 1410c and the noise shield 1403 is not     The conductive shield 1506 or a portion of the conductive
used. If both the cylindrical housing 1403 and the noise          shield 1506 can be electrically connected to the submount
shield 1403 are used, either or both can have noise shielding     1502 and can reduce noise in the signal generated by the
features.                                                      65 sensor 1500A, 1500B by reducing RF coupling with the
   FIG. 14G illustrates the detector shell 306/ of FIG. 14F,      wires 1514. In alternative embodiments, the cable 1512 does
with the finger bed 310/ disposed thereon. FIG. 14H illus-        not have a conductive shield. For example, the cable 1512

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could be a twisted pair cable or the like, with one wire of the    enable connections to be made more easily to the circuit
twisted pair used as a heat sink.                                  board 1519. In addition, using separate boards can be easier
   Referring specifically to FIG. 15A, in certain embodi-          to manufacture than a single circuit board 1519 with all
ments, the conductive shield 1506 can act as a heat sink for       connections soldered to the circuit board 1519.
the LEDs 1504 by absorbing thermal energy from the LEDs 5             FIG. 151 illustrates an exemplary architecture for front-
1504 and/or the submount 1502. An optional heat insulator          end interface 108 as a transimpedance-based front-end. As
1520 in communication with the submount 1502 can also              noted, front-end interfaces 108 provide an interface that
assist with directing heat toward the conductive shield 1506.      adapts the output of detectors 106 into a form that can be
The heat insulator 1520 can be made of plastic or another          handled by signal processor 110. As shown in this figure,
suitable material. Advantageously, using the conductive 10 sensor 101 and front-end interfaces 108 may be integrated
shield 1506 in the cable 1512 as a heat sink can, in certain       together as a single component, such as an integrated circuit.
embodiments, reduce cost for the sensor.                           Of course, one skilled in the art will recognize that sensor
   Referring to FIG. 15B, the conductive shield 1506 can be        101 and front end interfaces 108 may comprise multiple
attached to both the submount 1502 and to a heat sink layer        components or circuits that are coupled together.
1530 sandwiched between the submount 1502 and the 15                  Front-end interfaces 108 may be implemented using tran-
optional insulator 1520. Together, the heat sink layer 1530        simpedance amplifiers that are coupled to analog to digital
and the conductive shield 1506 in the cable 1512 can absorb        converters in a sigma delta converter. In some embodiments,
at least part of the thermal energy from the LEDs and/or the       a programmable gain amplifier (PGA) can be used in
submount 1502.                                                     combination with the transimpedance-based front-ends. For
   FIGS. 15C and 15D illustrate implementations of a sensor 20 example, the output of a transimpedance-based front-end
portion 1500C that includes the heat sink features of the          may be output to a sigma-delta ADC that comprises a PGA.
sensor portion 1500A described above with respect to FIG.          A PGA may be useful in order to provide another level of
15A. The sensor portion 1500C includes the features of the         amplification and control of the stream of signals from
sensor portion 1500A, except that the optional insulator           detectors 106. The PGA may be an integrated circuit or built
1520 is not shown. FIG. 15D is a side cutaway view of the 25 from a set of micro-relays. Alternatively, the PGA and ADC
sensor portion 1500C that shows the emitters 1504.                 components in converter 900 may be integrated with the
   The cable 1512 includes the outer jacket 1510 and the           transimpedance-based front-end in sensor 101.
conductive shield 1506. The conductive shield 1506 is                 Due to the low-noise requirements for measuring blood
soldered to the submount 1502, and the solder joint 1561 is        analytes like glucose and the challenge of using multiple
shown. In some embodiments, a larger solder joint 1561 can 30 photodiodes in detector 106, the applicants developed a
assist with removing heat more rapidly from the emitters           noise model to assist in configuring front-end 108. Conven-
1504. Various connections 1563 between the submount 1502           tionally, those skilled in the art have focused on optimizing
and a circuit board 1519 are shown. In addition, a cylindrical     the impedance of the transimpedance amplifiers to minimize
housing 1580, corresponding to the cylindrical housing 1480        nmse.
of FIG. 141, is shown protruding through the circuit board 35         However, the following noise model was discovered by
1519. The emitters 1504 are enclosed in the cylindrical            the applicants:
housing 1580.
   FIGS. 15E and 15F illustrate implementations of a sensor
                                                                          Noise~V aR+bR 2 , where:
portion 1500E that includes the heat sink features of the
sensor portion 1500B described above with respect to FIG. 40          aR is characteristic of the impedance of the transimped-
15B. The sensor portion 1500E includes the heat sink layer         ance amplifier; and
1530. The heat sink layer 1530 can be a metal plate, such as          bR2 is characteristic of the impedance of the photodiodes
a copper plate or the like. The optional insulator 1520 is not     in detector and the number of photodiodes in detector 106.
shown. FIG.15F is a side cutaway view of the sensor portion           The foregoing noise model was found to be helpful at
1500E that shows the emitters 1504.                             45 least in part due to the high SNR required to measure
   In the depicted embodiment, the conductive shield 1506          analytes like glucose. However, the foregoing noise model
of the cable 1512 is soldered to the heat sink layer 1530          was not previously recognized by artisans at least in part
instead of the submount 1502. The solder joint 1565 is             because, in conventional devices, the major contributor to
shown. In some embodiments, a larger solder joint 1565 can         noise was generally believed to originate from the emitter or
assist with removing heat more rapidly from the emitters 50 the LEDs. Therefore, artisans have generally continued to
1504. Various connections 1563 between the submount 1502           focus on reducing noise at the emitter.
and a circuit board 1519 are shown. In addition, the cylin-           However, for analytes like glucose, the discovered noise
drical housing 1580 is shown protruding through the circuit        model revealed that one of the major contributors to noise
board 1519. The emitters 1504 are enclosed in the cylindri-        was generated by the photodiodes. In addition, the amount
cal housing 1580.                                               55 of noise varied based on the number of photodiodes coupled
   FIGS. 15G and 15H illustrate embodiments of connector           to a transimpedance amplifier. Accordingly, combinations of
features that can be used with any of the sensors described        various photodiodes from different manufacturers, different
above with respect to FIGS. 1 through 15F. Referring to FIG.       impedance values with the transimpedance amplifiers, and
15G, the circuit board 1519 includes a female connector            different numbers of photodiodes were tested as possible
1575 that mates with a male connector 1577 connected to a 60 embodiments.
daughter board 1587. The daughter board 1587 includes                 In some embodiments, different combinations oftransim-
connections to the electrical wiring 1514 of the cable 1512.       pedance to photodiodes may be used. For example, detectors
The connected boards 1519, 1587 are shown in FIG. 15H.             1-4 (as shown, e.g., in FIG. 12A) may each comprise four
Also shown is a hole 1573 that can receive the cylindrical         photodiodes. In some embodiments, each detector of four
housing 1580 described above.                                   65 photodiodes may be coupled to one or more transimpedance
   Advantageously, in certain embodiments, using a daugh-          amplifiers. The configuration of these amplifiers may be set
ter board 1587 to connect to the circuit board 1519 can            according to the model shown in FIG. 151.

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   Alternatively, each of the photodiodes may be coupled to          As another example, a sensor 1528 may comprise a "1 PD
its own respective transimpedance amplifier. For example,         per stream" architecture on submount 700 in which each
transimpedance amplifiers may be implemented as inte-             detector 106 comprises four (4) photodiodes 1530. In sensor
grated circuits on the same circuit board as detectors 1-4. In    1528, each individual photodiode 1530 is coupled to a
this embodiment, the transimpedance amplifiers may be 5 respective transimpedance amplifier 1532. The output of the
grouped into an averaging (or summing) circuit, which are         amplifiers 1532 may then be aggregated into averaging
known to those skilled in the art, in order to provide an         circuit 1520 to produce a signal.
output stream from the detector. The use of a summing                As noted previously, one skilled in the art will recognize
amplifier to combine outputs from several transimpedance          that the photodiodes and detectors may be arranged in
amplifiers into a single, analog signal may be helpful in 10
                                                                  different fashions to optimize the detected light. For
improving the SNR relative to what is obtainable from a
                                                                  example, sensor 1534 illustrates an exemplary "4 PD per
single transimpedance amplifier. The configuration of the
                                                                  stream" sensor in which the detectors 106 comprise photo-
transimpedance amplifiers in this setting may also be set
according to the model shown in FIG. 151.                         diodes  1536 arranged in a linear fashion. Likewise, sensor
   As yet another alternative, as noted above with respect to 15 1538 illustrates an exemplary "1 PD per stream" sensor in
FIGS. 12E through 12H, the photodiodes in detectors 106           which the detectors comprise photodiodes 1540 arranged in
may comprise multiple active areas that are grouped               a linear fashion.
together. In some embodiments, each of these active areas            Alternatively, sensor 1542 illustrates an exemplary "4 PD
may be provided its own respective transimpedance. This           per stream" sensor in which the detectors 106 comprise
form of pairing may allow a transimpedance amplifier to be 20 photodiodes 1544 arranged in a two-dimensional pattern,
better matched to the characteristics of its corresponding        such as a zig-zag pattern. Sensor 1546 illustrates an exem-
photodiode or active area of a photodiode.                        plary "1 PD per stream" sensor in which the detectors
   As noted, FIG. 151 illustrates an exemplary noise model        comprise photodiodes 1548 also arranged in a zig-zag
that may be useful in configuring transimpedance amplifiers.      pattern.
As shown, for a given number of photodiodes and a desired 25         FIG. 15L illustrates an exemplary architecture for a
SNR, an optimal impedance value for a transimpedance              switched-capacitor-based front-end. As shown, front-end
amplifier could be determined.                                    interfaces 108 may be implemented using switched capaci-
   For example, an exemplary "4 PD per stream" sensor             tor circuits and any number of front-end interfaces 108 may
1502 is shown where detector 106 comprises four photo-            be implemented. The output of these switched capacitor
diodes 1502. The photodiodes 1502 are coupled to a single 30 circuits may then be provided to a digital interface 1000 and
transimpedance amplifier 1504 to produce an output stream         signal processor 110. Switched capacitor circuits may be
1506. In this example, the transimpedance amplifier com-          useful in system 100 for their resistor free design and analog
prises 10 MQ resistors 1508 and 1510. Thus, output stream         averaging properties. In particular, the switched capacitor
1506 is produced from the four photodiodes (PD) 1502. As          circuitry provides for analog averaging of the signal that
shown in the graph of FIG. 151, the model indicates that 35 allows for a lower smaller sampling rate (e.g., 2 KHz
resistance values of about 10 MQ may provide an acceptable        sampling for analog versus 48 KHz sampling for digital
SNR for analytes like glucose.                                    designs) than similar digital designs. In some embodiments,
   However, as a comparison, an exemplary "1 PD per               the switched capacitor architecture in front end interfaces
stream" sensor 1512 is also shown in FIG. 151. In particular,     108 may provide a similar or equivalent SNR to other front
sensor 1512 may comprise a plurality of detectors 106 that 40 end designs, such as a sigma delta architecture. In addition,
each comprises a single photodiode 1514. In addition, as          a switched capacitor design in front end interfaces 108 may
shown for this example configuration, each of photodiodes         require less computational power by signal processor 110 to
1514 may be coupled to respective transimpedance ampli-           perform the same amount of decimation to obtain the same
fiers 1516, e.g., 1 PD per stream. Transimpedance amplifiers      SNR.
are shown having 40 MQ resistors 1518. As also shown in 45           FIGS. 16A and 16B illustrate embodiments of disposable
the graph of FIG. 151, the model illustrates that resistance      optical sensors 1600. In an embodiment, any of the features
values of 40 MO for resistors 1518 may serve as an                described above, such as protrusion, shielding, and/or heat
alternative to the 4 photodiode per stream architecture of        sink features, can be incorporated into the disposable sen-
sensor 1502 described above and yet still provide an equiva-      sors 1600 shown. For instance, the sensors 1600 can be used
lent SNR.                                                      50 as the sensors 101 in the system 100 described above with
   Moreover, the discovered noise model also indicates that       respect to FIG. 1. Moreover, any of the features described
utilizing a 1 photodiode per stream architecture like that in     above, such as protrusion, shielding, and/or heat sink fea-
sensor 1512 may provide enhanced performance because              tures, can be implemented in other disposable sensor designs
each of transimpedance amplifiers 1516 can be tuned or            that are not depicted herein.
optimized to its respective photodiodes 1518. In some 55             The sensors 1600 include an adult/pediatric sensor 1610
embodiments, an averaging component 1520 may also be              for finger placement and a disposable infant/neonate sensor
used to help cancel or reduce noise across photodiodes 1518.      1602 configured for toe, foot or hand placement. Each
   For purposes of illustration, FIG. 15K shows different         sensor 1600 has a tape end 1610 and an opposite connector
architectures (e.g., four PD per stream and one PD per            end 1620 electrically and mechanically interconnected via a
stream) for various embodiments of a sensor and how 60 flexible coupling 1630. The tape end 1610 attaches an
components of the sensor may be laid out on a circuit board       emitter and detector to a tissue site. Although not shown, the
or substrate. For example, sensor 1522 may comprise a "4          tape end 1610 can also include any of the protrusion,
PD per stream" architecture on a submount 700 in which            shielding, and/or heat sink features described above. The
each detector 106 comprises four (4) photodiodes 1524. As         emitter illuminates the tissue site and the detector generates
shown for sensor 1522, the output of each set of four 65 a sensor signal responsive to the light after tissue absorption,
photodiodes 1524 is then aggregated into a single transim-        such as absorption by pulsatile arterial blood flow within the
pedance amplifier 1526 to produce a signal.                       tissue site.

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   The sensor signal is connnunicated via the flexible cou-        Liposyn were prepared that ranged from 0-55 mg/dL. Five
pling 1630 to the connector end 1620. The connector end            samples were used as a training set and 20 samples were
1620 can mate with a cable (not shown) that communicates           then used as a test population. As shown, embodiments of
the sensor signal to a monitor (not shown), such as any of the     sensor 101 were able to obtain at least a standard deviation
cables or monitors shown above with respect to FIGS. 2A 5 of 37 mg/dL in the training set and 32 mg/dL in the test
through 2D. Alternatively, the connector end 1620 can mate         population.
directly with the monitor.                                            FIGS. 20 through 22 shows other results that can be
   FIG. 17 illustrates an exploded view of certain of the          obtained by an embodiment of system 100. In FIG. 20, 150
components of the sensor 301/ described above. A heat sink         blood samples from two diabetic adult volunteers were
1751 and a cable 1781 attach to an emitter shell 1704. The 10 collected over a 10-day period. Invasive measurements were
emitter shell attaches to a flap housing 1707. The flap            taken with a YSI glucometer to serve as a reference mea-
housing 1707 includes a receptacle 1709 to receive a cylin-        surement. Noninvasive measurements were then taken with
drical housing 1480/1580 (not shown) attached to an emitter        an embodiment of system 100 that comprised four LEDs and
submount 1702, which is attached to a circuit board 1719.          four independent detector streams. As shown, the system
   A spring 1787 attaches to a detector shell 1706 via pins 15 100 obtained a correlation of about 85% and Arms of about
1783, 1785, which hold the emitter and detector shells 1704,       31 mg/dL.
1706 together. A support structure 1791 attaches to the               In FIG. 21, 34 blood samples were taken from a diabetic
detector shell 1706, which provides support for a shielding        adult volunteer collected over a 2-day period. Invasive
enclosure 1790. A noise shield 1713 attaches to the shielding      measurements were also taken with a glucometer for com-
enclosure 1790. A detector submount 1700 is disposed 20 parison. Noninvasive measurements were then taken with an
inside the shielding enclosure 1790. A finger bed 1710             embodiment of system 100 that comprised four LEDs in
provides a surface for placement of the patient's finger.          emitter 104 and four independent detector streams from
Finger bed 1710 may comprise a gripping surface or grip-           detectors 106. As shown, the system 100 was able to attain
ping features, which may assist in placing and stabilizing a       a correlation of about 90% and Arms of about 22 mg/dL.
patient's finger in the sensor. A partially cylindrical protru- 25    The results shown in FIG. 22 relate to total hemoglobin
sion 1705 may also be disposed in the finger bed 1710. As          testing with an exemplary sensor 101 of the present disclo-
shown, finger bed 1710 attaches to the noise shield 1703.          sure. In particular, 47 blood samples were collected from
The noise shield 1703 may be configured to reduce noise,           nine adult volunteers. Invasive measurements were then
such as from ambient light and electromagnetic noise. For          taken with a CO-oximeter for comparison. Noninvasive
example, the noise shield 1703 may be constructed from 30 measurements were taken with an embodiment of system
materials having an opaque color, such as black or a dark          100 that comprised four LEDs in emitter 104 and four
blue, to prevent light piping.                                     independent detector channels from detectors 106. Measure-
   Noise shield 1703 may also comprise a thermistor 1712.          ments were averaged over 1 minute. As shown, the testing
The thermistor 1712 may be helpful in measuring the                resulted in a correlation of about 93% and Arms of about 0.8
temperature ofa patient's finger. For example, the thermistor 35 mg/dL.
1712 may be useful in detecting when the patient's finger is          Conditional language used herein, such as, among others,
reaching an unsafe temperature that is too hot or too cold. In     "can," "could," "might," "may," "e.g.," and the like, unless
addition, the temperature of the patient's finger may be           specifically stated otherwise, or otherwise understood within
useful in indicating to the sensor the presence of low             the context as used, is generally intended to convey that
perfusion as the temperature drops. In addition, the therm- 40 certain embodiments include, while other embodiments do
istor 1712 may be useful in detecting a shift in the charac-       not include, certain features, elements and/or states. Thus,
teristics of the water spectrum in the patient's finger, which     such conditional language is not generally intended to imply
can be temperature dependent.                                      that features, elements and/or states are in any way required
   Moreover, a flex circuit cover 1706 attaches to the pins        for one or more embodiments or that one or more embodi-
1783, 1785. Although not shown, a flex circuit can also be 45 ments necessarily include logic for deciding, with or without
provided that connects the circuit board 1719 with the             author input or prompting, whether these features, elements
submount 1700 (or a circuit board to which the submount            and/or states are included or are to be performed in any
1700 is connected). A flex circuit protector 1760 may be           particular embodiment.
provided to provide a barrier or shield to the flex circuit (not      While certain embodiments of the inventions disclosed
shown). In particular, the flex circuit protector 1760 may 50 herein have been described, these embodiments have been
also prevent any electrostatic discharge to or from the flex       presented by way of example only, and are not intended to
circuit. The flex circuit protector 1760 may be constructed        limit the scope of the inventions disclosed herein. Indeed,
from well known materials, such as a plastic or rubber             the novel methods and systems described herein can be
materials.                                                         embodied in a variety of other forms; furthermore, various
   FIG. 18 shows the results obtained by an exemplary 55 omissions, substitutions and changes in the form of the
sensor 101 of the present disclosure that was configured for       methods and systems described herein can be made without
measuring glucose. This sensor 101 was tested using a pure         departing from the spirit of the inventions disclosed herein.
water ex-vivo sample. In particular, ten samples were pre-         The claims and their equivalents are intended to cover such
pared that ranged from 0-55 mg/dL. Two samples were used           forms or modifications as would fall within the scope and
as a training set and eight samples were then used as a test 60 spirit of certain of the inventions disclosed herein.
population. As shown, embodiments of the sensor 101 were
able to obtain at least a standard deviation of 13 mg/dL in the       What is claimed is:
training set and 11 mg/dL in the test population.                     1. A user-worn physiological measurement device that
   FIG. 19 shows the results obtained by an exemplary              defines a plurality of optical paths, the physiological mea-
sensor 101 of the present disclosure that was configured for 65 surement device comprising:
measuring glucose. This sensor 101 was tested using a turbid          one or more emitters configured to emit light into tissue
ex-vivo sample. In particular, 25 samples of water/glucose/              of a user;

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   a first set of photodiodes positioned on a first surface and      photodiode and a fourth photodiode are arranged across
       surrounded by a wall that is operably connected to the        from each other on opposite sides of the central point along
      first surface, wherein:                                        a second axis which is different from the first axis.
      the first set of photodiodes comprises at least four              8. The user-worn physiological measurement device of
          photodiodes, and                                         5 claim 6 further comprising:
      the photodiodes of the first set of photodiodes are               a plurality of windows, wherein each of the photodiodes
          connected to one another in parallel to provide a first          of the first set of photodiodes and the second set of
          signal stream;                                                   photodiodes has a corresponding window of the plu-
   a second set of photodiodes positioned on the first surface             rality of windows that allows light to pass through to
      and surrounded by the wall, wherein:                        10       the photodiode,
      the second set of photodiodes comprises at least four             wherein each of the optical paths further:
          photodiodes, and                                                 passes through a corresponding window of the plurality
      the photodiodes of the second set of photodiodes are                    of windows.
          connected to one another in parallel to provide a             9. The user-worn physiological measurement device of
          second signal stream; and                               15 claim 8, wherein the single protruding convex surface pro-
   a cover located above the wall and comprising a single            trudes a height between 1 millimeter and 3 millimeters.
      protruding convex surface configured to be located                10. The user-worn physiological measurement device of
      between tissue of the user and the first and second sets       claim 9 further comprising:
      of photodiodes when the physiological measurement                 one or more processors configured to:
      device is worn by the user,                                 20       receive a signal stream responsive to at least one of the
   wherein the physiological measurement device provides a                    first signal stream or the second signal stream,
      plurality of optical paths, wherein each of the optical                 wherein the signal stream is responsive to at least a
      paths:                                                                  physiological parameter of the user; and
      exits an emitter of the one or more emitters,                           process the signal stream to determine measurements
      passes through tissue of the user,                          25             of the physiological parameter;
      passes through the single protruding convex surface,              a network interface configured to communicate with a
      and                                                                  handheld computing device;
      arrives at a corresponding photodiode of the at least one         a touch-screen display configured to provide a user inter-
      of the first or second sets of photodiodes, the corre-               face, wherein:
       sponding photodiode configured to receive light emit- 30            the user interface is configured to display indicia
      ted by the emitter after traversal by the light of a                    responsive to the measurements of the physiological
      corresponding optical path of the plurality of optical                  parameter, and
      paths and after attenuation of the light by tissue of the            an orientation of the user interface is configurable
      user.                                                                   responsive to a user input; and
   2. The user-worn physiological measurement device of 35              a storage device configured to at least temporarily store at
claim 1 further comprising:                                                least the measurements of the physiological parameter.
   preprocessing electronics configured to preprocess at least          11. The user-worn physiological measurement device of
      one of the first signal stream or the second signal            claim 10, wherein the physiological parameter comprises at
       stream.                                                       least one of: pulse rate, glucose, oxygen, oxygen saturation,
   3. The user-worn physiological measurement device of 40 methemoglobin, total hemoglobin, carboxyhemoglobin, or
claim 2, wherein the preprocessing comprises adapting the            carbon monoxide.
at least one of the first signal stream or the second signal            12. The user-worn physiological measurement device of
stream.                                                              claim 11, wherein the attenuated light is reflected by the
   4. The user-worn physiological measurement device of              tissue.
claim 3, wherein the preprocessing further comprises ampli- 45          13. The user-worn physiological measurement device of
fying the at least one of the first signal stream or the second      claim 12 further comprising:
signal stream.                                                          a strap configured to position the physiological measure-
   5. The user-worn physiological measurement device of                    ment device on the user, wherein the physiological
claim 4, wherein the preprocessing further comprises con-                  measurement device comprises a single unit wearable
verting the at least one of the first signal stream or the second 50       by the user, the single unit encompassing at least: the
signal stream from analog to digital.                                      one or more emitters, the first and second sets of
   6. The user-worn physiological measurement device of                    photodiodes, the wall, the cover, the plurality of win-
claim 2, wherein the preprocessing electronics comprise at                 dows, the one or more processors, the network inter-
least:                                                                     face, and the storage device.
   a first common amplifier configured to receive the first 55          14. The user-worn physiological measurement device of
       signal stream from the first set of photodiodes at an         claim 13, wherein the network interface is configured to
      input of the first common amplifier and at least amplify       communicate at least the measurements of the physiological
      the first signal stream, and                                   parameter to the handheld computing device.
   a second common amplifier configured to receive the                  15. The user-worn physiological measurement device of
       second signal stream from the second set of photo- 60 claim 14, wherein the single protruding convex surface
      diodes at an input of the second common amplifier and          protrudes a height greater than 2 millimeters and less than 3
      at least amplify the second signal stream.                     millimeters.
   7. The user-worn physiological measurement device of                 16. A user-worn physiological measurement device that
claim 6, wherein at least the photodiodes of the first set of        defines a plurality of optical paths, the physiological mea-
photodiodes are arranged such that a first photodiode and a 65 surement device comprising:
second photodiode are arranged across from each other on                one or more emitters configured to emit light into tissue
opposite sides of a central point along a first axis, and a third          of a user;

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a first set of photodiodes positioned on a first surface and             glucose, oxygen, oxygen saturation, methemoglobin,
   surrounded by a wall that is operably connected to the                total hemoglobin, carboxyhemoglobin, or carbon
   first surface, wherein:                                               monoxide; and
   the first set of photodiodes comprises at least four               process the signal stream to determine measurements of
      photodiodes, and                                        5
                                                                         the physiological parameter;
   the photodiodes of the first set of photodiodes are             a network interface configured to communicate at least
      connected to one another in parallel to provide a first         the measurements of the physiological parameter to a
      signal stream;                                                  handheld computing device;
a second set of photodiodes positioned on the first surface        a touch-screen display configured to provide a user inter-
   and surrounded by the wall, wherein:                       10      ~ac~, _wherein t~e user interface is configured to display
   the second set of photodiodes comprises at least four              md1crn responsive to the measurements of the physi-
      photodiodes, and                                                ological parameter;
   the photodiodes of the second set of photodiodes are            a storage device configured to at least temporarily store at
      connected to one another in parallel to provide a               least the measurements of the physiological parameter
                                                                      and                                                       '
      second signal stream;                                   15
a cover located above the wall and comprising a single             a strap configured to position the physiological measure-
   protruding convex surface configured to be located                 ment device on the user, wherein the physiological
   between tissue of the user and the first and second sets           measurement device comprises a single unit wearable
   of photodiodes when the physiological measurement                  by the user, the single unit encompassing at least: the
   device is worn by the user;                                20
                                                                      one or more emitters, the first and second sets of
                                                                      photodiodes, the wall, the cover, the plurality of win-
a plurality of windows, wherein each of the photodiodes
   of the first set of photodiodes and the second set of              dows, the one or more processors, the network inter-
                                                                      face, and the storage device,
   ph?todiode_s has a corresponding window of the plu-
   rality of wmdows that allows light to pass through to           wherein the physiological measurement device provides a
   the photodiode;                                            25      plurality of optical paths, wherein each of the optical
preprocessing electronics configured to preprocess at least           paths:
                                                                      exits an emitter of the one or more emitters
   one of the first signal stream or the second signal
                                                                      passes through tissue of the user,             '
   stream, wherein the preprocessing electronics comprise
   at least:                                                          passes through the single protruding convex surface
   a first common amplifier configured to receive the first 30           and the corresponding window of the plurality of
      signal stream from the first set of photodiodes at an              windows, and
      input of the first common amplifier and at least                arrives at a corresponding photodiode of the at least one
      amplify the first signal stream, and                               of the first or second sets of photodiodes, the corre-
   a second common amplifier configured to receive the                   sponding photodiode configured to receive light
      second signal stream from the second set of photo- 35              emitted by the emitter after traversal by the light of
      diodes at an input of the second common amplifier                  a ~orresponding optical path of the plurality of
      and at least amplify the second signal stream;                     optical paths and after attenuation of the light by
one or more processors configured to:                                    tissue of the user, and
                                                                   wherein the attenuated light is reflected by the tissue.
   receive a signal stream responsive to at least one of the
      first signal stream or the second signal stream after 40     17. A physiological measurement system comprising:
      preprocessing of the at least one of the first signal        a user-worn physiological measurement device according
                                                                      to claim 16; and
      stream and the second signal stream, wherein the
      signal stream is responsive to at least a physiological      a handheld computing device in communication with the
                                                                      user-worn physiological measurement device.
      parameter of the user, and wherein the physiological
      parameter comprises at least one of: pulse rate,                                 * * * * *




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